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Attorneys for JOHN FRANCIS PORTER


                     IN THE UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                              SAN FRANCISCO DIVISION


UNITED STATES OF AMERICA,                         CASE NO.: 22-CR-270-WHO

             Plaintiff,                           HON. WILLIAM H. ORRICK

       v.                                         EXPERT REPORT OF ANN RAVEL

JOHN FRANCIS PORTER,                              Honorable William H. Orrick
                                                  Courtroom Two, 17th Floor
             Defendant.
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                            1          I have been retained by Baker & Hostetler LLP on behalf of John Porter. I submit this

                            2   expert report under Fed. R. Crim. P. 16 regarding behested payments and the use of nonprofit

                            3   organizations (sometimes referred to as “friends of” organizations) to support local government

                            4   activities, including through funds received from behested payments.

                            5   I.     Qualifications.

                            6          1.      My opinions are based on my years of experience working in law and policy

                            7   regarding campaign finance, conflicts of interest, and government ethics, as well as my policy and

                            8   community work in the nonprofit sector.

                            9          2.      I am a former Commissioner of the Federal Election Commission (“FEC”), where

                           10   I served as Chair and Vice Chair. I was appointed by President Obama to the FEC in 2013 and was

                           11   unanimously confirmed by the United States Senate. As an FEC Commissioner, among other tasks,

                           12   I reviewed the legality and the effect of third-party spending in federal elections in the United

                           13   States. I left that position in March 2017.

                           14          3.      Prior to my time at the FEC, I was appointed in 2011 by California Governor Jerry
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                           15   Brown as Chair of the California Fair Political Practices Commission (“FPPC”). In this capacity,
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                           16   I was responsible for the enforcement and regulation of California’s Political Reform Act at both

                           17   the state and local level, and oversaw the regulation of campaign finance, lobbyist registration and

                           18   reporting, and ethics and conflicts of interest related to officeholders and public employees. During

                           19   my time as Chair, I helped create the States’ Unified Network Center, a web-based center for

                           20   sharing information on campaign finance. While Chair, I also filed the first lawsuit of its kind in

                           21   the United States against a third-party group which made illegal contributions in the California

                           22   state election in 2012. I also toured the state speaking on conflicts of interest and campaign finance

                           23   issues while Chair of the FPPC.

                           24          4.      In 2009, I was appointed as Deputy Assistant Attorney General in the Civil Division

                           25   of the US Department of Justice, overseeing several hundred Department of Justice attorneys on

                           26   sensitive and significant matters, developing policy, strategy, and working on consumer finance,

                           27   torts, white collar crime, and constitutional issues. My supervision included oversight of criminal

                           28   prosecutions in consumer protection cases, where I frequently interacted with the Criminal


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                            1   Division and Appellate Division and dealt with issues of political law and conflicts issues

                            2   intersecting with criminal matters. Additionally, I worked on establishing the program to

                            3   compensate the 9/11 first responders, among other matters.

                            4          5.      From 1998 until 2009, I was the County Counsel in Santa Clara County, a county

                            5   with 17,000 employees and an $8 billion budget. I litigated numerous sensitive and high-exposure

                            6   matters, including cases that went before the California and United States Supreme Courts. I also

                            7   negotiated and mediated significant political, high-exposure matters, worked with community and

                            8   elected officials and county non-profit organizations that were providing services on behalf of the

                            9   County, and also interacted with press on behalf of the County.

                           10          6.      During my time with Santa Clara County, I became the attorney for the Board of

                           11   Supervisors and all departments and agencies of Santa Clara County. I advised the Board of

                           12   Supervisors and other County elected officials on the Political Reform Act and conflicts of interest

                           13   and ethics requirements. I also established the County Ethics Commission, writing ethics

                           14   regulations and decisions, and providing training to elected officials on financial conflict issues,
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                           15   compliance, and ethics. I also served as the Counsel for the County Board of Supervisors
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                           16   Association, which was a part of the State Association of Counties.

                           17          7.      My experience also intersected with ethics in the practice of law and in the

                           18   judiciary. I was elected to serve as a Governor on the Board of Governors of the State Bar of

                           19   California, and was appointed by then Supreme Court Chief Justice Ron George as a member of

                           20   the Judicial Council of the State of California. I served as Chair of the Commission on Judicial

                           21   Nominees Evaluation. I also have given numerous trainings to the judiciary on ethics issues.

                           22          8.      As a result of my experience in campaign finance and ethics, I am often asked to

                           23   participate on panels throughout the world on campaign finance and electoral integrity issues in

                           24   the United States, often with an emphasis on the role and impact of outside third-party groups in

                           25   the electoral process. I frequently speak on these topics in both North and South America. I am a

                           26   member of Comite Cientifico, a committee on global electoral processes that is a part of Mexico’s

                           27   Supreme Court of Justice of the Nation (Mexico’s highest federal court), and the Global Network

                           28   on Electoral Justice, a network of approximately 30 national electoral authorities from around the


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                            1   world as well as international organizations (including the Organization of American States and

                            2   the European Court of Human Rights) and academic institutions. I am also a member of the

                            3   Council of Experts of Electoral Transparency in Argentina, serving as an expert on the electoral

                            4   process and on campaigns and campaign finance.

                            5          9.      My experience in campaign finance and government ethics frequently intersects

                            6   with my work in the nonprofit sector. I served on the Board of MapLight, a 501(c)(3) nonprofit

                            7   organization that designs, builds, and operates software and data systems to improve democracy

                            8   and advance policies in the public interest, and which has developed campaign finance filing and

                            9   disclosure software, including ethics and lobbying reporting, for state and local government. From

                           10   2017 to 2021, I was the director of MapLight’s Digital Deception Project, which develops policy

                           11   and law regarding digital deception on the Internet as it affects democracy. Prior to that, I was a

                           12   fellow with the 501(c)(3) nonprofit organization New America Foundation on a project to identify

                           13   solutions to the lack of civic engagement in communities in San Jose and Stockton. As part of this

                           14   work, I advised community leaders and elected officials, including the mayors of San Jose and
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                           15   Stockton, on ways to increase community civic engagement.
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                           16          10.     I sit on the board of several 501(c)(3) nonprofit organizations, including Santa Clara

                           17   County Health Trust, which funds grants to community-based organizations and provides direct

                           18   services for health equity; ICivics, a nonprofit organization founded by retired United States

                           19   Supreme Court Justice Sandra Day O’Connor which uses technology to teach civics; the Markkula

                           20   Center for Applied Ethics at Santa Clara University; the American Leadership Forum; and the

                           21   National Institute of Money in Politics, which has now merged with the non-profit organization

                           22   Open Secrets, located in Washington D.C.

                           23          11.     I speak widely on issues of government ethics and conflict of interest and campaign

                           24   finance laws, both in North and South America. I have testified before Congress several times on

                           25   campaign contributions, government ethics, dark money, and 501(c)(4) as well as 501(c)(3)

                           26   nonprofit organizations. I have taught campaign finance law and conflicts at UC Berkeley School

                           27   of Law as an Adjunct Professor, and as a lecturer at Santa Clara University School of Law and

                           28   Stanford Law School, and I have spoken at many colleges and universities about these subjects,


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                            1   including Yale Law School, American University, Georgetown University, San Jose State

                            2   University, and the University of California, Santa Cruz.

                            3           12.       I have previously served as an expert witness. A list of the matters for which I have

                            4   provided sworn testimony as an expert within the last four years as well as a list of any publications

                            5   within the last ten years is included in Appendix A.

                            6           13.       In forming my opinions, I have relied on my own skill, experience, knowledge, and

                            7   training, as well as any documents or other information cited, referred to, or identified herein. I

                            8   reserve the right to revise my opinion in light of any additional information disclosed in connection

                            9   with this case.

                           10           14.       For any future testimony I may give in this matter, I may use some or all of the

                           11   documents and information cited, referred to, or identified in this expert report, as well any

                           12   additional materials that are later disclosed or entered into evidence in this matter. I may also create

                           13   demonstratives to aid my presentation to the jury.

                           14   II.     Summary of Opinions.
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                           15           15.       I have reviewed the Superseding Indictment, DE 67, charging former Recology
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                           16   employee John Porter with honest services wire and mail fraud, as well as bribery of a local

                           17   official. The charges include payments to the nonprofit organization Lefty O’Doul’s Foundation

                           18   for Kids that were used to help pay for holiday parties that the government alleges were hosted by

                           19   former San Francisco Department of Public Works (sometimes referred to as “DPW”) Director

                           20   Mohammed Nuru.

                           21           16.       The government alleges that Mr. Nuru asked another Recology employee, Paul

                           22   Giusti, for a yearly donation to Lefty O’Doul’s Foundation for Kids that would be used to fund the

                           23   holiday party. Mr. Porter is alleged to have approved three such donations, in 2017, 2018, and

                           24   2019.

                           25           17.       This type of payment resembles what is known as a “behested payment,” which is

                           26   a payment made to third-party organization, often a nonprofit organization, because of a public

                           27   official’s request.

                           28

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                            1           18.      I have been asked to opine on whether, and if so, to what extent, behested payments

                            2   made to nonprofit organizations were common in San Francisco and California prior to 2020 and

                            3   how such payments were and are regulated at the state and local level. In short, behested payments

                            4   made to nonprofit organizations for those organizations to assist in funding local government

                            5   activities were very common during the relevant time frame, including within the City and County

                            6   of San Francisco. Behested payments were not prohibited at either the state or local level during

                            7   the relevant time period; however, after Mohammed Nuru’s arrest, San Francisco changed its law

                            8   to restrict behested payments.

                            9   III.    Basis of Opinions.

                           10           19.      A nonprofit organization is, “in essence, an organization that is barred from

                           11   distributing its net earnings, if any, to individuals who exercise control over it, such as members,

                           12   officers, directors, or trustees.” 1 Certain categories of nonprofit organizations are tax-exempt.

                           13           20.      In this report, I focus primarily on tax-exempt nonprofit organizations that qualify

                           14   as public-serving or charitable organizations based on statutory requirements outlined in Section
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                           15   501(c)(3) of the federal tax code (i.e., “501(c)(3) organizations”) because this is the type of
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                           16   nonprofit organization identified in the Superseding Indictment. 2

                           17           21.      Congress granted these tax benefits to charitable nonprofit organizations “based on

                           18   the theory that the Government is compensated for the loss of revenue by its relief from financial

                           19   burdens which would otherwise have to be met by appropriations from other public funds, and by

                           20   the benefits resulting from the promotion of the general welfare.” 3

                           21           22.      In modern times, government decreases in funding starting in the 1980s have led to

                           22   more nonprofit charitable organizations arising to fill the gap in providing social services. 4 In

                           23
                                1
                                  Henry B. Hansmann, The Role of Nonprofit Enterprise, 89 Yale L.J. 835, 838 (1980).
                           24   2
                                  During the relevant time period, Lefty O’Doul’s Foundation for Kids was a registered 501(c)(3). See Appendix B
                                at 330 (Aug 19, 2014 Letter from IRS to Lefty O’Doul’s Foundation for Kids). The board of directors of the
                           25   organization included 16 members, including former Major League Baseball players and a former San Francisco
                                Police Captain. See Appendix B at 322–27 (Screen Shot from WayBack Machine, available at
                           26   https://web.archive.org/web/20180818155625/http://kidsneedbaseball.com/index.php?option=com_content&view=a
                                rticle&id=218&Itemid=603).
                           27   3
                                  Bob Jones Univ. v. United States, 461 U.S. 574, 590 (1983) (quoting H.R. Rep. 75-1860, 75th Cong. 19 (1938)).
                                4
                                  Gail A. Lasprogata & Marya N. Cotton, Contemplating “Enterprise”: The Business and Legal Challenges of
                           28   Social Entrepreneurship, 41 Am. Bus. L.J. 67, 71, 76 (2003); Olivier Zunz, Philanthropy In America: A History
                                251–53 (Princeton University Press 2012).

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                            1   Fiscal Year 2021, the IRS recognized approximately 1.4 million 501(c)(3) organizations. 5 There

                            2   are over 110,000 registered 501(c)(3) organizations in California, with most California nonprofits

                            3   being voluntary in nature with no paid employees. 6

                            4            23.      Funding is a key concern for nonprofits. Although nearly anyone can donate to a

                            5   501(c)(3) nonprofit, in my experience, small nonprofits often rely on large, established private

                            6   individuals and corporations or foundations to provide financial support. 7 Approximately two-

                            7   thirds of nonprofits in California are small nonprofits with annual expenses of $50,000 or less. 8

                            8   Small nonprofits receive approximately 65% of their revenue from contributions. 9 And in a 2021

                            9   survey conducted by the Urban Institute, more than 70% of smaller nonprofits reported that

                           10   donations from individuals were “essential” or “very important” to their work. 10

                           11            24.      State and local governments frequently rely on nonprofit organizations to provide

                           12   necessary services to communities, such as services addressing healthcare, homelessness,

                           13   conservation of parks and natural resources, foster care, and hunger, among many others. Through

                           14   partnerships, local governments can create a web of services around the needs of the community.
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                           15   These types of organizations are sometimes referred to as “friends of” organizations, but other
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                           16   nonprofits also often work with cities and counties on local projects.

                           17            25.      For instance, Health Trust, a nonprofit that I work with, partners with Santa Clara

                           18   County for the provision of food and homelessness services to Santa Clara residents through

                           19   government grants and private donations. 11 Similarly, Cal Nonprofits performed a case study in

                           20   2019 on the Center for Human Services (CHS) in Modesto, California, a 250-employee nonprofit

                           21   which holds 48 contracts with 30 government agencies. The Center provides shelter, behavioral

                           22

                           23
                                5
                                  IRS DATA BOOK 2021 at 23, 30, https://www.irs.gov/pub/irs-pdf/p55b.pdf.
                                6
                                  CalNonprofits, Causes Count: The Economic Power of California’s Nonprofit Sector
                                (2019) 12, https://calnp.memberclicks.net/assets/docs/CausesCountDownloads/CausesCount-
                           24   NewFindings-2019.pdf.
                                7
                                  According to a 2019 Cal Nonprofits report, nearly three-quarters of California nonprofits reported that they had
                           25   received funds from a foundation within the past 12 months. See id. at 63.
                                8
                                  Id. at 17.
                           26   9
                                  Id. at 41.
                                10
                                   Urban Institute, Nonprofit Trends and Impacts 2021, at 22, https://www.urban.org/sites/default/files/2022-
                           27   10/Nonprofit%20Trends%20and%20Impacts%202021.pdf.
                                11
                                   Armanino, The Health Trust and Subsidiary, Consolidated Financial Statements and Single Audit Reports and
                           28   Schedules 4 (2021), https://healthtrust.org/wp-content/uploads/2022/01/The-Health-Trust-Jun21-AR-Final-
                                Distributed.pdf.

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                            1   health services, programs for school-age children, and programs for parents all funded by

                            2   government. 12

                            3           26.      Similar arrangements were very common in San Francisco during the relevant time

                            4   period. The San Francisco Office of the Controller studied the use of nonprofit organizations to

                            5   partner with city departments following Mohammed Nuru’s arrest and described many such

                            6   organizations that worked with over 30 city departments. 13 Examples of these organizations that

                            7   existed in San Francisco included the Friends of SF Environment, which was used for “[s]taff

                            8   development and training, community engagement events,” San Francisco General Hospital

                            9   Foundation, which was used to “[s]upport initiatives including research, education, and care,” and

                           10   the San Francisco Parks Alliance, which was used to “[s]upport department projects and programs,

                           11   including community events, recreation programs, and staff appreciation events.” 14

                           12           27.      The Controller’s report focuses on the Parks Alliance and the lack of effective

                           13   controls at that organization, which allegedly allowed former DPW Director Mohammed Nuru to

                           14   misuse funds from that organization for his own purposes. While it is important for the city to
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                           15   assess public/private relationships and the use of private funds in city government, the lack of
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                           16   controls at Parks Alliance and Mohammed Nuru’s alleged misuse of that organization’s funds

                           17   should not prevent other organizations or groups from continuing to perform their good work for

                           18   and with the city.

                           19           28.      Another way elected officials partner with nonprofit charitable organizations is by

                           20   soliciting donations to the nonprofits in the form of “behested payments.” When an elected official

                           21   requests or solicits from one individual or organization a payment to be made to a nonprofit for a

                           22   legislative, governmental, or charitable purpose, the payment is considered a “behested payment”

                           23   under the California Political Reform Act (“PRA”).

                           24

                           25

                           26   12
                                   CalNonprofits, Causes Count: The Economic Power of California’s Nonprofit Sector
                                (2019) at 51, https://calnp.memberclicks.net/assets/docs/CausesCountDownloads/CausesCount-NewFindings-
                           27   2019.pdf.
                                13
                                   See Appendix B at 198–202 (Public Integrity Review, Preliminary Assessment: Gifts to Departments through
                           28   Non-City Organizations Lack Transparency and Create “Pay-to-Play” Risk (“Controller Report”)).
                                14
                                   Id. at 200–02.

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                            1            29.     Note that a behested payment is not considered a gift to a public official under the

                            2   PRA. San Francisco’s local law incorporates the PRA regarding the meaning of a gift to a public

                            3   official. 15

                            4            30.     The PRA permits behested payments and regulates them. 16 Specifically, behested

                            5   payments made at the request of elected officials equaling or exceeding $5,000 must be reported

                            6   on a Form 803 within 30 days following the date of payment, and such reports are public records. 17

                            7   There are no monetary limits on behested payments.

                            8            31.     During the relevant time period, local law in San Francisco was similar to the PRA.

                            9   Certain city “officers,” such as the Mayor, City Attorney, and members of the Board of

                           10   Supervisors, were required to report certain behested payments made by interested parties. This

                           11   ordinance, like the PRA, did not prohibit any behested payments. 18

                           12            32.     Notably, Department Directors like Mohammed Nuru were not covered within the

                           13   definition of “officer” and thus were not subject to reporting requirements. 19

                           14            33.     For many nonprofits, behested payments are an important part of fundraising.
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                           15   Elected officials can use their name recognition to fundraise at a rate that many small nonprofit
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                           16   organizations simply cannot tackle on their own. California elected officials reported

                           17   approximately $200 million in behested payments during the five-year period from 2015 to 2020,

                           18   of which approximately $51.2 million were from elected officials in the City and County of San

                           19   Francisco. 20 These figures only include reportable payments under the PRA to the FPPC.

                           20            34.     Behested payments are often made to nonprofits that further the issues elected

                           21   officials or individuals within their network care deeply about. For instance, Governor Gavin

                           22

                           23   15
                                   See San Francisco Campaign & Governmental Conduct Code § 3.16(b)(2).
                                16
                                   See, e.g., Cal. Gov’t Code §§ 82004.5, 82041.3, 84224; Cal. Code Regs. tit. 2, §§ 18424, 18424.1, 18424.2,
                           24   18424.3.
                                17
                                   Cal. Gov’t Code § 84224.
                           25   18
                                   See Appendix B at 276–285 (Ordinance No. 129-18).
                                19
                                   Appendix B at 223 (Controller Report) (“Because the City does not require appointed department heads to file a
                           26   behested payment former (Form SFEC-3610(b)), they could, as Mohammed Nuru did, encourage, ask, or direct a
                                city contractor to donate to a non-city organization that supports the department head’s department and not be
                           27   required to report it.”).
                                20
                                   See id. at 6 (California Fair Political Practices Commission, Behested Payment Transparency Report: Local Data)
                           28   (2022). This report lists multiple payments that Recology made to nonprofit organizations at the behest San
                                Francisco Mayors Ed Lee and London Breed. Id. at 36, 105, 119, 120, 138–39, 145–46, 184.

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                            1    Newsom has reported over $290 million in behested payments since 2011. 21 More than $1.8

                            2    million of this amount has gone to the California Partners Project, a nonprofit that champions

                            3    gender equity across the state and ensures the state’s media and technology industries have positive

                            4    representation for children. The California Partners Project shares a connection with Governor

                            5    Newsom, as it was founded by his wife, filmmaker Jennifer Siebel Newsom. 22

                            6            35.      Similarly, former governor Jerry Brown reported more than $22 million in behested

                            7    payments to two Oakland charter schools, which he founded while mayor of Oakland. 23

                            8            36.      And in 2019-2020, then-secretary of state Alex Padilla, now U.S. Senator for

                            9    California, raised $535,000 in behested payments for FundaMental Change, a nonprofit that seeks

                           10    to increase awareness of mental health conditions. 24 FundaMental Change’s founder and current

                           11    president is Senator Padilla’s wife, Angela Padilla. 25

                           12            37.      In another example, Mayor London Breed behested payments in the amount of over

                           13    $100,000 from a variety of entities that do business with the city to the San Francisco Special

                           14    Events Committee to support mayoral inaugural activities. Similarly, again at Mayor Breed’s
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                           15    behest, the San Francisco Special Events Committee donated $20,000 to the San Francisco
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                           16    Shanghai Sister City Committee to assist with the Lunar New Year Parade, including planned

                           17    sponsorship and a float for the celebration of the Sister City relationship. 26 In 2020, Mayor Breed

                           18    reported over $10 million in behested payments. 27

                           19            38.      These examples demonstrate how significant behested payments are to nonprofit

                           20    organizations in California. Moreover, as the examples show, nonprofits frequently partner with

                           21    elected officials to further their causes. At times, these nonprofits share a connection to the elected

                           22    officials themselves, such as the examples of Governor Brown, Governor Newsom, and Senator

                           23    Padilla.

                           24    21
                                    California Fair Political Practices Commission, Behested Payment Search,
                                 https://www.fppc.ca.gov/transparency/form-700-filed-by-public-officials/behested-payments2.html.
                           25    22
                                    California Partners Project, About Us, https://www.calpartnersproject.org/aboutus.
                                 23
                                    California Fair Political Practices Commission, Behested Payments Search,
                           26    https://www.fppc.ca.gov/transparency/form-700-filed-by-public-officials/behested-payments2.html.
                                 24
                                    Id.
                           27    25
                                    FundaMental Change, Board of Directors, https://www.fundamentalchange.life/angela-padilla#dm.
                                 26
                                    The reporting forms cataloging these behested payments are attached in Appendix B.
                           28    27
                                    Appendix B at 20 (California Fair Political Practices Commission, Behested Payment Transparency Report: Local
                                 Data) (2022).

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                            1            39.      In my experience, it is not unusual that a spouse or other family member shares a

                            2    passion for the cause to which an elected official behests payments, and the PRA permits these

                            3    payments subject to the PRA and reporting requirements. Such donations can further important

                            4    government-nonprofit partnerships that provide services to communities in need.

                            5            40.      San Francisco’s experience attempting to ban behested payments following the

                            6    federal corruption probe is instructive. At the end of 2021, San Francisco enacted a ban on many

                            7    behested payments. 28 This amendment was approved and even expanded when San Francisco

                            8    voters passed Proposition E. 29 Many good works were swept up into this prohibition, including,

                            9    for example, impacting funding for the “Summer Together Initiative,” 30 which “supports low-

                           10    income San Francisco residents by offering income based, 50% to 100% discounts on all Rec &

                           11    Park programs, including Summer Day Camps.” 31 Thus, in September 2022, San Francisco once

                           12    again changed local rules related to behested payments to narrow the prohibition and include

                           13    various exceptions to the rule. 32

                           14    IV.     Conclusion
B AKER & H OSTE TLER LLP




                           15            41.      The actions of Mr. Porter in approving funding to the non-profit Lefty O’Doul’s
   A TTORNEYS AT L AW
     S AN F RANCISCO




                           16    Foundation for Kids to host a public employee celebration were consistent with the State and Local

                           17    law regarding behested payments, which were common at the time, and continue to be common

                           18    now throughout the State.

                           19

                           20    Dated: February 27, 2023

                           21                                                                         ANN RAVEL

                           22

                           23                                                                         By:

                           24

                           25    28
                                    See Appendix B at 289–302 (Ordinance No. 232-21).
                                 29
                                    See Benjamin Schneider, S.F. voters may weigh in on ‘behested payments’ again, San Francisco Examiner (July
                           26    10, 2022), https://www.sfexaminer.com/news/s-f-voters-may-weigh-in-on-behested-payments-
                                 again/article_7877d5cc-f7eb-11ec-9e1d-fbf9c3ce6369.html.
                           27    30
                                    SF Department of Children Youth & Their Families, Memo from the Executive Director,
                                 https://t.e2ma.net/message/ujvj1c/ac0uw8o.
                           28    31
                                    SF Department of Children Youth & Their Families, Summer Together, https://www.dcyf.org/summertogether.
                                 32
                                    See Appendix B at 305 (Ordinance No. 204-22).

                                                                                       10
                                 EXPERT REPORT OF ANN RAVEL                                                             CASE NO.: 22-CR-270-WHO
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               APPENDIX
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                                         APPENDIX A
                                      Vita of Ann M. Ravel
EMPLOYMENT


RAVELLAW
Los Gatos, CA                                                                             2020-Present
Attorney and Counselor at Law, Mediator, and Expert Witness

MAPLIGHT
Berkeley, CA                                                                                2017-2021
Director, Digital Deception Project
    •    Received foundation grant to develop policy and law regarding digital deception on the
         Internet as it affects democracy
    •    Facilitating coordinated laws, regulations and policies in the Americas and throughout the
         US
    •    Leading community outreach to the public, nonprofits and other organizations to get input
         and buy-in for solutions

UNIVERSITY OF CALIFORNIA, BERKELEY, LAW SCHOOL
Berkeley, CA                                                                              2017-Present
Adjunct Professor of Ethics, Professional Responsibility and Campaign Finance

MCMANIS FAULKNER
San Jose, CA                                                                              2018-Present
Of Counsel
    •    Specializing in government regulation, campaign finance issues, voting, and litigation matter

RENNE PUBLIC LAW GROUP
San Francisco, CA                                                                         2019-Present
Of Counsel
    •    Handling matters relating to board governance and solutions to sexual harassment

FELLOW, NEW AMERICA FOUNDATION
Berkeley, CA                                                                                      2017
Project on Civic Engagement
    •    Worked with communities in San Jose and Stockton to identify solutions to the lack of civic
         engagement
    •    Advised community leaders on way to increase engagement and involvement

FEDERAL ELECTION COMMISSION
Washington, DC                                                                              2013-2017
Commissioner, Chair (2015), Vice Chair (2014)
Nominated by President Barack Obama, unanimously confirmed by U.S. Senate
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The FEC is an independent regulatory agency that administers and enforces the Federal Campaign Election
Campaign Act. Comprised of six bi-partisan members, the Agency ensures disclosure of campaign finance information,
enforces the limits and prohibitions of the Act, and oversees the public funding of Presidential elections
    •    Managed Agency of 330+ employees responsible for administering, enforcing, and
         formulating policy with respect to the Federal Election Campaign Act of 1971.
    •    Supervised Commission’s enforcement docket, including reviewing 60-70 legal reports a
         month, reviewing proposed conciliation agreements, reviewing staff attorney
         recommendations, drafting and editing Factual and Legal Analyses and Statements of
         Reasons
    •    Proposed numerous regulatory changes. During year as Chair, Commission received over
         50,000 public comments on rulemakings relating to enhanced public disclosure,
         strengthening the federal contractor contribution prohibition, strengthening coordination
         rules, and preventing foreign money from entering U.S. elections
    •    Active in spearheading technological innovations at the Agency, including a website
         modernization project to provide easily accessible Federal campaign finance data to the
         public, working with 18F and Agency Staff
    •    As Chair, held hearing on how to improve campaign finance law and policy, at which dozens
         of members of the public spoke to the Commission about political spending disclosure and
         other important issues. First time in Commission history that any member of the public
         could come to the Commission and share views on these topics
    •    Hosted Public Forum on Women in Politics, Public Hearing on McCutcheon v. FEC
         Advance Notice of Proposed Rulemaking, and 40th Anniversary of the Federal Election
         Commission
    •    Devised and sponsored Symposium on Technology and Democracy
    •    Led oversight for financing and contracting

CALIFONIA FAIR POLITICAL PRACTICES COMMISSION
Sacramento, CA                                                                                   2011-2013
Chair
Appointed by Governor Edmund G. Brown, Jr.
The FPPC is an independent regulatory and quasi-judicial state agency which oversees government ethics, campaign
finance and other political campaign matters, conflicts of interest, and lobbying.
    •    Managed the Agency, directed policy, and determined Agency priorities.
    •    Served in a quasi-judicial role on enforcement decisions, evaluating legal and constitutional
         questions of the enactment of agency regulations related to violations of the Political Reform
         Act of 1974.
    •    Established nationwide online state ethics-political reform information sharing site, the Sun
         Center.
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U.S. DEPT OF JUSTICE, CIVIL DIVISION, TORTS AND CONSUMER LITIGATION DIVISIONS
Washington, DC                                                             2009-2011
Deputy Assistant Attorney General
Appointed by President Barack Obama
    •    Oversaw several hundred attorneys on sensitive and significant matters, developed policy,
         strategy and worked on consumer finance issues, torts, white collar criminal cases,
         constitutional cases, including the Gulf Oil spill case, the Katrina Flooding litigation, and the
         Federal Tobacco RICO case.
    •    Supervision included oversight of criminal prosecutions in consumer protection cases
    •    Selected by the Attorney General to serve on the Committee on Selection of Immigration
         Judges

OFFICE OF THE COUNTY COUNSEL, SANTA CLARA COUNTY
San Jose, CA                                                                              1998-2009
County Counsel
    •    Appointed as Attorney for the Board of Supervisors and all Departments and Agencies of
         the County of Santa Clara, a county with 17,000 employees and an $8 billion budget.
         Oversaw a staff of 123, including 70 lawyers.
    •    Provided public and private advice and strategy in matters ranging from tax, health and
         hospital issues, labor and personnel, finance, budgeting and bonding, constitutional law,
         litigation, federal and state regulatory issues, environmental quality matters, contracts,
         legislation, election law, government transparency, ethics, redevelopment law, and
         compliance matters.
    •    Initiated groundbreaking Elder Financial Abuse Task Force, Educational Rights Program,
         and Impact Litigation group and brought consumer protection and other affirmative cases
         on behalf of the public.
    •    Established County Ethics Commission, wrote ethics regulations and decisions, and
         provided training to elected officials on financial conflict issues, compliance and ethics.
    •    Negotiated and mediated significant political, high-exposure matters, worked with
         community and elected officials, and interacted with press on behalf of the County.
    •    Oversaw the Criminal Defense Conflicts program, which establishes and maintains panel of
         attorneys eligible for appointment by the Superior Court to represent indigent criminal
         defendants and other clients
    •    Worked with other California agencies to bring Prop. 8 challenge in California Supreme
         Court.
    •    Litigated California Supreme Court cases of note: DiQuisto v. County of Santa Clara (use of
         public funds for information); Santa Clara v. Atlantic Richfield Company (lead paint remediation)
         and use of private counsel in public law offices.

OFFICE OF THE COUNTY COUNSEL, SANTA CLARA COUNTY
San Jose, CA                                                                               1977-1998
Chief Assistant County Counsel; Chief Deputy County Counsel; Acting-County Counsel; Lead Deputy County
Counsel; Deputy
County Counsel
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   •     Supervised sensitive, high-exposure litigation and brought consumer and other affirmative
         cases.
   •     Litigated 15 State and Federal jury trials and hundreds of court trials, motions and arguments
         in the United States and California Supreme Courts and Federal and State Courts of Appeal.
   •     Member, Local Government Steering Committee for Nation Tobacco Cases
   •     Investigated, litigated, and provided advice regarding highly sensitive sexual harassment and
         discrimination matters
   •     Litigated U.S. Supreme Court case of note: Johnson v. Santa Clara County Transportation
         Agency (affirmative action in hiring)

MORGAN BEAUZAY HAMMER EZGAR BLEDSOE & RUCKA
San Jose, CA                                                                           1975-1976
Litigation Associate
   •     Litigated plaintiff’s personal injury, labor, Title VII, criminal and contract cases.
   •     Litigated U.S. Supreme Court case of note: Robins v. Pruneyard (First Amendment rights at
         shopping center)
SANTA CLARA COUNTY SUPERIOR COURT
San Jose, CA                                                                           1974-1975
Law Clerk


EDUCATION



   Law:                     Hastings College of Law, JD
   Undergraduate:           University of California, Berkeley, B.A. in Philosophy
   Graduate Programs:       Pepperdine School of Law, Straus Institute for Dispute Resolution,
                             University of Chicago Graduate School of Business, Negotiations
                             Program Harvard University - Kennedy School of Government,
                             Senior Executive Program for Government Officials



AWARDS


Northern California “Super Lawyer,” Super Lawyer Magazine, 2006-2009 and 2019

ALF John Gardner Award, 2017

Award for Contribution to Women’s Rights, Santa Clara County Status of Women Commission,
 2009

Circle of Service Achievement Award, California State Association of Counties, 2008
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Women of Influence, Silicon Valley, San Jose Business Journal, 2008

Jefferson Fordham Award for Litigation, American Bar Association, 2007

Santa Clara County Bar Association, Professional Attorney of the Year, 2006

Unsung Hero Award, Diversity Committee of Santa Clara County Bar Association, 2006

Award for State and Local Government Law Advocacy, American Bar Association, 2002

Elizabeth Ent Award for Contributions to Law and Justice, San Jose Mercury News, 1985

Professional Woman of the Year Award, San Jose Mercury News and Commission on the Status of
 Women Commission, 1984


PROFESSIONAL


Lecturer in Law at Santa Clara University School of Law and Stanford Law School

Led Clinical and Pro Bono Program between Harvard Law School and Santa Clara County
 Counsel’s Office

Attorney for the Board of California State Association of Counties

Judge Pro-Tempore and Arbitrator for Superior Court, County of Santa Clara

Chair, Professional Discipline Committee, Federal District Court, Northern California

Lawyer Representative to the U.S. District Court, Northern District of California, 2007


PUBLIC ENGAGEMENT AND SELECTED PUBLICATIONS


Extensive speaking in 2017 – 2022 including professional and business groups in the US and Latin
 America, universities including Georgetown and Columbia, service organizations including Rotary,
 professional groups such as California Women Lawyers

Keynote Address, “Santa Clara County Bar Association Annual Judges Night Dinner,” San Jose, CA
  (Nov. 9, 2016)
The Work and Responsibilities of the Federal Election Commission, in AMERICA VOTES! CHALLENGES TO
 MODERN ELECTION LAW AND VOTING RIGHTS (Benjamin E. Griffith ed., 3d ed. 2016) (ABA
 Book Publishing)

International Election Observer, Plebiscite “Final Agreement for the Termination of the Conflict and
  Construction of a Stable and Lasting Peace,” Bogata, Colombia (Sep 30. – Oct. 3, 2016)
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Keynote Address, “California Women Lawyers: Elect to Run,” Los Angeles, CA (Sep. 9, 2016)

Keynote Address, “Is Your Company RNC Ready?,” Cleveland Metropolitan Bar Association,
  Cleveland, OH (June 16, 2015)

Speaker, “7th Annual Judge Justin L. Quackenbush Lecture,” Spokane, WA (May 2, 2016) (Lecture
  series hosted by the Judges of the U.S. Federal District Court for the Eastern District of
  Washington)

Presenter, “VII Ibero-American Meeting of Electoral Women Judges: Gender Equality and
  Democracy,” Brasilia, Brazil (Mar. 17-18, 2016)
The changing scene of political campaigning in the United States, GOV. GAZETTE, March 2016, at 90–91
Keynote Address,” The Campaign Finance Crisis in America and How to Fix It: A Solutions Summit,”
 Brookings Institution, Washington, DC (Jan. 16, 2016)

International Election Observer, “Local Authorities Election 2015,” Bogata, Colombia (Sep.-Oct. 2015),
  Puerto Rico Plebiscite, June 2017, Elections in Brazil, 2021, Mexico, 2021, El Salvador, 2021, and
  Ecuador, 2021

Speaker, XII Conference of the Inter-American Union of Electoral Organizations (UNIORE),
  Santiago, Chile (Oct. 24 – Nov. 1, 2014)

Presenter, “Technology in Elections Conference,” Central Electoral Board of the Dominican Republic
  and International Institute for Democracy and Electoral Assistance (International IDEA), Santo
  Domingo, Dominican Republic (Aug. 20-23, 2014)

Presenter,“ Parity, Share and Intersectionality for Gender Equality in Citizen Representation,”
  Meeting of Electoral Judges of Latin America: “Role of Women in Democracy,” San Salvador, El
  Salvador (May 19-21, 2014)

Testified, Hearing “Dollars and Sense: How Undisclosed Money and Post-McCutcheon Campaign
  Finance Will Affect the 2014 Election and Beyond,” Before the U.S. Senate Committee on Rules
  & Administration (Apr. 30, 2014)

Presenter, International Congress: “Strengthening Democracy in National, International and
  Transnational Spaces:
The Mexican Experience in Comparative Perspective,” Mexico City, Mexico (Feb. 14-15, 2014)
Numerous speaking engagements regarding issues of Campaign Finance, Ethics, and
 Professionalism
Allowing Third-Party Candidates to Participate in Presidential Debates Would Give Them a Fair Chance, in
  LIBERTARIANS, SOCIALISTS, AND OTHER THIRD PARTIES (CURRENT
  CONTROVERSIES) PAPERBACK (Bridey Heing ed., Greenhaven Press 2021)

A New Kind of Voter Suppression in Modern Elections, 49 U. Mem. L. Rev. 1019 (2019)
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Democratizing the Presidential Debates, in THE BEST CANDIDATE: PRESIDENTIAL NOMINATION
IN POLARIZED TIMES (Cambridge University Press, 2020)

Disclosure and Public Confidence, 34 Yale L. & Pol’y Rev. 493 (2016)
Fool Me Once: Regulating “Fake News” And Other Online Advertising, 91 S. Cal. L. Rev. 1223 (2018)
Ann Ravel, Transparency, in ETHICAL STANDARDS IN THE PUBLIC SECTOR; A GUIDE FOR
GOVERNMENT LAWYERS, CLIENTS, AND PUBLIC OFFICIALS (ABA Book Publishing, 2022)
Ann Ravel, People Really Care About Campaign Finance Reform. The FEC Needs to Listen, BILLMOYERS
(Feb. 18, 2015), https://billmoyers.com/2015/02/18/opening-doors-fec-letting-light/;
Ann Ravel, Fighting vaccine disinformation is crucial to ending the pandemic, CNN (Sept. 1, 2021, 11:55 AM
EDT), https://www.cnn.com/2021/09/01/perspectives/vaccine-disinformation-social-
media/index.html;
Ann Ravel, Social media fueled the Capitol mob. Now Biden and Congress must crack down, CNN (Jan. 18,
2021, 2:57 PM EST), https://www.cnn.com/2021/01/18/perspectives/capitol-mob-social-
media/index.html;
Ann Ravel, California must stand up to big tech and tackle disinformation crisis hurting Latinos most, THE
SACRAMENTO BEE (June 8, 2021, 8:00 AM PST), https://www.sacbee.com/opinion/op-
ed/article251752793.html;

Ann Ravel, Attorney General Becerra’s Actions Threaten Community’s Hospitals, THE SACRAMENTO BEE
(Feb. 5, 2019, 3:17 PM PST), https://www.sacbee.com/opinion/op-ed/article225567140.html;
Ann Ravel, California Shined a Spotlight on Dark Money, THE SACRAMENTO BEE (May 4, 2014),
https://www.sacbee.com/opinion/op-ed/article2597790.html;
Ann Ravel, Countries Must Unite to Fight Digital Deception, THE GUARDIAN, (July 5, 2019, 2:00 EDT),
https://www.theguardian.com/commentisfree/2019/jul/05/countries-must-unite-to-fight-digital-
deception;

Ann Ravel, Faith in Democracy is Waning: Here’s What You Can Do About It, SAN FRANCISCO
CHRONICLE (Nov. 11, 2016), https://www.sfchronicle.com/opinion/article/Faith-in-democracy-
is-waning-here-is-what-you-10609542.php;
Ann Ravel, Protecting democracy during the infodemic during the pandemic, SAN FRANCISCO CHRONICLE
(May 1, 2020, 10:32 AM PST),
https://www.sfchronicle.com/opinion/openforum/article/Protecting-democracy-during-the-
infodemic-during-15239063.php;
Ann Ravel, How Not to Enforce Campaign Laws, NEW YORK TIMES (April 2, 2014),
https://www.nytimes.com/2014/04/03/opinion/how-not-to-enforce-campaign-laws.html;
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Ann Ravel, Dysfunction and Deadlock at the Federal Election Commission, NEW YORK TIMES (Feb. 20,
2017), https://www.nytimes.com/2017/02/20/opinion/dysfunction-and-deadlock-at-the-federal-
election-commission.html;
Ann Ravel, Did Stormy Daniels’ $130,000 break campaign finance laws? The FEC is too dysfunctional to decide
LOS ANGELES TIMES (May 29, 2021 3:00 AM PT),
https://www.latimes.com/opinion/story/2021-05-29/fec-federal-election-commission-stormy-
daniels-donald-trump-common-cause
Ann Ravel, Santa Clara County fights for equal right to marry, THE MERCURY NEWS (Nov. 12, 2008,
11:08 AM PST), https://www.mercurynews.com/2008/11/12/opinion-santa-clara-county-fights-
for-equal-right-to-marry/;

Ann Ravel, Delaying Your Candidacy Doesn’ t Mean You Can Avoid Campaign Finance Rules, THE
WASHINGTON POST (Mar. 31, 2015), https://www.washingtonpost.com/opinions/if-it-walks-
like-a-candidate-and-talks-like-a-candidate-/2015/03/31/87a91a14-
d490-11e4-8fce-3941fc548f1c_story.html;
Ann Ravel, Ope-ed: When Will Cindy Chavez tell the truth?, SAN JOSE SPOTLIGHT (Sept. 14, 2022),
https://sanjosespotlight.com/op-ed-when-will-cindy-chavez-tell-the-truth/.
Numerous articles/publications in the ABA The Public Lawyer, CA State Bar Public Law Journal;
Frequently quoted by New York Times, Wall Street Journal, Politico and other leading publications
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ACTIVITIES


Lawyer Representative, U.S. District County, Northern District of California
Vice-President, Board of Governors, State Bar of California
Chair, Commission on Judicial Nominees Evaluation
Task Force for the Reform of Judicial Nominees Evaluation Rules and Procedures
Member, Judicial Council of the State of California
Board of Governors of California Women Lawyers Association
President, American Inns of Court, Ingram chapter (Silicon Valley)
Latina Coalition of Silicon Valley
Hispanic National Bar Association

Santa Clara County Bar President’s Blue Ribbon Commission on Diversity in the Legal Profession
  in Silicon Valley
State Bar of California Committee on Profession Responsibility and Conduct

President, County Counsel’s Association of California
Chair, U.S. District Court of Northern California Standing Committee on Professional Conduct
U.S. Court of Appeals for the Ninth Circuit Task Force on Self-Represented Litigants

Present Board Memberships: ICivics (nonprofit founded by Justice O’Connor to use technology to
  teach Civics); Santa Clara County Health Trust; Markkula Ethics Center, Santa Clara University;
  American Leadership Forum Advisory Board; National Institute of Money in Politics
Member: Comite Scientifico, Global Network on Electoral Justice, and Expert on Campaigns and
 Campaign Finance for Transparencia Electoral, Argentina


TRIAL OR DEPOSITION TESTIMONY


2021 – Ontario Superior Court, Ontario, Canada, Working Families Ontario, et. al., v. The Attorney
  General of Ontario, et al. (Case No. CV-18-590584)
2018 – Los Angeles Superior Court, Los Angeles, CA, Travis v. Brand (Case No. BC 665330)
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             Appendix B
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                                                                    2022
                                                                    2022




                        CALIFORNIA FAIR
                        CALIFORNIA FAIR POLITICAL
                                        POLITICAL PRACTICES
                                                  PRACTICES COMMISSION
                                                            COMMISSION


                   BEHESTED PAYMENT
                   BEHESTED PAYMENT
                TRANSPARENCY REPORT
                TRANSPARENCY  REPORT
                                                              LLOCAL
                                                                OCAL D
                                                                     DATA
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Introduction
In 1997, the Legislature passed SB 124, which separated behested payments from the definition
of “contributions” under the Political Reform Act (Act) and required those payments to be
reported if certain conditions and thresholds were met. Although this meant that contribution
limits no longer applied to behested payments, the reporting requirement provided
transparency to the public about the movement of this money between parties.
The California Fair Political Practices Commission (FPPC) engaged with local filing officers asking
for all behested payment reporting data for the years 2015-2020. The FPPC is grateful to the
jurisdictions that replied to that request as this report is made entirely of the data received.
This report aims to synthesize and organize some of that data to provide a more digestible
picture of behested payment activity and further increase transparency while showing the ever-
increasing use of and amounts of behested payments as part of the political landscape.

Background
Under the Political Reform Act, an elected official who fundraises or otherwise solicits
payments from one individual or organization to be given to another individual or organization
may be required to report the payment. Generally, a payment is considered “behested” and
subject to reporting if all of the following apply:

   x    It is made at the request, suggestion, or solicitation of, or made in cooperation,
        consultation, coordination, or concert with the public official.
   x    It is made for a legislative, governmental, or charitable purpose.
   x    It does not qualify as a gift (made for personal purposes), or a contribution (made for
        election-related activity) to the elected official.

While the Act limits the amount of gifts and campaign contributions that an official may
receive, there are no limits on behested payments. However, if behested payments from a
single source total $5,000 or more in a calendar year, those payments must be reported.

Once behested payments from a single source reach $5,000 or more in a calendar year, the
official must report those payments within 30 days. If the total behested payments from a
single source do not reach $5,000, no reporting is required.

The purpose of the Act and mission of the FPPC compels a corresponding increase in
transparency for the public to see the behests, as well as accountability for those making them.
In 2021, the Commission pro-actively studied various issues raised and approved new
regulations to accomplish these goals. Elected officials must now report the name of the person
directing a reportable behested payment through a donor-advised fund. Officials must disclose
when reporting a behested payment to a nonprofit any relationship the official, member of
their staff, or immediate family member has with the nonprofit. Officials also must disclose if


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the person making the reportable behested payment is involved in a proceeding before the
official’s agency. Lastly, officials may now estimate the money raised for a nonprofit and report
it within 30 days if no actual amount is available in that time frame.




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           Graphical Summary of the Data – 2015-2020

           Summary of all data received by jurisdiction and year



Jurisdiction**        2015          2016         2017          2018          2019         2020          Total
City of Los
Angeles               $12,480,472   $9,239,705   $5,677,321    $13,972,611   $8,333,275   $28,215,342   $77,918,726
City and County
of San Francisco      $9,686,277    $1,160,338   $2,007,444    $1,584,410    $3,530,197   $33,250,312   $51,218,978

City of Oakland       $4,019,800    $3,959,730   $15,400,000   $150,000      $0           $22,129,062   $45,658,592
City of
Sacramento            $3,293,517    $3,307,018   $395,400      $2,624,351    $386,610     $141,000      $10,147,896

City of San Diego     $182,500      $1,042,110   $1,372,407    $550,439      $505,795     $1,600,528    $5,253,779
County of San
Diego                 $70,000       $17,500      $15,000       $25,000       $485,000     $111,659      $724,159

City of Berkeley      $0            $0           $200,000      $391,385      $0           $54,839       $646,224

El Dorado County      $0            $0           $50,000       $192,500      $190,274     $45,000       $477,774
San Bernardino
County                $0            $65,000      $15,000       $7,500        $120,000     $25,352       $232,852

City of Richmond      $50,000       $0           $0            $0            $154,000     $0            $204,000

City of Danville      $5,000        $10,000      $10,000       $5,000        $0           $100,000      $130,000
City of Costa
Mesa                  $0            $0           $0            $35,000       $55,000      $0            $90,000
City of Newport
Beach                 $46,500       $0           $0            $0            $0           $0            $46,500

City of Elk Grove     $0            $0           $5,000        $5,000        $35,000      $0            $45,000

City of Richmond      $0            $15,000      $10,000       $0            $0           $0            $25,000

City of Merced        $0            $0           $0            $20,000       $0           $0            $20,000
City of Bell
Gardens               $0            $0           $0            $0            $8,000       $0            $8,000


           *Jurisdiction is used as a label throughout the data set. For Payor and Payee data, the
           jurisdiction listed shows the jurisdiction that behested the most money with that specific Payor
           or Payee. Please refer to the Appendix to see a full break down of who behested with the Payor
           or Payee.

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Top 5 Behesting Jurisdictions over the six-year span
 $35,000,000


 $30,000,000


 $25,000,000


 $20,000,000


 $15,000,000


 $10,000,000


  $5,000,000


           $0
                        2015             2016                    2017                 2018               2019             2020
                          III



                               City of Los Angeles                      II      City and County of San Francisco
                               City of Oakland                                  City of Sacramento
                               City of San Diego


                          $35,000,000

                          $30,000,000

                          $25,000,000

                          $20,000,000

                          $15,000,000

                          $10,000,000
                                                                                             --
                            $5,000,000
                                                                                                          .
                                                                                             r

                                   $0
                                                                                                          l
                                                          1




                                                                            1




                                               2015              2016             2017          2018            2019        2020
      City of Los Angeles                $12,480,472 $9,239,705                 $5,677,321 $13,972,611 $8,333,275 $28,215,342
   •••••




      City and County of San Francisco $9,686,277              $1,160,338       $2,007,444   $1,584,410    $3,530,197 $33,250,312
      City of Oakland                        $4,019,800        $3,959,730 $15,400,000         $150,000           $0      $22,129,062
                                                          ..
                                         ►




      City of Sacramento                     $3,293,517        $3,307,018       $395,400     $2,624,351       $386,610    $141,000
                                                          ..
                                         ►




      City of San Diego                      $182,500          $1,042,110       $1,372,407    $550,439        $505,795   $1,600,528
                                                          ..




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Total Amount of Reported Behested Payments by Year
   $90,000,000
   $80,000,000
   $70,000,000
   $60,000,000
   $50,000,000
   $40,000,000
   $30,000,000
   $20,000,000
   $10,000,000
            $0
                          2015                2016               2017              2018          2019             2020
                   t                 t
         Series1       $29,834,066       $18,816,401          $25,157,572       $19,563,196   $13,803,151   $85,673,094




Total Number of Individual Reported Behested Payments by Year and Amount


                                                                                                            -
                             700




                                           ______________/.
                             600

                             500

                             400

                             300

                             200

                             100




    r
     ---  $0-$24,999
          $25,000-$49,999
                                 0
                                         2015
                                         222
                                          59
                                                     r
                                                         2016
                                                         294
                                                         41
                                                                        2017
                                                                        355
                                                                        31
                                                                                      2018
                                                                                       351
                                                                                       20
                                                                                                 2019
                                                                                                 495
                                                                                                  49
                                                                                                            2020
                                                                                                            433
                                                                                                             40



     ---
    r                                                r
          $50,000-$99,999                 49             38             29             19         21         48
    r
          $100,000-$499,999               55             29             18             30         33         78
    r                                                t
          $500,000-$999,999               6              10                 3             1       4          23
    r                                                t
          $1,000,000+                     3               2                 4             3       0          17
          Total No. of Payments          394             414            440            424       602        639




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2015 Data
Overview
Total Amount of Behested Payments: $29,834,066

                                    Top 5 Behesting Jurisdictions
                                        $3,293,517   $182,500



                                $4,019,800
                                                                      $12,480,472




                                      $9,686,277


                        • City of Los Angeles           • City and County of San Francisco
                        • City of Oakland               • City of Sacramento
                        • City of San Diego

Total Behested Payments in 2015 by Jurisdiction
 Jurisdiction                                                           Amount
 City of Los Angeles                                                    $12,480,472
 City and County of San Francisco                                       $9,686,277
 City of Oakland                                                        $4,019,800
 City of Sacramento                                                     $3,293,517
 City of San Diego                                                      $182,500
 County of San Diego                                                    $70,000
 City of Richmond                                                       $50,000
 City of Newport Beach                                                  $46,500
 City of Danville                                                       $5,000


Top 5 Payors of 2015
 Jurisdiction           Payor Name                                                           Amount
 City and County of
 San Francisco          Hamilton Family Center                                               $3,476,000
 City of Oakland        Marc and Lynn Benioff trust, Ekahi Aloha, LLC                        $3,400,000
 City and County of
 San Francisco          Salesforce.com, Inc.                                                 $2,440,750
 City of Los Angeles    Disney Worldwide Services Inc.                                       $1,000,000
 City and County of
 San Francisco          Mr. Ronald Conway, c/o Mr. Lonnie A. Dorn, ClearRock Capital         $1,000,000



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Top 5 Payees of 2015
 Jurisdiction             Payee Name                                                Amount
 City of Los Angeles      Mayor's Fund for Los Angeles                              $9,157,100
 City and County of San
 Francisco                SF Mayor's Fund for the Homeless                          $4,476,000
 City of Oakland          Oakland Public Education Fund                             $4,019,800
 City and County of San
 Francisco                San Francisco Travel Foundation (SFUSCM 2015)             $3,360,750
 City of Los Angeles      Los Angeles 2024 Exploratory Committee                    $1,400,000


Top 5 Behesting Officials of 2015
 Official                           Jurisdiction                          Amount
 Eric Garcetti                      City of Los Angeles                   $12,480,472
 Edwin Lee                          City and County of San Francisco      $9,686,277
 Libby Schaaf                       City of Oakland                       $4,019,800
 Kevin Johnson                      City of Sacramento                    $3,293,517
 Kevin Faulconer                    City of San Diego                     $182,500




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2016 Data
Overview
Total Amount of Behested Payments: $18,816,401

                                          Top 5 Behesting Officials
                                                   $1,042,110
                                      $1,160,338




                             $3,307,018

                                                                                 $9,239,705




                                     $3,959,730


                        ■   City of Los Angeles            ■   City of Oakland
                        ■   City of Sacramento             ■   City and County of San Francisco
                        ■   City of San Diego


Total Behested Payments in 2016 by Jurisdiction
 Jurisdiction                                                                    Amount
 City of Los Angeles                                                             $9,239,705
 City of Oakland                                                                 $3,959,730
 City of Sacramento                                                              $3,307,018
 City and County of San Francisco                                                $1,160,338
 City of San Diego                                                               $1,042,110
 San Bernardino County                                                           $65,000
 County of San Diego                                                             $17,500
 City of Richmond                                                                $15,000
 City of Danville                                                                $10,000


Top 5 Payors of 2016
 Jurisdiction                       Payor Name                                                    Amount
 City of Sacramento                 Sutter Health                                                 $1,505,000
 City of Oakland                    Koshland Foundation                                           $1,200,000
 City of Los Angeles                Disney Worldwide Services Inc.                                $1,000,000
 City of Oakland                    Kaiser Permanente                                             $635,000
 City of Los Angeles                The Bloomberg Family Foundation                               $621,333




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Top 5 Payees of 2016
 Jurisdiction                Payee Name                                  Amount
 City of Los Angeles         Mayor's Fund for Los Angeles                $8,146,492
 City of Oakland             Oakland Public Education Fund               $2,894,730
 City of Sacramento          Steinberg Institute                         $1,550,000
 City of Sacramento          St. Hope Academy                            $546,000
 City of Oakland             Lee Bodner, President, Venture Fund         $540,000


Top 5 Behesting Officials of 2016
 Official                           Jurisdiction                   Amount
 Eric Garcetti                      City of Los Angeles            $9,082,992
 Libby Schaaf                       City of Oakland                $3,934,730
 Darrell Steinberg                  City of Sacramento             $1,740,000
 Kevin Johnson                      City of Sacramento             $1,047,018
 Kevin Faulconer                    City of San Diego              $822,110




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2017 Data
Overview
Total Amount of Behested Payments: $25,157,572

                                     Top 5 Behesting Jurisdictions
                                           $1,372,407       $395,400
                                     $2,007,444




                                $5,677,321
                                                                            $15,400,000




                          • City of Oakland                  • City of Los Angeles
                          • City and County of San Francisco • City of San Diego
                          • City of Sacramento

Total Behested Payments in 2017 by Jurisdiction
 Jurisdiction                                                                   Amount
 City of Oakland                                                                $15,400,000
 City of Los Angeles                                                            $5,677,321
 City and County of San Francisco                                               $2,007,444
 City of San Diego                                                              $1,372,407
 City of Sacramento                                                             $395,400
 City of Berkeley                                                               $200,000
 El Dorado County                                                               $50,000
 San Bernardino County                                                          $15,000
 County of San Diego                                                            $15,000
 City of Danville                                                               $10,000
 City of Richmond                                                               $10,000
 City of Elk Grove                                                              $5,000


Top 5 Payors of 2017
 Jurisdiction                      Payor Name                                                 Amount
 City of Oakland                   CrankStart Foundation (Michael Moritz)                     $10,000,000
 City of Oakland                   Kaiser Permanente                                          $2,030,000
 City of Oakland                   Arthur and Toni Rembe Rock                                 $2,000,000
 City and County of San
 Francisco                         George Lucas Family Foundation                             $1,500,000
 City of Los Angeles               Bloomberg Philanthropies                                   $728,398

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Top 5 Payees of 2017
 Jurisdiction                Payee Name                                         Amount
 City of Oakland             San Francisco Foundation                           $10,000,000
 City of Los Angeles         Mayor's Fund for Los Angeles                       $4,212,953
 City of Oakland             Oakland Public Education Fund                      $4,170,000
 City and County of San
 Francisco                   Life Learning Academy Center                       $1,505,000
 City of San Diego           La Jolla Playhouse                                 $689,485


Top 5 Behesting Officials of 2017
 Official                             Jurisdiction                       Amount
 Libby Schaaf                         City of Oakland                    $15,400,000
 Eric Garcetti                        City of Los Angeles                $4,836,453
 Edwin Lee                            City and County of San Francisco   $1,545,000
 Kevin Faulconer                      City of San Diego                  $1,127,802
 Michael Feuer                        City of Los Angeles                $586,401




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2018 Data
Overview
Total Amount of Behested Payments: $19,563,196

                                    Top 5 Behesting Jurisdictions
                                            $550,439      $391,385
                                    $1,584,410



                             $2,624,351




                                                                     $13,972,611



                       • City of Los Angeles              • City of Sacramento
                       • City and County of San Francisco • City of San Diego
                       • City of Berkeley

Total Behested Payments in 2018 by Jurisdiction
 Jurisdiction                                                                             Amount
 City of Los Angeles                                                                  $13,972,611
 City of Sacramento                                                                    $2,624,351
 City and County of San Francisco                                                      $1,584,410
 City of San Diego                                                                      $550,439
 City of Berkeley                                                                       $391,385
 El Dorado County                                                                       $192,500
 City of Oakland                                                                        $150,000
 City of Costa Mesa                                                                       $35,000
 County of San Diego                                                                      $25,000
 City of Merced                                                                           $20,000
 San Bernardino County                                                                     $7,500
 City of Danville                                                                          $5,000
 City of Elk Grove                                                                         $5,000


Top 5 Payors of 2018
 Jurisdiction                   Payor Name                                                 Amount
 City of Los Angeles            CA Attorney General's Office                            $4,289,140
 City of Los Angeles            Los Angeles Clippers Foundation                         $3,000,000
 City of Sacramento             Dignity Health                                          $1,770,000
 City of Los Angeles            Covington & Burling, LLP                                 $802,692
 City of Los Angeles            Los Angeles Dodgers LLC                                  $800,000

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Top 5 Payees of 2018
 Jurisdiction                       Payee Name                                   Amount
 City of Los Angeles                Los Angeles City Attorney's Office        $5,464,747
 City of Los Angeles                Los Angeles Parks Foundation              $3,400,000
 City of Los Angeles                Mayor's Fund for Los Angeles              $3,305,398
 City of Sacramento                 Sacramento Covered                        $1,670,000
 San Francisco                      2018 San Francisco Inaugural Fund          $555,250


Top 5 Behesting Officials of 2018
 Official                               Jurisdiction                             Amount
 Eric Garcetti                          City of Los Angeles                   $7,321,899
 Michael Feuer                          City of Los Angeles                   $6,022,247
 Darrell Steinberg                      City of Sacramento                    $2,175,351
 London Breed                           San Francisco                         $1,205,772
 Kevin Faulconer                        City of San Diego                      $382,299




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2019 Data
Overview
Total Amount of Behested Payments: $13,803,151

                                    Top 5 Behesting Jurisdictions
                                          $485,000   $386,610

                                 $505,795




                          $3,530,197


                                                                         $8,333,275




                       • City of Los Angeles            • City and County of San Francisco
                       • City of San Diego              • County of San Diego
                       • City of Sacramento

Total Behested Payments in 2019 by Jurisdiction
 Jurisdiction                                                              Amount
 City of Los Angeles                                                       $8,333,275
 City and County of San Francisco                                          $3,530,197
 City of San Diego                                                         $505,795
 County of San Diego                                                       $485,000
 City of Sacramento                                                        $386,610
 El Dorado County                                                          $190,274
 City of Richmond                                                          $154,000
 San Bernardino County                                                     $120,000
 City of Costa Mesa                                                        $55,000
 City of Elk Grove                                                         $35,000
 City of Bell Gardens                                                      $8,000


Top 5 Payors of 2019
 Jurisdiction                          Payor Name                                            Amount
 City and County of San Francisco      Crankstart Foundation                                 $750,000
 City and County of San Francisco      Twilio                                                $700,000
 City of Los Angeles                   The Walt Disney Company                               $535,000
 City and County of San Francisco      Kaiser Foundation Hospitals                           $500,000
 City of Los Angeles                   AT&T                                                  $398,500


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Top 5 Payees of 2019
 Jurisdiction                   Payee Name                                           Amount
 City of Los Angeles            Mayor's Fund for Los Angeles                         $3,817,700
 City of Los Angeles            Los Angeles Conservation Corps                       $1,845,000
 City and County of San
 Francisco                      Women's Foundation of California                     $895,000
 City and County of San
 Francisco                      Collective Impact                                    $850,828
 City and County of San
 Francisco                      Larkin Street Youth Services                         $700,000


Top 5 Behesting Officials of 2019
 Official                                        Jurisdiction                       Amount
 Eric Garcetti                                   City of Los Angeles                $5,065,700
 London Breed                                    City and County of San Francisco   $3,407,022
 Michael Feuer                                   City of Los Angeles                $568,575
 Greg Cox                                        County of San Diego                $485,000
 Ron Galperin                                    City of Los Angeles                $477,500




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2020 Data
Overview
Total Amount of Behested Payments: $62,905,095

                                      Top 5 Behesting Jurisdictions
                                                $1,600,528           $141,000


                               $22,129,062

                                                                                 $33,250,312




                                        $28,215,342


         • City and County of San Francisco • City of Los Angeles               • City of Oakland
         • City of San Diego                • City of Sacramento

Total Behested Payments in 2020 by Jurisdiction
 Jurisdiction                                                       Amount
 City and County of San Francisco                                   $33,250,312
 City of Los Angeles                                                $28,215,342
 City of Oakland                                                    $22,129,062
 City of San Diego                                                  $1,600,528
 City of Sacramento                                                 $141,000
 County of San Diego                                                $111,659
 City of Danville                                                   $100,000
 City of Berkeley                                                   $54,839
 El Dorado County                                                   $45,000
 San Bernardino County                                              $25,352


Top 5 Payors of 2020
 Jurisdiction                 Payor Name                                                            Amount
 City of Oakland              Jack Dorsey                                                           $25,000,000
                              The Consulate General of the State of Qatar- Los
 City of Los Angeles          Angeles                                                               $5,000,000
 City of Oakland              Blue Meridian Partners                                                $4,275,000
 City and County of San
 Francisco                    Tipping Point                                                         $3,768,000



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                          Bessemer National Gift Fund/ Bessemer Trust
 City of Los Angeles      Company                                               $3,000,000
Top 5 Payees of 2020
 Jurisdiction                       Payee Name                           Amount
                                                                         $26,078,460
 City of Los Angeles                Mayor's Fund for Los Angeles
                                                                         $18,923,010
 City and County of San Francisco   San Francisco Foundation
                                    Lee Bodner, New Venture Fund
                                    (Project: Oakland Fund for Public    $15,310,780
 City of Oakland                    Innovation)
                                                                         $9,470,878
 City and County of San Francisco   City and County of San Francisco
                                                                         $3,268,000
 City and County of San Francisco   Brilliant Corners


Top 5 Behesting Officials of 2020
 Official                                 Jurisdiction                                Amount
 Eric Garcetti                            City of Los Angeles                         $26,228,460
 Libby Schaaf                             City of Oakland                             $21,739,062
 London Breed                             City and County of San Francisco            $10,188,842
 Kevin Faulconer                          City of San Diego                           $1,466,528
 Michael Feuer                            City of Los Angeles                         $714,422




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                                                   Appendix
The appendix includes the individual transactions that make the top 5 payors, payees, and behesting
officials.

2015
Top 5 Payors of 2015
 Jurisdiction                 Payor Name                                                            Amount
 City and County of
 San Francisco                Hamilton Family Center                                                $3,476,000
 City of Oakland              Marc and Lynn Benioff trust, Ekahi Aloha, LLC                         $3,400,000
 City and County of
 San Francisco                Salesforce.com, Inc.                                                  $2,440,750
 City of Los Angeles          Disney Worldwide Services Inc.                                        $1,000,000
 City and County of
 San Francisco                Mr. Ronald Conway, c/o Mr. Lonnie A. Dorn, ClearRock Capital          $1,000,000


Hamilton Family Center
 Official     Jurisdiction             Payor Name              Payee Name                        Amount
 Edwin        City and County of       Hamilton Family         SF Mayor's Fund for the
 Lee          San Francisco            Center                  Homeless                          $3,476,000


Marc and Lynn Benioff trust, Ekahi Aloha, LLC
 Official    Jurisdiction       Payor Name                              Payee Name                Amount
 Libby       City of            Marc and Lynn Benioff trust, Ekahi      Oakland Public            $3,400,00
 Schaaf      Oakland            Aloha, LLC                              Education Fund            0


Salesforce.com,Inc.
 Official    Jurisdiction           Payor Name        Payee Name                                  Amount
 Edwin       City and County        Salesforce.com,   San Francisco Travel Foundation
 Lee         of San Francisco       Inc.              (SFUSCM 2015)                               $1,720,375
 Edwin       City and County        Salesforce.com,   San Francisco Travel Foundation
 Lee         of San Francisco       Inc.              (SFUSCM 2015)                                $720,375


Disney Worldwide Services Inc.
 Official      Jurisdiction          Payor Name                      Payee Name                  Amount
 Eric          City of Los           Disney Worldwide Services       Mayor's Fund for Los
 Garcetti      Angeles               Inc.                            Angeles                     $1,000,000


Mr. Ronald Conway, c/o Mr. Lonnie A. Dorn, ClearRock Capital
 Official   Jurisdiction      Payor Name                                   Payee Name            Amount
 Edwin      City and          Mr. Ronald Conway, c/o Mr. Lonnie A.         SF Mayor's Fund for
 Lee        County of         Dorn, ClearRock Capital                      the Homeless          $1,000,000

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          San
          Francisco


Top 5 Payees of 2015
 Jurisdiction              Payee Name                                                  Amount
 City of Los Angeles       Mayor's Fund for Los Angeles                                $9,157,100
 City and County of San
 Francisco                 SF Mayor's Fund for the Homeless                            $4,476,000
 City of Oakland           Oakland Public Education Fund                               $4,019,800
 City and County of San
 Francisco                 San Francisco Travel Foundation (SFUSCM 2015)               $3,360,750
 City of Los Angeles       Los Angeles 2024 Exploratory Committee                      $1,400,000


Mayor’s Fund for Los Angeles
          Jurisdictio
 Official n            Payor Name                                    Payee Name        Amount
 Eric
 Garcett City of Los                                                 Mayor's Fund      $1,000,00
 i        Angeles      Disney Worldwide Services Inc.                for Los Angeles   0
 Eric
 Garcett City of Los                                                 Mayor's Fund
 i        Angeles      The Bloomberg Family Foundation Inc.          for Los Angeles   $850,000
 Eric
 Garcett City of Los                                                 Mayor's Fund
 i        Angeles      The La Vida Feliz Foundation                  for Los Angeles   $500,000
 Eric
 Garcett City of Los                                                 Mayor's Fund
 i        Angeles      Dick Clark Productions, Inc                   for Los Angeles   $500,000
 Eric
 Garcett City of Los                                                 Mayor's Fund
 i        Angeles      Twenty-First Century Fox Inc.                 for Los Angeles   $500,000
 Eric
 Garcett City of Los                                                 Mayor's Fund
 i        Angeles      Los Angeles Dodgers                           for Los Angeles   $400,000
 Eric
 Garcett City of Los                                                 Mayor's Fund
 i        Angeles      Weingart Foundation                           for Los Angeles   $350,000
 Eric
 Garcett City of Los                                                 Mayor's Fund
 i        Angeles      Annenberg Foundation                          for Los Angeles   $333,000
 Eric
 Garcett City of Los                                                 Mayor's Fund
 i        Angeles      Wasserman Foundation                          for Los Angeles   $250,000




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Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       The Kaarsh Family Foundation                   for Los Angeles   $250,000
Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       JM Eagle                                       for Los Angeles   $200,000
Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       Paul Marciano Foundation                       for Los Angeles   $200,000
Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       The Karsh Family Foundation                    for Los Angeles   $200,000
Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       United States Small Business Administration    for Los Angeles   $150,000
Eric
Garcett   City of Los   Bloomberg Family Foundation c/o Geller &       Mayor's Fund
i         Angeles       Company, LLC                                   for Los Angeles   $150,000
Eric
Garcett   City of Los   Edison International c/o Southern California   Mayor's Fund
i         Angeles       Edison                                         for Los Angeles   $150,000
Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       Bank of America                                for Los Angeles   $150,000
Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       Goldman Sachs                                  for Los Angeles   $150,000
Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       California Community Foundation                for Los Angeles   $140,000
Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       Canyon Partners LLC                            for Los Angeles   $125,000
Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       The Eisner Foundation Inc.                     for Los Angeles   $125,000
Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       Verizon                                        for Los Angeles   $100,000
Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       AECOM                                          for Los Angeles   $100,000
Eric
Garcett   City of Los                                                  Mayor's Fund
i         Angeles       Erika Glazer                                   for Los Angeles   $100,000




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Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       Oakland Raiders                            for Los Angeles   $100,000
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       Robert Day Foundation                      for Los Angeles   $100,000
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       The Willametta K. Day Foundation           for Los Angeles   $100,000
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       Los Angeles Dodgers Foundation             for Los Angeles   $100,000
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       Marc and Eva Stern Foundation              for Los Angeles   $100,000
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       Blue Shield of California Foundation       for Los Angeles   $100,000
Eric
Garcett   City of Los   The Goldhirsh Foundation, Inc. c/o RINET   Mayor's Fund
i         Angeles       Company                                    for Los Angeles   $100,000
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       Health Net                                 for Los Angeles   $81,000
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       The Coca-Cola Company                      for Los Angeles   $75,000
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       Ernst & Young LLP                          for Los Angeles   $75,000
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       The Goldhirsh Foundation                   for Los Angeles   $62,500
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       PwC                                        for Los Angeles   $50,000
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       Union Bank                                 for Los Angeles   $50,000
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       The California Endowment                   for Los Angeles   $50,000
Eric
Garcett   City of Los                                              Mayor's Fund
i         Angeles       Berggruen Institute                        for Los Angeles   $50,000




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Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       Energy Foundation China                         for Los Angeles   $50,000
Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       Avatar Alliance Foundation c/o Dunn & Pariser   for Los Angeles   $50,000
Eric
Garcett   City of Los   Katie McGrath & JJ Abrams Family Foundation     Mayor's Fund
i         Angeles       C/O Gettleson, Witzer & O'Connor                for Los Angeles   $50,000
Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       Paramount Pictures                              for Los Angeles   $50,000
Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       Anheuser-Busch Foundation                       for Los Angeles   $50,000
Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       The Karsh Family Foundation                     for Los Angeles   $50,000
Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       Skoll Foundation                                for Los Angeles   $50,000
Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       Blue Shield of California Foundation            for Los Angeles   $50,000
Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       Molly Munger & Steve English                    for Los Angeles   $49,400
Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       Ronald W. Burkle Foundation                     for Los Angeles   $27,000
Eric
Garcett   City of Los   Ron Burke c/o SOHO House West Hollywood,        Mayor's Fund
i         Angeles       LLC                                             for Los Angeles   $27,000
Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       Sydell Group, LLC                               for Los Angeles   $27,000
Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       Steven and Dayna Bochco                         for Los Angeles   $25,000
Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       William and Flora Hewlett Foundation            for Los Angeles   $25,000
Eric
Garcett   City of Los                                                   Mayor's Fund
i         Angeles       AT&T                                            for Los Angeles   $25,000




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Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       Caruso Family Foundation                    for Los Angeles   $25,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       Tom and Janet Unterman                      for Los Angeles   $25,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       Sony Pictures Entertainment                 for Los Angeles   $25,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       B.N. Maltz Foundation c/o MM Maltz          for Los Angeles   $25,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       Lear Family Foundation                      for Los Angeles   $25,000
Eric
Garcett   City of Los   Linda L. Brown Family Fund c/o The Jewish   Mayor's Fund
i         Angeles       Community Foundation of Los Angeles         for Los Angeles   $25,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       AT&T                                        for Los Angeles   $20,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       East West Bank Foundation                   for Los Angeles   $20,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       Berdakin Foundation                         for Los Angeles   $15,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       Jason Post/Post Investment Group            for Los Angeles   $15,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       The Gene Haas Foundation                    for Los Angeles   $10,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       Lisa Henson                                 for Los Angeles   $10,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       NBCUniversal Media, LLC                     for Los Angeles   $10,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       Victor Gallo                                for Los Angeles   $10,000
Eric
Garcett   City of Los                                               Mayor's Fund
i         Angeles       Geir Solberg                                for Los Angeles   $10,000




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Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       Victor Gallo and Fabiana Cecchi-Gallo         for Los Angeles   $10,000
Eric
Garcett   City of Los   Gateway Science & Engineering, Inc. c/o Art   Mayor's Fund
i         Angeles       Gastelum                                      for Los Angeles   $10,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       Peter Radtke and Gayle Radtke                 for Los Angeles   $10,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       Baxter 2014 Family Foundation                 for Los Angeles   $10,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       Coca-Cola Refreshments                        for Los Angeles   $10,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       Marc I. Stern                                 for Los Angeles   $10,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       Wells Fargo Foundation                        for Los Angeles   $10,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       AARP Inc                                      for Los Angeles   $8,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       Angeleno Group                                for Los Angeles   $5,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       Tom and Janet Unterman                        for Los Angeles   $5,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       Robert Spivak                                 for Los Angeles   $5,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       James Berkus c/o Premier Management           for Los Angeles   $5,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       Weingart Foundation                           for Los Angeles   $5,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       The David Bohnett Foundation                  for Los Angeles   $5,000
Eric
Garcett   City of Los                                                 Mayor's Fund
i         Angeles       The California Endowment                      for Los Angeles   $3,000




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 Eric
 Garcett    City of Los                                                    Mayor's Fund
 i          Angeles         City National Bank                             for Los Angeles    $2,000
 Eric
 Garcett    City of Los                                                    Mayor's Fund
 i          Angeles         Marc and Eva Stern                             for Los Angeles    $1,200
 Eric
 Garcett    City of Los                                                    Mayor's Fund
 i          Angeles         Marc and Eva Stern                             for Los Angeles    $1,000


SF Mayor’s Fund for the Homeless
 Official    Jurisdiction      Payor Name                             Payee Name             Amount
             City and
             County of
 Edwin       San                                                      SF Mayor's Fund for
 Lee         Francisco         Hamilton Family Center                 the Homeless            $3,476,000
             City and
             County of
 Edwin       San               Mr. Ronald Conway, c/o Mr. Lonnie A.   SF Mayor's Fund for
 Lee         Francisco         Dorn, ClearRock Capital                the Homeless            $1,000,000


Oakland Public Education Fund
 Official    Jurisdiction     Payor Name                          Payee Name                 Amount
 Libby       City of          Marc and Lynn Benioff trust, Ekahi  Oakland Public
 Schaaf      Oakland          Aloha, LLC                          Education Fund             $3,400,000
 Libby       City of                                              Oakland Public
 Schaaf      Oakland          Citibank                            Education Fund             $150,000
 Libby       City of                                              Oakland Public
 Schaaf      Oakland          Kenneth Rainin Foundation           Education Fund             $100,000
 Libby       City of                                              Oakland Public
 Schaaf      Oakland          Walter and Elise Haas Fund          Education Fund             $100,000
 Libby       City of                                              Oakland Public
 Schaaf      Oakland          California Endowment                Education Fund             $74,800
 Libby       City of                                              Oakland Public
 Schaaf      Oakland          New Schools Venture Fund            Education Fund             $50,000
 Libby       City of                                              Oakland Public
 Schaaf      Oakland          David and Lucile Packard Foundation Education Fund             $50,000
 Libby       City of                                              Oakland Public
 Schaaf      Oakland          Rogers Family Foundation            Education Fund             $40,000
 Libby       City of                                              Oakland Public
 Schaaf      Oakland          David and Lucile Packard Foundation Education Fund             $40,000
 Libby       City of                                              Oakland Public
 Schaaf      Oakland          J. C. Kellogg Foundation            Education Fund             $15,000




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San Francisco Travel Foundation (SFUSCM 2015)
 Official   Jurisdiction         Payor Name         Payee Name                             Amount
 Edwin      City and County      Salesforce.com,    San Francisco Travel Foundation
 Lee        of San Francisco     Inc.               (SFUSCM 2015)                          $1,720,375
 Edwin      City and County      Salesforce.com,    San Francisco Travel Foundation
 Lee        of San Francisco     Inc.               (SFUSCM 2015)                           $720,375
 Edwin      City and County                         San Francisco Travel Foundation
 Lee        of San Francisco     Kilroy Realty      (SFUSCM 2015)                           $250,000
 Edwin      City and County                         San Francisco Travel Foundation
 Lee        of San Francisco     Dignity Health     (SFUSCM 2015)                           $200,000
 Edwin      City and County                         San Francisco Travel Foundation
 Lee        of San Francisco     Kilroy Realty      (SFUSCM 2015)                           $150,000
 Edwin      City and County                         San Francisco Travel Foundation
 Lee        of San Francisco     sf.citi            (SFUSCM 2015)                           $100,000
 Edwin      City and County                         San Francisco Travel Foundation
 lee        of San Francisco     Autodesk           (SFUSCM 2015)                             $50,000
 Edwin      City and County                         San Francisco Travel Foundation
 Lee        of San Francisco     Twitter            (SFUSCM 2015)                             $50,000
 Edwin      City and County                         San Francisco Travel Foundation
 Lee        of San Francisco     Dignity Health     (SFUSCM 2015)                             $50,000
 Edwin      City and County                         San Francisco Travel Foundation
 Lee        of San Francisco     Accela             (SFUSCM 2015)                             $25,000
 Edwin      City and County                         San Francisco Travel Foundation
 Lee        of San Francisco     Comcast            (SFUSCM 2015)                             $25,000
 Edwin      City and County                         San Francisco Travel Foundation
 Lee        of San Francisco     Lennar Urban       (SFUSCM 2015)                             $25,000
 Edwin      City and County                         San Francisco Travel Foundation
 Lee        of San Francisco     Walgreens          (SFUSCM 2015)                             $25,000
 Edwin      City and County                         San Francisco Travel Foundation
 Lee        of San Francisco     Union Bank         (SFUSCM 2015)                             $10,000
 Edwin      City and County                         San Francisco Travel Foundation
 Lee        of San Francisco     Lyft               (SFUSCM 2015)                             $10,000


Los Angeles 2024 Exploratory Committee
 Official   Jurisdiction       Payor Name                   Payee Name                     Amount
 Eric       City of Los        Hummer Tuttle                Los Angeles 2024 Exploratory
 Garcetti   Angeles            Foundation                   Committee                      $350,000
 Eric       City of Los        Hummer Tuttle                Los Angeles 2024 Exploratory
 Garcetti   Angeles            Foundation                   Committee                      $350,000
 Eric       City of Los        Westfield Property           Los Angeles 2024 Exploratory
 Garcetti   Angeles            Management                   Committee                      $350,000
 Eric       City of Los                                     Los Angeles 2024 Exploratory
 Garcetti   Angeles            Eric Schidt                  Committee                      $350,000




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Top 5 Behesting Officials of 2015
 Official                             Jurisdiction                                Amount
 Eric Garcetti                        City of Los Angeles                         $12,480,472
 Edwin Lee                            City and County of San Francisco            $9,686,277
 Libby Schaaf                         City of Oakland                             $4,019,800
 Kevin Johnson                        City of Sacramento                          $3,293,517
 Kevin Faulconer                      City of San Diego                           $182,500


Eric Garcetti
 Official   Jurisdiction   Payor Name                                    Payee Name             Amount
 Eric       City of Los                                                  Mayor's Fund for       $1,000,00
 Garcetti   Angeles        Disney Worldwide Services Inc.                Los Angeles            0
 Eric       City of Los                                                  Mayor's Fund for
 Garcetti   Angeles        The Bloomberg Family Foundation Inc.          Los Angeles            $850,000
 Eric       City of Los                                                  Mayor's Fund for
 Garcetti   Angeles        The La Vida Feliz Foundation                  Los Angeles            $500,000
 Eric       City of Los                                                  Mayor's Fund for
 Garcetti   Angeles        Dick Clark Productions, Inc                   Los Angeles            $500,000
 Eric       City of Los                                                  Mayor's Fund for
 Garcetti   Angeles        Twenty-First Century Fox Inc.                 Los Angeles            $500,000
 Eric       City of Los                                                  Mayor's Fund for
 Garcetti   Angeles        Los Angeles Dodgers                           Los Angeles            $400,000
                                                                         Los Angeles 2024
 Eric       City of Los                                                  Exploratory
 Garcetti   Angeles        Hummer Tuttle Foundation                      Committee              $350,000
                                                                         Los Angeles 2024
 Eric       City of Los                                                  Exploratory
 Garcetti   Angeles        Hummer Tuttle Foundation                      Committee              $350,000
                                                                         Los Angeles 2024
 Eric       City of Los                                                  Exploratory
 Garcetti   Angeles        Westfield Property Management                 Committee              $350,000
                                                                         Los Angeles 2024
 Eric       City of Los                                                  Exploratory
 Garcetti   Angeles        Eric Schidt                                   Committee              $350,000
 Eric       City of Los                                                  Mayor's Fund for
 Garcetti   Angeles        Weingart Foundation                           Los Angeles            $350,000
 Eric       City of Los                                                  Mayor's Fund for
 Garcetti   Angeles        Annenberg Foundation                          Los Angeles            $333,000
 Eric       City of Los                                                  Mayor's Fund for
 Garcetti   Angeles        Wasserman Foundation                          Los Angeles            $250,000
 Eric       City of Los                                                  Mayor's Fund for
 Garcetti   Angeles        The Kaarsh Family Foundation                  Los Angeles            $250,000
 Eric       City of Los                                                  Mayor's Fund for
 Garcetti   Angeles        JM Eagle                                      Los Angeles            $200,000
 Eric       City of Los                                                  Mayor's Fund for
 Garcetti   Angeles        Paul Marciano Foundation                      Los Angeles            $200,000

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Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       The Karsh Family Foundation                Los Angeles        $200,000
Eric       City of Los   United States Small Business               Mayor's Fund for
Garcetti   Angeles       Administration                             Los Angeles        $150,000
Eric       City of Los   Bloomberg Family Foundation c/o Geller     Mayor's Fund for
Garcetti   Angeles       & Company, LLC                             Los Angeles        $150,000
Eric       City of Los   Edison International c/o Southern          Mayor's Fund for
Garcetti   Angeles       California Edison                          Los Angeles        $150,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       Bank of America                            Los Angeles        $150,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       Goldman Sachs                              Los Angeles        $150,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       California Community Foundation            Los Angeles        $140,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       Canyon Partners LLC                        Los Angeles        $125,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       The Eisner Foundation Inc.                 Los Angeles        $125,000
Eric       City of Los                                              The GRYD
Garcetti   Angeles       Wells Fargo Foundation                     Foundation         $100,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       Verizon                                    Los Angeles        $100,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       AECOM                                      Los Angeles        $100,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       Erika Glazer                               Los Angeles        $100,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       Oakland Raiders                            Los Angeles        $100,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       Robert Day Foundation                      Los Angeles        $100,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       The Willametta K. Day Foundation           Los Angeles        $100,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       Los Angeles Dodgers Foundation             Los Angeles        $100,000
Eric       City of Los                                              The GRYD
Garcetti   Angeles       The Annenberg Foundation                   Foundation         $100,000
Eric       City of Los                                              The GRYD
Garcetti   Angeles       The Ahmanson Foundation                    Foundation         $100,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       Marc and Eva Stern Foundation              Los Angeles        $100,000
Eric       City of Los                                              Mayor's Fund for
Garcetti   Angeles       Blue Shield of California Foundation       Los Angeles        $100,000
Eric       City of Los                                              The GRYD
Garcetti   Angeles       Wells Fargo Foundation                     Foundation         $100,000
Eric       City of Los   The Goldhirsh Foundation, Inc. c/o RINET   Mayor's Fund for
Garcetti   Angeles       Company                                    Los Angeles        $100,000


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Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       Health Net                              Los Angeles        $81,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       The Coca-Cola Company                   Los Angeles        $75,000
Eric       City of Los                                           The GRYD
Garcetti   Angeles       LA84 Foundation                         Foundation         $75,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       Ernst & Young LLP                       Los Angeles        $75,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       The Goldhirsh Foundation                Los Angeles        $62,500
Eric       City of Los                                           The GRYD
Garcetti   Angeles       AT&T                                    Foundation         $60,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       PwC                                     Los Angeles        $50,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       Union Bank                              Los Angeles        $50,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       The California Endowment                Los Angeles        $50,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       Berggruen Institute                     Los Angeles        $50,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       Energy Foundation China                 Los Angeles        $50,000
Eric       City of Los   Avatar Alliance Foundation c/o Dunn &   Mayor's Fund for
Garcetti   Angeles       Pariser                                 Los Angeles        $50,000
Eric       City of Los                                           The GRYD
Garcetti   Angeles       The David Bohnett Foundation            Foundation         $50,000
Eric       City of Los                                           The GRYD
Garcetti   Angeles       The Ralph M. Pearsons Foundation        Foundation         $50,000
                         Katie McGrath & JJ Abrams Family
Eric       City of Los   Foundation C/O Gettleson, Witzer &      Mayor's Fund for
Garcetti   Angeles       O'Connor                                Los Angeles        $50,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       Paramount Pictures                      Los Angeles        $50,000
Eric       City of Los                                           The GRYD
Garcetti   Angeles       California Community Foundation         Foundation         $50,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       Anheuser-Busch Foundation               Los Angeles        $50,000
Eric       City of Los                                           The GRYD
Garcetti   Angeles       Unihealth Foundation                    Foundation         $50,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       The Karsh Family Foundation             Los Angeles        $50,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       Skoll Foundation                        Los Angeles        $50,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       Blue Shield of California Foundation    Los Angeles        $50,000
Eric       City of Los                                           Mayor's Fund for
Garcetti   Angeles       Molly Munger & Steve English            Los Angeles        $49,400

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Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       Ronald W. Burkle Foundation            Los Angeles        $27,000
Eric       City of Los   Ron Burke c/o SOHO House West          Mayor's Fund for
Garcetti   Angeles       Hollywood, LLC                         Los Angeles        $27,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       Sydell Group, LLC                      Los Angeles        $27,000
Eric       City of Los                                          The GRYD
Garcetti   Angeles       LA84 Foundation                        Foundation         $25,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       Steven and Dayna Bochco                Los Angeles        $25,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       William and Flora Hewlett Foundation   Los Angeles        $25,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       AT&T                                   Los Angeles        $25,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       Caruso Family Foundation               Los Angeles        $25,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       Tom and Janet Unterman                 Los Angeles        $25,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       Sony Pictures Entertainment            Los Angeles        $25,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       B.N. Maltz Foundation c/o MM Maltz     Los Angeles        $25,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       Lear Family Foundation                 Los Angeles        $25,000
                         Linda L. Brown Family Fund c/o The
Eric       City of Los   Jewish Community Foundation of Los     Mayor's Fund for
Garcetti   Angeles       Angeles                                Los Angeles        $25,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       AT&T                                   Los Angeles        $20,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       East West Bank Foundation              Los Angeles        $20,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       Berdakin Foundation                    Los Angeles        $15,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       Jason Post/Post Investment Group       Los Angeles        $15,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       The Gene Haas Foundation               Los Angeles        $10,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       Lisa Henson                            Los Angeles        $10,000
Eric       City of Los                                          The GRYD
Garcetti   Angeles       Harvard-Westlake School                Foundation         $10,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       NBCUniversal Media, LLC                Los Angeles        $10,000
Eric       City of Los                                          Mayor's Fund for
Garcetti   Angeles       Victor Gallo                           Los Angeles        $10,000
Eric       City of Los   The Annenberg Foundation Trust at
Garcetti   Angeles       Sunnylands                             Perch              $10,000

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Eric       City of Los                                             The GRYD
Garcetti   Angeles       Cooperative of American Physicians        Foundation             $10,000
Eric       City of Los   The John W. Carson Foundation c/o         The GRYD
Garcetti   Angeles       Gettleson, Witzer & O'Connor              Foundation             $10,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       Geir Solberg                              Los Angeles            $10,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       Victor Gallo and Fabiana Cecchi-Gallo     Los Angeles            $10,000
Eric       City of Los   Gateway Science & Engineering, Inc. c/o   Mayor's Fund for
Garcetti   Angeles       Art Gastelum                              Los Angeles            $10,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       Peter Radtke and Gayle Radtke             Los Angeles            $10,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       Baxter 2014 Family Foundation             Los Angeles            $10,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       Coca-Cola Refreshments                    Los Angeles            $10,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       Marc I. Stern                             Los Angeles            $10,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       Wells Fargo Foundation                    Los Angeles            $10,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       AARP Inc                                  Los Angeles            $8,000
Eric       City of Los
Garcetti   Angeles       Los Angeles Conservation Corp             El Centro del Pueblo   $6,845
Eric       City of Los   Southern California Tennis Association    The GRYD
Garcetti   Angeles       Foundation                                Foundation             $5,500
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       Angeleno Group                            Los Angeles            $5,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       Tom and Janet Unterman                    Los Angeles            $5,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       Robert Spivak                             Los Angeles            $5,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       James Berkus c/o Premier Management       Los Angeles            $5,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       Weingart Foundation                       Los Angeles            $5,000
Eric       City of Los
Garcetti   Angeles       AECOM                                     Perch                  $5,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       The David Bohnett Foundation              Los Angeles            $5,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       The California Endowment                  Los Angeles            $3,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       City National Bank                        Los Angeles            $2,000
Eric       City of Los                                             Mayor's Fund for
Garcetti   Angeles       Marc and Eva Stern                        Los Angeles            $1,200


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 Eric       City of Los                                             Mayor's Fund for
 Garcetti   Angeles         Marc and Eva Stern                      Los Angeles          $1,000


Edwin lee
 Official   Jurisdiction     Payor Name                Payee Name                        Amount
            City and
 Edwin      County of San                              SF Mayor's Fund for the            $3,476,00
 Lee        Francisco        Hamilton Family Center    Homeless                                   0
            City and
 Edwin      County of San                              San Francisco Travel Foundation    $1,720,37
 Lee        Francisco        Salesforce.com, Inc.      (SFUSCM 2015)                              5
            City and         Mr. Ronald Conway, c/o
 Edwin      County of San    Mr. Lonnie A. Dorn,       SF Mayor's Fund for the            $1,000,00
 Lee        Francisco        ClearRock Capital         Homeless                                   0
            City and
 Edwin      County of San                              San Francisco Travel Foundation
 Lee        Francisco        Salesforce.com, Inc.      (SFUSCM 2015)                      $720,375
            City and
 Edwin      County of San                              San Francisco Travel Foundation
 Lee        Francisco        Kilroy Realty             (SFUSCM 2015)                      $250,000
            City and
 Edwin      County of San                              San Francisco Travel Foundation
 Lee        Francisco        Dignity Health            (SFUSCM 2015)                      $200,000
            City and
 Edwin      County of San                              San Francisco Travel Foundation
 Lee        Francisco        Kilroy Realty             (SFUSCM 2015)                      $150,000
            City and                                   San Francisco Travel Foundation
 Edwin      County of San    John & Marcia Goldman     (City Hall Centennial
 Lee        Francisco        Foundation                Celebration)                       $100,000
            City and
 Edwin      County of San                              San Francisco Travel Foundation
 Lee        Francisco        sf.citi                   (SFUSCM 2015)                      $100,000
            City and                                   San Francisco Travel Foundation
 Edwin      County of San                              (City Hall Centennial
 Lee        Francisco        Diane B. Wilsey           Celebration)                       $100,000
            City and         Mr. and Mrs. Coulter      San Francisco Travel Foundation
 Edwin      County of San    (Coulter 2006             (City Hall Centennial
 Lee        Francisco        Management Trust)         Celebration)                       $100,000
            City and                                   San Francisco Travel Foundation
 Edwin      County of San                              (City Hall Centennial
 Lee        Francisco        Marco & Sabrina Hellman   Celebration)                         $87,500
            City and                                   San Francisco Travel Foundation
 Edwin      County of San                              (City Hall Centennial
 Lee        Francisco        Patricia Hellman          Celebration)                         $87,500




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        City and
Edwin   County of San                            San Francisco Travel Foundation
lee     Francisco       Autodesk                 (SFUSCM 2015)                        $50,000
        City and                                 San Francisco Travel Foundation
Edwin   County of San                            (City Hall Centennial
Lee     Francisco       Stephen Bechtel Fund     Celebration)                         $50,000
        City and
Edwin   County of San                            San Francisco Travel Foundation
Lee     Francisco       Twitter                  (SFUSCM 2015)                        $50,000
        City and                                 San Francisco Travel Foundation
Edwin   County of San                            (City Hall Centennial
Lee     Francisco       Emerald Fund, Inc.       Celebration)                         $50,000
        City and
Edwin   County of San                            San Francisco Travel Foundation
Lee     Francisco       Dignity Health           (SFUSCM 2015                         $50,000
        City and
Edwin   County of San                            Friends and Foundation of the
Lee     Francisco       Wells Fargo Bank         San Francisco Public Library         $50,000
        City and                                 San Francisco Travel Foundation
Edwin   County of San                            (City Hall Centennial
Lee     Francisco       Twitter Inc.             Celebration)                         $50,000
        City and                                 San Francisco Travel Foundation
Edwin   County of San                            (City Hall Centennial
Lee     Francisco       One Vassar LLC           Celebration)                         $25,000
        City and                                 San Francisco Travel Foundation
Edwin   County of San                            (City Hall Centennial
Lee     Francisco       Veritas Investments      Celebration)                         $25,000
        City and
Edwin   County of San                            The Women's Foundation of
Lee     Francisco       Recology                 California                           $25,000
        City and
Edwin   County of San                            The Women's Foundation of
Lee     Francisco       Diane Wilsey             California                           $25,000
        City and                                 San Francisco Travel Foundation
Edwin   County of San                            (City Hall Centennial
Lee     Francisco       Schwab Charitable        Celebration)                         $25,000
        City and                                 San Francisco Travel Foundation
Edwin   County of San   Lisa & Douglas Goldman   (City Hall Centennial
Lee     Francisco       Fund                     Celebration)                         $25,000
        City and
Edwin   County of San                            San Francisco Travel Foundation
Lee     Francisco       Accela                   (SFUSCM 2015)                        $25,000
        City and
Edwin   County of San                            San Francisco Travel Foundation
Lee     Francisco       Comcast                  (SFUSCM 2015)                        $25,000




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        City and
Edwin   County of San                                San Francisco Travel Foundation
Lee     Francisco       Lennar Urban                 (SFUSCM 2015)                        $25,000
        City and                                     San Francisco Travel Foundation
Edwin   County of San   Related California Urban     (City Hall Centennial
Lee     Francisco       Resid                        Celebration)                         $25,000
        City and                                     San Francisco Travel Foundation
Edwin   County of San   Lennar Communities - Bay     (City Hall Centennial
Lee     Francisco       Area Urban                   Celebration)                         $25,000
        City and                                     San Francisco Travel Foundation
Edwin   County of San   Tishman Speyer               (City Hall Centennial
Lee     Francisco       Properties, LP               Celebration)                         $25,000
        City and                                     San Francisco Travel Foundation
Edwin   County of San   Fisher Family C/O Pisces     (City Hall Centennial
Lee     Francisco       Inc.                         Celebration)                         $25,000
        City and                                     San Francisco Travel Foundation
Edwin   County of San                                (City Hall Centennial
Lee     Francisco       TMG Partners                 Celebration)                         $25,000
        City and                                     San Francisco Travel Foundation
Edwin   County of San   Evelyn and Walter Haas Jr.   (City Hall Centennial
Lee     Francisco       Fund                         Celebration)                         $25,000
        City and
Edwin   County of San                                San Francisco Travel Foundation
Lee     Francisco       Walgreens                    (SFUSCM 2015)                        $25,000
        City and                                     San Francisco Travel Foundation
Edwin   County of San                                (City Hall Centennial
Lee     Francisco       Nibbi Bros Associates Inc.   Celebration)                         $15,000
        City and                                     San Francisco Travel Foundation
Edwin   County of San                                (City Hall Centennial
Lee     Francisco       John Osterweis               Celebration)                         $15,000
        City and        The San Francisco Travel     San Francisco Travel Foundation
Edwin   County of San   Foundation (TomKat           (City Hall Centennial
Lee     Francisco       Fund)                        Celebration)                         $15,000
        City and                                     San Francisco Travel Foundation
Edwin   County of San   The Lisa & John Pritzker     (City Hall Centennial
Lee     Francisco       Family Fund                  Celebration)                         $15,000
        City and
Edwin   County of San                                Women's Foundation of
Lee     Francisco       Microsoft                    California                           $15,000
        City and                                     San Francisco Travel Foundation
Edwin   County of San                                (City Hall Centennial
Lee     Francisco       Jose S. Medeiros             Celebration)                         $15,000
        City and                                     San Francisco Travel Foundation
Edwin   County of San                                (City Hall Centennial
Lee     Francisco       John Keker                   Celebration)                         $15,000




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        City and        The Marin Community       San Francisco Travel Foundation
Edwin   County of San   Foundation (The Barger    (City Hall Centennial
Lee     Francisco       Family Fund)              Celebration)                         $15,000
        City and                                  San Francisco Travel Foundation
Edwin   County of San                             (City Hall Centennial
Lee     Francisco       Nancy & Joachim Bechtle   Celebration)                         $15,000
        City and                                  San Francisco Travel Foundation
Edwin   County of San   Asia Alternatives         (City Hall Centennial
Lee     Francisco       Management, LLC           Celebration)                         $15,000
        City and
Edwin   County of San                             Women's Foundation of
Lee     Francisco       United                    California                           $10,000
        City and
Edwin   County of San                             San Francisco Travel Foundation
Lee     Francisco       Union Bank                (SFUSCM 2015)                        $10,000
        City and                                  San Francisco Travel Foundation
Edwin   County of San                             (City Hall Centennial
Lee     Francisco       Al & Mei Wong             Celebration)                         $10,000
        City and                                  San Francisco Travel Foundation
Edwin   County of San                             (City Hall Centennial
Lee     Francisco       Nancy & Joachim Bechtle   Celebration)                         $10,000
        City and                                  San Francisco Travel Foundation
Edwin   County of San                             (City Hall Centennial
Lee     Francisco       Dewey Square Group, LLC   Celebration)                         $10,000
        City and
Edwin   County of San                             San Francisco Travel Foundation
Lee     Francisco       Lyft                      (SFUSCM 2015)                        $10,000
        City and                                  San Francisco Travel Foundation
Edwin   County of San                             (City Hall Centennial
Lee     Francisco       Aon Foundation            Celebration)                         $10,000
        City and
Edwin   County of San                             The Women's Foundation of
Lee     Francisco       Lennar Urban              California                           $10,000
        City and
Edwin   County of San   California HealthCare     The Women's Foundation of
Lee     Francisco       Foundation                California                           $10,000
        City and                                  San Francisco Travel Foundation
Edwin   County of San                             (City Hall Centennial
Lee     Francisco       CH2M Hills, Inc.          Celebration)                         $10,000
        City and                                  San Francisco Travel Foundation
Edwin   County of San   Laurel Heights Partners   (City Hall Centennial
Lee     Francisco       LLC                       Celebration)                         $10,000
        City and                                  San Francisco Travel Foundation
Edwin   County of San                             (City Hall Centennial
Lee     Francisco       Vicky Fowler              Celebration)                         $10,000




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            City and                                       San Francisco Travel Foundation
 Edwin      County of San    The San Francisco             (City Hall Centennial
 Lee        Francisco        Foundation                    Celebration)                           $5,000
            City and
 Edwin      County of San                                  The Laborers Community
 Lee        Francisco        The Arns Law Firm             Training Foundation (LCTF)             $5,000
            City and
 Edwin      County of San    California State Council of   The Laborers Community
 Lee        Francisco        Laborers                      Training Foundation (LCTF)             $5,000
            City and                                       San Francisco Travel Foundation
 Edwin      County of San    San Francisco Platinum        (City Hall Centennial
 Lee        Francisco        Advisors, LLC                 Celebration)                           $5,000
            City and
 Edwin      County of San    Construction Employers'       The Laborers Community
 Lee        Francisco        Association                   Training Foundation (LCTF)             $5,000
            City and
 Edwin      County of San                                  The Laborers Community
 Lee        Francisco        United Business Bank          Training Foundation (LCTF)             $5,000
            City and                                       San Francisco Travel Foundation
 Edwin      County of San                                  (City Hall Centennial
 Lee        Francisco        Marco Hellman                 Celebration)                           $4,500
            City and                                       San Francisco Travel Foundation
 Edwin      County of San                                  (City Hall Centennial
 Lee        Francisco        Mark Dwight                   Celebration)                           $1,000
            City and                                       San Francisco Travel Foundation
 Edwin      County of San                                  (City Hall Centennial
 Lee        Francisco        Douglas Hanlin                Celebration)                                $50


Libby Schaaf
 Official    Jurisdiction   Payor Name                          Payee Name                   Amount
 Libby       City of        Marc and Lynn Benioff trust, Ekahi  Oakland Public
 Schaaf      Oakland        Aloha, LLC                          Education Fund               $3,400,000
 Libby       City of                                            Oakland Public
 Schaaf      Oakland        Citibank                            Education Fund               $150,000
 Libby       City of                                            Oakland Public
 Schaaf      Oakland        Kenneth Rainin Foundation           Education Fund               $100,000
 Libby       City of                                            Oakland Public
 Schaaf      Oakland        Walter and Elise Haas Fund          Education Fund               $100,000
 Libby       City of                                            Oakland Public
 Schaaf      Oakland        California Endowment                Education Fund               $74,800
 Libby       City of                                            Oakland Public
 Schaaf      Oakland        New Schools Venture Fund            Education Fund               $50,000
 Libby       City of                                            Oakland Public
 Schaaf      Oakland        David and Lucile Packard Foundation Education Fund               $50,000
 Libby       City of                                            Oakland Public
 Schaaf      Oakland        Rogers Family Foundation            Education Fund               $40,000

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 Libby      City of                                                Oakland Public
 Schaaf     Oakland            David and Lucile Packard Foundation Education Fund         $40,000
 Libby      City of                                                Oakland Public
 Schaaf     Oakland            J. C. Kellogg Foundation            Education Fund         $15,000


Kevin Johnson
 Official       Jurisdiction            Payor Name                  Payee Name          Amount

 Kevin                                  Walton Family Foundation,
 Johnson        City of Sacramento      Inc.                        STAND UP            $400,000

 Kevin
 Johnson        City of Sacramento      AKT Promontory, LLC         St. Hope Academy    $225,000
 Kevin
 Johnson        City of Sacramento      Bill and Melinda Gates      STAND UP            $150,000
 Kevin
 Johnson        City of Sacramento      Kevin Nagle                 St. Hope Academy    $50,000
 Kevin
 Johnson        City of Sacramento      Kevin Nagle                 St. Hope Academy    $50,000
 Kevin
 Johnson        City of Sacramento      Demarcus Cousins            St. Hope Academy    $50,000
 Kevin
 Johnson        City of Sacramento      Siemens                     STAND UP            $50,000
 Kevin
 Johnson        City of Sacramento      The Boedecker Foundation    STAND UP            $50,000

 Kevin                                  JP Morgan Chase             Sacramento Public
 Johnson        City of Sacramento      Foundation                  Policy Foundation   $50,000

 Kevin                                                              Sacramento Public
 Johnson        City of Sacramento      Kevin Nagle                 Policy Foundation   $50,000


                                                                    African American
 Kevin                                                              Mayor's
 Johnson        City of Sacramento      Comcast Corp                Association         $50,000

 Kevin
 Johnson        City of Sacramento      Starbucks Coffee Company    St. Hope Academy    $45,000
                                                                    Greater
 Kevin                                                              Sacramento
 Johnson        City of Sacramento      US Bank                     Urban League        $40,000



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Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Wells Fargo Bank           Policy Foundation   $30,000

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Western Health Advantage   Policy Foundation   $30,000
                                                          Stand Up for
Kevin                          Sacramento Public Policy   Sacramento
Johnson   City of Sacramento   Foundation                 Schools             $28,000

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Kevin Nagle                Policy Foundation   $25,000

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Kevin Nagle                Policy Foundation   $25,000



Kevin                          Morton-Marcine Freidman
Johnson   City of Sacramento   Foundation                 St. Hope Academy    $25,000
Kevin
Johnson   City of Sacramento   Macy's/Bloomingdale's      St. Hope Academy    $25,000
Kevin
Johnson   City of Sacramento   Wells Fargo                St. Hope Academy    $25,000

Kevin                          National Basketball
Johnson   City of Sacramento   Association                St. Hope Academy    $25,000
Kevin
Johnson   City of Sacramento   VSP                        St. Hope Academy    $25,000
Kevin
Johnson   City of Sacramento   Dignity Health             St. Hope Academy    $25,000
Kevin
Johnson   City of Sacramento   Franklin Advisers Inc.     St. Hope Academy    $25,000
Kevin
Johnson   City of Sacramento   Mark Friedman              St. Hope Academy    $25,000

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Kevin Nagle                Policy Foundation   $25,000

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Kevin Nagle                Policy Foundation   $25,000




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Kevin                                                     Sacramento Public
Johnson   City of Sacramento   AT&T                       Policy Foundation   $20,000

Kevin                          Sacramento Public Policy   City of
Johnson   City of Sacramento   Foundation                 Sacramento          $18,500

Kevin                          Sacramento Public Policy   City of
Johnson   City of Sacramento   Foundation                 Sacramento          $18,500

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   City of Sacramento         Policy Foundation   $15,065



Kevin                          The Turner Construction
Johnson   City of Sacramento   Company Foundation         St. Hope Academy    $15,000

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   County of Sacramento       Policy Foundation   $15,000
                                                          Stand Up for
Kevin                          Sacramento Public Policy   Sacramento
Johnson   City of Sacramento   Foundation                 Schools             $15,000
                                                          Stand Up for
Kevin                          Sacramento Public Policy   Sacramento
Johnson   City of Sacramento   Foundation                 Schools             $15,000


                                                          African American
Kevin                                                     Mayor's
Johnson   City of Sacramento   Walmart                    Association         $15,000


                                                          African American
Kevin                                                     Mayor's
Johnson   City of Sacramento   Coca-Cola                  Association         $15,000
Kevin
Johnson   City of Sacramento   Sierra Health Foundation   St. Hope Academy    $12,500
Kevin
Johnson   City of Sacramento   Bank of America            St. Hope Academy    $10,000
Kevin
Johnson   City of Sacramento   Bank of America            St. Hope Academy    $10,000
Kevin
Johnson   City of Sacramento   US Bank                    St. Hope Academy    $10,000



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Kevin                          Pacific Coast Companies,
Johnson   City of Sacramento   Inc.                        St. Hope Academy    $10,000
Kevin
Johnson   City of Sacramento   Waste Management            St. Hope Academy    $10,000
Kevin
Johnson   City of Sacramento   Coca Cola Refreshments      St. Hope Academy    $10,000

Kevin                          Sutter Health Sacramento
Johnson   City of Sacramento   Sierra Region               St. Hope Academy    $10,000
Kevin
Johnson   City of Sacramento   Sierra Health Foundation    St. Hope Academy    $10,000

Kevin                          University of California,   Sacramento Public
Johnson   City of Sacramento   Davis                       Policy Foundation   $10,000
Kevin
Johnson   City of Sacramento   Vanir Construction          St. Hope Academy    $10,000
Kevin
Johnson   City of Sacramento   Vickie Householder          St. Hope Academy    $10,000
Kevin
Johnson   City of Sacramento   Phoenix Suns                St. Hope Academy    $10,000



Kevin                          The Bank of America
Johnson   City of Sacramento   Charitable Foundation       STAND UP            $10,000

Kevin                          Wayman L. Tisdale
Johnson   City of Sacramento   Foundation                  STAND UP            $10,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Sacramento Kings            Policy Foundation   $10,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Sacramento Kings            Policy Foundation   $10,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Kevin Nagle                 Policy Foundation   $10,000
Kevin
Johnson   City of Sacramento   Iron Mechanical, Inc.       St. Hope Academy    $5,000
Kevin
Johnson   City of Sacramento   KP Financial Services       St. Hope Academy    $5,000
Kevin
Johnson   City of Sacramento   The Golden 1 Credit Union   St. Hope Academy    $5,000


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Kevin                          Pacific Gas and Electric
Johnson   City of Sacramento   Company                     St. Hope Academy    $5,000

Kevin                          Sacramento Municipal        Sacramento Public
Johnson   City of Sacramento   Utility District            Policy Foundation   $5,000

Kevin
Johnson   City of Sacramento   AKT Investments, Inc.       St. Hope Academy    $5,000
Kevin                          Ethan Conrad Properties,
Johnson   City of Sacramento   Inc                         St. Hope Academy    $5,000
Kevin
Johnson   City of Sacramento   Downey Brand                St. Hope Academy    $5,000

Kevin                          Downtown Railyard
Johnson   City of Sacramento   Venture                     St. Hope Academy    $5,000
Kevin
Johnson   City of Sacramento   Western Health Advantage    St. Hope Academy    $5,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Sutter Health               Policy Foundation   $5,000
Kevin
Johnson   City of Sacramento   American Pacific Mortgage   St. Hope Academy    $5,000


                               Center for Land Based
Kevin                          Learning - CA Department
Johnson   City of Sacramento   of Agriculture              St. Hope Academy    $5,000
Kevin
Johnson   City of Sacramento   Legends Hospitality         St. Hope Academy    $5,000
Kevin
Johnson   City of Sacramento   SEIU 1000                   St. Hope Academy    $5,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Walmart                     Policy Foundation   $5,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Golden 1 Credit Union       Policy Foundation   $5,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Golden 1 Credit Union       Policy Foundation   $5,000




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Kevin
Johnson   City of Sacramento   Randle Communications       St. Hope Academy    $5,000
Kevin
Johnson   City of Sacramento   Peoplefinders.com           St. Hope Academy    $5,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Buzz Oates                  Policy Foundation   $5,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Niello Acura                Policy Foundation   $5,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Waste Management            Policy Foundation   $5,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Niello Acura                Policy Foundation   $5,000

Kevin                          University of California,   Sacramento Public
Johnson   City of Sacramento   Davis                       Policy Foundation   $5,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Markstein Beverage Co.      Policy Foundation   $5,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Fulcrum Property Corp.      Policy Foundation   $5,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Raley's                     Policy Foundation   $5,000

Kevin                                                      Sacramento Public
Johnson   City of Sacramento   Raley's                     Policy Foundation   $5,000

Kevin                          Sacramento Public Policy    City of
Johnson   City of Sacramento   Foundation                  Sacramento          $3,819

Kevin                          Sacramento Public Policy    City of
Johnson   City of Sacramento   Foundation                  Sacramento          $3,300

Kevin                          Sacramento Public Policy    City of
Johnson   City of Sacramento   Foundation                  Sacramento          $3,300



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Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Kevin Nagle                Policy Foundation   $3,000

Kevin                          Townsend, Raimundo,        Sacramento Public
Johnson   City of Sacramento   Besler & Usher             Policy Foundation   $2,500

Kevin                          Townsend, Raimundo,        Sacramento Public
Johnson   City of Sacramento   Besler & Usher             Policy Foundation   $2,500

Kevin                          Sacramento Municipal       Sacramento Public
Johnson   City of Sacramento   Utility District           Policy Foundation   $2,500

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Sierra Health Foundation   Policy Foundation   $2,500

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   KP Financial Services      Policy Foundation   $2,500

Kevin                          Townsend, Raimundo,        Sacramento Public
Johnson   City of Sacramento   Besler & Usher             Policy Foundation   $2,500

Kevin                          Downtown Railyard          Sacramento Public
Johnson   City of Sacramento   Venture                    Policy Foundation   $2,500

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Sutter Health              Policy Foundation   $2,500

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Pacific Coast              Policy Foundation   $2,500

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Starbucks                  Policy Foundation   $2,500

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Walmart Stores, Inc.       Policy Foundation   $2,500
Kevin
Johnson   City of Sacramento   Bank of America            St. Hope Academy    $1,500

Kevin                                                     Sacramento Public
Johnson   City of Sacramento   Dignity Health             Policy Foundation   $1,500



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Kevin Faulconer
 Official         Jurisdiction   Payor Name                       Payee Name           Amount
 Kevin            City of San    San Diego Gas & Electric
 Faulconer        Diego          Company                          One San Diego        $25,000
 Kevin            City of San
 Faulconer        Diego          AT&T                             One San Diego        $22,500
 Kevin            City of San
 Faulconer        Diego          Cox Communications               One San Diego        $15,000
 Kevin            City of San
 Faulconer        Diego          Wal-mart Stores, Inc.            One San Diego        $15,000
 Kevin            City of San                                     Supporting One San
 Faulconer        Diego          EMS Management LLC               Diego                $5,000
 Kevin            City of San                                     Supporting One San
 Faulconer        Diego          Farrell Family Foundation        Diego                $5,000
 Kevin            City of San    Jack in the Box, Qdoba Mexican   Supporting One San
 Faulconer        Diego          Grill                            Diego                $5,000
 Kevin            City of San
 Faulconer        Diego          Pacifica Enterprises, Inc.       One San Diego        $5,000
 Kevin            City of San
 Faulconer        Diego          Garden Communities               One San Diego        $5,000
 Kevin            City of San
 Faulconer        Diego          Kleinfelder                      One San Diego        $5,000
 Kevin            City of San    The Gould Family Charitable
 Faulconer        Diego          Fund                             One San Diego        $5,000
 Kevin            City of San
 Faulconer        Diego          KD Development                   One San Diego        $5,000
 Kevin            City of San
 Faulconer        Diego          Kleinfelder                      One San Diego        $5,000
 Kevin            City of San
 Faulconer        Diego          Pardee Homes                     One San Diego        $5,000
 Kevin            City of San
 Faulconer        Diego          San Diego Tourism Authority      One San Diego        $5,000
 Kevin            City of San    Sunroad Community
 Faulconer        Diego          Foundation                       One San Diego        $5,000
 Kevin            City of San
 Faulconer        Diego          Vulcan Materials Company         One San Diego        $5,000
 Kevin            City of San
 Faulconer        Diego          Wells Fargo Bank                 One San Diego        $5,000
 Kevin            City of San
 Faulconer        Diego          Padres LP                        One San Diego        $5,000
 Kevin            City of San
 Faulconer        Diego          Cisterra Development             One San Diego        $5,000
 Kevin            City of San    Petrochem Materials
 Faulconer        Diego          Innovation, LLC                  One San Diego        $5,000
 Kevin            City of San
 Faulconer        Diego          Sudberry Properties              One San Diego        $5,000


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Kevin       City of San
Faulconer   Diego         Pacifica Enterprises, Inc.    One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Bridgepoint Education, Inc.   One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         EMS Management LLC            One San Diego   $5,000




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2016
Top 5 Payors of 2016
 Jurisdiction                        Payor Name                                             Amount
 City of Sacramento                  Sutter Health                                          $1,505,000
 City of Oakland                     Koshland Foundation                                    $1,200,000
 City of Los Angeles                 Disney Worldwide Services Inc.                         $1,000,000
 City of Oakland                     Kaiser Permanente                                      $635,000
 City of Los Angeles                 The Bloomberg Family Foundation                        $621,333


Sutter Health
 Official          Jurisdiction             Payor Name            Payee Name             Amount
 Darrell
 Steinberg         City of Sacramento       Sutter Health         Steinberg Institute    $1,500,000
 Kevin                                                            Sacramento Public
 Johnson           City of Sacramento       Sutter Health         Policy Foundation      $2,500
 Kevin                                                            Sacramento Public
 Johnson           City of Sacramento       Sutter Health         Policy Foundation      $2,500


Koshland Foundation
 Official    Jurisdiction             Payor Name            Payee Name                        Amount
 Libby                                Koshland
 Schaaf      City of Oakland          Foundation            Oakland Public Education Fund     $900,000
 Libby                                Koshland
 Schaaf      City of Oakland          Foundation            Oakland Public Education Fund     $300,000


Disney Worldwide Services Inc.
 Official       Jurisdiction         Payor Name                   Payee Name                    Amount
 Eric           City of Los          Disney Worldwide Services    Mayor's Fund for Los
 Garcetti       Angeles              Inc.                         Angeles                       $1,000,000


Kaiser Permanente

 Official          Jurisdiction             Payor Name            Payee Name                Amount
                                                                  Oakland Public
 Libby Schaaf      City of Oakland          Kaiser Permanente     Education Fund            $300,000
                                                                  The Women's
                   City and County of                             Foundation of
 Edwin Lee         San Francisco            Kaiser Permanente     California                $175,000
                                                                  Oakland Public
 Libby Schaaf      City of Oakland          Kaiser Permanente     Education Fund            $95,000


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                                                                Oakland Public
 Libby Schaaf    City of Oakland        Kaiser Permanente       Education Fund         $50,000


 Darrell
 Steinberg       City of Sacramento     Kaiser Permanente       All About Sacramento   $15,000


The Bloomberg-Family Foundation
 Official      Jurisdiction              Payor Name             Payee Name             Amount
                                         The Bloomberg          Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles     Family Foundation      Angeles                $621,333


Top 5 Payees of 2016
 Jurisdiction                  Payee Name                                              Amount
 City of Los Angeles           Mayor's Fund for Los Angeles                            $8,146,492
 City of Oakland               Oakland Public Education Fund                           $2,894,730
 City of Sacramento            Steinberg Institute                                     $1,550,000
 City of Sacramento            St. Hope Academy                                        $546,000
 City of Oakland               Lee Bodner, President, Venture Fund                     $540,000


Mayor’s Fund for Los Angeles
          Jurisdictio
 Official n            Payor Name                     Payee Name                           Amount
 Eric
 Garcet City of Los Disney Worldwide Services                                              $1,000,00
 ti       Angeles      Inc.                           Mayor's Fund for Los Angeles         0
 Eric
 Garcet City of Los The Bloomberg Family
 ti       Angeles      Foundation                     Mayor's Fund for Los Angeles         $621,333
 Eric
 Garcet City of Los The La Vida Feliz
 ti       Angeles      Foundation                     Mayor's Fund for Los Angeles         $500,000
 Eric
 Garcet City of Los
 ti       Angeles      Roth Family Foundation         Mayor's Fund for Los Angeles         $500,000
 Eric
 Garcet City of Los Leonard Hill Charitable
 ti       Angeles      Trust c/o Murphy & Kress       Mayor's Fund for Los Angeles         $500,000
 Eric
 Garcet City of Los
 ti       Angeles      Dick Clark Productions, Inc.   Mayor's Fund for Los Angeles         $500,000
 Eric
 Garcet City of Los Twenty-First Century Fox,
 ti       Angeles      Inc.                           Mayor's Fund for Los Angeles         $500,000



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Eric
Garcet   City of Los The Leonard Hill Charitable
ti       Angeles     Trust                         Mayor's Fund for Los Angeles   $500,000
Eric
Garcet   City of Los
ti       Angeles     The Weingart Foundation       Mayor's Fund for Los Angeles   $350,000
Eric
Garcet   City of Los
ti       Angeles       The Annenberg Foundation    Mayor's Fund for Los Angeles   $333,000
Eric
Garcet   City of Los
ti       Angeles     Wasserman Foundation          Mayor's Fund for Los Angeles   $250,000
Eric
Garcet   City of Los The Karsh Family
ti       Angeles     Foundation                    Mayor's Fund for Los Angeles   $250,000
Eric
Garcet   City of Los Eli and Edythe Broad
ti       Angeles     Foundation                    Mayor's Fund for Los Angeles   $200,000
Eric
Garcet   City of Los The Paul Marciano
ti       Angeles     Foundation                    Mayor's Fund for Los Angeles   $200,000
Eric
Garcet   City of Los
ti       Angeles     Walter and Shirley Wang       Mayor's Fund for Los Angeles   $200,000
Eric
Garcet   City of Los The Eli and Edythe Broad
ti       Angeles     Foundation                    Mayor's Fund for Los Angeles   $200,000
Eric
Garcet   City of Los
ti       Angeles     AT&T                          Mayor's Fund for Los Angeles   $150,000
Eric
Garcet   City of Los
ti       Angeles       Canyon Partners LLC         Mayor's Fund for Los Angeles   $125,000
Eric
Garcet   City of Los
ti       Angeles     The Eisner Foundation         Mayor's Fund for Los Angeles   $125,000
Eric                 The Goldhirsh Foundation,
Garcet   City of Los Inc. c/o RINET Company,
ti       Angeles     LLC                           Mayor's Fund for Los Angeles   $112,500
Eric
Garcet   City of Los
ti       Angeles     The Getty Foundation          Mayor's Fund for Los Angeles   $110,000
Eric
Garcet   City of Los Marc and Eva Stern
ti       Angeles     Foundation                    Mayor's Fund for Los Angeles   $106,450




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Eric                                                Mayor's Fund for Los Angeles C/O
Garcet   City of Los Los Angeles Dodgers            The California Community
ti       Angeles     Foundation                     Foundation                         $100,000
Eric
Garcet   City of Los
ti       Angeles     S.D. Bechtel, Jr. Foundation   Mayor's Fund for Los Angeles       $100,000
Eric                 The Coalition for the
Garcet   City of Los Economy & Jobs in Los
ti       Angeles     Angeles                        Mayor's Fund for Los Angeles       $90,000
Eric
Garcet   City of Los
ti       Angeles       The California Endowment     Mayor's Fund for Los Angeles       $90,000
Eric
Garcet   City of Los
ti       Angeles     Ernst & Young LLP              Mayor's Fund for Los Angeles       $75,000
Eric
Garcet   City of Los The Marc and Eva Stern
ti       Angeles     Foundation                     Mayor's Fund for Los Angeles       $60,340
Eric
Garcet   City of Los
ti       Angeles     AT&T                           Mayor's Fund for Los Angeles       $50,000
Eric
Garcet   City of Los Katie McGrath and JJ
ti       Angeles     Abrams Family Foundation       Mayor's Fund for Los Angeles       $50,000
Eric
Garcet   City of Los
ti       Angeles     The California Endowment       Mayor's Fund for Los Angeles       $35,000
Eric
Garcet   City of Los The Los Angeles Lakers
ti       Angeles     Youth Foundation               Mayor's Fund for Los Angeles       $25,000
Eric
Garcet   City of Los Sony Pictures
ti       Angeles     Entertainment                  Mayor's Fund for Los Angeles       $25,000
Eric
Garcet   City of Los Baxter 2014 Family
ti       Angeles     Foundation                     Mayor's Fund for Los Angeles       $25,000
Eric
Garcet   City of Los Thomas Unterman and
ti       Angeles     Janet Unterman                 Mayor's Fund for Los Angeles       $25,000
Eric
Garcet   City of Los Hauptman Family
ti       Angeles     Foundation                     Mayor's Fund for Los Angeles       $25,000
Eric
Garcet   City of Los
ti       Angeles     AT&T                           Mayor's Fund for Los Angeles       $20,000




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 Eric
 Garcet     City of Los
 ti         Angeles        East West Bank            Mayor's Fund for Los Angeles   $20,000
 Eric
 Garcet     City of Los
 ti         Angeles     UCLA Athletics c/o NEULION   Mayor's Fund for Los Angeles   $10,369
 Eric
 Garcet     City of Los
 ti         Angeles     Jam City                     Mayor's Fund for Los Angeles   $10,000
 Eric
 Garcet     City of Los The California Wellness
 ti         Angeles     Foundation                   Mayor's Fund for Los Angeles   $10,000
 Eric
 Garcet     City of Los
 ti         Angeles     Lisa Henson                  Mayor's Fund for Los Angeles   $10,000
 Eric
 Garcet     City of Los
 ti         Angeles     The Getty Foundation         Mayor's Fund for Los Angeles   $10,000
 Eric
 Garcet     City of Los
 ti         Angeles        NBCUniversal Media, LLC   Mayor's Fund for Los Angeles   $10,000
 Eric
 Garcet     City of Los
 ti         Angeles     Cedars-Sinai                 Mayor's Fund for Los Angeles   $10,000
 Eric
 Garcet     City of Los
 ti         Angeles     Federal Signal Corporation   Mayor's Fund for Los Angeles   $7,500
 Eric
 Garcet     City of Los
 ti         Angeles     Mike McGinley                Mayor's Fund for Los Angeles   $5,000
 Eric
 Garcet     City of Los
 ti         Angeles        Pacific Western Bank      Mayor's Fund for Los Angeles   $5,000
 Eric
 Garcet     City of Los James Berkus c/o Premier
 ti         Angeles     Management                   Mayor's Fund for Los Angeles   $5,000
 Eric
 Garcet     City of Los James Berkus c/o Premier
 ti         Angeles     Management                   Mayor's Fund for Los Angeles   $5,000


Oakland Public Education Fund
 Official   Jurisdiction    Payor Name                             Payee Name        Amount
 Libby      City of                                                Oakland Public
 Schaaf     Oakland         Koshland Foundation                    Education Fund    $900,000
 Libby      City of                                                Oakland Public
 Schaaf     Oakland         Kaiser Permanente                      Education Fund    $300,000

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Libby    City of                                          Oakland Public
Schaaf   Oakland   Koshland Foundation                    Education Fund    $300,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   The California Wellness Foundation     Education Fund    $200,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Oakland Fund for Children and Youth    Education Fund    $133,800
Libby    City of                                          Oakland Public
Schaaf   Oakland   Silicon Valley Community Foundation    Education Fund    $100,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Tides Foundation                       Education Fund    $100,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Marc Benioff                           Education Fund    $100,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Kaiser Permanente                      Education Fund    $95,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   David and Lucile Packard Foundation    Education Fund    $80,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Hellman Family Foundation              Education Fund    $50,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Clorox Foundation                      Education Fund    $50,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Kaiser Permanente                      Education Fund    $50,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Uber                                   Education Fund    $50,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Moriah Fund                            Education Fund    $40,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Beneficial State Bank                  Education Fund    $30,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Rogers Family Foundation               Education Fund    $30,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   GASS Entertainment                     Education Fund    $25,000
Libby    City of   Golden State Warriors Community        Oakland Public
Schaaf   Oakland   Foundation                             Education Fund    $20,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Riaz Taplin                            Education Fund    $15,500
Libby    City of                                          Oakland Public
Schaaf   Oakland   The Oakland Athletics Community Fund   Education Fund    $15,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Nat Roden                              Education Fund    $10,430
Libby    City of                                          Oakland Public
Schaaf   Oakland   San Francisco Foundation               Education Fund    $10,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   Friedman Family Foundation             Education Fund    $10,000
Libby    City of                                          Oakland Public
Schaaf   Oakland   College Track                          Education Fund    $10,000


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Libby    City of                                         Oakland Public
Schaaf   Oakland   Ellis Partners                        Education Fund    $10,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   California Endowment                  Education Fund    $10,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Campaign for Black Male Achievement   Education Fund    $10,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   The Shipyard Communities              Education Fund    $10,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Libitzky Family Foundation            Education Fund    $10,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Let's Go Oakland                      Education Fund    $10,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Silicon Schools Fund                  Education Fund    $10,000
Libby    City of   Milton A. & Charlotte R. Kramer       Oakland Public
Schaaf   Oakland   Charitable Foundation                 Education Fund    $10,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Bessemer Trust                        Education Fund    $10,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Riaz Taplin                           Education Fund    $10,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Strada Investment Group               Education Fund    $10,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Pacific Park Management               Education Fund    $5,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Amy & Eddie Orton                     Education Fund    $5,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   AB&I Foundry                          Education Fund    $5,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Future State                          Education Fund    $5,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Riaz Taplin                           Education Fund    $5,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Richard Padden                        Education Fund    $5,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   San Francisco Foundation              Education Fund    $5,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Unity Council                         Education Fund    $5,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   James Ellis                           Education Fund    $5,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   George Zimmer                         Education Fund    $5,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   J.C. Kellogg Foundation               Education Fund    $5,000
Libby    City of                                         Oakland Public
Schaaf   Oakland   Brightpath Capital Partners           Education Fund    $5,000


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Steinberg Institute
 Official        Jurisdiction         Payor Name          Payee Name            Amount
 Darrell
 Steinberg       City of Sacramento   Sutter Health       Steinberg Institute   $1,500,000

 Darrell                              Molina Healthcare
 Steinberg      City of Sacramento    of California       Steinberg Institute   $50,000


St. Hope Academy
 Official      Jurisdiction           Payor Name          Payee Name            Amount
 Kevin
 Johnson        City of Sacramento    Kevin Nagle         St. Hope Academy      $50,000
 Kevin
 Johnson        City of Sacramento    Kevin Nagle         St. Hope Academy      $50,000
 Kevin                                Angelos K.
 Johnson        City of Sacramento    Tsakopoulos         St. Hope Academy      $50,000
 Kevin                                Angelos K.
 Johnson        City of Sacramento    Tsakopoulos         St. Hope Academy      $50,000
 Kevin                                Angelo K.
 Johnson        City of Sacramento    Tsakopoulos         St. Hope Academy      $50,000
 Kevin                                Franklin Advisers
 Johnson        City of Sacramento    Inc.                St. Hope Academy      $25,000
 Kevin                                Pacific Coast
 Johnson        City of Sacramento    Companies, Inc.     St. Hope Academy      $25,000

 Kevin                                Mark and Marjorie
 Johnson        City of Sacramento    Friedman            St. Hope Academy      $25,000
 Kevin                                Pacific Coast
 Johnson        City of Sacramento    Companies, Inc.     St. Hope Academy      $25,000
 Kevin                                Oates Family
 Johnson        City of Sacramento    Foundation          St. Hope Academy      $25,000
 Kevin                                Fulcrum Property
 Johnson        City of Sacramento    Corp.               St. Hope Academy      $25,000
 Kevin
 Johnson        City of Sacramento    Dignity Health      St. Hope Academy      $15,000

 Kevin                                US Bank National
 Johnson        City of Sacramento    Association         St. Hope Academy      $10,000
 Kevin                                Golden 1 Credit
 Johnson        City of Sacramento    Union               St. Hope Academy      $10,000




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                                Morton-Marcine
Kevin                           Freidman
Johnson    City of Sacramento   Foundation           St. Hope Academy   $10,000
Kevin
Johnson    City of Sacramento   Beth Jane Shultz     St. Hope Academy   $10,000
Kevin                           Ethan Conrad
Johnson    City of Sacramento   Properties, Inc      St. Hope Academy   $10,000

Kevin                           The Scotts Company
Johnson    City of Sacramento   and Subsidiaries     St. Hope Academy   $10,000
Kevin                           Sierra Health
Johnson    City of Sacramento   Foundation           St. Hope Academy   $7,500
Kevin                           Sierra Health
Johnson    City of Sacramento   Foundation           St. Hope Academy   $6,000
Kevin
Johnson    City of Sacramento   People Finders       St. Hope Academy   $5,000
Kevin                           Wells Fargo Bank
Johnson    City of Sacramento   N.A.                 St. Hope Academy   $5,000
Kevin
Johnson    City of Sacramento   Waste Management     St. Hope Academy   $5,000

Kevin                           Greater Sacramento
Johnson    City of Sacramento   Area Economic        St. Hope Academy   $5,000

Kevin                           East Bay Community
Johnson    City of Sacramento   Foundation           St. Hope Academy   $5,000

Kevin                           Sacramento Public
Johnson    City of Sacramento   Policy Foundation    St. Hope Academy   $5,000

Kevin                           Downtown Railyard
Johnson    City of Sacramento   Venture              St. Hope Academy   $5,000

Kevin                           Downtown Railyard
Johnson    City of Sacramento   Venture              St. Hope Academy   $5,000

Kevin                           Downtown Railyard
Johnson    City of Sacramento   Venture              St. Hope Academy   $5,000

Kevin                           Downtown Railyard
Johnson    City of Sacramento   Venture              St. Hope Academy   $5,000


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 Kevin                                         New Faze Holdings,
 Johnson         City of Sacramento            LLC                     St. Hope Academy       $5,000
 Kevin
 Johnson         City of Sacramento            AT&T                    St. Hope Academy       $2,500


Lee Bodner, President, Venture Fund
 Official   Jurisdiction       Payor Name                           Payee Name                     Amount
 Libby      City of            Wayne and Gladys Valley              Lee Bodner, President,
 Schaaf     Oakland            Foundation                           Venture Fund                   $500,000
 Libby      City of                                                 Lee Bodner, President,
 Schaaf     Oakland            Mahindra USA, INC.                   Venture Fund                   $40,000


Top 5 Behesting Officials of 2016
 Official                                 Jurisdiction                                    Amount
 Eric Garcetti                            City of Los Angeles                             $9,082,992
 Libby Schaaf                             City of Oakland                                 $3,934,730
 Darrell Steinberg                        City of Sacramento                              $1,740,000
 Kevin Johnson                            City of Sacramento                              $1,047,018
 Kevin Faulconer                          City of San Diego                               $822,110


Eric Garcetti
           Jurisdictio
 Official n                Payor Name                      Payee Name                                  Amount
 Eric
 Garcet City of Los        Disney Worldwide Services                                                   $1,000,00
 ti        Angeles         Inc.                            Mayor's Fund for Los Angeles                0
 Eric
 Garcet City of Los        The Bloomberg Family
 ti        Angeles         Foundation                      Mayor's Fund for Los Angeles                $621,333
 Eric
 Garcet City of Los        The La Vida Feliz
 ti        Angeles         Foundation                      Mayor's Fund for Los Angeles                $500,000
 Eric
 Garcet City of Los
 ti        Angeles         Roth Family Foundation          Mayor's Fund for Los Angeles                $500,000
 Eric
 Garcet City of Los        Leonard Hill Charitable
 ti        Angeles         Trust c/o Murphy & Kress        Mayor's Fund for Los Angeles                $500,000
 Eric
 Garcet City of Los
 ti        Angeles         Dick Clark Productions, Inc.    Mayor's Fund for Los Angeles                $500,000
 Eric
 Garcet City of Los        Twenty-First Century Fox,
 ti        Angeles         Inc.                            Mayor's Fund for Los Angeles                $500,000

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Eric
Garcet   City of Los The Leonard Hill Charitable
ti       Angeles     Trust                         Mayor's Fund for Los Angeles   $500,000
Eric
Garcet   City of Los
ti       Angeles     The Weingart Foundation       Mayor's Fund for Los Angeles   $350,000
Eric
Garcet   City of Los Westfield Property            Los Angeles 2024 Exploratory
ti       Angeles     Management LLC                Committee                      $350,000
Eric
Garcet   City of Los
ti       Angeles     The Annenberg Foundation      Mayor's Fund for Los Angeles   $333,000
Eric
Garcet   City of Los
ti       Angeles     Wasserman Foundation          Mayor's Fund for Los Angeles   $250,000
Eric
Garcet   City of Los The Karsh Family
ti       Angeles     Foundation                    Mayor's Fund for Los Angeles   $250,000
Eric
Garcet   City of Los Eli and Edythe Broad
ti       Angeles     Foundation                    Mayor's Fund for Los Angeles   $200,000
Eric
Garcet   City of Los The Paul Marciano
ti       Angeles     Foundation                    Mayor's Fund for Los Angeles   $200,000
Eric
Garcet   City of Los
ti       Angeles     Walter and Shirley Wang       Mayor's Fund for Los Angeles   $200,000
Eric
Garcet   City of Los The Eli and Edythe Broad
ti       Angeles     Foundation                    Mayor's Fund for Los Angeles   $200,000
Eric
Garcet   City of Los
ti       Angeles     AT&T                          Mayor's Fund for Los Angeles   $150,000
Eric
Garcet   City of Los
ti       Angeles     Canyon Partners LLC           Mayor's Fund for Los Angeles   $125,000
Eric
Garcet   City of Los
ti       Angeles     The Eisner Foundation         Mayor's Fund for Los Angeles   $125,000
Eric                 The Goldhirsh Foundation,
Garcet   City of Los Inc. c/o RINET Company,
ti       Angeles     LLC                           Mayor's Fund for Los Angeles   $112,500
Eric
Garcet   City of Los
ti       Angeles       The Getty Foundation        Mayor's Fund for Los Angeles   $110,000




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Eric
Garcet   City of Los Marc and Eva Stern
ti       Angeles     Foundation                     Mayor's Fund for Los Angeles       $106,450
Eric                                                Mayor's Fund for Los Angeles C/O
Garcet   City of Los Los Angeles Dodgers            The California Community
ti       Angeles     Foundation                     Foundation                         $100,000
Eric
Garcet   City of Los
ti       Angeles     The Annenberg Foundation       The GRYD Foundation                $100,000
Eric
Garcet   City of Los                                Los Angeles 2024 Exploratory
ti       Angeles       CRC Services, LLC            Committee                          $100,000
Eric
Garcet   City of Los
ti       Angeles     S.D. Bechtel, Jr. Foundation   Mayor's Fund for Los Angeles       $100,000
Eric                 The Coalition for the
Garcet   City of Los Economy & Jobs in Los
ti       Angeles     Angeles                        Mayor's Fund for Los Angeles       $90,000
Eric
Garcet   City of Los
ti       Angeles     The California Endowment       Mayor's Fund for Los Angeles       $90,000
Eric
Garcet   City of Los
ti       Angeles       LA 84 Foundation             The GRYD Foundation                $75,000
Eric
Garcet   City of Los
ti       Angeles     Ernst & Young LLP              Mayor's Fund for Los Angeles       $75,000
Eric
Garcet   City of Los The Marc and Eva Stern
ti       Angeles     Foundation                     Mayor's Fund for Los Angeles       $60,340
Eric
Garcet   City of Los
ti       Angeles     AT&T                           Mayor's Fund for Los Angeles       $50,000
Eric
Garcet   City of Los The David Bohnett
ti       Angeles     Foundation                     The GRYD Foundation                $50,000
Eric
Garcet   City of Los
ti       Angeles     Wells Fargo Foundation         The GRYD Foundation                $50,000
Eric
Garcet   City of Los Katie McGrath and JJ
ti       Angeles     Abrams Family Foundation       Mayor's Fund for Los Angeles       $50,000
Eric
Garcet   City of Los California Community
ti       Angeles     Foundation                     The GRYD Foundation                $45,000




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Eric
Garcet   City of Los
ti       Angeles       The California Endowment    Mayor's Fund for Los Angeles   $35,000
Eric
Garcet   City of Los The Los Angeles Lakers
ti       Angeles     Youth Foundation              Mayor's Fund for Los Angeles   $25,000
Eric
Garcet   City of Los Sony Pictures
ti       Angeles     Entertainment                 Mayor's Fund for Los Angeles   $25,000
Eric
Garcet   City of Los Baxter 2014 Family
ti       Angeles     Foundation                    Mayor's Fund for Los Angeles   $25,000
Eric
Garcet   City of Los Thomas Unterman and
ti       Angeles     Janet Unterman                Mayor's Fund for Los Angeles   $25,000
Eric
Garcet   City of Los Hauptman Family
ti       Angeles     Foundation                    Mayor's Fund for Los Angeles   $25,000
Eric
Garcet   City of Los
ti       Angeles     AT&T                          Mayor's Fund for Los Angeles   $20,000
Eric
Garcet   City of Los
ti       Angeles     East West Bank                Mayor's Fund for Los Angeles   $20,000
Eric
Garcet   City of Los The Carol and James Collins
ti       Angeles     Foundation                    The GRYD Foundation            $15,000
Eric
Garcet   City of Los
ti       Angeles     UCLA Athletics c/o NEULION    Mayor's Fund for Los Angeles   $10,369
Eric
Garcet   City of Los
ti       Angeles     Jam City                      Mayor's Fund for Los Angeles   $10,000
Eric
Garcet   City of Los The California Wellness
ti       Angeles     Foundation                    Mayor's Fund for Los Angeles   $10,000
Eric
Garcet   City of Los
ti       Angeles       The Walt Disney Company     The GRYD Foundation            $10,000
Eric
Garcet   City of Los
ti       Angeles     Johnny Carson Foundation      The GRYD Foundation            $10,000
Eric
Garcet   City of Los
ti       Angeles     Lisa Henson                   Mayor's Fund for Los Angeles   $10,000




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 Eric
 Garcet     City of Los
 ti         Angeles     The Getty Foundation          Mayor's Fund for Los Angeles          $10,000
 Eric
 Garcet     City of Los
 ti         Angeles        NBCUniversal Media, LLC    Mayor's Fund for Los Angeles          $10,000
 Eric
 Garcet     City of Los
 ti         Angeles     Cedars-Sinai                  Mayor's Fund for Los Angeles          $10,000
 Eric                   Southern California Pipe
 Garcet     City of Los Trades District of Council    Los Angeles 2024 Exploratory
 ti         Angeles     #16                           Committee                             $10,000
 Eric
 Garcet     City of Los Southern California           Los Angeles 2024 Exploratory
 ti         Angeles     I.B.E.W.-N.E.C.A.             Committee                             $10,000
 Eric
 Garcet     City of Los
 ti         Angeles     Federal Signal Corporation    Mayor's Fund for Los Angeles          $7,500
 Eric
 Garcet     City of Los Southern California Tennis
 ti         Angeles     Association                   The GRYD Foundation                   $6,500
 Eric
 Garcet     City of Los
 ti         Angeles        Mike McGinley              Mayor's Fund for Los Angeles          $5,000
 Eric
 Garcet     City of Los
 ti         Angeles     Pacific Western Bank          Mayor's Fund for Los Angeles          $5,000
 Eric
 Garcet     City of Los James Berkus c/o Premier
 ti         Angeles     Management                    Mayor's Fund for Los Angeles          $5,000
 Eric
 Garcet     City of Los James Berkus c/o Premier
 ti         Angeles     Management                    Mayor's Fund for Los Angeles          $5,000
 Eric
 Garcet     City of Los California Community
 ti         Angeles     Foundation                    The GRYD Foundation                   $5,000


Libby Schaaf
 Official   Jurisdiction   Payor Name                            Payee Name                  Amount
 Libby      City of                                              Oakland Public Education    $900,00
 Schaaf     Oakland        Koshland Foundation                   Fund                        0
 Libby      City of                                              Lee Bodner, President,      $500,00
 Schaaf     Oakland        Wayne and Gladys Valley Foundation    Venture Fund                0
 Libby      City of        Lee Bodner, President, New Venture    Wayne and Gladys Valley     $500,00
 Schaaf     Oakland        Fund                                  Foundation                  0



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Libby    City of                                         Oakland Public Education    $300,00
Schaaf   Oakland   Kaiser Permanente                     Fund                        0
Libby    City of                                         Oakland Public Education    $300,00
Schaaf   Oakland   Koshland Foundation                   Fund                        0
Libby    City of                                         Oakland Public Education    $200,00
Schaaf   Oakland   The California Wellness Foundation    Fund                        0
Libby    City of                                         Oakland Public Education    $133,80
Schaaf   Oakland   Oakland Fund for Children and Youth   Fund                        0
Libby    City of                                         Oakland Public Education    $100,00
Schaaf   Oakland   Silicon Valley Community Foundation   Fund                        0
Libby    City of                                         Oakland Public Education    $100,00
Schaaf   Oakland   Tides Foundation                      Fund                        0
Libby    City of                                         Oakland Public Education    $100,00
Schaaf   Oakland   Marc Benioff                          Fund                        0
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Kaiser Permanente                     Fund                        $95,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   David and Lucile Packard Foundation   Fund                        $80,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Hellman Family Foundation             Fund                        $50,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Clorox Foundation                     Fund                        $50,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Kaiser Permanente                     Fund                        $50,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Uber                                  Fund                        $50,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Moriah Fund                           Fund                        $40,000
Libby    City of                                         Lee Bodner, President,
Schaaf   Oakland   Mahindra USA, INC.                    Venture Fund                $40,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Beneficial State Bank                 Fund                        $30,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Rogers Family Foundation              Fund                        $30,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   GASS Entertainment                    Fund                        $25,000
Libby    City of   Golden State Warriors Community       Oakland Public Education
Schaaf   Oakland   Foundation                            Fund                        $20,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Riaz Taplin                           Fund                        $15,500
Libby    City of   The Oakland Athletics Community       Oakland Public Education
Schaaf   Oakland   Fund                                  Fund                        $15,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Nat Roden                             Fund                        $10,430
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   San Francisco Foundation              Fund                        $10,000


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Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Friedman Family Foundation            Fund                        $10,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   College Track                         Fund                        $10,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Ellis Partners                        Fund                        $10,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   California Endowment                  Fund                        $10,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Campaign for Black Male Achievement   Fund                        $10,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   The Shipyard Communities              Fund                        $10,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Libitzky Family Foundation            Fund                        $10,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Let's Go Oakland                      Fund                        $10,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Silicon Schools Fund                  Fund                        $10,000
Libby    City of   Milton A. & Charlotte R. Kramer       Oakland Public Education
Schaaf   Oakland   Charitable Foundation                 Fund                        $10,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Bessemer Trust                        Fund                        $10,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Riaz Taplin                           Fund                        $10,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Strada Investment Group               Fund                        $10,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Pacific Park Management               Fund                        $5,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Amy & Eddie Orton                     Fund                        $5,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   AB&I Foundry                          Fund                        $5,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Future State                          Fund                        $5,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Riaz Taplin                           Fund                        $5,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Richard Padden                        Fund                        $5,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   San Francisco Foundation              Fund                        $5,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   Unity Council                         Fund                        $5,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   James Ellis                           Fund                        $5,000
Libby    City of                                         Oakland Public Education
Schaaf   Oakland   George Zimmer                         Fund                        $5,000


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 Libby       City of                                              Oakland Public Education
 Schaaf      Oakland      J.C. Kellogg Foundation                 Fund                         $5,000
 Libby       City of                                              Oakland Public Education
 Schaaf      Oakland      Brightpath Capital Partners             Fund                         $5,000


Darrell Steinberg
 Official        Jurisdiction             Payor Name            Payee Name            Amount
 Darrell
 Steinberg       City of Sacramento       Sutter Health         Steinberg Institute   $1,500,000

 Darrell                                  Molina Healthcare
 Steinberg       City of Sacramento       of California         Steinberg Institute   $50,000
 Darrell                                                        All About
 Steinberg       City of Sacramento       PT Gaming, LLC        Sacramento            $25,000


                                          Members' Voice of
                                          the State Building
                                          and Construction
 Darrell                                  Trades Council of     All About
 Steinberg       City of Sacramento       California            Sacramento            $25,000
 Darrell                                  Sutter Valley         All About
 Steinberg       City of Sacramento       Hospitals             Sacramento            $15,000
 Darrell                                                        All About
 Steinberg       City of Sacramento       Kaiser Permanente     Sacramento            $15,000
 Darrell                                  University of         All About
 Steinberg       City of Sacramento       California, Davis     Sacramento            $10,000
                                          Sacramento
 Darrell                                  Municipal Utility     All About
 Steinberg       City of Sacramento       District              Sacramento            $10,000


                                          Pharmaceutical
                                          Research and
 Darrell                                  Manufacturers of      All About
 Steinberg       City of Sacramento       America (PhRMA)       Sacramento            $10,000
 Darrell                                                        All About
 Steinberg       City of Sacramento       Vision Service Plan   Sacramento            $10,000
 Darrell                                  Hanson Bridgett,      All About
 Steinberg       City of Sacramento       LLP                   Sacramento            $10,000
 Darrell                                  Platinum Advisors     All About
 Steinberg       City of Sacramento       LLC                   Sacramento            $5,000




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 Darrell                             Cyril Shah for City     All About
 Steinberg      City of Sacramento   Council 2014            Sacramento         $5,000


                                     Plumbers &
                                     Pipefitters Local 447
 Darrell                             Federal Political       All About
 Steinberg      City of Sacramento   Action Fund             Sacramento         $5,000
 Darrell                                                     All About
 Steinberg      City of Sacramento   Chelsea Minor           Sacramento         $5,000

 Darrell                             1415 Meridian Plaza     All About
 Steinberg      City of Sacramento   Investors, LP           Sacramento         $5,000

 Darrell                             Cyril Shah for City     All About
 Steinberg      City of Sacramento   Council 2014            Sacramento         $5,000
 Darrell                                                     All About
 Steinberg      City of Sacramento   Garry Malsal            Sacramento         $5,000
                                     Sacramento
 Darrell                             Convention &            All About
 Steinberg      City of Sacramento   Visitors Bureau         Sacramento         $5,000
 Darrell                             Sacramento Kings,       All About
 Steinberg      City of Sacramento   LP                      Sacramento         $5,000
 Darrell                             Jim Gonzalez &          All About
 Steinberg      City of Sacramento   Associates, LLC         Sacramento         $5,000


                                     AT&T California
 Darrell                             Employee Political      All About
 Steinberg      City of Sacramento   Action Committee        Sacramento         $5,000
 Darrell                             University              All About
 Steinberg      City of Sacramento   Enterprises, Inc.       Sacramento         $5,000


Kevin Johnson
 Official       Jurisdiction         Payor Name              Payee Name         Amount



                                     Emerson Collective,
                                     LLC/Silicon Valley
 Kevin                               Community
 Johnson        City of Sacramento   Foundation              STAND UP           $150,000
 Kevin
 Johnson        City of Sacramento   Kevin Nagle             St. Hope Academy   $50,000

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Kevin
Johnson   City of Sacramento   Kevin Nagle          St. Hope Academy    $50,000

Kevin                                               Sacramento Public
Johnson   City of Sacramento   Kevin Nagle          Policy Foundation   $50,000
Kevin                          Angelos K.
Johnson   City of Sacramento   Tsakopoulos          St. HOPE            $50,000
Kevin                          Angelos K.
Johnson   City of Sacramento   Tsakopoulos          St. HOPE            $50,000
Kevin                          Angelo K.
Johnson   City of Sacramento   Tsakopoulos          St. Hope Academy    $50,000

Kevin                                               Sacramento Public
Johnson   City of Sacramento   Kevin Nagle          Policy Foundation   $35,000
Kevin                          Franklin Advisers
Johnson   City of Sacramento   Inc.                 St. Hope Academy    $25,000
Kevin                          Pacific Coast
Johnson   City of Sacramento   Companies, Inc.      St. Hope Academy    $25,000

Kevin                          Mark and Marjorie
Johnson   City of Sacramento   Friedman             St. Hope Academy    $25,000


                               Buzz Oates
Kevin                          Commercial Real      Sacramento Public
Johnson   City of Sacramento   Estate Services      Policy Foundation   $25,000
Kevin                          Pacific Coast
Johnson   City of Sacramento   Companies, Inc.      St. HOPE            $25,000

Kevin                                               Sacramento Public
Johnson   City of Sacramento   Kevin Nagle          Policy Foundation   $25,000

Kevin                                               Sacramento Public
Johnson   City of Sacramento   Kevin Nagle          Policy Foundation   $25,000
Kevin                          Oates Family
Johnson   City of Sacramento   Foundation           St. Hope Academy    $25,000
Kevin                          Fulcrum Property
Johnson   City of Sacramento   Corp.                St. Hope Academy    $25,000


                               Greater Sacramento
Kevin                          Area Economic        Sacramento Public
Johnson   City of Sacramento   Council              Policy Foundation   $20,000



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                               Sacramento
Kevin                          Republic FC - Kevin   Sacramento Public
Johnson   City of Sacramento   Nagle                 Policy Foundation   $20,000
Kevin
Johnson   City of Sacramento   Dignity Health        St. Hope Academy    $15,000

Kevin                                                Sacramento Public
Johnson   City of Sacramento   Vanir Construction    Policy Foundation   $15,000

Kevin                          US Bank National
Johnson   City of Sacramento   Association           St. Hope Academy    $10,000

Kevin                          Sacramento Kings      Sacramento Public
Johnson   City of Sacramento   Limited Partnership   Policy Foundation   $10,000

Kevin                          Sacramento Kings      Sacramento Public
Johnson   City of Sacramento   Limited Partnership   Policy Foundation   $10,000
Kevin                          Golden 1 Credit
Johnson   City of Sacramento   Union                 St. Hope Academy    $10,000


                               Morton-Marcine
Kevin                          Freidman
Johnson   City of Sacramento   Foundation            St. Hope Academy    $10,000
Kevin
Johnson   City of Sacramento   Beth Jane Shultz      St. Hope Academy    $10,000
Kevin                          Ethan Conrad
Johnson   City of Sacramento   Properties, Inc       St. Hope Academy    $10,000

Kevin                          Sacramento Kings      Sacramento Public
Johnson   City of Sacramento   Limited Partnership   Policy Foundation   $10,000

Kevin                          Paladin Healthcare    Sacramento Public
Johnson   City of Sacramento   Capital               Policy Foundation   $10,000

Kevin                          Keenan and            Sacramento Public
Johnson   City of Sacramento   Associates            Policy Foundation   $10,000

Kevin                          The Scotts Company
Johnson   City of Sacramento   and Subsidiaries      St. HOPE            $10,000

Kevin                                                Sacramento Public
Johnson   City of Sacramento   AT&T                  Policy Foundation   $10,000


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Kevin                          Sierra Health
Johnson   City of Sacramento   Foundation            St. Hope Academy      $7,500

Kevin                          Golden 1 Credit       Sacramento Public
Johnson   City of Sacramento   Union                 Policy Foundation     $7,500

Kevin                          Sacramento Public     Equal Justice
Johnson   City of Sacramento   Policy Foundation     Initiative            $6,018
Kevin                          Sierra Health
Johnson   City of Sacramento   Foundation            St. Hope Academy      $6,000
Kevin
Johnson   City of Sacramento   People Finders        St. Hope Academy      $5,000
Kevin                          Wells Fargo Bank
Johnson   City of Sacramento   N.A.                  St. Hope Academy      $5,000
Kevin
Johnson   City of Sacramento   Waste Management      St. Hope Academy      $5,000


                                                     Way Up
                                                     Sacramento c/o
Kevin                          The Walmart           Nehemiah
Johnson   City of Sacramento   Foundation            Reinvestment Fund     $5,000

Kevin                          Greater Sacramento
Johnson   City of Sacramento   Area Economic         St. Hope Academy      $5,000
                               East Bay
Kevin                          Community
Johnson   City of Sacramento   Foundation            St. Hope Academy      $5,000

Kevin                          Sacramento Public
Johnson   City of Sacramento   Policy Foundation     St. Hope Academy      $5,000

Kevin                          Sacramento Public     United Way, Capitol
Johnson   City of Sacramento   Policy Foundation     Region                $5,000

Kevin                          Downtown Railyard
Johnson   City of Sacramento   Venture               St. HOPE              $5,000

Kevin                          Downtown Railyard
Johnson   City of Sacramento   Venture               St. HOPE              $5,000

Kevin                                                Sacramento Public
Johnson   City of Sacramento   Vision Service Plan   Policy Foundation     $5,000


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Kevin                          Downtown Railyard
Johnson   City of Sacramento   Venture              St. Hope Academy    $5,000

Kevin                          Downtown Railyard
Johnson   City of Sacramento   Venture              St. Hope Academy    $5,000

Kevin                                               Sacramento Public
Johnson   City of Sacramento   Wells Fargo Bank     Policy Foundation   $5,000
Kevin                          New Faze Holdings,
Johnson   City of Sacramento   LLC                  St. Hope Academy    $5,000

Kevin                                               Sacramento Public
Johnson   City of Sacramento   PhRMA                Policy Foundation   $5,000

Kevin                                               Sacramento Public
Johnson   City of Sacramento   PhRMA                Policy Foundation   $5,000

Kevin                                               Sacramento Public
Johnson   City of Sacramento   PhRMA                Policy Foundation   $5,000

Kevin                          University of        Sacramento Public
Johnson   City of Sacramento   California, Davis    Policy Foundation   $5,000
                               California Health
Kevin                          and Wellness -       Sacramento Public
Johnson   City of Sacramento   Centene              Policy Foundation   $5,000

Kevin                          Western Health       Sacramento Public
Johnson   City of Sacramento   Advantage            Policy Foundation   $5,000
Kevin
Johnson   City of Sacramento   AT&T                 St. HOPE            $2,500

Kevin                                               Sacramento Public
Johnson   City of Sacramento   Bank of America      Policy Foundation   $2,500

Kevin                                               Sacramento Public
Johnson   City of Sacramento   Walmart              Policy Foundation   $2,500


                               Buzz Oates
Kevin                          Commercial Real      Sacramento Public
Johnson   City of Sacramento   Estate Services      Policy Foundation   $2,500



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 Kevin                                                           Sacramento Public
 Johnson       City of Sacramento       Sutter Health            Policy Foundation   $2,500

 Kevin                                                           Sacramento Public
 Johnson       City of Sacramento       Sutter Health            Policy Foundation   $2,500


Kevin Faulconer
            Jurisdictio                                                                        Amoun
 Official   n             Payor Name                                   Payee Name              t
 Kevin
 Faulcone City of San                                                  Supporting One San      $50,00
 r          Diego         AT&T                                         Diego                   0
 Kevin
 Faulcone City of San                                                                          $30,00
 r          Diego         Issa Family Foundation                       USO SD                  0
 Kevin
 Faulcone City of San                                                  Supporting One San      $30,00
 r          Diego         Walmart                                      Diego                   0
 Kevin
 Faulcone City of San     Issues Mobilization Political Action         San Diego Regional      $25,00
 r          Diego         Committee CA Association of realtors         Chamber of Commerce     0
 Kevin
 Faulcone City of San                                                                          $25,00
 r          Diego         Moores, Rebecca                              USO SD                  0
 Kevin
 Faulcone City of San                                                  Supporting One San      $25,00
 r          Diego         Dammeyer Charitable Gift Fund                Diego                   0
 Kevin
 Faulcone City of San                                                  Supporting One San      $25,00
 r          Diego         San Diego Gas & Electric                     Diego                   0
 Kevin
 Faulcone City of San                                                  Supporting One San      $25,00
 r          Diego         William D. Lynch Foundation for Children     Diego                   0
 Kevin
 Faulcone City of San                                                  Supporting One San      $20,00
 r          Diego         William D. Lynch Foundation for Children     Diego                   0
 Kevin
 Faulcone City of San                                                  San Diego Regional      $15,00
 r          Diego         California Restaurant Association            Chamber of Commerce     0
 Kevin
 Faulcone City of San                                                  San Diego Regional      $15,00
 r          Diego         SD County Apartment Association              Chamber of Commerce     0
 Kevin
 Faulcone City of San                                                                          $15,00
 r          Diego         Goldberg, Frank and Lee                      USO SD                  0

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Kevin
Faulcone   City of San                                                                     $15,00
r          Diego         Ash, C. Neil & June                       USO SD                  0
Kevin
Faulcone   City of San                                                                     $15,00
r          Diego         J. Craig                                  USO SD                  0
Kevin
Faulcone   City of San                                                                     $12,85
r          Diego         McGrory, Jack and Una                     USO SD                  0
Kevin
Faulcone   City of San                                                                     $11,75
r          Diego         Cooper, Harry and Valerie                 USO SD                  0
Kevin
Faulcone   City of San                                                                     $10,50
r          Diego         Beyster Family Foundation                 USO SD                  0
Kevin
Faulcone   City of San                                                                     $10,00
r          Diego         Margret and Nevins McBride                La Jolla Playhouse      0
Kevin
Faulcone   City of San                                                                     $10,00
r          Diego         The San Diego Foundation from Dr. Seuss   USO SD                  0
Kevin
Faulcone   City of San                                                                     $10,00
r          Diego         Northrop Grumman Corporation              USO SD                  0
Kevin
Faulcone   City of San                                                                     $10,00
r          Diego         Shiley, Darlene                           USO SD                  0
Kevin
Faulcone   City of San                                                                     $10,00
r          Diego         Sanford, Denny                            USO SD                  0
Kevin
Faulcone   City of San                                                                     $10,00
r          Diego         Prebys/Turner                             USO SD                  0
Kevin
Faulcone   City of San                                                                     $10,00
r          Diego         Rockefeller Group International, Inc.     USO SD                  0
Kevin
Faulcone   City of San                                             Supporting One San      $10,00
r          Diego         Barbara and Daniel Spinazzola             Diego                   0
Kevin
Faulcone   City of San                                             Supporting One San      $10,00
r          Diego         Westfield DD&C LLC                        Diego                   0
Kevin
Faulcone   City of San   Jane and Thomas Sudberry, Trustees of     Supporting One San      $10,00
r          Diego         the Sudberry Family Trust                 Diego                   0




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Kevin
Faulcone   City of San                                          Supporting One San      $10,00
r          Diego         Lynelle G. Lynch                       Diego                   0
Kevin
Faulcone   City of San                                          Supporting One San      $10,00
r          Diego         Thomas Sudberry Jr.                    Diego                   0
Kevin
Faulcone   City of San                                          Supporting One San      $10,00
r          Diego         Campland, LLC                          Diego                   0
Kevin
Faulcone   City of San                                          Supporting One San      $10,00
r          Diego         Farrell Family Foundation              Diego                   0
Kevin
Faulcone   City of San                                          Supporting One San      $10,00
r          Diego         The San Diego Foundation               Diego                   0
Kevin
Faulcone   City of San
r          Diego         Denyer, Paul & Dian                    USO SD                  $7,500
Kevin
Faulcone   City of San
r          Diego         Whalen, Robert and Pat                 USO SD                  $7,500
Kevin
Faulcone   City of San
r          Diego         Stevens, Delton P. & Ann M.            USO SD                  $7,500
Kevin
Faulcone   City of San
r          Diego         National University                    USO SD                  $7,500
Kevin
Faulcone   City of San   Lowell and Julie Poltker Fund of the
r          Diego         Jewish Comm Fndtn                      La Jolla Playhouse      $7,000
Kevin
Faulcone   City of San
r          Diego         Cox Communications                     One San Diego           $7,000
Kevin
Faulcone   City of San
r          Diego         Borgonovi, Carlo and Eunice            USO SD                  $6,000
Kevin
Faulcone   City of San
r          Diego         Brian and Silvija Devine               La Jolla Playhouse      $5,000
Kevin
Faulcone   City of San
r          Diego         Karen and Stuart Tanz                  La Jolla Playhouse      $5,000
Kevin
Faulcone   City of San
r          Diego         Semtek Consulting                      One San Diego           $5,000




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Kevin
Faulcone   City of San
r          Diego         US Bank                             One San Diego      $5,000
Kevin
Faulcone   City of San
r          Diego         Eric Hedblad                        One San Diego      $5,000
Kevin
Faulcone   City of San
r          Diego         Black, Larry and Marla              USO SD             $5,000
Kevin
Faulcone   City of San
r          Diego         Union Bank of California            USO SD             $5,000
Kevin
Faulcone   City of San
r          Diego         California Bank & Trust             USO SD             $5,000
Kevin
Faulcone   City of San
r          Diego         Regan, Jim and Evangeline           USO SD             $5,000
Kevin
Faulcone   City of San
r          Diego         Horowitz, Reena                     USO SD             $5,000
Kevin
Faulcone   City of San
r          Diego         Congemi, Lynn/Stevens, Ken          USO SD             $5,000
Kevin
Faulcone   City of San
r          Diego         Josephson, Julian E. & Jennifer     USO SD             $5,000
Kevin
Faulcone   City of San
r          Diego         Deloitte Services LP                USO SD             $5,000
Kevin
Faulcone   City of San
r          Diego         Walton, Bill and Lori               USO SD             $5,000
Kevin
Faulcone   City of San
r          Diego         Continental Maritime of San Diego   USO SD             $5,000
Kevin
Faulcone   City of San
r          Diego         CADENCE                             USO SD             $5,000
Kevin
Faulcone   City of San
r          Diego         Northgate Markets                   USO SD             $5,000
Kevin
Faulcone   City of San
r          Diego         Dogde, Sandra                       USO SD             $5,000




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Kevin
Faulcone   City of San
r          Diego         Vaughn, Don and Kathryn              USO SD                  $5,000
Kevin
Faulcone   City of San
r          Diego         American National Investment         USO SD                  $5,000
Kevin
Faulcone   City of San   Amphion Executive Safe & Security
r          Diego         Corporation                          USO SD                  $5,000
Kevin
Faulcone   City of San
r          Diego         Jacobs, Donald & Charlotte           USO SD                  $5,000
Kevin
Faulcone   City of San
r          Diego         Step, Hanah                          USO SD                  $5,000
Kevin
Faulcone   City of San
r          Diego         Kahn, Sandy                          USO SD                  $5,000
Kevin
Faulcone   City of San
r          Diego         Doyle, Steve and Lynne               USO SD                  $5,000
Kevin
Faulcone   City of San
r          Diego         Knight, Jessie J., JR                USO SD                  $5,000
Kevin
Faulcone   City of San
r          Diego         Whalen, Robert and Pat               USO SD                  $5,000
Kevin
Faulcone   City of San
r          Diego         Sid & Jenny Craig Foundation         USO SD                  $5,000
Kevin
Faulcone   City of San
r          Diego         Jewish Community Foundation          USO SD                  $5,000
Kevin
Faulcone   City of San
r          Diego         Durisoe, Laurnie                     USO SD                  $5,000
Kevin
Faulcone   City of San                                        Supporting One San
r          Diego         Tree San Diego                       Diego                   $5,000
Kevin
Faulcone   City of San                                        Supporting One San
r          Diego         Sycuan Band of the Kumeyaay Nation   Diego                   $5,000
Kevin
Faulcone   City of San                                        Supporting One San
r          Diego         Bank of America                      Diego                   $5,000




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Kevin
Faulcone   City of San                                      Supporting the United
r          Diego         Wells Fargo                        Negro College Fund         $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         Wells Fargo Foundation             Diego                      $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         Pardee Homes                       Diego                      $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         IPS Group, Inc.                    Diego                      $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         Richard Esgate                     Diego                      $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         Cooley, LLP                        Diego                      $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         Michael Turk                       Diego                      $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         Sunroad Asset Management, Inc.     Diego                      $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         Wells Fargo Foundation             Diego                      $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         Sudberry Family Trust              Diego                      $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         Manpower San Diego                 Diego                      $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         San Diego Tourism Authority        Diego                      $5,000
Kevin
Faulcone   City of San   The San Diego Foundation (Padres   Supporting One San
r          Diego         Foundation General Fund)           Diego                      $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         9th & A Limited Partnership        Diego                      $5,000
Kevin
Faulcone   City of San                                      Supporting One San
r          Diego         Vulcan Materials Company           Diego                      $5,000




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Kevin
Faulcone   City of San
r          Diego         Mark and Kathryn Munoz       La Jolla Playhouse      $4,000
Kevin
Faulcone   City of San
r          Diego         Michael and Ellise Colt      La Jolla Playhouse      $2,510
Kevin
Faulcone   City of San
r          Diego         Tree San Diego               One San Diego           $2,500
Kevin
Faulcone   City of San
r          Diego         Daniel Spinazzola            One San Diego           $2,500
Kevin
Faulcone   City of San                                Supporting One San
r          Diego         Richard Esgate               Diego                   $2,000
Kevin
Faulcone   City of San
r          Diego         Margret and Nevins McBride   La Jolla Playhouse      $1,500
Kevin
Faulcone   City of San
r          Diego         Margret and Nevins McBride   La Jolla Playhouse      $1,000
Kevin
Faulcone   City of San
r          Diego         Tree San Diego               One San Diego           $1,000




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2017
Top 5 Payors of 2017
 Jurisdiction                   Payor Name                                               Amount
 City of Oakland                CrankStart Foundation (Michael Moritz)                   $10,000,000
 City of Oakland                Kaiser Permanente                                        $2,030,000
 City of Oakland                Arthur and Toni Rembe Rock                               $2,000,000
 City and County of San
 Francisco                      George Lucas Family Foundation                           $1,500,000
 City of Los Angeles            Bloomberg Philanthropies                                 $728,398


CrankStart Foundation (Michael Moritz)
 Official    Jurisdiction    Payor Name                              Payee Name          Amount
 Libby       City of         CrankStart Foundation (Michael          San Francisco       $10,000,00
 Schaaf      Oakland         Moritz)                                 Foundation          0


Kaiser Permanente
 Official     Jurisdiction        Payor Name            Payee Name                      Amount
 Libby                            Kaiser
 Schaaf       City of Oakland     Permanente            Oakland Public Education Fund   $2,030,000


Arthur and Toni Rembe Rock
 Official     Jurisdiction      Payor Name                  Payee Name                   Amount
 Libby        City of           Arthur and Toni Rembe       Oakland Public Education
 Schaaf       Oakland           Rock                        Fund                         $2,000,000


George Lucas Family Foundation
 Official   Jurisdiction     Payor Name                  Payee Name                       Amount
            City and
 Edwin      County of San    George Lucas Family         Life Learning Academy Center      $1,500,00
 Lee        Francisco        Foundation                  (LLA Build)                               0


Bloomberg Philanthropies
 Official   Jurisdiction          Payor Name                   Payee Name                Amount
 Eric       City of Los           Bloomberg                    Mayor's Fund for Los
 Garcetti   Angeles               Philanthropies               Angeles                   $728,398


Top 5 Payees of 2017
 Jurisdiction                   Payee Name                                               Amount
 City of Oakland                San Francisco Foundation                                 $10,000,000
 City of Los Angeles            Mayor's Fund for Los Angeles                             $4,212,953

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 City of Oakland                Oakland Public Education Fund                             $4,170,000
 City and County of San
 Francisco                      Life Learning Academy Center                              $1,505,000
 City of San Diego              La Jolla Playhouse                                        $689,485


San Francisco Foundation
 Official    Jurisdiction      Payor Name                          Payee Name             Amount
 Libby       City of           CrankStart Foundation (Michael      San Francisco          $10,000,00
 Schaaf      Oakland           Moritz)                             Foundation             0


Mayor’s Fund of Los Angeles
 Official       Jurisdiction            Payor Name              Payee Name             Amount
                                        Bloomberg               Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Philanthropies          Angeles                $728,398
                                        Roth Family             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Foundation              Angeles                $500,000
                                        Conrad N. Hilton        Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Foundation              Angeles                $350,000
                                                                Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Weingart Foundation     Angeles                $350,000
                                        The Karsh Family        Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Foundation              Angeles                $250,000
                                        Wasserman               Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Foundation              Angeles                $250,000
                                        The Eli and Edythe      Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Broad Foundation        Angeles                $200,000
                                        The Eisner              Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Foundation              Angeles                $150,000
                                                                Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Getty Foundation        Angeles                $110,000
                                        Paul Marciano           Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Foundation              Angeles                $100,000
                                        Leonard Hill
                                        Charitable Trust C/O    Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Murphy & Kress          Angeles                $100,000
                                        Marc and Eva Stern      Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Foundation              Angeles                $100,000
                                        California
                                        Community               Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Foundation              Angeles                $86,000
                                                                Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Living Cities, Inc.     Angeles                $75,000
                                                                Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles    Ernst and Young         Angeles                $75,000



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                                      The Goldhirsh
                                      Foundation c/o        Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   RINET Company LLC     Angeles                $60,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Stuart Foundation     Angeles                $60,000
                                      California
                                      Community             Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Foundation            Angeles                $54,000
                                      Katie McGrath and
                                      J.J. Abrams Family    Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Foundation            Angeles                $50,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Union Bank            Angeles                $50,000
                                      Toyota Mobility       Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Foundation            Angeles                $45,000
                                      Toyota Mobility       Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Foundation            Angeles                $44,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Anheusser Busch       Angeles                $35,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Cedars-Sinai          Angeles                $29,750
                                      AECOM Technology      Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Corporation           Angeles                $25,000
                                      Tom & Janet           Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Unterman              Angeles                $25,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Sony Pictures         Angeles                $25,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   AT&T                  Angeles                $25,000
                                      Conrad N. Hilton      Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Foundation            Angeles                $25,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Thomas Unterman       Angeles                $25,000
                                      The Getty             Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Foundation            Angeles                $22,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   East West Bank        Angeles                $20,000
                                      Daniel Berdakin       Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Family Foundation     Angeles                $15,000
                                      Kaza Azteca America   Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Inc.                  Angeles                $12,500
                                      Panda Restaurant      Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Group. Inc.           Angeles                $10,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Deloitte              Angeles                $10,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Verizon               Angeles                $10,000

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                                                             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Citi                  Angeles                $10,000
                                                             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Parsons Corporation   Angeles                $10,000
                                       NBC Universal         Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Media, LLC            Angeles                $10,000
                                       The Rana Family
                                       Fund C/o Vanguard     Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Charitable            Angeles                $10,000
                                                             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   LegalZoom, Inc.       Angeles                $10,000
                                                             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   DAQRI                 Angeles                $10,000
                                                             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Cooley LLP            Angeles                $10,000
                                                             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Silicon Valley Bank   Angeles                $10,000
                                                             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Tronc                 Angeles                $10,000
                                       Simpson Strong-Tie    Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Co., Inc.             Angeles                $7,500
                                       Optimum Seismic,      Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Inc.                  Angeles                $7,500
                                                             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   NBC Universal         Angeles                $6,305
                                       Enterprise
                                       Community Partners,   Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Inc.                  Angeles                $5,000
                                                             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Bofl Federal Bank     Angeles                $5,000
                                       Cornerstone           Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   OnDemand Inc.         Angeles                $5,000
                                                             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Sabio Enterprises     Angeles                $5,000
                                                             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Sabio Enterprises     Angeles                $5,000
                                       Enterprise
                                       Community Partners,   Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Inc.                  Angeles                -$5,000
                                       California
                                       Community             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Foundation            Angeles                -$20,000


Oakland Public Education Fund

 Official        Jurisdiction          Payor Name            Payee Name             Amount


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                                                            Oakland Public
 Libby Schaaf    City of Oakland      Kaiser Permanente     Education Fund        $2,030,000
                                      Arthur and Toni       Oakland Public
 Libby Schaaf    City of Oakland      Rembe Rock            Education Fund        $2,000,000
                                                            Oakland Public
 Libby Schaaf    City of Oakland      Stupski Foundation    Education Fund        $500,000
                                                            Oakland Public
 Libby Schaaf    City of Oakland      Packard Foundation    Education Fund        $80,000
                                      Another Planet        Oakland Public
 Libby Schaaf    City of Oakland      Entertainment         Education Fund        $25,000
                                                            Oakland Public
 Libby Schaaf    City of Oakland      The Clorox Company    Education Fund        $25,000
                                                            Oakland Public
 Libby Schaaf    City of Oakland      Moriah Fund           Education Fund        $15,000
                                                            Oakland Public
 Libby Schaaf    City of Oakland      Apple Inc             Education Fund        $10,000
                                      Best Bat Apartments   Oakland Public
 Libby Schaaf    City of Oakland      (Riaz Capital)        Education Fund        $10,000
                                      Alameda Health        Oakland Public
 Libby Schaaf    City of Oakland      Systems               Education Fund        $5,000
                                                            Oakland Public
 Libby Schaaf    City of Oakland      BBI Construction      Education Fund        $5,000
                                      San Francisco         Oakland Public
 Libby Schaaf    City of Oakland      Foundation            Education Fund        $5,000


Life Learning Academy Center
 Official        Jurisdiction         Payor Name            Payee Name            Amount
                                                            Life Learning
                 City and County of   George Lucas Family   Academy Center (LLA
 Edwin Lee       San Francisco        Foundation            Build)                         $1,500,000
                 City and County of   Barbary Coast         Life Learning
 Jane Kim        San Francisco        Collective            Academy                            $5,000


La Jolla Playhouse
 Official         Jurisdiction        Payor Name            Payee Name            Amount
 Kevin                                Lynelle and William
 Faulconer        City of San Diego   Lynch Household       La Jolla Playhouse    $57,000
 Kevin
 Faulconer        City of San Diego   Becky Moores          La Jolla Playhouse    $50,000
                                      Joan and Irwin
                                      Jacobs Fund of the
 Kevin                                Jewish Community
 Faulconer       City of San Diego    Foundation            La Jolla Playhouse    $50,000
 Kevin
 Faulconer       City of San Diego    Grove Entertainment   La Jolla Playhouse    $43,700


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                                Milton and Faiya
Kevin                           Fredman Family
Faulconer   City of San Diego   Fund Of Jcf           La Jolla Playhouse   $25,000
                                Scott Peters and
Kevin                           Lynn Gorguze
Faulconer   City of San Diego   Household             La Jolla Playhouse   $25,000
Kevin                           Kay and Bill Gurtin
Faulconer   City of San Diego   Household             La Jolla Playhouse   $25,000
Kevin                           Lynelle and William
Faulconer   City of San Diego   Lynch Household       La Jolla Playhouse   $25,000
                                Jordan Ressler
Kevin                           Charitable Fund of
Faulconer   City of San Diego   JCF                   La Jolla Playhouse   $25,000
                                Scott Peters and
Kevin                           Lynn Gorguze
Faulconer   City of San Diego   Household             La Jolla Playhouse   $25,000
Kevin                           Rich Family
Faulconer   City of San Diego   Foundation            La Jolla Playhouse   $20,000
                                Jeff Jacobs Family
Kevin                           Fund of The Jewish
Faulconer   City of San Diego   Comm Fndtn            La Jolla Playhouse   $10,000
Kevin                           Harvey and Sheryl
Faulconer   City of San Diego   White Household       La Jolla Playhouse   $10,000
Kevin                           Matthew and Iris
Faulconer   City of San Diego   Strauss Household     La Jolla Playhouse   $10,000
Kevin                           Lynelle and William
Faulconer   City of San Diego   Lynch Household       La Jolla Playhouse   $10,000
Kevin                           Michael and Elllise
Faulconer   City of San Diego   Colt Household        La Jolla Playhouse   $10,000
Kevin                           Stacy R. Jacobs
Faulconer   City of San Diego   Foundation            La Jolla Playhouse   $10,000
                                Hal and Debby
                                Jacobs Fund of the
Kevin                           Jewish Community
Faulconer   City of San Diego   Foundation            La Jolla Playhouse   $10,000
                                Dr. Seuss Fund at
Kevin                           San Diego
Faulconer   City of San Diego   Foundation            La Jolla Playhouse   $10,000
Kevin                           Farrell Family
Faulconer   City of San Diego   Foundation            La Jolla Playhouse   $10,000
Kevin                           Richemont North
Faulconer   City of San Diego   America               La Jolla Playhouse   $10,000
Kevin                           Karney Flaster Family
Faulconer   City of San Diego   Foundation            La Jolla Playhouse   $10,000
Kevin
Faulconer   City of San Diego   U.S. Bank             La Jolla Playhouse   $10,000


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                                Linda Chester and
Kevin                           Kenneth Rind
Faulconer   City of San Diego   Household              La Jolla Playhouse   $9,869
Kevin                           Michael and Melissa
Faulconer   City of San Diego   Bartell Household      La Jolla Playhouse   $7,988
                                Scott Peters and
Kevin                           Lynn Gorguze
Faulconer   City of San Diego   Household              La Jolla Playhouse   $7,000
Kevin                           Lucille and Ronald
Faulconer   City of San Diego   Neeley Foundation      La Jolla Playhouse   $6,300
                                Scott Peters and
Kevin                           Lynn Gorguze
Faulconer   City of San Diego   Household              La Jolla Playhouse   $6,000
                                David Bialis Family
Kevin                           Fund at Schwab
Faulconer   City of San Diego   Charitable             La Jolla Playhouse   $5,000
                                Fidelity Charitable
Kevin                           Gift Fund for Robert
Faulconer   City of San Diego   & Nina Doede           La Jolla Playhouse   $5,000
Kevin                           Lisa and David Casey
Faulconer   City of San Diego   Household              La Jolla Playhouse   $5,000
Kevin                           Lisa and David Casey
Faulconer   City of San Diego   Household              La Jolla Playhouse   $5,000
Kevin                           Michael and Melissa
Faulconer   City of San Diego   Bartell Household      La Jolla Playhouse   $5,000
                                Miles Grant and
Kevin                           Tatiana Zunshine
Faulconer   City of San Diego   Household              La Jolla Playhouse   $5,000
Kevin                           Brian and Betty
Faulconer   City of San Diego   Dovey Household        La Jolla Playhouse   $5,000
Kevin                           David and Miriam
Faulconer   City of San Diego   Smotrich Household     La Jolla Playhouse   $5,000
Kevin                           Ferrero Family
Faulconer   City of San Diego   Foundation             La Jolla Playhouse   $5,000
Kevin                           Jay and Kathy Rains
Faulconer   City of San Diego   Household              La Jolla Playhouse   $5,000
Kevin
Faulconer   City of San Diego   Jerry Frankel          La Jolla Playhouse   $5,000
Kevin                           Harvey and Sheryl
Faulconer   City of San Diego   White Household        La Jolla Playhouse   $5,000
Kevin                           Spellman Family
Faulconer   City of San Diego   Foundation             La Jolla Playhouse   $5,000
Kevin                           Mary Walshok, Ph.
Faulconer   City of San Diego   D.                     La Jolla Playhouse   $5,000
Kevin                           Joan and Irwin
Faulconer   City of San Diego   Jacobs Fund of the     La Jolla Playhouse   $5,000


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                                Jewish Community
                                Foundation
Kevin                           Joan and Irwin
Faulconer   City of San Diego   Jacobs Household        La Jolla Playhouse   $5,000
                                Merrill Lynch Private
Kevin                           Banking &
Faulconer   City of San Diego   Investment Group        La Jolla Playhouse   $5,000
Kevin
Faulconer   City of San Diego   Clare Redilinger        La Jolla Playhouse   $5,000
                                Merrill Lynch Private
Kevin                           Banking &
Faulconer   City of San Diego   Investment Group        La Jolla Playhouse   $5,000
Kevin                           Lucille and Ronald
Faulconer   City of San Diego   Neeley Foundation       La Jolla Playhouse   $5,000
Kevin                           Barbara and Karl
Faulconer   City of San Diego   ZoBell                  La Jolla Playhouse   $5,000
Kevin                           David and Jennifer
Faulconer   City of San Diego   Stickney                La Jolla Playhouse   $5,000
Kevin                           Jeffrey and Kimberly
Faulconer   City of San Diego   Goldman Household       La Jolla Playhouse   $5,000
Kevin                           Gad and Suzan
Faulconer   City of San Diego   Shaanan                 La Jolla Playhouse   $5,000
                                Marie Tartar and
Kevin                           Steven Eilenberg
Faulconer   City of San Diego   Household               La Jolla Playhouse   $4,508
                                Stacy Jacobs Fund of
                                the Jewish
Kevin                           Community
Faulconer   City of San Diego   Foundation              La Jolla Playhouse   $4,400
Kevin                           Lowel and Julie
Faulconer   City of San Diego   Potiker Household       La Jolla Playhouse   $3,000
Kevin                           Michael and Ellise
Faulconer   City of San Diego   Coit                    La Jolla Playhouse   $2,510
                                Weston Anson and
Kevin                           Susan Bailey
Faulconer   City of San Diego   Household               La Jolla Playhouse   $2,500
                                Weston Anson and
Kevin                           Susan Bailey
Faulconer   City of San Diego   Household               La Jolla Playhouse   $2,500
                                Steven Strauss and
Kevin                           Lise Wilson
Faulconer   City of San Diego   Household               La Jolla Playhouse   $2,500
                                Steven Strauss and
Kevin                           Lise Wilson
Faulconer   City of San Diego   Household               La Jolla Playhouse   $2,500
Kevin                           Jeffrey and Kimberly
Faulconer   City of San Diego   Goldman Household       La Jolla Playhouse   $2,000

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                                Einhorn Family Fund
                                at the Jewish
Kevin                           Community
Faulconer   City of San Diego   Foundation            La Jolla Playhouse   $2,000
Kevin                           The Stickney Family
Faulconer   City of San Diego   Charitable Trust      La Jolla Playhouse   $1,500
Kevin                           Brian and Betty
Faulconer   City of San Diego   Dovey Household       La Jolla Playhouse   $1,500
                                David Bialis Family
Kevin                           Fund at Schwab
Faulconer   City of San Diego   Charitable            La Jolla Playhouse   $1,000
                                Weston Anson and
Kevin                           Susan Bailey
Faulconer   City of San Diego   Household             La Jolla Playhouse   $1,000
                                Weston Anson and
Kevin                           Susan Bailey
Faulconer   City of San Diego   Household             La Jolla Playhouse   $1,000
Kevin                           Mark and Kathryn
Faulconer   City of San Diego   Munoz                 La Jolla Playhouse   $1,000
                                Weston Anson and
Kevin                           Susan Bailey
Faulconer   City of San Diego   Household             La Jolla Playhouse   $900
Kevin                           Richemont North
Faulconer   City of San Diego   America               La Jolla Playhouse   $800
                                Marie Tartar and
Kevin                           Steven Eilenberg
Faulconer   City of San Diego   Household             La Jolla Playhouse   $600
Kevin
Faulconer   City of San Diego   Stacy R Jacobs        La Jolla Playhouse   $600
                                David Bialis Family
Kevin                           Fund at Schwab
Faulconer   City of San Diego   Charitable            La Jolla Playhouse   $500
Kevin                           Barbara and Karl
Faulconer   City of San Diego   ZoBell Household      La Jolla Playhouse   $500
                                Lowell and Julie
Kevin                           Poltker Fund of the
Faulconer   City of San Diego   Jewish Comm Fndtn     La Jolla Playhouse   $500
Kevin                           Michael and Melissa
Faulconer   City of San Diego   Bartell Household     La Jolla Playhouse   $500
                                Marsha Berkson
                                Fund of the Jewish
Kevin                           Community
Faulconer   City of San Diego   Foundation            La Jolla Playhouse   $500
                                Weston Anson and
Kevin                           Susan Bailey
Faulconer   City of San Diego   Household             La Jolla Playhouse   $375



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                                     Linda Chester and
 Kevin                               Kenneth Rind
 Faulconer       City of San Diego   Household              La Jolla Playhouse      $373
 Kevin                               Lisa and David Casey
 Faulconer       City of San Diego   Household              La Jolla Playhouse      $62


Top 5 Behesting Officials of 2017
 Official                             Jurisdiction                               Amount
 Libby Schaaf                         City of Oakland                            $15,400,000
 Eric Garcetti                        City of Los Angeles                        $4,836,453
 Edwin Lee                            City and County of San Francisco           $1,545,000
 Kevin Faulconer                      City of San Diego                          $1,127,802
 Michael Feuer                        City of Los Angeles                        $586,401


Libby Schaaf
 Official        Jurisdiction        Payor Name             Payee Name              Amount
                                     CrankStart
                                     Foundation (Michael    San Francisco
 Libby Schaaf    City of Oakland     Moritz)                Foundation              $10,000,000
                                                            Oakland Public
 Libby Schaaf    City of Oakland     Kaiser Permanente      Education Fund          $2,030,000
                                     Arthur and Toni        Oakland Public
 Libby Schaaf    City of Oakland     Rembe Rock             Education Fund          $2,000,000
                                                            Oakland Public
 Libby Schaaf    City of Oakland     Stupski Foundation     Education Fund          $500,000
                                     Citi Community
 Libby Schaaf    City of Oakland     Development            New Venture Fund        $400,000
                                     Citi Community
 Libby Schaaf    City of Oakland     Development            New Venture Fund        $150,000
                                     Lee Bodner,
                                     President, Venture
 Libby Schaaf    City of Oakland     Fund                   Youth Business USA      $125,000
                                                            Oakland Public
 Libby Schaaf    City of Oakland     Packard Foundation     Education Fund          $80,000
                                     Another Planet         Oakland Public
 Libby Schaaf    City of Oakland     Entertainment          Education Fund          $25,000
                                                            Oakland Public
 Libby Schaaf    City of Oakland     The Clorox Company     Education Fund          $25,000
 Libby Schaaf    City of Oakland     Seed Fund              New Venture Fund        $15,000
                                                            Oakland Public
 Libby Schaaf    City of Oakland     Moriah Fund            Education Fund          $15,000
                                                            Oakland Public
 Libby Schaaf    City of Oakland     Apple Inc              Education Fund          $10,000


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                                       Best Bat Apartments    Oakland Public
 Libby Schaaf    City of Oakland       (Riaz Capital)         Education Fund         $10,000
                                       Alameda Health         Oakland Public
 Libby Schaaf    City of Oakland       Systems                Education Fund         $5,000
                                                              Oakland Public
 Libby Schaaf    City of Oakland       BBI Construction       Education Fund         $5,000
                                       San Francisco          Oakland Public
 Libby Schaaf    City of Oakland       Foundation             Education Fund         $5,000


Eric Garcetti
 Official        Jurisdiction          Payor Name             Payee Name             Amount
                                       Bloomberg              Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Philanthropies         Angeles                $728,398
                                       Roth Family            Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Foundation             Angeles                $500,000
                                       Conrad N. Hilton       Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Foundation             Angeles                $350,000
                                                              Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Weingart Foundation    Angeles                $350,000
                                       The Karsh Family       Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Foundation             Angeles                $250,000
                                       Wasserman              Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Foundation             Angeles                $250,000
                                       The Eli and Edythe     Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Broad Foundation       Angeles                $200,000
                                       The Eisner             Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Foundation             Angeles                $150,000
                                                              Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Getty Foundation       Angeles                $110,000
                                       Paul Marciano          Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Foundation             Angeles                $100,000
                                       Leonard Hill
                                       Charitable Trust C/O   Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Murphy & Kress         Angeles                $100,000
                                       Marc and Eva Stern     Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Foundation             Angeles                $100,000
                                       California
                                       Community              Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Foundation             Angeles                $86,000
                                                              Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Living Cities, Inc.    Angeles                $75,000
                                                              Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   Ernst and Young        Angeles                $75,000
                                       The Goldhirsh
                                       Foundation c/o         Mayor's Fund for Los
 Eric Garcetti   City of Los Angeles   RINET Company LLC      Angeles                $60,000

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                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Stuart Foundation     Angeles                $60,000
                                      UniHealth             The GRYD
Eric Garcetti   City of Los Angeles   Foundation            Foundation             $55,000
                                      California
                                      Community             Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Foundation            Angeles                $54,000
                                                            The GRYD
Eric Garcetti   City of Los Angeles   LA84 Foundation       Foundation             $50,000
Eric Garcetti   City of Los Angeles   AECOM                 City of Los Angeles    $50,000
                                      Westfield Property
Eric Garcetti   City of Los Angeles   MGMT LLC              City of Los Angeles    $50,000
Eric Garcetti   City of Los Angeles   Ahmad Khawaja         City of Los Angeles    $50,000
Eric Garcetti   City of Los Angeles   American Airlines     City of Los Angeles    $50,000
Eric Garcetti   City of Los Angeles   Jacobs                City of Los Angeles    $50,000
Eric Garcetti   City of Los Angeles   HNTB Corporation      City of Los Angeles    $50,000
                                      Katie McGrath and
                                      J.J. Abrams Family    Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Foundation            Angeles                $50,000
                                      Wells Fargo           The GRYD
Eric Garcetti   City of Los Angeles   Foundation            Foundation             $50,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Union Bank            Angeles                $50,000
                                      Toyota Mobility       Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Foundation            Angeles                $45,000
                                      California
                                      Community             The GRYD
Eric Garcetti   City of Los Angeles   Foundation            Foundation             $45,000
                                      Toyota Mobility       Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Foundation            Angeles                $44,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Anheusser Busch       Angeles                $35,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Cedars-Sinai          Angeles                $29,750
                                      AECOM Technology      Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Corporation           Angeles                $25,000
                                      Tom & Janet           Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Unterman              Angeles                $25,000
                                      NBCUniversal Media,
Eric Garcetti   City of Los Angeles   LLC                   City of Los Angeles    $25,000
Eric Garcetti   City of Los Angeles   Comcast Corporation   City of Los Angeles    $25,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Sony Pictures         Angeles                $25,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   AT&T                  Angeles                $25,000



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                                      Conrad N. Hilton      Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Foundation            Angeles                $25,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Thomas Unterman       Angeles                $25,000
                                                            The GRYD
Eric Garcetti   City of Los Angeles   LA84 Foundation       Foundation             $25,000
                                      The Getty             Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Foundation            Angeles                $22,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   East West Bank        Angeles                $20,000
                                      The Coca Cola
Eric Garcetti   City of Los Angeles   Company               City of Los Angeles    $17,000
                                      Daniel Berdakin       Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Family Foundation     Angeles                $15,000
                                      Kaza Azteca America   Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Inc.                  Angeles                $12,500
                                      Creative Artists      The GRYD
Eric Garcetti   City of Los Angeles   Agency Foundation     Foundation             $10,000
                                      Panda Restaurant      Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Group. Inc.           Angeles                $10,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Deloitte              Angeles                $10,000
                                      Johnny Carson         The GRYD
Eric Garcetti   City of Los Angeles   Foundation            Foundation             $10,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Verizon               Angeles                $10,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Citi                  Angeles                $10,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Parsons Corporation   Angeles                $10,000
                                      NBC Universal         Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Media, LLC            Angeles                $10,000
                                      The Rana Family
                                      Fund C/o Vanguard     Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Charitable            Angeles                $10,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   LegalZoom, Inc.       Angeles                $10,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   DAQRI                 Angeles                $10,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Cooley LLP            Angeles                $10,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Silicon Valley Bank   Angeles                $10,000
                                                            Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Tronc                 Angeles                $10,000
                                      Simpson Strong-Tie    Mayor's Fund for Los
Eric Garcetti   City of Los Angeles   Co., Inc.             Angeles                $7,500

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                                         Optimum Seismic,        Mayor's Fund for Los
 Eric Garcetti    City of Los Angeles    Inc.                    Angeles                $7,500
                                         Southern California
                                         Tennis Association      The GRYD
 Eric Garcetti    City of Los Angeles    Foundation              Foundation             $6,500
                                                                 Mayor's Fund for Los
 Eric Garcetti    City of Los Angeles    NBC Universal           Angeles                $6,305
                                         Enterprise
                                         Community Partners,     Mayor's Fund for Los
 Eric Garcetti    City of Los Angeles    Inc.                    Angeles                $5,000
                                         California
                                         Community               The GRYD
 Eric Garcetti    City of Los Angeles    Foundation              Foundation             $5,000
                                                                 Mayor's Fund for Los
 Eric Garcetti    City of Los Angeles    Bofl Federal Bank       Angeles                $5,000
                                         Cornerstone             Mayor's Fund for Los
 Eric Garcetti    City of Los Angeles    OnDemand Inc.           Angeles                $5,000
                                                                 Mayor's Fund for Los
 Eric Garcetti    City of Los Angeles    Sabio Enterprises       Angeles                $5,000
                                                                 Mayor's Fund for Los
 Eric Garcetti    City of Los Angeles    Sabio Enterprises       Angeles                $5,000
                                         Enterprise
                                         Community Partners, Mayor's Fund for Los
 Eric Garcetti    City of Los Angeles    Inc.                   Angeles                 -$5,000**
                                         California
                                         Community              Mayor's Fund for Los
 Eric Garcetti    City of Los Angeles    Foundation             Angeles                 -$20,000**
                                ** These negative payments reflect refunds.

Edwin Lee


 Official   Jurisdiction        Payor Name          Payee Name                                   Amount
                                George Lucas
 Edwin      City and County     Family
 Lee        of San Francisco    Foundation          Life Learning Academy Center (LLA Build)     $1,500,000

 Edwin      City and County     Shorenstein
 Lee        of San Francisco    Realty Services     The Women's Foundation of California            $25,000
                                                    Greater Houston Community
 Edwin      City and County     Pius Lee            Foundation, Hurricane Harvey Relief
 Lee        of San Francisco    Foundation          Fund                                            $10,000
                                Municipal
 Edwin      City and County     Executives
 Lee        of San Francisco    Association         SPUR, San Francisco                              $5,000

 Edwin      City and County                         Asian American Advancing Justice-Asian
 Lee        of San Francisco    PG&E                Law Caucus [sic]                                 $5,000


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 Edwin    City and County
 Lee      of San Francisco     PG&E                  Asian American Advancing Justice- Asian Law Caucus

 Edwin    City and County      Pius Lee              Greater Houston Community Foundation, Hurricane
 Lee      of San Francisco     Foundation            Harvey Relief Fund

 Edwin    City and County      Shorenstein
 Lee      of San Francisco     Realty Services       The Women's Foundation of California


Kevin Faulconer
 Official    Jurisdiction    Payor Name                              Payee Name               Amount
 Kevin       City of San
 Faulconer   Diego           Lynelle and William Lynch Household     La Jolla Playhouse       $57,000
 Kevin       City of San
 Faulconer   Diego           US Bank                                 One San Diego            $50,000
 Kevin       City of San
 Faulconer   Diego           Becky Moores                            La Jolla Playhouse       $50,000
 Kevin       City of San     Joan and Irwin Jacobs Fund of the
 Faulconer   Diego           Jewish Community Foundation             La Jolla Playhouse       $50,000
 Kevin       City of San
 Faulconer   Diego           Grove Entertainment                     La Jolla Playhouse       $43,700
 Kevin       City of San
 Faulconer   Diego           AT&T                                    One San Diego            $27,000
 Kevin       City of San     Milton and Faiya Fredman Family
 Faulconer   Diego           Fund Of Jcf                             La Jolla Playhouse       $25,000
 Kevin       City of San     Scott Peters and Lynn Gorguze
 Faulconer   Diego           Household                               La Jolla Playhouse       $25,000
 Kevin       City of San
 Faulconer   Diego           Kay and Bill Gurtin Household           La Jolla Playhouse       $25,000
 Kevin       City of San
 Faulconer   Diego           Lynelle and William Lynch Household     La Jolla Playhouse       $25,000
 Kevin       City of San
 Faulconer   Diego           Jordan Ressler Charitable Fund of JCF   La Jolla Playhouse       $25,000
 Kevin       City of San
 Faulconer   Diego           Illumina Corporate Foundation           One San Diego            $25,000
 Kevin       City of San     Scott Peters and Lynn Gorguze
 Faulconer   Diego           Household                               La Jolla Playhouse       $25,000
 Kevin       City of San
 Faulconer   Diego           The san Diego Foundation                One San Diego            $20,000
 Kevin       City of San
 Faulconer   Diego           Rich Family Foundation                  La Jolla Playhouse       $20,000
 Kevin       City of San
 Faulconer   Diego           Wal-mart Stores, Inc.                   One San Diego            $15,000
 Kevin       City of San
 Faulconer   Diego           U-Stor-It 805, LLC                      One San Diego            $14,000



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Kevin       City of San
Faulconer   Diego         Jack Crivello Foundation                One San Diego           $10,000
Kevin       City of San
Faulconer   Diego         Bosa Development                        One San Diego           $10,000
Kevin       City of San
Faulconer   Diego         Molly and R. Doug Barnes                One San Diego           $10,000
Kevin       City of San
Faulconer   Diego         The Seilder Company, LLC                One San Diego           $10,000
Kevin       City of San
Faulconer   Diego         Lisa Altman                             One San Diego           $10,000
Kevin       City of San                                           San Diego Police
Faulconer   Diego         SDG&E                                   Officers Association    $10,000
Kevin       City of San                                           San Diego Police
Faulconer   Diego         SDG&E                                   Officers Association    $10,000
Kevin       City of San   Jeff Jacobs Family Fund of The Jewish
Faulconer   Diego         Comm Fndtn                              La Jolla Playhouse      $10,000
Kevin       City of San
Faulconer   Diego         Daniel & Barbara Spinazzola             One SD                  $10,000
Kevin       City of San                                           Lynch Foundation for
Faulconer   Diego         Dan and Barbie Spinazzola               Children                $10,000
Kevin       City of San
Faulconer   Diego         Harvey and Sheryl White Household       La Jolla Playhouse      $10,000
Kevin       City of San
Faulconer   Diego         Matthew and Iris Strauss Household      La Jolla Playhouse      $10,000
Kevin       City of San
Faulconer   Diego         Lynelle and William Lynch Household     La Jolla Playhouse      $10,000
Kevin       City of San
Faulconer   Diego         Michael and Elllise Colt Household      La Jolla Playhouse      $10,000
Kevin       City of San
Faulconer   Diego         Stacy R. Jacobs Foundation              La Jolla Playhouse      $10,000
Kevin       City of San   Hal and Debby Jacobs Fund of the
Faulconer   Diego         Jewish Community Foundation             La Jolla Playhouse      $10,000
Kevin       City of San
Faulconer   Diego         Wells Fargo Bank, N.A.                  One San Diego           $10,000
Kevin       City of San   Dr. Seuss Fund at San Diego
Faulconer   Diego         Foundation                              La Jolla Playhouse      $10,000
Kevin       City of San
Faulconer   Diego         Farrell Family Foundation               La Jolla Playhouse      $10,000
Kevin       City of San
Faulconer   Diego         Richemont North America                 La Jolla Playhouse      $10,000
Kevin       City of San
Faulconer   Diego         Karney Flaster Family Foundation        La Jolla Playhouse      $10,000
Kevin       City of San
Faulconer   Diego         U.S. Bank                               La Jolla Playhouse      $10,000
Kevin       City of San
Faulconer   Diego         DHRG, LLC                               One San Diego           $10,000


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Kevin       City of San   Linda Chester and Kenneth Rind
Faulconer   Diego         Household                              La Jolla Playhouse      $9,869
Kevin       City of San   Michael and Melissa Bartell
Faulconer   Diego         Household                              La Jolla Playhouse      $7,988
Kevin       City of San   Scott Peters and Lynn Gorguze
Faulconer   Diego         Household                              La Jolla Playhouse      $7,000
Kevin       City of San
Faulconer   Diego         Lucille and Ronald Neeley Foundation   La Jolla Playhouse      $6,300
Kevin       City of San   Scott Peters and Lynn Gorguze
Faulconer   Diego         Household                              La Jolla Playhouse      $6,000
Kevin       City of San
Faulconer   Diego         Sycuan                                 One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Matt & Pam Reno                        One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Dennis Cruzan                          One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Brian Sheena                           One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Attisha Lorens                         One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Bill Ostrem                            One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Steve Williams                         One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Karen and Bennet Greenwald             One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Zephyr Partners - RE, LLC              One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         The Geo Group Foundation               One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         James Brown                            One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Padree Homes                           One San Diego           $5,000
Kevin       City of San                                          San Diego Police
Faulconer   Diego         Sentek Consulting                      Officers Association    $5,000
Kevin       City of San   David Bialis Family Fund at Schwab
Faulconer   Diego         Charitable                             La Jolla Playhouse      $5,000
Kevin       City of San   Fidelity Charitable Gift Fund for
Faulconer   Diego         Robert & Nina Doede                    La Jolla Playhouse      $5,000
Kevin       City of San
Faulconer   Diego         MUFG Union Bank, N.A.                  One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Lisa and David Casey Household         La Jolla Playhouse      $5,000
Kevin       City of San
Faulconer   Diego         Lisa and David Casey Household         La Jolla Playhouse      $5,000


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Kevin       City of San   Michael and Melissa Bartell
Faulconer   Diego         Household                            La Jolla Playhouse      $5,000
Kevin       City of San
Faulconer   Diego         Sycuan Band of the Kumeyaay Nation   One SD                  $5,000
Kevin       City of San                                        Lynch Foundation for
Faulconer   Diego         Tom and Cookie Sudberry              Children                $5,000
Kevin       City of San   CPM LTD Inc, dba Manpower San
Faulconer   Diego         Diego                                One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Vulcan Materials Group               One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         IPS Group, Inc.                      One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         American Medial Response             one San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Pacifica Enterprises, Inc.           One San Diego           $5,000
Kevin       City of San
Faulconer   Diego         Bank of America Corp.                One San Diego           $5,000
Kevin       City of San   Miles Grant and Tatiana Zunshine
Faulconer   Diego         Household                            La Jolla Playhouse      $5,000
Kevin       City of San
Faulconer   Diego         Brian and Betty Dovey Household      La Jolla Playhouse      $5,000
Kevin       City of San   David and Miriam Smotrich
Faulconer   Diego         Household                            La Jolla Playhouse      $5,000
Kevin       City of San
Faulconer   Diego         Ferrero Family Foundation            La Jolla Playhouse      $5,000
Kevin       City of San
Faulconer   Diego         Jay and Kathy Rains Household        La Jolla Playhouse      $5,000
Kevin       City of San
Faulconer   Diego         Jerry Frankel                        La Jolla Playhouse      $5,000
Kevin       City of San
Faulconer   Diego         Harvey and Sheryl White Household    La Jolla Playhouse      $5,000
Kevin       City of San
Faulconer   Diego         Splelman Family Foundation           La Jolla Playhouse      $5,000
Kevin       City of San
Faulconer   Diego         Mary Walshok, Ph. D.                 La Jolla Playhouse      $5,000
Kevin       City of San   Joan and Irwin Jacobs Fund of the
Faulconer   Diego         Jewish Community Foundation          La Jolla Playhouse      $5,000
Kevin       City of San
Faulconer   Diego         Joan and Irwin Jacobs Household      La Jolla Playhouse      $5,000
Kevin       City of San   Merrill Lynch Private Banking &
Faulconer   Diego         Investment Group                     La Jolla Playhouse      $5,000
Kevin       City of San
Faulconer   Diego         Clare Redilinger                     La Jolla Playhouse      $5,000
Kevin       City of San   Merrill Lynch Private Banking &
Faulconer   Diego         Investment Group                     La Jolla Playhouse      $5,000


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Kevin       City of San
Faulconer   Diego         Sunroad Asset Management, Inc.         One San Diego          $5,000
Kevin       City of San
Faulconer   Diego         Jack in the Box                        One San Diego          $5,000
Kevin       City of San
Faulconer   Diego         Michael Turk (personal donation)       One San Diego          $5,000
Kevin       City of San
Faulconer   Diego         The Greenwald Company LLC              One San Diego          $5,000
Kevin       City of San
Faulconer   Diego         IPS Group                              One San Diego          $5,000
Kevin       City of San
Faulconer   Diego         Vulcan Materials Company               One San Diego          $5,000
Kevin       City of San
Faulconer   Diego         Lucille and Ronald Neeley Foundation   La Jolla Playhouse     $5,000
Kevin       City of San
Faulconer   Diego         Barbara and Karl ZoBell                La Jolla Playhouse     $5,000
Kevin       City of San
Faulconer   Diego         David and Jennifer Stickney            La Jolla Playhouse     $5,000
Kevin       City of San   Jeffrey and Kimberly Goldman
Faulconer   Diego         Household                              La Jolla Playhouse     $5,000
Kevin       City of San
Faulconer   Diego         Gad and Suzan Shaanan                  La Jolla Playhouse     $5,000
Kevin       City of San
Faulconer   Diego         Affirmed Housing Group                 One San Diego          $5,000
Kevin       City of San
Faulconer   Diego         9th & A Limited Partnership            One San Diego          $5,000
Kevin       City of San
Faulconer   Diego         Kleinfelder                            One San Diego          $5,000
Kevin       City of San
Faulconer   Diego         Pardee Homes                           One San Diego          $5,000
Kevin       City of San
Faulconer   Diego         Sudberry Family Trust                  One San Diego          $5,000
Kevin       City of San
Faulconer   Diego         The San Diego Foundation (Padres)      One San Diego          $4,720
Kevin       City of San   Marie Tartar and Steven Eilenberg
Faulconer   Diego         Household                              La Jolla Playhouse     $4,508
Kevin       City of San   Stacy Jacobs Fund of the Jewish
Faulconer   Diego         Community Foundation                   La Jolla Playhouse     $4,400
Kevin       City of San                                          San Diego Regional
Faulconer   Diego         SDG&E                                  Chamber of Commerce    $4,000
Kevin       City of San
Faulconer   Diego         Lowel and Julie Potiker Household      La Jolla Playhouse     $3,000
Kevin       City of San
Faulconer   Diego         Michael and Ellise Coit                La Jolla Playhouse     $2,510
Kevin       City of San   Weston Anson and Susan Bailey
Faulconer   Diego         Household                              La Jolla Playhouse     $2,500


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Kevin       City of San   Weston Anson and Susan Bailey
Faulconer   Diego         Household                              La Jolla Playhouse    $2,500
Kevin       City of San   Steven Strauss and Lise Wilson
Faulconer   Diego         Household                              La Jolla Playhouse    $2,500
Kevin       City of San   Steven Strauss and Lise Wilson
Faulconer   Diego         Household                              La Jolla Playhouse    $2,500
Kevin       City of San   Jeffrey and Kimberly Goldman
Faulconer   Diego         Household                              La Jolla Playhouse    $2,000
Kevin       City of San   Einhorn Family Fund at the Jewish
Faulconer   Diego         Community Foundation                   La Jolla Playhouse    $2,000
Kevin       City of San
Faulconer   Diego         The Stickney Family Charitable Trust   La Jolla Playhouse    $1,500
Kevin       City of San
Faulconer   Diego         Brian and Betty Dovey Household        La Jolla Playhouse    $1,500
Kevin       City of San
Faulconer   Diego         Steve Williams                         CWLA                  $1,000
Kevin       City of San
Faulconer   Diego         J. Crivello Foundation                 One San Diego         $1,000
Kevin       City of San   David Bialis Family Fund at Schwab
Faulconer   Diego         Charitable                             La Jolla Playhouse    $1,000
Kevin       City of San
Faulconer   Diego         Peter Farrell                          Lynch Foundation      $1,000
Kevin       City of San   Weston Anson and Susan Bailey
Faulconer   Diego         Household                              La Jolla Playhouse    $1,000
Kevin       City of San   Weston Anson and Susan Bailey
Faulconer   Diego         Household                              La Jolla Playhouse    $1,000
Kevin       City of San
Faulconer   Diego         Mark and Kathryn Munoz                 La Jolla Playhouse    $1,000
Kevin       City of San   Weston Anson and Susan Bailey
Faulconer   Diego         Household                              La Jolla Playhouse    $900
Kevin       City of San
Faulconer   Diego         Richemont North America                La Jolla Playhouse    $800
Kevin       City of San   Marie Tartar and Steven Eilenberg
Faulconer   Diego         Household                              La Jolla Playhouse    $600
Kevin       City of San
Faulconer   Diego         Stacy R Jacobs                         La Jolla Playhouse    $600
Kevin       City of San   David Bialis Family Fund at Schwab
Faulconer   Diego         Charitable                             La Jolla Playhouse    $500
Kevin       City of San
Faulconer   Diego         Barbara and Karl ZoBell Household      La Jolla Playhouse    $500
Kevin       City of San   Lowell and Julie Poltker Fund of the
Faulconer   Diego         Jewish Comm Fndtn                      La Jolla Playhouse    $500
Kevin       City of San   Michael and Melissa Bartell
Faulconer   Diego         Household                              La Jolla Playhouse    $500
Kevin       City of San   Marsha Berkson Fund of the Jewish
Faulconer   Diego         Community Foundation                   La Jolla Playhouse    $500


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 Kevin       City of San       Weston Anson and Susan Bailey
 Faulconer   Diego             Household                              La Jolla Playhouse     $375
 Kevin       City of San       Linda Chester and Kenneth Rind
 Faulconer   Diego             Household                              La Jolla Playhouse     $373
 Kevin       City of San
 Faulconer   Diego             Tom Sudberry                           Lynch Foundation       $317
 Kevin       City of San
 Faulconer   Diego             Padres LP                              One San Diego          $280
 Kevin       City of San
 Faulconer   Diego             Lisa and David Casey Household         La Jolla Playhouse     $62


Michael Feuer
 Official       Jurisdiction       Payor Name                Payee Name                    Amount
 Michael        City of Los        Covington and Burling,    Los Angeles City Attorney's
 Feuer          Angeles            LLP                       Office                        $280,218
 Michael        City of Los        Covington & Burling,      Los Angeles City Attorney's
 Feuer          Angeles            LLP                       Office                        $126,420
 Michael        City of Los        Covington & Burling,      Los Angeles City Attorney's
 Feuer          Angeles            LLP                       Office                        $103,272
 Michael        City of Los        Covington & Burling,      Los Angeles City Attorney's
 Feuer          Angeles            LLP                       Office                        $50,813
 Michael        City of Los        Boies Schiller Flexner,   Los Angeles City Attorney's
 Feuer          Angeles            LLP                       Office                        $23,065
 Michael        City of Los        Covington & Burling,      Los Angeles City Attorney's
 Feuer          Angeles            LLP                       Office                        $2,613




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2018
Top 5 Payors of 2018
 Jurisdiction                    Payor Name                                                             Amount
 City of Los Angeles             CA Attorney General's Office                                        $4,289,140
 City of Los Angeles             Los Angeles Clippers Foundation                                     $3,000,000
 City of Sacramento              Dignity Health                                                      $1,770,000
 City of Los Angeles             Covington & Burling, LLP                                             $802,692
 City of Los Angeles             Los Angeles Dodgers LLC                                              $800,000


CA Attorney General’s Office
 Official        Jurisdiction     Payor Name                Payee Name                        Amount
 Michael         City of Los      CA Attorney General's     Los Angeles City Attorney's
 Feuer           Angeles          Office                    Office                            $4,289,140


Los Angeles Clippers Foundation
 Official    Jurisdiction        Payor Name                    Payee Name                    Amount
 Eric        City of Los         Los Angeles Clippers          Los Angeles Parks
 Garcetti    Angeles             Foundation                    Foundation                    $3,000,000


Dignity Health
 Official         Jurisdiction            Payor Name               Payee Name             Amount
 Darrell                                                           Sacramento
 Steinberg        City of Sacramento      Dignity Health           Covered                $1,670,000
 Darrell
 Steinberg        City of Sacramento      Dignity Health           City of Sacramento     $100,000


Covington & Burling, LLP
 Official        Jurisdiction      Payor Name              Payee Name                        Amount
 Michael         City of Los       Covington & Burling,    Los Angeles City Attorney's
 Feuer           Angeles           LLP                     Office                            $182,716
 Michael         City of Los       Covington & Burling,    Los Angeles City Attorney's
 Feuer           Angeles           LLP                     Office                            $160,933
 Michael         City of Los       Covington & Burling,    Los Angeles City Attorney's
 Feuer           Angeles           LLP                     Office                            $140,509
 Michael         City of Los       Covington & Burling,    Los Angeles City Attorney's
 Feuer           Angeles           LLP                     Office                            $124,566
 Michael         City of Los       Covington & Burling,    Los Angeles City Attorney's
 Feuer           Angeles           LLP                     Office                            $120,653
 Michael         City of Los       Covington & Burling,    Los Angeles City Attorney's
 Feuer           Angeles           LLP                     Office                            $82,264



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 Michael        City of Los          Covington & Burling,     Los Angeles City Attorney's
 Feuer          Angeles              LLP                      Office                        $72,363
 Michael        City of Los          Covington & Burling,     Los Angeles City Attorney's
 Feuer          Angeles              LLP                      Office                        $71,701
 Michael        City of Los          Covington & Burling,     Los Angeles City Attorney's
 Feuer          Angeles              LLP                      Office                        $58,312
 Michael        City of Los          Covington & Burling,     Los Angeles City Attorney's
 Feuer          Angeles              LLP                      Office                        $38,493
 Michael        City of Los          Covington & Burling,     Los Angeles City Attorney's
 Feuer          Angeles              LLP                      Office                        $10,463
 Michael        City of Los          Covington & Burling,     Los Angeles City Attorney's
 Feuer          Angeles              LLP                      Office                        $4,794


Los Angeles Dodgers LLC
 Official     Jurisdiction           Payor Name                 Payee Name                  Amount
 Eric         City of Los            Los Angeles Dodgers        Mayor's Fund for Los
 Garcetti     Angeles                LLC                        Angeles                     $800,000


Top 5 Payees of 2018
 Jurisdiction                               Payee Name                                               Amount
 City of Los Angeles                        Los Angeles City Attorney's Office                    $5,464,747
 City of Los Angeles                        Los Angeles Parks Foundation                          $3,400,000
 City of Los Angeles                        Mayor's Fund for Los Angeles                          $3,305,398
 City of Sacramento                         Sacramento Covered                                    $1,670,000
 City and County San Francisco              2018 San Francisco Inaugural Fund                      $555,250


Los Angeles City Attorney’s Office
 Official   Jurisdiction     Payor Name                                 Payee Name           Amount
 Michael    City of Los                                                 Los Angeles City     $4,289,14
 Feuer      Angeles          CA Attorney General's Office               Attorney's Office    0
 Michael    City of Los                                                 Los Angeles City
 Feuer      Angeles          Covington & Burling, LLP                   Attorney's Office    $182,716
 Michael    City of Los                                                 Los Angeles City
 Feuer      Angeles          Covington & Burling, LLP                   Attorney's Office    $160,933
 Michael    City of Los                                                 Los Angeles City
 Feuer      Angeles          Covington & Burling LLP                    Attorney's Office    $140,509
 Michael    City of Los                                                 Los Angeles City
 Feuer      Angeles          Covington & Burling LLP                    Attorney's Office    $124,566
 Michael    City of Los                                                 Los Angeles City
 Feuer      Angeles          Covington & Burling, LLP                   Attorney's Office    $120,653
 Michael    City of Los      California Attorney General's Office,      Los Angeles City
 Feuer      Angeles          Privacy and Piracy Fund                    Attorney's Office    $90,240
 Michael    City of Los                                                 Los Angeles City
 Feuer      Angeles          Covington & Burling, LLP                   Attorney's Office    $82,264


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 Michael    City of Los                                              Los Angeles City
 Feuer      Angeles         Covington & Burling, LLP                 Attorney's Office        $72,363
 Michael    City of Los                                              Los Angeles City
 Feuer      Angeles         Covington & Burling, LLP                 Attorney's Office        $71,701
 Michael    City of Los                                              Los Angeles City
 Feuer      Angeles         Covington & Burling, LLP                 Attorney's Office        $58,312
 Michael    City of Los                                              Los Angeles City
 Feuer      Angeles         Covington & Burling, LLP                 Attorney's Office        $38,493
 Michael    City of Los                                              Los Angeles City
 Feuer      Angeles         Educational Fund to Stop Violence        Attorney's Office        $15,000
 Michael    City of Los                                              Los Angeles City
 Feuer      Angeles         Covington & Burling, LLP                 Attorney's Office        $10,463
 Michael    City of Los                                              Los Angeles City
 Feuer      Angeles         Covington & Burling, LLP                 Attorney's Office        $4,794
 Michael    City of Los                                              Los Angeles City
 Feuer      Angeles         Boies Schiller Flexner, LLP              Attorney's Office        $2,600


Los Angeles Parks Foundation
 Official    Jurisdiction         Payor Name                    Payee Name                   Amount
 Eric        City of Los          Los Angeles Clippers          Los Angeles Parks
 Garcetti    Angeles              Foundation                    Foundation                   $3,000,000
 Eric        City of Los                                        Los Angeles Parks
 Garcetti    Angeles              The Annenberg Foundation      Foundation                   $400,000


Mayor’s Fund for Los Angeles
 Official    Jurisdiction    Payor Name                               Payee Name               Amount
 Eric        City of Los                                              Mayor's Fund for Los
 Garcetti    Angeles         Los Angeles Dodgers LLC                  Angeles                  $800,000
 Eric        City of Los                                              Mayor's Fund for Los
 Garcetti    Angeles         The Ahmanson Foundation                  Angeles                  $355,000
 Eric        City of Los                                              Mayor's Fund for Los
 Garcetti    Angeles         The Bloomberg Family Foundation Inc.     Angeles                  $350,169
 Eric        City of Los                                              Mayor's Fund for Los
 Garcetti    Angeles         Delta Air Line Foundation                Angeles                  $250,000
 Eric        City of Los                                              Mayor's Fund for Los
 Garcetti    Angeles         Hilton                                   Angeles                  $225,000
 Eric        City of Los                                              Mayor's Fund for Los
 Garcetti    Angeles         JM Eagle                                 Angeles                  $200,000
 Eric        City of Los     Kobe and Vanessa Bryant Family           Mayor's Fund for Los
 Garcetti    Angeles         Foundation                               Angeles                  $125,000
 Eric        City of Los                                              Mayor's Fund for Los
 Garcetti    Angeles         AT&T                                     Angeles                  $100,000
 Eric        City of Los                                              Mayor's Fund for Los
 Garcetti    Angeles         Silicon Valley Community Foundation      Angeles                  $100,000



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Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       The Bloomberg Family Foundation Inc.   Angeles                  $100,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Los Angeles Dodgers Foundation         Angeles                  $100,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Marc and Eva Stern Foundation          Angeles                  $94,229
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       AT&T                                   Angeles                  $50,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       The Edward F. Limato Foundation        Angeles                  $40,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       NBC Universal                          Angeles                  $25,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Conrad N. Hilton Foundation            Angeles                  $25,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Wurwand Foundation                     Angeles                  $25,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Kaiser Permanente                      Angeles                  $25,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Living Cities                          Angeles                  $25,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Sonny Astani                           Angeles                  $20,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Marilyn Ziering                        Angeles                  $20,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       East West Bank                         Angeles                  $20,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Anheuser-Busch Companies, LLC          Angeles                  $20,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Harbor Distributing LLC                Angeles                  $17,500
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Kaiser Permanente                      Angeles                  $15,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Home Box Office, Inc.                  Angeles                  $12,500
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Frank Baxter                           Angeles                  $10,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Uber                                   Angeles                  $10,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Sam Nappi                              Angeles                  $10,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Google LLC                             Angeles                  $10,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       AT&T                                   Angeles                  $10,000
Eric       City of Los                                          Mayor's Fund for Los
Garcetti   Angeles       Health Net                             Angeles                  $10,000


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 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        Ambassador Rockwell A. Schnabel         Angeles                  $10,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        Verizon                                 Angeles                  $10,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        Verizon                                 Angeles                  $10,000
 Eric        City of Los    Edison International c/o Southern       Mayor's Fund for Los
 Garcetti    Angeles        California Edison                       Angeles                  $10,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        City National Bank                      Angeles                  $10,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        Jones Day                               Angeles                  $10,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        Johnny Carson Foundation                Angeles                  $10,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        Interscope Records                      Angeles                  $10,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        Monica Lawson                           Angeles                  $6,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        La Cienega Design Quarter               Angeles                  $5,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        Charter Communications                  Angeles                  $5,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        CA Technologies                         Angeles                  $5,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        Conrad N. Hilton Foundation             Angeles                  $5,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        Artisan Pictures, LLC                   Angeles                  $5,000
 Eric        City of Los                                            Mayor's Fund for Los
 Garcetti    Angeles        Cornerstone OnDemand, Inc.              Angeles                  $5,000


Sacramento Covered
 Official     Jurisdiction                 Payor Name           Payee Name          Amount
 Darrell                                                        Sacramento
 Steinberg    City of Sacramento           Dignity Health       Covered             $1,670,000


2018 San Francisco Inaugural Fund
 Official   Jurisdiction     Payor Name                              Payee Name                Amount
            City and
 London     County of San                                            2018 San Francisco
 Breed      Francisco        Joe Cassidy                             Inaugural Fund            $10,000
            City and
 London     County of San                                            2018 San Francisco
 Breed      Francisco        Steven Kay                              Inaugural Fund            $10,000



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         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Historic John's Grill                   Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       SOMA Hotel                              Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       TMG Partners                            Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Jack Sylvan                             Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       BCSF, Inc.                              Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       San Francisco Baseball Associates LLC   Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       UA Local 38 COPE Fund                   Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Diane Wilsey                            Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       George Shultz                           Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       John Spencer Wadsworth Jr.              Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Nicola Miner                            Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Patrick Kennedy                         Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Richard Kramer                          Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Makras Real Estate                      Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Shorenstein Reality Services            Inaugural Fund           $10,000




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         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Google                                  Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Justin Palmer                           Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Susie Tompkins Buell                    Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Kilroy Realty, LP                       Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Recology Inc.                           Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       California Barrel Company LLC           Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Doris F. Fisher                         Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Wahid A. Tadros                         Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Webcor Construction LP                  Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       E.I.S.B., Inc.                          Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Wisfe Aish Rental Properties            Inaugural Fund           $10,000
         City and
London   County of San   San Francisco Association of Realtors   2018 San Francisco
Breed    Francisco       Community Action Fund                   Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Yerba Buena Commons                     Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Pacific Gas and Electric Company        Inaugural Fund           $10,000
         City and
London   County of San                                           2018 San Francisco
Breed    Francisco       Osbourn Erickson                        Inaugural Fund           $10,000




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         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       San Francisco Apartment Association   Inaugural Fund           $10,000
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       Forty Niners Football Company, LLC    Inaugural Fund           $10,000
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       Hudson Pacific Properties             Inaugural Fund           $10,000
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       Tao Finance LLC                       Inaugural Fund           $10,000
         City and
London   County of San   Sheet Metal Workers' International    2018 San Francisco
Breed    Francisco       Association Local Union #104          Inaugural Fund           $10,000
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       Alexandria Real Estate Equities       Inaugural Fund           $10,000
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       CH2M Hill Engineers, Inc.             Inaugural Fund           $10,000
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       Nguey Lay                             Inaugural Fund            $7,500
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       Related California Residential        Inaugural Fund            $7,500
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       Carrie Schwab-Pomerantz               Inaugural Fund            $5,000
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       Stanlee Gatti                         Inaugural Fund            $5,000
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       AW Collision of SSF Inc.              Inaugural Fund            $5,000
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       Pacific Waterfront Partners           Inaugural Fund            $5,000
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       Pacific Park Management               Inaugural Fund            $5,000
         City and
London   County of San                                         2018 San Francisco
Breed    Francisco       Feysan Lodde                          Inaugural Fund            $5,000




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         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       John Pritzker                        Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       Kwok Kit Ho                          Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       William Langelier                    Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       Golden State Warriors                Inaugural Fund            $5,000
         City and
London   County of San   Sanitary Truck Drivers and Helpers   2018 San Francisco
Breed    Francisco       Teamsters Local 350                  Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       Dan Kingsley                         Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       Jeffrey Litke                        Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       Thomas E Horn                        Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       Wayne Perry                          Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       Joseph W Cotchett, Attorney at Law   Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       Trinity Management Services          Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       William Barulich                     Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       Teamsters Local 665                  Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       Prospector, LLC                      Inaugural Fund            $5,000
         City and
London   County of San                                        2018 San Francisco
Breed    Francisco       UFCW Western States Council          Inaugural Fund            $5,000




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           City and
 London    County of San                                              2018 San Francisco
 Breed     Francisco         Teamsters Local 853                      Inaugural Fund            $5,000
           City and
 London    County of San                                              2018 San Francisco
 Breed     Francisco         Teamsters Local 856                      Inaugural Fund            $5,000
           City and
 London    County of San                                              2018 San Francisco
 Breed     Francisco         RDJ Enterprises, LLC                     Inaugural Fund            $5,000
           City and
 London    County of San                                              2018 San Francisco
 Breed     Francisco         George Bourekas                          Inaugural Fund            $5,000
           City and
 London    County of San                                              2018 San Francisco
 Breed     Francisco         Pier 39 LP                               Inaugural Fund            $5,000
           City and
 London    County of San                                              2018 San Francisco
 Breed     Francisco         Turo, Inc.                               Inaugural Fund            $5,000
           City and
 London    County of San                                              2018 San Francisco
 Breed     Francisco         Teamsters Local 665                      Inaugural Fund            $4,950
           City and
 London    County of San                                              2018 San Francisco
 Breed     Francisco         Mary McCue                               Inaugural Fund            $2,500
           City and
 London    County of San     MJM Management Group (Mary               2018 San Francisco
 Breed     Francisco         McCue)                                   Inaugural Fund            $2,500
           City and
 London    County of San                                              2018 San Francisco
 Breed     Francisco         Related California Residential           Inaugural Fund            $2,500
           City and
 London    County of San                                              2018 San Francisco
 Breed     Francisco         Historic John's Grill                    Inaugural Fund            $1,800
           City and
 London    County of San                                              2018 San Francisco
 Breed     Francisco         Athena Konstin (Historic John's Grill)   Inaugural Fund            $1,000


Top 5 Behesting Officials of 2018
 Official                                      Jurisdiction                                          Amount
 Eric Garcetti                                 City of Los Angeles                                $7,321,899
 Michael Feuer                                 City of Los Angeles                                $6,022,247
 Darrell Steinberg                             City of Sacramento                                 $2,175,351
 London Breed                                  San Francisco                                      $1,205,772
 Kevin Faulconer                               City of San Diego                                   $382,299




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Eric Garcetti
            Jurisdictio
 Official n               Payor Name                        Payee Name                      Amount
 Eric
 Garcett City of Los                                                                        $3,000,00
 i          Angeles       Los Angeles Clippers Foundation   Los Angeles Parks Foundation    0
 Eric
 Garcett City of Los
 i          Angeles       Los Angeles Dodgers LLC           Mayor's Fund for Los Angeles    $800,000
 Eric
 Garcett City of Los
 i          Angeles       The Annenberg Foundation          Los Angeles Parks Foundation    $400,000
 Eric
 Garcett City of Los
 i          Angeles       The Ahmanson Foundation           Mayor's Fund for Los Angeles    $355,000
 Eric
 Garcett City of Los      The Bloomberg Family
 i          Angeles       Foundation Inc.                   Mayor's Fund for Los Angeles    $350,169
 Eric
 Garcett City of Los
 i          Angeles       Annenberg Foundation              GRYD Foundation                 $260,000
 Eric
 Garcett City of Los
 i          Angeles       Delta Air Line Foundation         Mayor's Fund for Los Angeles    $250,000
 Eric
 Garcett City of Los
 i          Angeles       Hilton                            Mayor's Fund for Los Angeles    $225,000
 Eric
 Garcett City of Los
 i          Angeles       JM Eagle                          Mayor's Fund for Los Angeles    $200,000
 Eric
 Garcett City of Los
 i          Angeles       GRYD Foundation                   AT&T Corp.                      $162,800
 Eric
 Garcett City of Los      Kobe and Vanessa Bryant Family
 i          Angeles       Foundation                        Mayor's Fund for Los Angeles    $125,000
 Eric
 Garcett City of Los
 i          Angeles       AT&T                              Mayor's Fund for Los Angeles    $100,000
 Eric
 Garcett City of Los      Silicon Valley Community
 i          Angeles       Foundation                        Mayor's Fund for Los Angeles    $100,000
 Eric
 Garcett City of Los      The Bloomberg Family
 i          Angeles       Foundation Inc.                   Mayor's Fund for Los Angeles    $100,000




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Eric
Garcett   City of Los
i         Angeles       Los Angeles Dodgers Foundation   Mayor's Fund for Los Angeles    $100,000
Eric
Garcett   City of Los
i         Angeles       Marc and Eva Stern Foundation    Mayor's Fund for Los Angeles    $94,229
Eric
Garcett   City of Los
i         Angeles       Unihealth Foundation             The GRYD Foundation             $55,000
Eric
Garcett   City of Los
i         Angeles       AT&T                             Mayor's Fund for Los Angeles    $50,000
Eric
Garcett   City of Los
i         Angeles       Jeff Stibel                      YMCA Greater Los Angeles        $50,000
Eric
Garcett   City of Los
i         Angeles       Mayor's Fund for Los Angeles     GRYD Foundation                 $43,000
Eric
Garcett   City of Los   The Edward F. Limato
i         Angeles       Foundation                       Mayor's Fund for Los Angeles    $40,000
Eric
Garcett   City of Los
i         Angeles       NBC Universal                    Mayor's Fund for Los Angeles    $25,000
Eric
Garcett   City of Los
i         Angeles       Conrad N. Hilton Foundation      Mayor's Fund for Los Angeles    $25,000
Eric
Garcett   City of Los
i         Angeles       Wurwand Foundation               Mayor's Fund for Los Angeles    $25,000
Eric
Garcett   City of Los
i         Angeles       Kaiser Permanente                Mayor's Fund for Los Angeles    $25,000
Eric
Garcett   City of Los
i         Angeles       Living Cities                    Mayor's Fund for Los Angeles    $25,000
Eric
Garcett   City of Los
i         Angeles       Sonny Astani                     Mayor's Fund for Los Angeles    $20,000
Eric
Garcett   City of Los
i         Angeles       Marilyn Ziering                  Mayor's Fund for Los Angeles    $20,000
Eric
Garcett   City of Los
i         Angeles       East West Bank                   Mayor's Fund for Los Angeles    $20,000




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Eric
Garcett   City of Los
i         Angeles       Anheuser-Busch Companies, LLC   Mayor's Fund for Los Angeles    $20,000
Eric
Garcett   City of Los
i         Angeles       Harbor Distributing LLC         Mayor's Fund for Los Angeles    $17,500
Eric
Garcett   City of Los
i         Angeles       Kaiser Permanente               Mayor's Fund for Los Angeles    $15,000
Eric
Garcett   City of Los
i         Angeles       Home Box Office, Inc.           Mayor's Fund for Los Angeles    $12,500
Eric
Garcett   City of Los
i         Angeles       Frank Baxter                    Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los
i         Angeles       Uber                            Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los
i         Angeles       Sam Nappi                       Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los
i         Angeles       Google LLC                      Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los
i         Angeles       AT&T                            Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los
i         Angeles       Health Net                      Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los   Ambassador Rockwell A.
i         Angeles       Schnabel                        Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los
i         Angeles       Verizon                         Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los
i         Angeles       Verizon                         Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los   Edison International c/o
i         Angeles       Southern California Edison      Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los
i         Angeles       City National Bank              Mayor's Fund for Los Angeles    $10,000




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Eric
Garcett   City of Los
i         Angeles       Jones Day                     Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los
i         Angeles       Johnny Carson Foundation      Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los
i         Angeles       Interscope Records            Mayor's Fund for Los Angeles    $10,000
Eric
Garcett   City of Los                                 Pacific Asian Consortium in
i         Angeles       Chase Mortgage Banking        Employment (PACE)               $7,500
Eric
Garcett   City of Los                                 Pacific Asian Consortium in
i         Angeles       Dragados                      Employment (PACE)               $7,000
Eric
Garcett   City of Los                                 Pacific Asian Consortium in
i         Angeles       Azlo Business Inc.            Employment (PACE)               $6,201
Eric
Garcett   City of Los
i         Angeles       Monica Lawson                 Mayor's Fund for Los Angeles    $6,000
Eric
Garcett   City of Los
i         Angeles       La Cienega Design Quarter     Mayor's Fund for Los Angeles    $5,000
Eric
Garcett   City of Los                                 Pacific Asian Consortium in
i         Angeles       Union Bank                    Employment (PACE)               $5,000
Eric
Garcett   City of Los                                 Pacific Asian Consortium in
i         Angeles       PCL Construction              Employment (PACE)               $5,000
Eric
Garcett   City of Los
i         Angeles       Wurwand Foundation            Opportunity Fund                $5,000
Eric
Garcett   City of Los
i         Angeles       Charter Communications        Mayor's Fund for Los Angeles    $5,000
Eric
Garcett   City of Los
i         Angeles       CA Technologies               Mayor's Fund for Los Angeles    $5,000
Eric
Garcett   City of Los
i         Angeles       Conrad N. Hilton Foundation   Mayor's Fund for Los Angeles    $5,000
Eric
Garcett   City of Los
i         Angeles       Artisan Pictures, LLC         Mayor's Fund for Los Angeles    $5,000




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 Eric
 Garcett   City of Los
 i         Angeles        Cornerstone OnDemand, Inc.          Mayor's Fund for Los Angeles       $5,000


Michael Feuer
          Jurisdictio
 Official n              Payor Name                                          Payee Name           Amount
 Micha                                                                       Los Angeles City
 el       City of Los                                                        Attorney's           $4,289,14
 Feuer    Angeles        CA Attorney General's Office                        Office               0
 Micha                                                                       Los Angeles City
 el       City of Los                                                        Attorney's
 Feuer    Angeles        Covington & Burling, LLP                            Office               $182,716
 Micha                                                                       Los Angeles City
 el       City of Los                                                        Attorney's
 Feuer    Angeles        Covington & Burling, LLP                            Office               $160,933
 Micha                                                                       Los Angeles City
 el       City of Los                                                        Attorney's
 Feuer    Angeles        Covington & Burling LLP                             Office               $140,509
 Micha
 el       City of Los                                                        Museum of
 Feuer    Angeles        California Office of Emergency Services (Cal OES)   Tolerance            $125,000
 Micha                                                                       Los Angeles City
 el       City of Los                                                        Attorney's
 Feuer    Angeles        Covington & Burling LLP                             Office               $124,566
 Micha                                                                       Los Angeles City
 el       City of Los                                                        Attorney's
 Feuer    Angeles        Covington & Burling, LLP                            Office               $120,653
 Micha                                                                       Los Angeles City
 el       City of Los    California Attorney General's Office, Privacy and   Attorney's
 Feuer    Angeles        Piracy Fund                                         Office               $90,240
 Micha                                                                       Los Angeles City
 el       City of Los                                                        Attorney's
 Feuer    Angeles        Covington & Burling, LLP                            Office               $82,264
 Micha                   Hope and Heal Fund, through New Venture             Educational
 el       City of Los    Fund, About New Venture Fund - New Venture          Fund to Stop
 Feuer    Angeles        Fund                                                Violence             $75,000
 Micha                                                                       Los Angeles City
 el       City of Los                                                        Attorney's
 Feuer    Angeles        Covington & Burling, LLP                            Office               $72,363
 Micha                                                                       Los Angeles City
 el       City of Los                                                        Attorney's
 Feuer    Angeles        Covington & Burling, LLP                            Office               $71,701
 Micha                                                                       Los Angeles City
 el       City of Los                                                        Attorney's
 Feuer    Angeles        Covington & Burling, LLP                            Office               $58,312


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Micha                                                     Los Angeles
el      City of Los                                       Conservation
Feuer   Angeles       Whole Foods Market                  Corps                $50,000
Micha
el      City of Los                                       Peace Over
Feuer   Angeles       Verizon Foundation                  Violence             $40,000
Micha                                                     Los Angeles City
el      City of Los                                       Attorney's
Feuer   Angeles       Covington & Burling, LLP            Office               $38,493
Micha                                                     Los Angeles
el      City of Los                                       Conservation
Feuer   Angeles       American Chemistry Council          Corps                $25,000
Micha                                                     Los Angeles
el      City of Los                                       Conservation
Feuer   Angeles       Banc of California                  Corps                $20,000
Micha                                                     Los Angeles
el      City of Los                                       Conservation
Feuer   Angeles       Renee Dake-Wilson                   Corps                $15,000
Micha                                                     Los Angeles City
el      City of Los                                       Attorney's
Feuer   Angeles       Educational Fund to Stop Violence   Office               $15,000
Micha                                                     American
el      City of Los                                       Diabetes
Feuer   Angeles       Cisco Systems                       Association          $12,500
Micha                                                     American
el      City of Los                                       Diabetes
Feuer   Angeles       Axon                                Association          $12,500
Micha                                                     American
el      City of Los                                       Diabetes
Feuer   Angeles       Athens Services                     Association          $12,500
Micha                                                     American
el      City of Los                                       Diabetes
Feuer   Angeles       Nederlander/ Pantages Theatre       Association          $12,500
Micha                                                     Los Angeles City
el      City of Los                                       Attorney's
Feuer   Angeles       Covington & Burling, LLP            Office               $10,463
Micha                                                     Temple
el      City of Los                                       Emanuel of
Feuer   Angeles       Kathy Javor                         Beverly Hills        $10,000
Micha                                                     Los Angeles
el      City of Los                                       Conservation
Feuer   Angeles       AEG                                 Corps                $10,000
Micha                                                     American
el      City of Los                                       Diabetes
Feuer   Angeles       Waste Management                    Association          $7,500




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Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       UnitedHealthCare                       Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       SoCal Gas                              Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       Robertson Properties Group             Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       Paramount Pictures                     Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       Arnie Berghoff & Associates            Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       Amalgamated Transit Union Local 1277   Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       American Airlines                      Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       Blue Shield of California              Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       Caruso                                 Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       Children's Hospital Los Angeles        Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       LiUNA! Local 300                       Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       Los Angeles Police Protective League   Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       Los Angeles Rams                       Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       Los Angeles World Airports             Association     $7,500
Micha                                                        American
el      City of Los                                          Diabetes
Feuer   Angeles       Mayer Brown LLP                        Association     $7,500




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 Micha                                                                      American
 el          City of Los                                                    Diabetes
 Feuer       Angeles       Comcast/ NBC Universal                           Association          $7,500
 Micha                                                                      Temple
 el          City of Los                                                    Emanuel of
 Feuer       Angeles       Alan Block                                       Beverly Hills        $5,000
 Micha                                                                      Los Angeles
 el          City of Los                                                    Conservation
 Feuer       Angeles       SDI                                              Corps                $5,000
 Micha                                                                      Los Angeles City
 el          City of Los                                                    Attorney's
 Feuer       Angeles       Covington & Burling, LLP                         Office               $4,794
 Micha                                                                      Los Angeles City
 el          City of Los                                                    Attorney's
 Feuer       Angeles       Boies Schiller Flexner, LLP                      Office               $2,600


Darrell Steinberg
 Official      Jurisdiction      Payor Name                 Payee Name                          Amount
               City of
 Darrell       Sacrament                                                                        $1,670,00
 Steinberg     o                 Dignity Health             Sacramento Covered                  0
               City of
 Darrell       Sacrament
 Steinberg     o                 David and Helene Taylor    Sutter Health Foundation            $298,451
               City of
 Darrell       Sacrament
 Steinberg     o                 Dignity Health             City of Sacramento                  $100,000
               City of
 Darrell       Sacrament
 Steinberg     o                 Resource Legacy Fund       Local Government Commission         $30,000
               City of
 Darrell       Sacrament                                    All About Sacramento
 Steinberg     o                 KP Financial SVCS          Community Fund                      $10,000
               City of
 Darrell       Sacrament         Kaiser Foundation Health
 Steinberg     o                 Plan                       Local Government Commission         $10,000
               City of
 Darrell       Sacrament                                    All About Sacramento
 Steinberg     o                 Comcast                    Community Fund                      $5,000
               City of
 Darrell       Sacrament         Parker Development
 Steinberg     o                 Company                    MERISTEM                            $5,000
               City of
 Darrell       Sacrament         Murphy Austin Adams
 Steinberg     o                 Schoenfeld LLP             MERISTEM                            $5,000



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               City of
 Darrell       Sacrament    Pacific Coast Companies,
 Steinberg     o            Inc.                           MERISTEM                    $5,000
               City of
 Darrell       Sacrament    Loveall Foundation for
 Steinberg     o            Children                       MERISTEM                    $5,000
               City of
 Darrell       Sacrament
 Steinberg     o            Tina Thomas                    MERISTEM                    $5,000
               City of
 Darrell       Sacrament                                   All About Sacramento
 Steinberg     o            Safe Credit Union              Community Fund              $5,000
               City of
 Darrell       Sacrament    Construction & General         Sacramento Asian-Pacific
 Steinberg     o            Laborers Local 185             Chamber of Commerce         $4,200
               City of
 Darrell       Sacrament    Plumbers & Pipefitters Local   Sacramento Asian-Pacific
 Steinberg     o            447                            Chamber of Commerce         $3,100
               City of
 Darrell       Sacrament    Sacramento Association of      All About Sacramento
 Steinberg     o            Realtors                       Community Fund              $2,800
               City of
 Darrell       Sacrament    Plumbers & Pipefitters Local
 Steinberg     o            447                            MERISTEM                    $2,500
               City of
 Darrell       Sacrament    Plumbers & Pipefitters Local
 Steinberg     o            447                            MERISTEM                    $2,500
               City of
 Darrell       Sacrament    Plumbers & Pipefitters Local   All About Sacramento
 Steinberg     o            447                            Community Fund              $2,500
               City of
 Darrell       Sacrament    Sacramento Municipal           Sacramento Asian-Pacific
 Steinberg     o            Utility District               Chamber of Commerce         $1,400
               City of
 Darrell       Sacrament                                   Sacramento Asian-Pacific
 Steinberg     o            City of Davis                  Chamber of Commerce         $1,100
               City of
 Darrell       Sacrament    Construction & General
 Steinberg     o            Laborers Local 185             MERISTEM                    $1,000
               City of
 Darrell       Sacrament    California State University,   Sacramento Asian-Pacific
 Steinberg     o            Sacramento                     Chamber of Commerce         $800


London Breed
 Official    Jurisdiction      Payor Name                             Payee Name        Amount



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London   City and County                                          Jewish Vocational
Breed    of San Francisco   AT&T                                  Service                $200,000
London   City and County                                          Japanese Community
Breed    of San Francisco   Alaska Airlines                       Youth Council          $150,000
London   City and County                                          Japanese Community
Breed    of San Francisco   Google LLC                            Youth Council          $100,000
London   City and County                                          Japanese Community
Breed    of San Francisco   Alaska Airlines                       Youth Council          $100,000
London   City and County                                          A. Philip Randolph
Breed    of San Francisco   Whole Foods                           Institute                $16,808
London   City and County                                          Southeast Vision
Breed    of San Francisco   Facebook                              Project                  $15,000
London   City and County                                          A. Philip Randolph
Breed    of San Francisco   Target                                Institute                $12,854
London   City and County                                          A. Philip Randolph
Breed    of San Francisco   Smart & Final                         Institute                $12,360
London   City and County                                          SPARK SF Public
Breed    of San Francisco   Diane B. Wilsey                       Schools                  $11,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   Joe Cassidy                           Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   Steven Kay                            Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   Historic John's Grill                 Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   SOMA Hotel                            Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   TMG Partners                          Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   Jack Sylvan                           Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   BCSF, Inc.                            Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   San Francisco Baseball Associates LLC Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   UA Local 38 COPE Fund                 Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   Diane Wilsey                          Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   George Shultz                         Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   John Spencer Wadsworth Jr.            Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   Nicola Miner                          Inaugural Fund           $10,000
London   City and County                                          2018 San Francisco
Breed    of San Francisco   Patrick Kennedy                       Inaugural Fund           $10,000


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London   City and County                                            2018 San Francisco
Breed    of San Francisco   Richard Kramer                          Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Makras Real Estate                      Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Shorenstein Reality Services            Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Google                                  Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Justin Palmer                           Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Susie Tompkins Buell                    Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Kilroy Realty, LP                       Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Recology Inc.                           Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   California Barrel Company LLC           Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Doris F. Fisher                         Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Wahid A. Tadros                         Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Webcor Construction LP                  Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   E.I.S.B., Inc.                          Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Wisfe Aish Rental Properties            Inaugural Fund           $10,000
London   City and County    San Francisco Association of Realtors   2018 San Francisco
Breed    of San Francisco   Community Action Fund                   Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Yerba Buena Commons                     Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Pacific Gas and Electric Company        Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Osbourn Erickson                        Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   San Francisco Apartment Association     Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Forty Niners Football Company, LLC      Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Hudson Pacific Properties               Inaugural Fund           $10,000
London   City and County                                            2018 San Francisco
Breed    of San Francisco   Tao Finance LLC                         Inaugural Fund           $10,000
London   City and County    Sheet Metal Workers' International      2018 San Francisco
Breed    of San Francisco   Association Local Union #104            Inaugural Fund           $10,000


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London   City and County                                         2018 San Francisco
Breed    of San Francisco   Alexandria Real Estate Equities      Inaugural Fund           $10,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   CH2M Hill Engineers, Inc.            Inaugural Fund           $10,000
London   City and County                                         Southeast Vision
Breed    of San Francisco   Recology                             Project                  $10,000
London   City and County                                         Southeast Vision
Breed    of San Francisco   Uber                                 Project                  $10,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Nguey Lay                            Inaugural Fund            $7,500
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Related California Residential       Inaugural Fund            $7,500
London   City and County                                         Southeast Vision
Breed    of San Francisco   Eaze Solutions                       Project                   $7,500
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Carrie Schwab-Pomerantz              Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Stanlee Gatti                        Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   AW Collision of SSF Inc.             Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Pacific Waterfront Partners          Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Pacific Park Management              Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Feysan Lodde                         Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   John Pritzker                        Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Kwok Kit Ho                          Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   William Langelier                    Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Golden State Warriors                Inaugural Fund            $5,000
London   City and County    Sanitary Truck Drivers and Helpers   2018 San Francisco
Breed    of San Francisco   Teamsters Local 350                  Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Dan Kingsley                         Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Jeffrey Litke                        Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Thomas E Horn                        Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Wayne Perry                          Inaugural Fund            $5,000
London   City and County                                         2018 San Francisco
Breed    of San Francisco   Joseph W Cotchett, Attorney at Law   Inaugural Fund            $5,000


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 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    Trinity Management Services              Inaugural Fund            $5,000
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    William Barulich                         Inaugural Fund            $5,000
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    Teamsters Local 665                      Inaugural Fund            $5,000
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    Prospector, LLC                          Inaugural Fund            $5,000
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    UFCW Western States Council              Inaugural Fund            $5,000
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    Teamsters Local 853                      Inaugural Fund            $5,000
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    Teamsters Local 856                      Inaugural Fund            $5,000
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    RDJ Enterprises, LLC                     Inaugural Fund            $5,000
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    George Bourekas                          Inaugural Fund            $5,000
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    Pier 39 LP                               Inaugural Fund            $5,000
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    Turo, Inc.                               Inaugural Fund            $5,000
 London      City and County                                              Southeast Vision
 Breed       of San Francisco    Warriors                                 Project                   $5,000
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    Teamsters Local 665                      Inaugural Fund            $4,950
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    Mary McCue                               Inaugural Fund            $2,500
 London      City and County     MJM Management Group (Mary               2018 San Francisco
 Breed       of San Francisco    McCue)                                   Inaugural Fund            $2,500
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    Related California Residential           Inaugural Fund            $2,500
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    Historic John's Grill                    Inaugural Fund            $1,800
 London      City and County                                              2018 San Francisco
 Breed       of San Francisco    Athena Konstin (Historic John's Grill)   Inaugural Fund            $1,000


Kevin Faulconer
 Official         Jurisdiction      Payor Name                               Payee Name        Amount
 Kevin            City of San
 Faulconer        Diego             Jack Crivello                            One San Diego     $25,000
 Kevin            City of San
 Faulconer        Diego             AT&T                                     One San Diego     $25,000
 Kevin            City of San
 Faulconer        Diego             SDG&E                                    One San Diego     $20,000


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Kevin       City of San
Faulconer   Diego         SDAR                             One San Diego   $15,000
Kevin       City of San
Faulconer   Diego         Walmart                          One San Diego   $15,000
Kevin       City of San
Faulconer   Diego         Neutron Holdings Inc.            One San Diego   $12,299
Kevin       City of San
Faulconer   Diego         Campland, LLC                    One San Diego   $10,000
Kevin       City of San   Seilder Kutsenda Management
Faulconer   Diego         Company                          One San Diego   $10,000
Kevin       City of San
Faulconer   Diego         Dan & Barbie Spinazzola          One San Diego   $10,000
Kevin       City of San
Faulconer   Diego         Dan & Trish Ryan                 One San Diego   $10,000
Kevin       City of San
Faulconer   Diego         Lou & Judy Ferrero               One San Diego   $10,000
Kevin       City of San
Faulconer   Diego         Michael & Karen Stone            One San Diego   $10,000
Kevin       City of San
Faulconer   Diego         Sempra Employee Giving Network   One San Diego   $10,000
Kevin       City of San
Faulconer   Diego         Mesa Canyon Community Partners   One San Diego   $10,000
Kevin       City of San
Faulconer   Diego         U Stor It                        One San Diego   $7,500
Kevin       City of San
Faulconer   Diego         U Stor It                        One San Diego   $7,500
Kevin       City of San
Faulconer   Diego         Cox Communications               One San Diego   $7,500
Kevin       City of San
Faulconer   Diego         Prime Steaks                     One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Prime Steaks                     One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         GEO Group                        One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Tom Fetter                       One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         The San Diego Foundation         One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         William Ostrem                   One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Constance M. Carroll             SDCCAO          $5,000
Kevin       City of San
Faulconer   Diego         HG Fenton                        One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         ColRich                          One San Diego   $5,000


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Kevin       City of San
Faulconer   Diego         Soapy Joe's                    One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Sharp Healthcare               One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Sunroad Asset Management       One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         AEG Management                 One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Monarch Group                  One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Kay Faulconer Boger            One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Suffolk Construction           One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Padres LP                      One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         US Bank                        One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Sudberry Properties            One San Diego   $5,000
Kevin       City of San   William Lynch Foundation for
Faulconer   Diego         Children                       One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         The Geo Group Foundation       One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Pardee Homes                   One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         The Deason Foundation          One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Sycuan                         One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Cohn Family Foundation         One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Irwin & MaryAnne Pfister       One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Vulcan Materials Company       One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         G.A. Ranglas                   One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Affirmed Housing Group         One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         Brutten Family Foundation      One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         AMR Management                 One San Diego   $5,000
Kevin       City of San
Faulconer   Diego         San Diego Tourism Authority    One San Diego   $5,000


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Kevin       City of San
Faulconer   Diego         U Stor It                 One San Diego   $5,000
Kevin       City of San                             Lynch
Faulconer   Diego         Mike Turk                 Foundation      $2,500




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2019
Top 5 Payors of 2019
 Jurisdiction                              Payor Name                                          Amount
 City and County of San Francisco          Crankstart Foundation                               $750,000
 City and County of San Francisco          Twilio                                              $700,000
 City of Los Angeles                       The Walt Disney Company                             $535,000
 City and County of San Francisco          Kaiser Foundation Hospitals                         $500,000
 City of Los Angeles                       AT&T                                                $400,500


Crankstart Foundation
 Official        Jurisdiction                 Payor Name                 Payee Name             Amount
                 City and County of
 London Breed San Francisco                   Crankstart Foundation      Collective Impact           $750,000


Twilio
 Official          Jurisdiction             Payor Name          Payee Name                       Amount
 London            City and County of
 Breed             San Francisco            Twilio              Larkin Street Youth Services         $700,000


The Walt Disney Company
 Official                   Jurisdiction      Payor Name              Payee Name                   Amount
                            City of Los       The Walt Disney         Mayor's Fund for Los
 Eric Garcetti              Angeles           Company                 Angeles                      $500,000
                            City of Los       The Walt Disney         Los Angeles Conservation
 Eric Garcetti              Angeles           Company                 Corps                        $5,000
 Marqueece Harris-          City of Los       The Walt Disney         Los Angeles Conservation
 Dawson                     Angeles           Company                 Corps                        $5,000
                            City of Los       The Walt Disney         Los Angeles Conservation
 Nury Martinez              Angeles           Company                 Corps                        $5,000
                            City of Los       The Walt Disney         Los Angeles Conservation
 Monica Rodriguez           Angeles           Company                 Corps                        $5,000
                            City of Los       The Walt Disney         Los Angeles Conservation
 Joe Buscaino               Angeles           Company                 Corps                        $5,000
                            City of Los       The Walt Disney         Los Angeles Conservation
 Gilbert Cedillo            Angeles           Company                 Corps                        $5,000
                            City of Los       The Walt Disney         Los Angeles Conservation
 Curren Price               Angeles           Company                 Corps                        $5,000


Kaiser Foundation Hospitals
 Official        Jurisdiction        Payor Name                 Payee Name                         Amount



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 London          City and County    Kaiser Foundation        Japanese Community Youth
 Breed           of San Francisco   Hospitals                Council                           $500,000


AT&T
 Official          Jurisdiction     Payor Name          Payee Name                            Amount
                   City of Los
 Eric Garcetti     Angeles          AT&T                Mayor's Fund for Los Angeles          $150,000
                   City of Los
 Eric Garcetti     Angeles          AT&T                Mayor's Fund for Los Angeles          $100,000
 Kevin             City of San
 Faulconer         Diego            AT&T                One San Diego                         $25,000
 Kevin             City of San
 Faulconer         Diego            AT&T                One San Diego                         $25,000
                   City and
 London            County of San
 Breed             Francisco        AT&T                Women's Foundation of California      $25,000
                   City of Los
 Eric Garcetti     Angeles          AT&T                The GRYD Foundation                   $20,000
 Jay               City of
 Schenirer         Sacramento       AT&T                Institute for Local Government        $20,000
                   City and
 London            County of San
 Breed             Francisco        AT&T                Southeast Vision Project              $15,000
                   City of Los
 Ron Galperin      Angeles          AT&T                American Diabetes Association         $7,500
                   City of Los
 Eric Garcetti     Angeles          AT&T                Mayor's Fund for Los Angeles          $5,000
                   City and
 Sandra Lee        County of San                        Richmond District Neighborhood
 Fewer             Francisco        AT&T                Center Inc.                           $5,000
 Kevin             City of San      AT&T (Via United
 Faulconer         Diego            Way)                One San Diego                         $2,000
                   City and
 London            County of San
 Breed             Francisco        AT&T                Collective Impact                     $1,000


Top 5 Payees of 2019
 Jurisdiction                       Payee Name                                             Amount
 City of Los Angeles                Mayor's Fund for Los Angeles                           $3,817,700
 City of Los Angeles                Los Angeles Conservation Corps                         $1,845,000
 City and County of San
 Francisco                          Women's Foundation of California                       $895,000
 City and County of San
 Francisco                          Collective Impact                                      $850,828



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 City and County of San
 Francisco                         Larkin Street Youth Services                          $700,000


Mayor’s Fund for Los Angeles
 Official   Jurisdiction   Payor Name                             Payee Name                Amount
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        The Walt Disney Company                Angeles                   $500,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        Bloomberg Philanthropies               Angeles                   $343,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        Leonard Hill Charitable Trust          Angeles                   $325,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        Silicon Valley Community Foundation    Angeles                   $300,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        Delta Airlines Foundation              Angeles                   $250,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        Roth Family Foundation                 Angeles                   $245,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        Weingart Foundation                    Angeles                   $200,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        JM Eagle/ Walter & Shirley Wang        Angeles                   $200,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        Eisner Foundation                      Angeles                   $150,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        AT&T                                   Angeles                   $150,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        Wasserman Foundation                   Angeles                   $125,000
 Eric       City of Los    Kobe and Vanessa Bryant Family         Mayor's Fund for Los
 Garcetti   Angeles        Foundation                             Angeles                   $125,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        Aetna                                  Angeles                   $100,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        CVS Health                             Angeles                   $100,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        AT&T                                   Angeles                   $100,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        Bloomberg Family Foundation Inc.       Angeles                   $100,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        The Angell Foundation                  Angeles                   $50,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        Lowy Foundation USA Inc.               Angeles                   $50,000
 Eric       City of Los    Katie Mcgrath & J.J Abrams Family      Mayor's Fund for Los
 Garcetti   Angeles        Foundation                             Angeles                   $50,000
 Eric       City of Los                                           Mayor's Fund for Los
 Garcetti   Angeles        Cedars-Sinai Medical Center            Angeles                   $50,000


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Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       WeWork                              Angeles                 $50,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Health Net                          Angeles                 $25,000
Eric       City of Los   Kaiser Permanente Southern          Mayor's Fund for Los
Garcetti   Angeles       California                          Angeles                 $25,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Conrad N. Hilton Foundation         Angeles                 $25,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       RM Liu Foundation                   Angeles                 $25,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       AEG                                 Angeles                 $23,800
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Liam Fayed                          Angeles                 $15,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Davis J. Factor Living Trust        Angeles                 $10,400
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       PowerFin Partners                   Angeles                 $10,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Verizon                             Angeles                 $10,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Comcast/ NBC Universal              Angeles                 $10,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       City National Bank                  Angeles                 $10,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Jane & Marc Nathanson Foundation    Angeles                 $10,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Interscope                          Angeles                 $10,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Hitachi                             Angeles                 $7,500
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       AT&T                                Angeles                 $5,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Harnisch Family Foundation          Angeles                 $5,000
Eric       City of Los   Sustainable Development Solutions   Mayor's Fund for Los
Garcetti   Angeles       Network                             Angeles                 $5,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Conrad N. Hilton Foundation         Angeles                 $5,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       IMAX                                Angeles                 $5,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Donna Leigh Wilson Scott Trust      Angeles                 $5,000
Eric       City of Los   Sustainable Development Solutions   Mayor's Fund for Los
Garcetti   Angeles       Network                             Angeles                 $5,000
Eric       City of Los                                       Mayor's Fund for Los
Garcetti   Angeles       Conrad N. Hilton Foundation         Angeles                 $3,000


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Los Angeles Conservation Corps
 Official          Jurisdiction   Payor Name             Payee Name           Amount
                   City of Los                           Los Angeles
 Eric Garcetti     Angeles        Edison International   Conservation Corps   $30,000
 Marqueece         City of Los                           Los Angeles
 Harris-Dawson     Angeles        Edison International   Conservation Corps   $30,000
                   City of Los                           Los Angeles
 Nury Martinez     Angeles        Edison International   Conservation Corps   $30,000
 Monica            City of Los                           Los Angeles
 Rodriguez         Angeles        Edison International   Conservation Corps   $30,000
                   City of Los                           Los Angeles
 Joe Buscaino      Angeles        Edison International   Conservation Corps   $30,000
                   City of Los                           Los Angeles
 Gilbert Cedillo   Angeles        Edison International   Conservation Corps   $30,000
                   City of Los                           Los Angeles
 Curren Price      Angeles        Edison International   Conservation Corps   $30,000
                   City of Los                           Los Angeles
 Eric Garcetti     Angeles        Annenberg Foundation   Conservation Corps   $25,000
 Marqueece         City of Los                           Los Angeles
 Harris-Dawson     Angeles        Annenberg Foundation   Conservation Corps   $25,000
                   City of Los                           Los Angeles
 Nury Martinez     Angeles        Annenberg Foundation   Conservation Corps   $25,000
 Monica            City of Los                           Los Angeles
 Rodriguez         Angeles        Annenberg Foundation   Conservation Corps   $25,000
                   City of Los                           Los Angeles
 Joe Buscaino      Angeles        Annenberg Foundation   Conservation Corps   $25,000
                   City of Los                           Los Angeles
 Gilbert Cedillo   Angeles        Annenberg Foundation   Conservation Corps   $25,000
                   City of Los                           Los Angeles
 Curren Price      Angeles        Annenberg Foundation   Conservation Corps   $25,000
                   City of Los                           Los Angeles
 Eric Garcetti     Angeles        Banc of California     Conservation Corps   $20,000
                   City of Los                           Los Angeles
 Eric Garcetti     Angeles        City View              Conservation Corps   $20,000
 Marqueece         City of Los                           Los Angeles
 Harris-Dawson     Angeles        Banc of California     Conservation Corps   $20,000
 Marqueece         City of Los                           Los Angeles
 Harris-Dawson     Angeles        City View              Conservation Corps   $20,000
                   City of Los                           Los Angeles
 Nury Martinez     Angeles        Banc of California     Conservation Corps   $20,000
                   City of Los                           Los Angeles
 Nury Martinez     Angeles        City View              Conservation Corps   $20,000
 Monica            City of Los                           Los Angeles
 Rodriguez         Angeles        City View              Conservation Corps   $20,000
 Monica            City of Los                           Los Angeles
 Rodriguez         Angeles        Banc of California     Conservation Corps   $20,000


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                  City of Los                                        Los Angeles
Joe Buscaino      Angeles       Banc of California                   Conservation Corps   $20,000
                  City of Los                                        Los Angeles
Joe Buscaino      Angeles       City View                            Conservation Corps   $20,000
                  City of Los                                        Los Angeles
Gilbert Cedillo   Angeles       Banc of California                   Conservation Corps   $20,000
                  City of Los                                        Los Angeles
Gilbert Cedillo   Angeles       City View                            Conservation Corps   $20,000
                  City of Los                                        Los Angeles
Curren Price      Angeles       Banc of California                   Conservation Corps   $20,000
                  City of Los                                        Los Angeles
Curren Price      Angeles       City View                            Conservation Corps   $20,000
                  City of Los                                        Los Angeles
Eric Garcetti     Angeles       Blackstone                           Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Eric Garcetti     Angeles       City National Bank                   Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Eric Garcetti     Angeles       City National Bank                   Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Eric Garcetti     Angeles       Cox, Castle & Nicholson LLP          Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Eric Garcetti     Angeles       Southern California Gas Company      Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Eric Garcetti     Angeles       Nixon Peabody                        Conservation Corps   $10,000
                  City of Los   National Foundation for Affordable   Los Angeles
Eric Garcetti     Angeles       Housing Solutions Inc.               Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Eric Garcetti     Angeles       John Ek                              Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Eric Garcetti     Angeles       Jacobs                               Conservation Corps   $10,000
Marqueece         City of Los                                        Los Angeles
Harris-Dawson     Angeles       Cox, Castle & Nicholson LLP          Conservation Corps   $10,000
Marqueece         City of Los                                        Los Angeles
Harris-Dawson     Angeles       City National Bank                   Conservation Corps   $10,000
Marqueece         City of Los                                        Los Angeles
Harris-Dawson     Angeles       City National Bank                   Conservation Corps   $10,000
Marqueece         City of Los                                        Los Angeles
Harris-Dawson     Angeles       Blackstone                           Conservation Corps   $10,000
Marqueece         City of Los                                        Los Angeles
Harris-Dawson     Angeles       Jacobs                               Conservation Corps   $10,000
Marqueece         City of Los                                        Los Angeles
Harris-Dawson     Angeles       John Ek                              Conservation Corps   $10,000
Marqueece         City of Los   National Foundation for Affordable   Los Angeles
Harris-Dawson     Angeles       Housing Solutions Inc.               Conservation Corps   $10,000
Marqueece         City of Los                                        Los Angeles
Harris-Dawson     Angeles       Nixon Peabody                        Conservation Corps   $10,000


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Marqueece       City of Los                                        Los Angeles
Harris-Dawson   Angeles       Southern California Gas Company      Conservation Corps   $10,000
Marqueece       City of Los                                        Los Angeles
Harris-Dawson   Angeles       The Boeing Company                   Conservation Corps   $10,000
                City of Los                                        Los Angeles
Nury Martinez   Angeles       The Boeing Company                   Conservation Corps   $10,000
                City of Los                                        Los Angeles
Nury Martinez   Angeles       Southern California Gas Company      Conservation Corps   $10,000
                City of Los                                        Los Angeles
Nury Martinez   Angeles       Nixon Peabody                        Conservation Corps   $10,000
                City of Los   National Foundation for Affordable   Los Angeles
Nury Martinez   Angeles       Housing Solutions Inc.               Conservation Corps   $10,000
                City of Los                                        Los Angeles
Nury Martinez   Angeles       John Ek                              Conservation Corps   $10,000
                City of Los                                        Los Angeles
Nury Martinez   Angeles       Jacobs                               Conservation Corps   $10,000
                City of Los                                        Los Angeles
Nury Martinez   Angeles       Cox, Castle & Nicholson LLP          Conservation Corps   $10,000
                City of Los                                        Los Angeles
Nury Martinez   Angeles       City National Bank                   Conservation Corps   $10,000
                City of Los                                        Los Angeles
Nury Martinez   Angeles       Blackstone                           Conservation Corps   $10,000
                City of Los                                        Los Angeles
Nury Martinez   Angeles       City National Bank                   Conservation Corps   $10,000
Monica          City of Los                                        Los Angeles
Rodriguez       Angeles       Southern California Gas Company      Conservation Corps   $10,000
Monica          City of Los                                        Los Angeles
Rodriguez       Angeles       Jacobs                               Conservation Corps   $10,000
Monica          City of Los                                        Los Angeles
Rodriguez       Angeles       John Ek                              Conservation Corps   $10,000
Monica          City of Los   National Foundation for Affordable   Los Angeles
Rodriguez       Angeles       Housing Solutions Inc.               Conservation Corps   $10,000
Monica          City of Los                                        Los Angeles
Rodriguez       Angeles       Nixon Peabody                        Conservation Corps   $10,000
Monica          City of Los                                        Los Angeles
Rodriguez       Angeles       The Boeing Company                   Conservation Corps   $10,000
Monica          City of Los                                        Los Angeles
Rodriguez       Angeles       Cox, Castle & Nicholson LLP          Conservation Corps   $10,000
Monica          City of Los                                        Los Angeles
Rodriguez       Angeles       City National Bank                   Conservation Corps   $10,000
Monica          City of Los                                        Los Angeles
Rodriguez       Angeles       City National Bank                   Conservation Corps   $10,000
Monica          City of Los                                        Los Angeles
Rodriguez       Angeles       Blackstone                           Conservation Corps   $10,000
                City of Los                                        Los Angeles
Joe Buscaino    Angeles       Blackstone                           Conservation Corps   $10,000


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                  City of Los                                        Los Angeles
Joe Buscaino      Angeles       City National Bank                   Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Joe Buscaino      Angeles       City National Bank                   Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Joe Buscaino      Angeles       Cox, Castle & Nicholson LLP          Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Joe Buscaino      Angeles       Jacobs                               Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Joe Buscaino      Angeles       The Boeing Company                   Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Joe Buscaino      Angeles       Southern California Gas Company      Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Joe Buscaino      Angeles       Nixon Peabody                        Conservation Corps   $10,000
                  City of Los   National Foundation for Affordable   Los Angeles
Joe Buscaino      Angeles       Housing Solutions Inc.               Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Joe Buscaino      Angeles       John Ek                              Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Gilbert Cedillo   Angeles       The Boring Company                   Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Gilbert Cedillo   Angeles       Southern California Gas Company      Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Gilbert Cedillo   Angeles       Nixon Peabody                        Conservation Corps   $10,000
                  City of Los   National Foundation for Affordable   Los Angeles
Gilbert Cedillo   Angeles       Housing Solutions Inc.               Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Gilbert Cedillo   Angeles       John Ek                              Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Gilbert Cedillo   Angeles       Jacobs                               Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Gilbert Cedillo   Angeles       Blackstone                           Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Gilbert Cedillo   Angeles       City National Bank                   Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Gilbert Cedillo   Angeles       City National Bank                   Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Gilbert Cedillo   Angeles       Cox, Castle & Nicholson LLP          Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Curren Price      Angeles       Jacobs                               Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Curren Price      Angeles       The Boeing Company                   Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Curren Price      Angeles       Southern California Gas Company      Conservation Corps   $10,000
                  City of Los                                        Los Angeles
Curren Price      Angeles       Nixon Peabody                        Conservation Corps   $10,000


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                City of Los   National Foundation for Affordable   Los Angeles
Curren Price    Angeles       Housing Solutions Inc.               Conservation Corps   $10,000
                City of Los                                        Los Angeles
Curren Price    Angeles       John Ek                              Conservation Corps   $10,000
                City of Los                                        Los Angeles
Curren Price    Angeles       Blackstone                           Conservation Corps   $10,000
                City of Los                                        Los Angeles
Curren Price    Angeles       City National Bank                   Conservation Corps   $10,000
                City of Los                                        Los Angeles
Curren Price    Angeles       City National Bank                   Conservation Corps   $10,000
                City of Los                                        Los Angeles
Curren Price    Angeles       Cox, Castle & Nicholson LLP          Conservation Corps   $10,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       Greenberg Traurig LLP                Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       Bank of America                      Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       Deloitte Touche                      Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       Eastdil Secured LLC                  Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       Gallagher Chapman                    Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       WPIC Construction LLC                Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       United Airlines                      Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       The Walt Disney Company              Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       Temescal Canyon Association          Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       Robert Insolia                       Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       Moran & Company                      Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       Mitsubishi Corporation (Americas)    Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       Institutional Property Advisors      Conservation Corps   $5,000
                City of Los                                        Los Angeles
Eric Garcetti   Angeles       Goodwin Procter                      Conservation Corps   $5,000
Marqueece       City of Los                                        Los Angeles
Harris-Dawson   Angeles       Greenberg Traurig LLP                Conservation Corps   $5,000
Marqueece       City of Los                                        Los Angeles
Harris-Dawson   Angeles       Goodwin Procter                      Conservation Corps   $5,000
Marqueece       City of Los                                        Los Angeles
Harris-Dawson   Angeles       Gallagher Chapman                    Conservation Corps   $5,000


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Marqueece       City of Los                                       Los Angeles
Harris-Dawson   Angeles       Eastdil Secured LLC                 Conservation Corps   $5,000
Marqueece       City of Los                                       Los Angeles
Harris-Dawson   Angeles       Deloitte Touche                     Conservation Corps   $5,000
Marqueece       City of Los                                       Los Angeles
Harris-Dawson   Angeles       Bank of America                     Conservation Corps   $5,000
Marqueece       City of Los                                       Los Angeles
Harris-Dawson   Angeles       Mitsubishi Corporation (Americas)   Conservation Corps   $5,000
Marqueece       City of Los                                       Los Angeles
Harris-Dawson   Angeles       Moran & Company                     Conservation Corps   $5,000
Marqueece       City of Los                                       Los Angeles
Harris-Dawson   Angeles       Robert Insolia                      Conservation Corps   $5,000
Marqueece       City of Los                                       Los Angeles
Harris-Dawson   Angeles       Temescal Canyon Association         Conservation Corps   $5,000
Marqueece       City of Los                                       Los Angeles
Harris-Dawson   Angeles       The Walt Disney Company             Conservation Corps   $5,000
Marqueece       City of Los                                       Los Angeles
Harris-Dawson   Angeles       United Airlines                     Conservation Corps   $5,000
Marqueece       City of Los                                       Los Angeles
Harris-Dawson   Angeles       Institutional Property Advisors     Conservation Corps   $5,000
Marqueece       City of Los                                       Los Angeles
Harris-Dawson   Angeles       WPIC Construction LLC               Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       Bank of America                     Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       WPIC Construction LLC               Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       United Airlines                     Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       The Walt Disney Company             Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       Temescal Canyon Association         Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       Robert Insolia                      Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       Moran & Company                     Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       Mitsubishi Corporation (Americas)   Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       Institutional Property Advisors     Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       Greenberg Traurig LLP               Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       Goodwin Procter                     Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       Gallagher Chapman                   Conservation Corps   $5,000


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                City of Los                                       Los Angeles
Nury Martinez   Angeles       Eastdil Secured LLC                 Conservation Corps   $5,000
                City of Los                                       Los Angeles
Nury Martinez   Angeles       Deloitte Touche                     Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       Institutional Property Advisors     Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       Mitsubishi Corporation (Americas)   Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       Moran & Company                     Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       Robert Insolia                      Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       Temescal Canyon Association         Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       United Airlines                     Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       WPIC Construction LLC               Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       Greenberg Traurig LLP               Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       Goodwin Procter                     Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       Gallagher Chapman                   Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       Eastdil Secured LLC                 Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       Deloitte Touche                     Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       Bank of America                     Conservation Corps   $5,000
Monica          City of Los                                       Los Angeles
Rodriguez       Angeles       The Walt Disney Company             Conservation Corps   $5,000
                City of Los                                       Los Angeles
Joe Buscaino    Angeles       Bank of America                     Conservation Corps   $5,000
                City of Los                                       Los Angeles
Joe Buscaino    Angeles       Robert Insolia                      Conservation Corps   $5,000
                City of Los                                       Los Angeles
Joe Buscaino    Angeles       Deloitte Touche                     Conservation Corps   $5,000
                City of Los                                       Los Angeles
Joe Buscaino    Angeles       Eastdil Secured LLC                 Conservation Corps   $5,000
                City of Los                                       Los Angeles
Joe Buscaino    Angeles       Gallagher Chapman                   Conservation Corps   $5,000
                City of Los                                       Los Angeles
Joe Buscaino    Angeles       Goodwin Procter                     Conservation Corps   $5,000
                City of Los                                       Los Angeles
Joe Buscaino    Angeles       Greenberg Traurig LLP               Conservation Corps   $5,000


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                  City of Los                                       Los Angeles
Joe Buscaino      Angeles       Institutional Property Advisors     Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Joe Buscaino      Angeles       WPIC Construction LLC               Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Joe Buscaino      Angeles       United Airlines                     Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Joe Buscaino      Angeles       The Walt Disney Company             Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Joe Buscaino      Angeles       Temescal Canyon Association         Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Joe Buscaino      Angeles       Moran & Company                     Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Joe Buscaino      Angeles       Mitsubishi Corporation (Americas)   Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       WPIC Construction LLC               Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       United Airlines                     Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       The Walt Disney Company             Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       Temescal Canyon Association         Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       Robert Insolia                      Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       Morgan & Company                    Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       Mitsubishi Corporation (Americas)   Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       Institutional Property Advisors     Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       Greenberg Traurig LLP               Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       Gallagher Chapman                   Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       Goodwin Procter                     Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       Eastdil Secured LLC                 Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       Bank of America                     Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Gilbert Cedillo   Angeles       Deloitte Touche                     Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Curren Price      Angeles       WPIC Construction LLC               Conservation Corps   $5,000
                  City of Los                                       Los Angeles
Curren Price      Angeles       United Airlines                     Conservation Corps   $5,000


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                   City of Los                                            Los Angeles
 Curren Price      Angeles       The Walt Disney Company                  Conservation Corps   $5,000
                   City of Los                                            Los Angeles
 Curren Price      Angeles       Temescal Canyon Association              Conservation Corps   $5,000
                   City of Los                                            Los Angeles
 Curren Price      Angeles       Robert Insolia                           Conservation Corps   $5,000
                   City of Los                                            Los Angeles
 Curren Price      Angeles       Morgan & Company                         Conservation Corps   $5,000
                   City of Los                                            Los Angeles
 Curren Price      Angeles       Mitsubishi Corporation (Americas)        Conservation Corps   $5,000
                   City of Los                                            Los Angeles
 Curren Price      Angeles       Goodwin Procter                          Conservation Corps   $5,000
                   City of Los                                            Los Angeles
 Curren Price      Angeles       Institutional Property Advisors          Conservation Corps   $5,000
                   City of Los                                            Los Angeles
 Curren Price      Angeles       Greenberg Traurig LLP                    Conservation Corps   $5,000
                   City of Los                                            Los Angeles
 Curren Price      Angeles       Bank of America                          Conservation Corps   $5,000
                   City of Los                                            Los Angeles
 Curren Price      Angeles       Deloitte Touche                          Conservation Corps   $5,000
                   City of Los                                            Los Angeles
 Curren Price      Angeles       Eastdil Secured LLC                      Conservation Corps   $5,000
                   City of Los                                            Los Angeles
 Curren Price      Angeles       Gallagher Chapman                        Conservation Corps   $5,000


Women’s Foundation of California
 Official   Jurisdiction             Payor Name                      Payee Name                Amount
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                Kaiser Permanente               California                $250,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                Uber Technologies, Inc.         California                $100,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                Wells Fargo & Company           California                $100,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                 Diane B. Wilsey                California                $100,000
 London     City and County of San   Susie Tompkins Buell            Women's Foundation of
 Breed      Francisco                Foundation                      California                 $75,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                San Francisco Giants            California                 $50,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                Charles Schwab                  California                 $35,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                Golden State Warriors           California                 $25,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                Susie Tompkins Buell            California                 $25,000


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 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                  Lui Foundation                California               $25,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                  AT&T                          California               $25,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                  Anthem Inc.                   California               $25,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                  Clark Construction            California               $15,000
 London     City and County of San     Comcast Financial Agency      Women's Foundation of
 Breed      Francisco                  Corporation                   California               $10,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                  LinkedIn Corporation          California               $10,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                  Verizon                       California               $10,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                  Enterprise Holdings           California               $10,000
 London     City and County of San                                   Women's Foundation of
 Breed      Francisco                  Google                        California                $5,000


Collective Impact
 Official      Jurisdiction          Payor Name                           Payee Name     Amount
 London        City and County                                            Collective
 Breed         of San Francisco      Crankstart Foundation                Impact             $750,000
 London        City and County                                            Collective
 Breed         of San Francisco      Whole Foods                          Impact              $19,328
 Manohar       City and County                                            Collective
 Raju          of San Francisco      KP Financial SVCS OPS                Impact              $10,000
 London        City and County                                            Collective
 Breed         of San Francisco      Facebook                             Impact              $10,000
 London        City and County                                            Collective
 Breed         of San Francisco      LinkedIn                             Impact              $10,000
 London        City and County                                            Collective
 Breed         of San Francisco      Recology                             Impact              $10,000
 London        City and County                                            Collective
 Breed         of San Francisco      Recology                             Impact              $10,000
 London        City and County                                            Collective
 Breed         of San Francisco      Twitter                              Impact               $5,000
 London        City and County                                            Collective
 Breed         of San Francisco      Golden State Warriors                Impact               $5,000
 London        City and County       San Francisco Police Officers        Collective
 Breed         of San Francisco      Association                          Impact               $5,000
 London        City and County                                            Collective
 Breed         of San Francisco      Wells Fargo                          Impact               $5,000
 London        City and County                                            Collective
 Breed         of San Francisco      Facebook                             Impact               $4,500


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 London            City and County                                            Collective
 Breed             of San Francisco    Comcast                                Impact                 $3,000
 London            City and County                                            Collective
 Breed             of San Francisco    San Francisco Giants                   Impact                 $2,000
 London            City and County                                            Collective
 Breed             of San Francisco    AT&T                                   Impact                 $1,000
 London            City and County                                            Collective
 Breed             of San Francisco    Recology                               Impact                 $1,000


Larkin Street Youth Services
 Official          Jurisdiction                    Payor Name        Payee Name                 Amount
 London            City and County of San                            Larkin Street Youth
 Breed             Francisco                       Twilio            Services                     $700,000


Top 5 Behesting Officials of 2019
 Official                                               Jurisdiction                       Amount
 Eric Garcetti                                          City of Los Angeles                $5,065,700
 London Breed                                           City and County of San Francisco   $3,407,022
 Michael Feuer                                          City of Los Angeles                $568,575
 Greg Cox                                               County of San Diego                $485,000
 Ron Galperin                                           City of Los Angeles                $477,500


Eric Garcetti
 Official       Jurisdiction   Payor Name                                Payee Name               Amount
 Eric           City of Los                                              Mayor's Fund for Los
 Garcetti       Angeles        The Walt Disney Company                   Angeles                  $500,000
 Eric           City of Los                                              Mayor's Fund for Los
 Garcetti       Angeles        Bloomberg Philanthropies                  Angeles                  $343,000
 Eric           City of Los                                              Mayor's Fund for Los
 Garcetti       Angeles        Leonard Hill Charitable Trust             Angeles                  $325,000
 Eric           City of Los                                              Mayor's Fund for Los
 Garcetti       Angeles        Silicon Valley Community Foundation       Angeles                  $300,000
 Eric           City of Los                                              Mayor's Fund for Los
 Garcetti       Angeles        Delta Airlines Foundation                 Angeles                  $250,000
 Eric           City of Los                                              Mayor's Fund for Los
 Garcetti       Angeles        Roth Family Foundation                    Angeles                  $245,000
 Eric           City of Los
 Garcetti       Angeles        Wells Fargo Foundation                    The GRYD Foundation      $200,000
 Eric           City of Los                                              Mayor's Fund for Los
 Garcetti       Angeles        Weingart Foundation                       Angeles                  $200,000
 Eric           City of Los                                              Mayor's Fund for Los
 Garcetti       Angeles        JM Eagle/ Walter & Shirley Wang           Angeles                  $200,000
 Eric           City of Los                                              Mayor's Fund for Los
 Garcetti       Angeles        Eisner Foundation                         Angeles                  $150,000


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Eric       City of Los                                         Mayor's Fund for Los
Garcetti   Angeles       AT&T                                  Angeles                  $150,000
Eric       City of Los                                         Mayor's Fund for Los
Garcetti   Angeles       Wasserman Foundation                  Angeles                  $125,000
Eric       City of Los   Kobe and Vanessa Bryant Family        Mayor's Fund for Los
Garcetti   Angeles       Foundation                            Angeles                  $125,000
Eric       City of Los                                         Mayor's Fund for Los
Garcetti   Angeles       Aetna                                 Angeles                  $100,000
Eric       City of Los
Garcetti   Angeles       LA84 Foundation                       The GRYD Foundation      $100,000
Eric       City of Los                                         Mayor's Fund for Los
Garcetti   Angeles       CVS Health                            Angeles                  $100,000
Eric       City of Los                                         Mayor's Fund for Los
Garcetti   Angeles       AT&T                                  Angeles                  $100,000
                                                               Foundation for Los
Eric       City of Los                                         Angeles Community
Garcetti   Angeles       Fidelity Charitable                   Colleges                 $100,000
Eric       City of Los                                         Mayor's Fund for Los
Garcetti   Angeles       Bloomberg Family Foundation Inc.      Angeles                  $100,000
                                                               Foundation for Los
Eric       City of Los                                         Angeles Community
Garcetti   Angeles       Annenberg Foundation                  Colleges                 $100,000
Eric       City of Los
Garcetti   Angeles       Annenberg Foundation                  The GRYD Foundation      $75,000
Eric       City of Los                                         Mayor's Fund for Los
Garcetti   Angeles       The Angell Foundation                 Angeles                  $50,000
Eric       City of Los                                         Mayor's Fund for Los
Garcetti   Angeles       Lowy Foundation USA Inc.              Angeles                  $50,000
                                                               Foundation for Los
Eric       City of Los                                         Angeles Community
Garcetti   Angeles       Google LLC                            Colleges                 $50,000
Eric       City of Los   Katie Mcgrath & J.J Abrams Family     Mayor's Fund for Los
Garcetti   Angeles       Foundation                            Angeles                  $50,000
Eric       City of Los                                         Mayor's Fund for Los
Garcetti   Angeles       Cedars-Sinai Medical Center           Angeles                  $50,000
                                                               Foundation for Los
Eric       City of Los                                         Angeles Community
Garcetti   Angeles       California Emerging Technology Fund   Colleges                 $50,000
Eric       City of Los                                         Mayor's Fund for Los
Garcetti   Angeles       WeWork                                Angeles                  $50,000
Eric       City of Los
Garcetti   Angeles       Target Corporation                    FreeFrom                 $30,000
Eric       City of Los                                         Los Angeles
Garcetti   Angeles       Edison International                  Conservation Corps       $30,000
Eric       City of Los
Garcetti   Angeles       Royal Business Bank                   LA-Mas                   $25,000


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Eric       City of Los
Garcetti   Angeles       Toms Shoes LLC                             The GYRD Foundation      $25,000
Eric       City of Los                                              Mayor's Fund for Los
Garcetti   Angeles       Health Net                                 Angeles                  $25,000
                                                                    Foundation for Los
Eric       City of Los   Earvin Johnson Jr. via Grant Tani Barash   Angeles Community
Garcetti   Angeles       & Altman LLC                               Colleges                 $25,000
Eric       City of Los
Garcetti   Angeles       Tom Shoes LLC                              The GRYD Foundation      $25,000
Eric       City of Los
Garcetti   Angeles       The David Bohnett Foundation               The GRYD Foundation      $25,000
Eric       City of Los                                              Mayor's Fund for Los
Garcetti   Angeles       Kaiser Permanente Southern California      Angeles                  $25,000
Eric       City of Los                                              Mayor's Fund for Los
Garcetti   Angeles       Conrad N. Hilton Foundation                Angeles                  $25,000
Eric       City of Los                                              Los Angeles
Garcetti   Angeles       Annenberg Foundation                       Conservation Corps       $25,000
                                                                    Foundation for Los
Eric       City of Los   Earvin Johnson Jr. via Grant Tani Barash   Angeles Community
Garcetti   Angeles       & Altman LLC                               Colleges                 $25,000
Eric       City of Los                                              Mayor's Fund for Los
Garcetti   Angeles       RM Liu Foundation                          Angeles                  $25,000
Eric       City of Los                                              Mayor's Fund for Los
Garcetti   Angeles       AEG                                        Angeles                  $23,800
Eric       City of Los
Garcetti   Angeles       AT&T                                       The GRYD Foundation      $20,000
Eric       City of Los                                              Los Angeles
Garcetti   Angeles       Banc of California                         Conservation Corps       $20,000
Eric       City of Los                                              Los Angeles
Garcetti   Angeles       City View                                  Conservation Corps       $20,000
Eric       City of Los
Garcetti   Angeles       One West/ CIT                              LA-Mas                   $15,000
                                                                    Foundation for Los
Eric       City of Los                                              Angeles Community
Garcetti   Angeles       BCG Digital Ventures                       Colleges                 $15,000
Eric       City of Los                                              Mayor's Fund for Los
Garcetti   Angeles       Liam Fayed                                 Angeles                  $15,000
Eric       City of Los
Garcetti   Angeles       GRYD Foundation                            AT&T Corp.               $15,000
Eric       City of Los                                              YWCA Greater Los
Garcetti   Angeles       Hudson Pacific Properties                  Angeles                  $14,000
Eric       City of Los                                              Mayor's Fund for Los
Garcetti   Angeles       Davis J. Factor Living Trust               Angeles                  $10,400
                                                                    Foundation for Los
Eric       City of Los                                              Angeles Community
Garcetti   Angeles       UPS Foundation, Inc.                       Colleges                 $10,000


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Eric       City of Los                                        Mayor's Fund for Los
Garcetti   Angeles       PowerFin Partners                    Angeles                  $10,000
Eric       City of Los                                        Mayor's Fund for Los
Garcetti   Angeles       Verizon                              Angeles                  $10,000
Eric       City of Los                                        Mayor's Fund for Los
Garcetti   Angeles       Comcast/ NBC Universal               Angeles                  $10,000
Eric       City of Los                                        Los Angeles
Garcetti   Angeles       Blackstone                           Conservation Corps       $10,000
Eric       City of Los                                        Los Angeles
Garcetti   Angeles       City National Bank                   Conservation Corps       $10,000
Eric       City of Los                                        Los Angeles
Garcetti   Angeles       City National Bank                   Conservation Corps       $10,000
Eric       City of Los                                        Los Angeles
Garcetti   Angeles       Cox, Castle & Nicholson LLP          Conservation Corps       $10,000
Eric       City of Los                                        Los Angeles
Garcetti   Angeles       Southern California Gas Company      Conservation Corps       $10,000
Eric       City of Los                                        Los Angeles
Garcetti   Angeles       Nixon Peabody                        Conservation Corps       $10,000
Eric       City of Los   National Foundation for Affordable   Los Angeles
Garcetti   Angeles       Housing Solutions Inc.               Conservation Corps       $10,000
Eric       City of Los                                        Los Angeles
Garcetti   Angeles       John Ek                              Conservation Corps       $10,000
Eric       City of Los                                        Los Angeles
Garcetti   Angeles       Jacobs                               Conservation Corps       $10,000
Eric       City of Los                                        Mayor's Fund for Los
Garcetti   Angeles       City National Bank                   Angeles                  $10,000
Eric       City of Los                                        Los Angeles Parks
Garcetti   Angeles       Postmates Inc.                       Foundation               $10,000
Eric       City of Los                                        Mayor's Fund for Los
Garcetti   Angeles       Jane & Marc Nathanson Foundation     Angeles                  $10,000
Eric       City of Los                                        Mayor's Fund for Los
Garcetti   Angeles       Interscope                           Angeles                  $10,000
Eric       City of Los
Garcetti   Angeles       City National Bank                   LA Cyber Lab Inc.        $8,000
Eric       City of Los                                        Mayor's Fund for Los
Garcetti   Angeles       Hitachi                              Angeles                  $7,500
Eric       City of Los
Garcetti   Angeles       Resecurity                           LA Cyber Lab Inc.        $6,000
Eric       City of Los
Garcetti   Angeles       Wurwand Foundation                   Opportunity Fund         $5,000
Eric       City of Los
Garcetti   Angeles       CIT/One West Bank                    Opportunity Fund         $5,000
Eric       City of Los                                        Mayor's Fund for Los
Garcetti   Angeles       AT&T                                 Angeles                  $5,000
Eric       City of Los                                        Los Angeles
Garcetti   Angeles       Greenberg Traurig LLP                Conservation Corps       $5,000


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Eric       City of Los                                           Los Angeles
Garcetti   Angeles       Bank of America                         Conservation Corps       $5,000
Eric       City of Los                                           Los Angeles
Garcetti   Angeles       Deloitte Touche                         Conservation Corps       $5,000
Eric       City of Los                                           Los Angeles
Garcetti   Angeles       Eastdil Secured LLC                     Conservation Corps       $5,000
Eric       City of Los                                           Los Angeles
Garcetti   Angeles       Gallagher Chapman                       Conservation Corps       $5,000
Eric       City of Los                                           Los Angeles
Garcetti   Angeles       WPIC Construction LLC                   Conservation Corps       $5,000
Eric       City of Los                                           Los Angeles
Garcetti   Angeles       United Airlines                         Conservation Corps       $5,000
Eric       City of Los                                           Los Angeles
Garcetti   Angeles       The Walt Disney Company                 Conservation Corps       $5,000
Eric       City of Los                                           Los Angeles
Garcetti   Angeles       Temescal Canyon Association             Conservation Corps       $5,000
Eric       City of Los                                           Los Angeles
Garcetti   Angeles       Robert Insolia                          Conservation Corps       $5,000
Eric       City of Los                                           Los Angeles
Garcetti   Angeles       Moran & Company                         Conservation Corps       $5,000
Eric       City of Los                                           Los Angeles
Garcetti   Angeles       Mitsubishi Corporation (Americas)       Conservation Corps       $5,000
Eric       City of Los                                           Los Angeles
Garcetti   Angeles       Institutional Property Advisors         Conservation Corps       $5,000
Eric       City of Los                                           Los Angeles
Garcetti   Angeles       Goodwin Procter                         Conservation Corps       $5,000
Eric       City of Los                                           Mayor's Fund for Los
Garcetti   Angeles       Harnisch Family Foundation              Angeles                  $5,000
                         Eytan Elbaz Charitable Gift Fund, J.P   Foundation for Los
Eric       City of Los   Morgan Securities Charitable giving     Angeles Community
Garcetti   Angeles       Fund                                    Colleges                 $5,000
                                                                 Foundation for Los
Eric       City of Los                                           Angeles Community
Garcetti   Angeles       UPS Foundation, Inc.                    Colleges                 $5,000
                                                                 Foundation for Los
Eric       City of Los                                           Angeles Community
Garcetti   Angeles       Soylent                                 Colleges                 $5,000
Eric       City of Los   Sustainable Development Solutions       Mayor's Fund for Los
Garcetti   Angeles       Network                                 Angeles                  $5,000
Eric       City of Los                                           Mayor's Fund for Los
Garcetti   Angeles       Conrad N. Hilton Foundation             Angeles                  $5,000
Eric       City of Los                                           Mayor's Fund for Los
Garcetti   Angeles       IMAX                                    Angeles                  $5,000
Eric       City of Los                                           Mayor's Fund for Los
Garcetti   Angeles       Donna Leigh Wilson Scott Trust          Angeles                  $5,000
Eric       City of Los   Sustainable Development Solutions       Mayor's Fund for Los
Garcetti   Angeles       Network                                 Angeles                  $5,000

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 Eric       City of Los                                            Mayor's Fund for Los
 Garcetti   Angeles       Conrad N. Hilton Foundation              Angeles                    $3,000


London Breed
 Official   Jurisdiction       Payor Name                Payee Name                          Amount
 London     City and County
 Breed      of San Francisco   Crankstart Foundation     Collective Impact                    $750,000
 London     City and County
 Breed      of San Francisco   Twilio                    Larkin Street Youth Services         $700,000
 London     City and County    Kaiser Foundation         Japanese Community Youth
 Breed      of San Francisco   Hospitals                 Council                              $500,000
 London     City and County                              Women's Foundation of
 Breed      of San Francisco   Kaiser Permanente         California                           $250,000
 London     City and County                              Women's Foundation of
 Breed      of San Francisco   Uber Technologies, Inc.   California                           $100,000
 London     City and County    Wells Fargo &             Women's Foundation of
 Breed      of San Francisco   Company                   California                           $100,000
 London     City and County                              Women's Foundation of
 Breed      of San Francisco   Diane B. Wilsey           California                           $100,000
 London     City and County    Susie Tompkins Buell      Women's Foundation of
 Breed      of San Francisco   Foundation                California                             $75,000
 London     City and County                              Japanese Community Youth
 Breed      of San Francisco   Facebook                  Council                                $50,000
 London     City and County                              Japanese Community Youth
 Breed      of San Francisco   Bank of America           Council                                $50,000
 London     City and County                              Japanese Community Youth
 Breed      of San Francisco   LinkedIn                  Council                                $50,000
 London     City and County
 Breed      of San Francisco   Google                    San Francisco Education Fund           $50,000
 London     City and County                              Women's Foundation of
 Breed      of San Francisco   San Francisco Giants      California                             $50,000
 London     City and County                              Japanese Community Youth
 Breed      of San Francisco   Alaska Airlines           Council                                $50,000
 London     City and County    Walter and Elise Haas     Japanese Community Youth
 Breed      of San Francisco   Foundation                Council                                $45,000
 London     City and County                              Women's Foundation of
 Breed      of San Francisco   Charles Schwab            California                             $35,000
 London     City and County
 Breed      of San Francisco   Bloomberg Associates      City and County of San Francisco       $30,240
 London     City and County                              Women's Foundation of
 Breed      of San Francisco   Golden State Warriors     California                             $25,000
 London     City and County                              Women's Foundation of
 Breed      of San Francisco   Susie Tompkins Buell      California                             $25,000
 London     City and County                              Women's Foundation of
 Breed      of San Francisco   Lui Foundation            California                             $25,000


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London   City and County                             Women's Foundation of
Breed    of San Francisco   AT&T                     California                     $25,000
London   City and County                             Women's Foundation of
Breed    of San Francisco   Anthem Inc.              California                     $25,000
London   City and County                             Japanese Community Youth
Breed    of San Francisco   Okta                     Council                        $20,000
London   City and County
Breed    of San Francisco   Whole Foods              Collective Impact              $19,328
London   City and County                             Women's Foundation of
Breed    of San Francisco   Clark Construction       California                     $15,000
London   City and County
Breed    of San Francisco   Wells Fargo Foundation   Southeast Vision Project       $15,000
London   City and County
Breed    of San Francisco   Facebook                 Southeast Vision Project       $15,000
London   City and County
Breed    of San Francisco   AT&T                     Southeast Vision Project       $15,000
London   City and County                             Japanese Community Youth
Breed    of San Francisco   Waymo LLC                Council                        $12,500
London   City and County
Breed    of San Francisco   Facebook                 Collective Impact              $10,000
London   City and County
Breed    of San Francisco   LinkedIn                 Collective Impact              $10,000
London   City and County
Breed    of San Francisco   Recology                 Collective Impact              $10,000
London   City and County    Rose Park Community
Breed    of San Francisco   Fund                     Collective Impact              $10,000
London   City and County
Breed    of San Francisco   Recology                 Collective Impact              $10,000
London   City and County                             Japanese Community Youth
Breed    of San Francisco   Dolby                    Council                        $10,000
London   City and County    Comcast Financial        Women's Foundation of
Breed    of San Francisco   Agency Corporation       California                     $10,000
London   City and County                             Women's Foundation of
Breed    of San Francisco   LinkedIn Corporation     California                     $10,000
London   City and County                             Women's Foundation of
Breed    of San Francisco   Verizon                  California                     $10,000
London   City and County                             Japanese Community Youth
Breed    of San Francisco   Recology                 Council                        $10,000
London   City and County                             Women's Foundation of
Breed    of San Francisco   Enterprise Holdings      California                     $10,000
London   City and County
Breed    of San Francisco   Kaiser Permanente        Southeast Vision Project       $10,000
London   City and County
Breed    of San Francisco   Twitter                  Collective Impact               $5,000
London   City and County
Breed    of San Francisco   Golden State Warriors    Collective Impact               $5,000


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 London     City and County    San Francisco Police
 Breed      of San Francisco   Officers Association    Collective Impact                    $5,000
 London     City and County
 Breed      of San Francisco   Wells Fargo             Collective Impact                    $5,000
 London     City and County                            Women's Foundation of
 Breed      of San Francisco   Google                  California                           $5,000
 London     City and County    Comcast Financial
 Breed      of San Francisco   Agency Corporation      Southeast Vision Project             $5,000
 London     City and County
 Breed      of San Francisco   Golden State Warriors   Southeast Vision Project             $5,000
 London     City and County
 Breed      of San Francisco   Recology                Southeast Vision Project             $5,000
 London     City and County
 Breed      of San Francisco   San Francisco Giants    Southeast Vision Project             $5,000
 London     City and County
 Breed      of San Francisco   Facebook                Collective Impact                    $4,500
 London     City and County                            2018 San Francisco Inaugural
 Breed      of San Francisco   S.E. Owens & Company    Fund                                 $4,449
 London     City and County
 Breed      of San Francisco   Comcast                 Collective Impact                    $3,000
 London     City and County                            2018 San Francisco Inaugural
 Breed      of San Francisco   Mainardi Law            Fund                                 $2,250
 London     City and County
 Breed      of San Francisco   San Francisco Giants    Collective Impact                    $2,000
 London     City and County                            2018 San Francisco Inaugural
 Breed      of San Francisco   SGR Consulting          Fund                                 $1,430
 London     City and County
 Breed      of San Francisco   AT&T                    Collective Impact                    $1,000
 London     City and County
 Breed      of San Francisco   Recology                Collective Impact                    $1,000
 London     City and County                            Mayor's office of Housing and
 Breed      of San Francisco   Golden State Warriors   Community Development                  $325


Michael Feuer
 Official   Jurisdiction   Payor Name                        Payee Name                  Amount
 Michael    City of Los                                      Los Angeles City
 Feuer      Angeles        Covington & Burling, LLP          Attorney's Office           $102,658
 Michael    City of Los                                      Los Angeles City
 Feuer      Angeles        Covington & Burling, LLP          Attorney's Office           $83,107
 Michael    City of Los                                      Los Angeles City
 Feuer      Angeles        Covington & Burling, LLP          Attorney's Office           $48,782
 Michael    City of Los                                      Los Angeles City
 Feuer      Angeles        Covington & Burling, LLP          Attorney's Office           $32,941
 Michael    City of Los                                      Los Angeles City
 Feuer      Angeles        Covington & Burling, LLP          Attorney's Office           $28,590


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Michael   City of Los                                     Los Angeles City
Feuer     Angeles       Covington & Burling, LLP          Attorney's Office              $25,273
Michael   City of Los                                     Los Angeles City
Feuer     Angeles       Covington & Burling, LLP          Attorney's Office              $23,323
Michael   City of Los                                     Association of Prosecuting
Feuer     Angeles       The Joyce Foundation              Attorneys                      $20,000
Michael   City of Los                                     Los Angeles City
Feuer     Angeles       Covington & Burling, LLP          Attorney's Office              $13,931
Michael   City of Los                                     American Diabetes
Feuer     Angeles       Englander Knabe & Allen           Association                    $12,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       Wells Fargo                       Association                    $12,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       Oracle                            Association                    $12,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       Supervisor, Mark Ridley-Thomas    Association                    $10,000
Michael   City of Los                                     Los Angeles City
Feuer     Angeles       Covington & Burling, LLP          Attorney's Office              $8,691
Michael   City of Los                                     American Diabetes
Feuer     Angeles       World Wide Technology             Association                    $7,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       Team Mitch O'Farrell              Association                    $7,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       TAO Group LA                      Association                    $7,500
Michael   City of Los   Supervisor, Kathryn Barger, Los   American Diabetes
Feuer     Angeles       Angeles County                    Association                    $7,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       SalesForce                        Association                    $7,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       SADA Systems                      Association                    $7,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       Related California                Association                    $7,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       Motorola Solutions Inc.           Association                    $7,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       MAXIMUS                           Association                    $7,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       Airbnb                            Association                    $7,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       CIM Group                         Association                    $7,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       Clear Channel Outdoors            Association                    $7,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       Dixon Resources Unlimited         Association                    $7,500
Michael   City of Los                                     American Diabetes
Feuer     Angeles       Kaiser Permanente                 Association                    $7,500


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 Michael    City of Los                                            American Diabetes
 Feuer      Angeles           Landis+Gyr Technology, Inc.          Association                 $7,500
 Michael    City of Los       Los Angeles Department of Water      American Diabetes
 Feuer      Angeles           and Power                            Association                 $7,500
 Michael    City of Los                                            Los Angeles City
 Feuer      Angeles           Covington & Burling, LLP             Attorney's Office           $7,190
 Michael    City of Los                                            Los Angeles City
 Feuer      Angeles           Covington & Burling, LLP             Attorney's Office           $3,516
 Michael    City of Los                                            Los Angeles City
 Feuer      Angeles           Covington & Burling, LLP             Attorney's Office           $3,073


Greg Cox
 Official      Jurisdiction    Payor Name                  Payee Name                          Amount
               County of                                   San Diego Imperial Council, Boy
 Greg Cox
               San Diego       Dianne Bashor               Scouts of America                   $200,000
               County of                                   San Diego Imperial Council, Boy
 Greg Cox
               San Diego       National Enterprises Inc.   Scouts of America                   $100,000
               County of       Stephen & Mary Birch        San Diego Imperial Council, Boy
 Greg Cox
               San Diego       Foundation, Inc.            Scouts of America                   $100,000
               County of                                   San Diego Imperial Council, Boy
 Greg Cox
               San Diego       J.W. Sefton Foundation      Scouts of America                   $75,000
               County of                                   San Diego Imperial Council, Boy
 Greg Cox
               San Diego       Al Assad                    Scouts of America                   $10,000


Ron Galperin
 Official      Jurisdiction   Payor Name                                Payee Name             Amount
 Ron           City of Los                                              Coro Southern
 Galperin      Angeles        Bank of America                           California             $50,000
 Ron           City of Los
 Galperin      Angeles        The Goldrich Family Foundation            Jewish World Watch     $25,000
 Ron           City of Los    The Stanely & Joyce Black Family
 Galperin      Angeles        Foundation                                Jewish World Watch     $25,000
 Ron           City of Los                                              Coro Southern
 Galperin      Angeles        Tutor Perini/O&G                          California             $15,000
 Ron           City of Los                                              American Diabetes
 Galperin      Angeles        Englander Knabe & Allen                   Association            $12,500
 Ron           City of Los                                              American Diabetes
 Galperin      Angeles        Wells Fargo                               Association            $12,500
 Ron           City of Los                                              American Diabetes
 Galperin      Angeles        Oracle                                    Association            $12,500
 Ron           City of Los
 Galperin      Angeles        The Caruso Family Foundation              Jewish World Watch     $10,000
 Ron           City of Los                                              Coro Southern
 Galperin      Angeles        Joanne Kozberg                            California             $10,000



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Ron        City of Los                                             Coro Southern
Galperin   Angeles       East West Bank                            California            $10,000
Ron        City of Los                                             Coro Southern
Galperin   Angeles       Bruce Wessel and Gali Katz                California            $10,000
Ron        City of Los                                             Coro Southern
Galperin   Angeles       AltaMed Health Services Corporation       California            $10,000
Ron        City of Los                                             Coro Southern
Galperin   Angeles       Abernathy MacGregor                       California            $10,000
Ron        City of Los   The Metropolitan Water District of        Coro Southern
Galperin   Angeles       Southern California                       California            $10,000
Ron        City of Los                                             Coro Southern
Galperin   Angeles       Novare Technologies Inc.                  California            $10,000
Ron        City of Los   Los Angeles County Supervisor Mark        Coro Southern
Galperin   Angeles       Ridley-Thomas                             California            $10,000
Ron        City of Los   Supervisor, Mark Ridley-Thomas, Los       American Diabetes
Galperin   Angeles       Angeles County                            Association           $10,000
Ron        City of Los                                             Coro Southern
Galperin   Angeles       LA County Federation of Labor             California            $7,500
Ron        City of Los                                             Coro Southern
Galperin   Angeles       City National Bank                        California            $7,500
Ron        City of Los                                             Coro Southern
Galperin   Angeles       Lyft                                      California            $7,500
Ron        City of Los                                             American Diabetes
Galperin   Angeles       Kaiser Permanente                         Association           $7,500
Ron        City of Los   Los Angeles Department of Water and       American Diabetes
Galperin   Angeles       Power                                     Association           $7,500
Ron        City of Los                                             American Diabetes
Galperin   Angeles       Landis+Gyr Technology, Inc.               Association           $7,500
Ron        City of Los                                             American Diabetes
Galperin   Angeles       Dixon Resources Unlimited                 Association           $7,500
Ron        City of Los                                             American Diabetes
Galperin   Angeles       Clear Channel Outdoors                    Association           $7,500
Ron        City of Los                                             American Diabetes
Galperin   Angeles       CIM Group                                 Association           $7,500
Ron        City of Los                                             American Diabetes
Galperin   Angeles       AT&T                                      Association           $7,500
Ron        City of Los                                             American Diabetes
Galperin   Angeles       Airbnb                                    Association           $7,500
Ron        City of Los                                             American Diabetes
Galperin   Angeles       World Wide Technology                     Association           $7,500
Ron        City of Los                                             American Diabetes
Galperin   Angeles       Team Mitch O'Farrell                      Association           $7,500
Ron        City of Los                                             American Diabetes
Galperin   Angeles       TAO Group LA                              Association           $7,500
Ron        City of Los   Supervisor, Kathryn Barger, Los Angeles   American Diabetes
Galperin   Angeles       County                                    Association           $7,500


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Ron        City of Los                                          American Diabetes
Galperin   Angeles       MAXIMUS                                Association           $7,500
Ron        City of Los                                          American Diabetes
Galperin   Angeles       Motorola Solutions                     Association           $7,500
Ron        City of Los                                          American Diabetes
Galperin   Angeles       SalesForce                             Association           $7,500
Ron        City of Los                                          American Diabetes
Galperin   Angeles       Related California                     Association           $7,500
Ron        City of Los                                          Coro Southern
Galperin   Angeles       LA Metro                               California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Imprenta Communications Group          California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Gensler                                California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       FivePoint                              California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Elizabeth M. Higashi                   California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Eli and Edye Broad                     California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       AEG Worldwide                          California            $5,000
Ron        City of Los   Los Angeles County Supervisor Janice   Coro Southern
Galperin   Angeles       Hahn                                   California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Latham & Watkins LLP                   California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Toni and Bruce Corwin                  California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Stantec                                California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Robin & Neil Kramer                    California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Randal & Tracy Hernandez               California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Meruelo Enterprises Inc.               California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Marathon Communications                California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Majestic Realty Co.                    California            $5,000
Ron        City of Los                                          Coro Southern
Galperin   Angeles       Lyft                                   California            $2,500




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2020
Top 5 Payors of 2020
 Jurisdiction                 Payor Name                                              Amount
 City of Oakland              Jack Dorsey                                             $25,000,000
                              The Consulate General of the State of Qatar- Los
 City of Los Angeles          Angeles                                                 $5,000,000
 City of Oakland              Blue Meridian Partners                                  $4,275,000
 City and County of San
 Francisco                    Tipping Point                                           $3,768,000
                              Bessemer National Gift Fund/ Bessemer Trust
 City of Los Angeles          Company                                                 $3,000,000


Jack Dorsey
                                  Payor
 Official     Jurisdiction        Name       Payee Name                                     Amount
 London       City and County     Jack
 Breed        of San Francisco    Dorsey     San Francisco Foundation                        $15,000,000
 Libby                            Jack       Lee Bodner, New Venture Fund (Project:
 Schaaf       City of Oakland     Dorsey     Oakland Fund for Public Innovation)             $10,000,000


The Consulate General of the State of Qatar – Los Angeles
 Official     Jurisdiction   Payor Name                                 Payee Name            Amount
 Eric
 Garcett      City of Los    The Consulate General of the State of      Mayor's Fund for      $5,000,00
 i            Angeles        Qatar- Los Angeles                         Los Angeles           0


Blue Meridian Partners
 Official              Jurisdiction          Payor Name                 Payee Name         Amount
 Libby Schaaf          City of Oakland       Blue Meridian Partners     FII-National       $2,750,000
 Libby Schaaf          City of Oakland       Blue Meridian Partners     Oakland Promise    $1,280,000
 Nikki Fortunato Bas City of Oakland         Blue Meridian Partners     PolicyLink         $245,000


Tipping Point
 Official       Jurisdiction               Payor Name      Payee Name                        Amount
 London         City and County of San     Tipping
 Breed          Francisco                  Point           Brilliant Corners                  $3,268,000
 London         City and County of San     Tipping         San Francisco Department of
 Breed          Francisco                  Point           Public Health                       $500,000


Bessemer National Gift Fund/Bessemer Trust Company
 Official     Jurisdiction   Payor Name                                 Payee Name           Amount

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 Eric       City of Los    Bessemer National Gift Fund/ Bessemer          Mayor's Fund for
 Garcetti   Angeles        Trust Company                                  Los Angeles           $3,000,000


Top 5 Payees of 2020
 Jurisdiction                         Payee Name                              Amount
                                                                              $26,078,460
 City of Los Angeles                  Mayor's Fund for Los Angeles
                                                                              $18,923,010
 City and County of San Francisco     San Francisco Foundation
                                      Lee Bodner, New Venture Fund
                                      (Project: Oakland Fund for Public       $15,310,780
 City of Oakland                      Innovation)
                                                                              $9,470,878
 City and County of San Francisco     City and County of San Francisco
                                                                              $3,268,000
 City and County of San Francisco     Brilliant Corners


Mayor’s Fund for Los Angeles
 Official   Jurisdiction   Payor Name                                         Payee Name        Amount
 Eric       City of Los    The Consulate General of the State of Qatar-       Mayor's Fund
 Garcetti   Angeles        Los Angeles                                        for Los Angeles   $5,000,000
 Eric       City of Los    Bessemer National Gift Fund/ Bessemer Trust        Mayor's Fund
 Garcetti   Angeles        Company                                            for Los Angeles   $3,000,000
 Eric       City of Los    The Clara Lionel Foundation c/o Source             Mayor's Fund
 Garcetti   Angeles        Financial Advisors LLC                             for Los Angeles   $2,975,000
 Eric       City of Los    Ballmer Group c/o Goldman Sachs                    Mayor's Fund
 Garcetti   Angeles        Philanthropy Fund                                  for Los Angeles   $2,000,000
 Eric       City of Los                                                       Mayor's Fund
 Garcetti   Angeles        Snap Inc.                                          for Los Angeles   $1,000,000
 Eric       City of Los    Evan Spiegel/ Snap Inc. c/o California             Mayor's Fund
 Garcetti   Angeles        Community Foundation                               for Los Angeles   $1,000,000
 Eric       City of Los                                                       Mayor's Fund
 Garcetti   Angeles        Fox Corporation                                    for Los Angeles   $1,000,000
 Eric       City of Los                                                       Mayor's Fund
 Garcetti   Angeles        The Eli and Edythe Broad Foundation                for Los Angeles   $500,000
 Eric       City of Los                                                       Mayor's Fund
 Garcetti   Angeles        Robert Iger                                        for Los Angeles   $500,000
 Eric       City of Los                                                       Mayor's Fund
 Garcetti   Angeles        The Wunderkinder Foundation                        for Los Angeles   $500,000
 Eric       City of Los                                                       Mayor's Fund
 Garcetti   Angeles        Wassermann Foundation                              for Los Angeles   $500,000
 Eric       City of Los                                                       Mayor's Fund
 Garcetti   Angeles        Jonas Brothers c/o The Nordlinger Group            for Los Angeles   $500,000
 Eric       City of Los                                                       Mayor's Fund
 Garcetti   Angeles        Conrad N. Hilton Foundation                        for Los Angeles   $500,000
 Eric       City of Los                                                       Mayor's Fund
 Garcetti   Angeles        Andrew Gordon Hauptman Revocable Trust             for Los Angeles   $500,000

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Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       Marilyn and Jeffery Katzenberg c/o Gonring    for Los Angeles   $500,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       WM Keck Foundation                            for Los Angeles   $500,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       Silicon Valley Community Foundation           for Los Angeles   $455,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       Diane & Dorthy Brooks Foundation              for Los Angeles   $450,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       The Eli & Edythe Broad Foundation             for Los Angeles   $400,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       John Pritzker Family Fund                     for Los Angeles   $400,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       Why Not Foundation                            for Los Angeles   $250,000
Eric       City of Los   The Jane and Marc Nathanson Family            Mayor's Fund
Garcetti   Angeles       Foundation                                    for Los Angeles   $250,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       The Eli & Edythe Broad Foundation             for Los Angeles   $250,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       Conrad N. Hilton Foundation                   for Los Angeles   $200,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       Splendent Media LLC                           for Los Angeles   $200,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       The James Irvine Foundation                   for Los Angeles   $200,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       Riot Games c/o Impact Assets                  for Los Angeles   $200,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       Conrad N. Hilton Foundation                   for Los Angeles   $150,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       LA Kings Care Foundation                      for Los Angeles   $149,460
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       The Kroger Co Foundation                      for Los Angeles   $134,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       Albertsons                                    for Los Angeles   $110,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       Ambassador Colleen and Bradley Bell           for Los Angeles   $100,000
Eric       City of Los   The Goldhirsch Foundation c/o RINET           Mayor's Fund
Garcetti   Angeles       Company LLC                                   for Los Angeles   $100,000
Eric       City of Los   Steward Family Foundation c/o United Way of   Mayor's Fund
Garcetti   Angeles       Greater St. Louis                             for Los Angeles   $100,000
Eric       City of Los   PWC Charitable Foundation Inc. c/o UB         Mayor's Fund
Garcetti   Angeles       Financial Services                            for Los Angeles   $100,000
Eric       City of Los   Harvey Motulsky and Lisa Norton Fund c/o      Mayor's Fund
Garcetti   Angeles       Fidelity Charitable                           for Los Angeles   $100,000
Eric       City of Los                                                 Mayor's Fund
Garcetti   Angeles       James & Erin Siminoff                         for Los Angeles   $100,000


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Eric       City of Los   The McGrath Abrams Family Foundation c/o     Mayor's Fund
Garcetti   Angeles       Gettleson, Witzer and O'Conner               for Los Angeles   $100,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Leonard Hill Charitable Foundation           for Los Angeles   $100,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Eli and Edythe Broad Foundation              for Los Angeles   $100,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Conrad N. Hilton Foundation                  for Los Angeles   $100,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Ernst & Young                                for Los Angeles   $75,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Target Corporation                           for Los Angeles   $75,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Ernst & Young                                for Los Angeles   $75,000
Eric       City of Los   California Partnership to End Domestic       Mayor's Fund
Garcetti   Angeles       Violence                                     for Los Angeles   $50,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Google LLC                                   for Los Angeles   $50,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       The Larry David Foundation Inc.              for Los Angeles   $50,000
Eric       City of Los   Thomas and Jessica Rothman Charitable Fund   Mayor's Fund
Garcetti   Angeles       c/o Schwab Charitable                        for Los Angeles   $50,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       WM Keck Foundation                           for Los Angeles   $50,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Nike Inc.                                    for Los Angeles   $50,000
Eric       City of Los   Philip Lord c/o Level Four Business          Mayor's Fund
Garcetti   Angeles       Management LLC                               for Los Angeles   $40,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Bank of the West                             for Los Angeles   $35,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Waymo LLC                                    for Los Angeles   $25,000
Eric       City of Los   Andrea and David Nevins Family Foundation    Mayor's Fund
Garcetti   Angeles       c/o Fidelity Charitable                      for Los Angeles   $25,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Google LLC c/o Tides Foundation              for Los Angeles   $25,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       RM Liu Foundation                            for Los Angeles   $25,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       California Community Foundation              for Los Angeles   $20,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       The Marc and Eva Stern Foundation            for Los Angeles   $20,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Entertainment Industry Foundation            for Los Angeles   $15,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Disney Worldwide Services, Inc.              for Los Angeles   $10,000


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 Eric       City of Los                                                 Mayor's Fund
 Garcetti   Angeles        Entertainment Industry Foundation            for Los Angeles    $10,000
 Eric       City of Los                                                 Mayor's Fund
 Garcetti   Angeles        Edison International Southern California     for Los Angeles    $10,000
 Eric       City of Los    The Jane and Marc Nathanson Family           Mayor's Fund
 Garcetti   Angeles        Foundation                                   for Los Angeles    $10,000
 Eric       City of Los                                                 Mayor's Fund
 Garcetti   Angeles        Sony Pictures Entertainment                  for Los Angeles    $10,000


San Francisco Foundation
 Official   Jurisdiction              Payor Name                       Payee Name         Amount
 London     City and County of                                         San Francisco
 Breed      San Francisco             Jack Dorsey                      Foundation         $15,000,000
 London     City and County of                                         San Francisco
 Breed      San Francisco             Hellman Foundation               Foundation           $1,000,000
 London     City and County of                                         San Francisco
 Breed      San Francisco             Aneel Bhusri                     Foundation            $995,010
 London     City and County of                                         San Francisco
 Breed      San Francisco             Crankstart Foundation            Foundation            $500,000
 London     City and County of                                         San Francisco
 Breed      San Francisco             The Stupski Foundation           Foundation            $500,000
 London     City and County of                                         San Francisco
 Breed      San Francisco             Preston-Werner                   Foundation            $250,000
 London     City and County of        Bank of America, Charitable      San Francisco
 Breed      San Francisco             Foundation                       Foundation            $200,000
 London     City and County of                                         San Francisco
 Breed      San Francisco             First Republic Bank              Foundation            $100,000
 London     City and County of                                         San Francisco
 Breed      San Francisco             Slack Corporation                Foundation            $100,000
 London     City and County of        Silicon Valley Community         San Francisco
 Breed      San Francisco             Foundation                       Foundation            $100,000
 London     City and County of                                         San Francisco
 Breed      San Francisco             Chime, Inc.                      Foundation              $75,000
 London     City and County of        Jewish Community Federation of   San Francisco
 Breed      San Francisco             San Francisco                    Foundation              $20,000
 London     City and County of                                         San Francisco
 Breed      San Francisco             Eileen and Peter Michael Fund    Foundation              $15,000
 London     City and County of                                         San Francisco
 Breed      San Francisco             Pacific Gas & Electric           Foundation              $15,000
 London     City and County of        The Benevity Community Impact    San Francisco
 Breed      San Francisco             Fund                             Foundation              $12,300
 London     City and County of                                         San Francisco
 Breed      San Francisco             Mark R. and Mauree Jane Perry    Foundation              $10,000
 London     City and County of                                         San Francisco
 Breed      San Francisco             Shashwat Kandadai                Foundation              $10,000


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 London      City and County of                                          San Francisco
 Breed       San Francisco              Daniel Ammann                    Foundation            $8,000
 London      City and County of                                          San Francisco
 Breed       San Francisco              Friedman/Meyer Fund              Foundation            $5,000
 London      City and County of                                          San Francisco
 Breed       San Francisco              Violet World Foundation          Foundation            $5,000
 London      City and County of         The Benevity Community Impact    San Francisco
 Breed       San Francisco              Fund                             Foundation            $2,700


Lee Bodner, New Venture Fund (Project: Oakland Fund for Public Innovation)
 Official   Jurisdiction   Payor Name                Payee Name                          Amount
                                                     Lee Bodner, New Venture Fund
 Libby      City of                                  (Project: Oakland Fund for Public
 Schaaf     Oakland        Jack Dorsey               Innovation)                         $10,000,000
                                                     Lee Bodner, New Venture Fund
 Libby      City of                                  (Project: Oakland Fund for Public
 Schaaf     Oakland        Hellman Foundation        Innovation)                         $1,000,000
                                                     Lee Bodner, New Venture Fund
 Libby      City of                                  (Project: Oakland Fund for Public
 Schaaf     Oakland        Crankstart                Innovation)                         $500,000
                                                     Lee Bodner, New Venture Fund
 Libby      City of                                  (Project: Oakland Fund for Public
 Schaaf     Oakland        Gilead                    Innovation)                         $500,000
                                                     Lee Bodner, New Venture Fund
 Libby      City of                                  (Project: Oakland Fund for Public
 Schaaf     Oakland        Crankstart                Innovation)                         $500,000
                                                     Lee Bodner, New Venture Fund
 Libby      City of                                  (Project: Oakland Fund for Public
 Schaaf     Oakland        Blue Shield California    Innovation)                         $500,000
                                                     Lee Bodner, New Venture Fund
 Libby      City of                                  (Project: Oakland Fund for Public
 Schaaf     Oakland        Stupski Foundation        Innovation)                         $500,000
                                                     Lee Bodner, New Venture Fund
 Libby      City of                                  (Project: Oakland Fund for Public
 Schaaf     Oakland        East Bay Energy           Innovation)                         $278,500
                                                     Lee Bodner, New Venture Fund
 Libby      City of                                  (Project: Oakland Fund for Public
 Schaaf     Oakland        Crankstart                Innovation)                         $250,000
                                                     Lee Bodner, New Venture Fund
 Libby      City of                                  (Project: Oakland Fund for Public
 Schaaf     Oakland        Hellman Foundation        Innovation)                         $250,000
                                                     Lee Bodner, New Venture Fund
 Libby      City of        Koshland Family           (Project: Oakland Fund for Public
 Schaaf     Oakland        Foundation                Innovation)                         $200,000




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                                                        Lee Bodner, New Venture Fund
 Libby      City of                                     (Project: Oakland Fund for Public
 Schaaf     Oakland         Bank of America             Innovation)                         $200,000
                                                        Lee Bodner, New Venture Fund
 Libby      City of                                     (Project: Oakland Fund for Public
 Schaaf     Oakland         Anonymous Donor/DAF         Innovation)                         $150,000
                                                        Lee Bodner, New Venture Fund
 Libby      City of                                     (Project: Oakland Fund for Public
 Schaaf     Oakland         Amazon                      Innovation)                         $100,000
                                                        Lee Bodner, New Venture Fund
 Libby      City of                                     (Project: Oakland Fund for Public
 Schaaf     Oakland         Clorox Foundation           Innovation)                         $100,000
                                                        Lee Bodner, New Venture Fund
 Libby      City of                                     (Project: Oakland Fund for Public
 Schaaf     Oakland         Facebook                    Innovation)                         $100,000
                                                        Lee Bodner, New Venture Fund
 Libby      City of                                     (Project: Oakland Fund for Public
 Schaaf     Oakland         Kapor Center                Innovation)                         $50,000
                            San Francisco 49ers,        Lee Bodner, New Venture Fund
 Libby      City of         SAP Performance             (Project: Oakland Fund for Public
 Schaaf     Oakland         Facility                    Innovation)                         $49,000
                            Irene S. Scully Fund, c/o   Lee Bodner, New Venture Fund
 Libby      City of         Marin Community             (Project: Oakland Fund for Public
 Schaaf     Oakland         Foundation                  Innovation)                         $25,000
                                                        Lee Bodner, New Venture Fund
 Libby      City of                                     (Project: Oakland Fund for Public
 Schaaf     Oakland         Verizon                     Innovation)                         $20,000
                                                        Lee Bodner, New Venture Fund
 Libby      City of                                     (Project: Oakland Fund for Public
 Schaaf     Oakland         PG&E                        Innovation)                         $15,000
                                                        Lee Bodner, New Venture Fund
 Libby      City of                                     (Project: Oakland Fund for Public
 Schaaf     Oakland         Daniel Stefek               Innovation)                         $8,280
                                                        Lee Bodner, New Venture Fund
 Libby      City of                                     (Project: Oakland Fund for Public
 Schaaf     Oakland         Doris Ahlsten               Innovation)                         $5,000
                                                        Lee Bodner, New Venture Fund
 Libby      City of                                     (Project: Oakland Fund for Public
 Schaaf     Oakland         David Hartley               Innovation)                         $5,000
                                                        Lee Bodner, New Venture Fund
 Libby      City of                                     (Project: Oakland Fund for Public
 Schaaf     Oakland         Lois Leynse                 Innovation)                         $5,000


City and County of San Francisco
 Official    Jurisdiction          Payor Name                              Payee Name       Amount



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London   City and County                                    City and County
Breed    of San Francisco   Salesforce.com, Inc.            of San Francisco    $1,500,000
London   City and County                                    City and County
Breed    of San Francisco   Ann and Gordon Getty            of San Francisco    $1,000,000
London   City and County                                    City and County
Breed    of San Francisco   Gerson Bakar Foundation         of San Francisco    $1,000,000
London   City and County                                    City and County
Breed    of San Francisco   Arthur and Toni Rembe Rock      of San Francisco     $500,000
London   City and County                                    City and County
Breed    of San Francisco   Google, LLC.                    of San Francisco     $500,000
London   City and County                                    City and County
Breed    of San Francisco   Great Heights Charitable Fund   of San Francisco     $500,000
London   City and County                                    City and County
Breed    of San Francisco   Medtec (New Taipei City)        of San Francisco     $387,000
London   City and County                                    City and County
Breed    of San Francisco   Apple                           of San Francisco     $255,000
London   City and County                                    City and County
Breed    of San Francisco   Apple                           of San Francisco     $250,800
London   City and County                                    City and County
Breed    of San Francisco   Wells Fargo Foundation          of San Francisco     $150,000
London   City and County                                    City and County
Breed    of San Francisco   Hamid and Christina Moghadam    of San Francisco     $150,000
London   City and County                                    City and County
Breed    of San Francisco   Elite Supply Source             of San Francisco     $127,800
London   City and County                                    City and County
Breed    of San Francisco   Missioncare (New Taipei City)   of San Francisco     $127,700
London   City and County                                    City and County
Breed    of San Francisco   Medtec (New Taipei City)        of San Francisco     $125,000
London   City and County                                    City and County
Breed    of San Francisco   Facebook                        of San Francisco     $123,600
London   City and County                                    City and County
Breed    of San Francisco   Daine B. Wilsey                 of San Francisco     $111,000
London   City and County                                    City and County
Breed    of San Francisco   RealReal                        of San Francisco     $103,054
London   City and County                                    City and County
Breed    of San Francisco   Shanghai City Government        of San Francisco     $100,000
London   City and County                                    City and County
Breed    of San Francisco   John Pritzker family Fund       of San Francisco     $100,000
London   City and County    Lisa Stone Prritzker Family     City and County
Breed    of San Francisco   Foundation                      of San Francisco     $100,000
London   City and County                                    City and County
Breed    of San Francisco   Ray & Dagmar Dolby              of San Francisco     $100,000
London   City and County    Silicon Valley Community        City and County
Breed    of San Francisco   Foundation                      of San Francisco     $100,000
London   City and County                                    City and County
Breed    of San Francisco   Facebook                        of San Francisco       $76,620


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London   City and County                                       City and County
Breed    of San Francisco   Flexport LLC                       of San Francisco       $76,620
London   City and County                                       City and County
Breed    of San Francisco   Grammerly, Inc.                    of San Francisco       $75,000
London   City and County                                       City and County
Breed    of San Francisco   The Tides Foundation               of San Francisco       $62,500
London   City and County                                       City and County
Breed    of San Francisco   Seoul Municipal Government         of San Francisco       $61,920
London   City and County                                       City and County
Breed    of San Francisco   Facebook                           of San Francisco       $54,000
London   City and County                                       City and County
Breed    of San Francisco   Apple                              of San Francisco       $53,634
London   City and County                                       City and County
Breed    of San Francisco   Medtec (New Taipei City)           of San Francisco       $52,500
London   City and County                                       City and County
Breed    of San Francisco   Tracy Chapman                      of San Francisco       $50,000
London   City and County                                       City and County
Breed    of San Francisco   Ross Aaron Boucher Tree            of San Francisco       $50,000
London   City and County                                       City and County
Breed    of San Francisco   Hercules Capital                   of San Francisco       $50,000
London   City and County                                       City and County
Breed    of San Francisco   Moldaw Family                      of San Francisco       $50,000
London   City and County                                       City and County
Breed    of San Francisco   Reality SF Church                  of San Francisco       $50,000
London   City and County                                       City and County
Breed    of San Francisco   Tess Winlock and Christine Luu     of San Francisco       $40,000
London   City and County                                       City and County
Breed    of San Francisco   HUB Group                          of San Francisco       $38,483
London   City and County                                       City and County
Breed    of San Francisco   Facebook                           of San Francisco       $38,400
London   City and County                                       City and County
Breed    of San Francisco   Medtec (New Taipei City)           of San Francisco       $37,500
London   City and County                                       City and County
Breed    of San Francisco   Supply Bank                        of San Francisco       $33,000
London   City and County                                       City and County
Breed    of San Francisco   Veritas Investments                of San Francisco       $31,287
London   City and County                                       City and County
Breed    of San Francisco   Levi's                             of San Francisco       $30,402
London   City and County                                       City and County
Breed    of San Francisco   Timbuk2; NBC                       of San Francisco       $26,756
London   City and County                                       City and County
Breed    of San Francisco   Facebook                           of San Francisco       $25,600
London   City and County                                       City and County
Breed    of San Francisco   China Mobile International (USA)   of San Francisco       $25,540
London   City and County                                       City and County
Breed    of San Francisco   Facebook                           of San Francisco       $25,000


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London   City and County                                           City and County
Breed    of San Francisco   John C. Clifford and Katrina M. Lake   of San Francisco       $25,000
London   City and County                                           City and County
Breed    of San Francisco   Facebook                               of San Francisco       $24,576
London   City and County                                           City and County
Breed    of San Francisco   Seoul Municipal Government             of San Francisco       $23,220
London   City and County                                           City and County
Breed    of San Francisco   Facebook                               of San Francisco       $21,000
London   City and County                                           City and County
Breed    of San Francisco   Dick's Sporting Goods                  of San Francisco       $20,432
London   City and County                                           City and County
Breed    of San Francisco   Victor C. B. Smith                     of San Francisco       $20,000
London   City and County                                           City and County
Breed    of San Francisco   GIC Real Estate, Inc.                  of San Francisco       $20,000
London   City and County                                           City and County
Breed    of San Francisco   GIC Real Estate, Inc.                  of San Francisco       $20,000
London   City and County                                           City and County
Breed    of San Francisco   Athleta Inc.                           of San Francisco       $19,155
London   City and County                                           City and County
Breed    of San Francisco   Sean Curran                            of San Francisco       $15,000
London   City and County                                           City and County
Breed    of San Francisco   Amour Vert                             of San Francisco       $15,000
London   City and County                                           City and County
Breed    of San Francisco   VM Ware                                of San Francisco       $15,000
London   City and County                                           City and County
Breed    of San Francisco   Jon Ying                               of San Francisco       $15,000
London   City and County                                           City and County
Breed    of San Francisco   VM Ware                                of San Francisco       $14,964
London   City and County                                           City and County
Breed    of San Francisco   Facebook                               of San Francisco       $13,590
London   City and County                                           City and County
Breed    of San Francisco   Laurie Green                           of San Francisco       $13,440
London   City and County                                           City and County
Breed    of San Francisco   Doordash                               of San Francisco       $13,000
London   City and County    Shanghai Hongbo Investment &           City and County
Breed    of San Francisco   Management                             of San Francisco       $12,770
London   City and County                                           City and County
Breed    of San Francisco   PCS                                    of San Francisco       $12,700
London   City and County                                           City and County
Breed    of San Francisco   Facebook                               of San Francisco       $12,288
London   City and County                                           City and County
Breed    of San Francisco   Ardian US Foundation                   of San Francisco       $12,000
London   City and County                                           City and County
Breed    of San Francisco   Facebook                               of San Francisco       $12,000
London   City and County                                           City and County
Breed    of San Francisco   Timbuk2                                of San Francisco       $10,805


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London   City and County                                        City and County
Breed    of San Francisco   Shanghai City Government            of San Francisco       $10,500
London   City and County                                        City and County
Breed    of San Francisco   Dolby Laboratories                  of San Francisco       $10,500
London   City and County                                        City and County
Breed    of San Francisco   Diane and Carl Shannon              of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Lucy Almers and Sean Rhea           of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Mark Brody                          of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Matt Beaumont-Gay                   of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Nicholas Reavil and Emily Wolahan   of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Reuben Family Fund                  of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Nehal and Jenny Fan Raj Fund        of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   San Francisco Foundation            of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Jewish Community Federation         of San Francisco       $10,000
London   City and County    Christopher John Rupright and       City and County
Breed    of San Francisco   Pamela G.H. Rupright                of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Tania Lee and Brianna Lee           of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Wilson J Lam and Mary Leong Lam     of San Francisco       $10,000
London   City and County    Claire Solot and Sinjin Bain,       City and County
Breed    of San Francisco   Bigglesworth Family Foundation      of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Degree, Inc. dba Lattice            of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Franklyn O. Bakala                  of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   John & Marcia Goldman Foundation    of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Nicholas C. Fox                     of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   Scott Hansma                        of San Francisco       $10,000
London   City and County                                        City and County
Breed    of San Francisco   One Medical                         of San Francisco        $9,034
London   City and County                                        City and County
Breed    of San Francisco   Flexport LLC                        of San Francisco        $8,704
London   City and County                                        City and County
Breed    of San Francisco   Timbuk2                             of San Francisco        $8,492


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London   City and County                                         City and County
Breed    of San Francisco   John K. Ng                           of San Francisco        $7,662
London   City and County                                         City and County
Breed    of San Francisco   Flexport LLC                         of San Francisco        $7,600
London   City and County                                         City and County
Breed    of San Francisco   John Garfinkle Charitable Fund       of San Francisco        $7,500
London   City and County                                         City and County
Breed    of San Francisco   McMorgan & Company                   of San Francisco        $7,500
London   City and County                                         City and County
Breed    of San Francisco   Josh Hannah & Denise Yamamoto        of San Francisco        $7,500
London   City and County                                         City and County
Breed    of San Francisco   Red Cross                            of San Francisco        $7,308
London   City and County                                         City and County
Breed    of San Francisco   Supply Bank                          of San Francisco        $7,216
London   City and County                                         City and County
Breed    of San Francisco   PCS                                  of San Francisco        $6,966
London   City and County                                         City and County
Breed    of San Francisco   Supply Bank                          of San Francisco        $6,512
London   City and County                                         City and County
Breed    of San Francisco   Chung Yan Lo                         of San Francisco        $6,500
London   City and County                                         City and County
Breed    of San Francisco   Vietnam Consulate General            of San Francisco        $6,385
London   City and County                                         City and County
Breed    of San Francisco   Supply Bank                          of San Francisco        $6,160
London   City and County                                         City and County
Breed    of San Francisco   Bella + Canvas                       of San Francisco        $6,130
London   City and County                                         City and County
Breed    of San Francisco   Veritas Investments                  of San Francisco        $6,066
London   City and County                                         City and County
Breed    of San Francisco   Veritas Investments                  of San Francisco        $6,066
London   City and County                                         City and County
Breed    of San Francisco   Mary Franklin                        of San Francisco        $6,000
London   City and County                                         City and County
Breed    of San Francisco   Sahil Shah                           of San Francisco        $6,000
London   City and County                                         City and County
Breed    of San Francisco   Supply Bank                          of San Francisco        $5,984
London   City and County                                         City and County
Breed    of San Francisco   Dolby Laboratories                   of San Francisco        $5,888
London   City and County                                         City and County
Breed    of San Francisco   Garima Jajoo                         of San Francisco        $5,000
London   City and County    Navin Iyengar and Nichiketa          City and County
Breed    of San Francisco   Choudhary                            of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Formagrid Inc. dba Airtable          of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Bigote de Gato Arts and Music Inc.   of San Francisco        $5,000


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London   City and County                                         City and County
Breed    of San Francisco   David Bloom                          of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   James Kilgore                        of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   The Miners                           of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Amanda Schapel                       of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Lifschultz-Stiepleman Family         of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   The Bushichols Fund                  of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Tailor's Keep                        of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Lendlease Development                of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Kristine Boyden & Scott Taylor       of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Will and Julie Parish                of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Brittany Marquez                     of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Corey Block                          of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Excel Plumbing Supply                of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Jason Maynard                        of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Jeffrey Tumlin                       of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Jennifer Braun                       of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Jessie Cheng Charitable Foundation   of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Jewish Communal Fund                 of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   John W. Glynn                        of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Justin Wyckoff                       of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Kristine Boyden                      of San Francisco        $5,000
London   City and County                                         City and County
Breed    of San Francisco   Meridee Moore                        of San Francisco        $5,000
London   City and County    The Lippman Family Philanthropic     City and County
Breed    of San Francisco   Ventures                             of San Francisco        $5,000


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London   City and County                                        City and County
Breed    of San Francisco   Global Office                       of San Francisco        $4,250
London   City and County                                        City and County
Breed    of San Francisco   Facebook                            of San Francisco        $4,226
London   City and County    Industrial and Commercial Bank of   City and County
Breed    of San Francisco   China (USA)                         of San Francisco        $4,000
London   City and County                                        City and County
Breed    of San Francisco   Dickinson Corporation               of San Francisco        $4,000
London   City and County    Consulate General of the People's   City and County
Breed    of San Francisco   Republic of China                   of San Francisco        $3,831
London   City and County    Consulate General of the People's   City and County
Breed    of San Francisco   Republic of China                   of San Francisco        $3,831
London   City and County                                        City and County
Breed    of San Francisco   GIC Real Estate, Inc.               of San Francisco        $3,796
London   City and County                                        City and County
Breed    of San Francisco   Timbuk2; NBC                        of San Francisco        $3,296
London   City and County                                        City and County
Breed    of San Francisco   Westpoint Home                      of San Francisco        $3,193
London   City and County                                        City and County
Breed    of San Francisco   Westpoint Home                      of San Francisco        $3,193
London   City and County                                        City and County
Breed    of San Francisco   Flexport LLC                        of San Francisco        $3,075
London   City and County                                        City and County
Breed    of San Francisco   Elite Supply Source                 of San Francisco        $3,046
London   City and County                                        City and County
Breed    of San Francisco   Supply Bank                         of San Francisco        $2,904
London   City and County                                        City and County
Breed    of San Francisco   Veritas Investments                 of San Francisco        $2,800
London   City and County                                        City and County
Breed    of San Francisco   Veritas Investments                 of San Francisco        $2,800
London   City and County                                        City and County
Breed    of San Francisco   Veritas Investments                 of San Francisco        $2,500
London   City and County                                        City and County
Breed    of San Francisco   New Taipei City                     of San Francisco        $2,414
London   City and County                                        City and County
Breed    of San Francisco   Timbuk2; NBC                        of San Francisco        $2,299
London   City and County    Industrial and Commercial Bank of   City and County
Breed    of San Francisco   China (USA)                         of San Francisco        $2,016
London   City and County                                        City and County
Breed    of San Francisco   PCS                                 of San Francisco        $2,000
London   City and County                                        City and County
Breed    of San Francisco   Amour Vert                          of San Francisco        $1,724
London   City and County                                        City and County
Breed    of San Francisco   Veritas Investments                 of San Francisco        $1,560
London   City and County                                        City and County
Breed    of San Francisco   New Taipei City                     of San Francisco        $1,313


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 London         City and County                                              City and County
 Breed          of San Francisco   Facebook                                  of San Francisco          $1,280
 London         City and County                                              City and County
 Breed          of San Francisco   Facebook                                  of San Francisco          $1,280
 London         City and County                                              City and County
 Breed          of San Francisco   Cotton the First Shirtmaker               of San Francisco          $1,200
 London         City and County                                              City and County
 Breed          of San Francisco   PCS                                       of San Francisco          $1,000
 London         City and County    Industrial and Commercial Bank of         City and County
 Breed          of San Francisco   China (USA)                               of San Francisco             $516
 London         City and County                                              City and County
 Breed          of San Francisco   New Taipei City                           of San Francisco             $506
 London         City and County                                              City and County
 Breed          of San Francisco   Onfleet                                   of San Francisco             $500
 London         City and County                                              City and County
 Breed          of San Francisco   Timbuk2                                   of San Francisco             $411
 London         City and County                                              City and County
 Breed          of San Francisco   New Taipei City                           of San Francisco             $230
 London         City and County                                              City and County
 Breed          of San Francisco   Comcast                                   of San Francisco              $63


Brilliant Corners
 Official         Jurisdiction                         Payor Name            Payee Name          Amount
 London
 Breed            City and County of San Francisco     Tipping Point         Brilliant Corners     $3,268,000


Top 5 Behesting Officials of 2020
 Official                                     Jurisdiction                                  Amount
 Eric Garcetti                                City of Los Angeles                           $26,228,460
 Libby Schaaf                                 City of Oakland                               $21,739,062
 London Breed                                 City and County of San Francisco              $10,188,842
 Kevin Faulconer                              City of San Diego                             $1,466,528
 Michael Feuer                                City of Los Angeles                           $714,422


Eric Garcetti
 Official   Jurisdiction      Payor Name                                       Payee Name         Amount
 Eric       City of Los       The Consulate General of the State of Qatar-     Mayor's Fund
 Garcetti   Angeles           Los Angeles                                      for Los Angeles    $5,000,000
 Eric       City of Los       Bessemer National Gift Fund/ Bessemer            Mayor's Fund
 Garcetti   Angeles           Trust Company                                    for Los Angeles    $3,000,000
 Eric       City of Los       The Clara Lionel Foundation c/o Source           Mayor's Fund
 Garcetti   Angeles           Financial Advisors LLC                           for Los Angeles    $2,975,000
 Eric       City of Los       Ballmer Group c/o Goldman Sachs                  Mayor's Fund
 Garcetti   Angeles           Philanthropy Fund                                for Los Angeles    $2,000,000

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Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Snap Inc.                                    for Los Angeles    $1,000,000
Eric       City of Los   Evan Spiegel/ Snap Inc. c/o California       Mayor's Fund
Garcetti   Angeles       Community Foundation                         for Los Angeles    $1,000,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Fox Corporation                              for Los Angeles    $1,000,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       The Eli and Edythe Broad Foundation          for Los Angeles    $500,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Robert Iger                                  for Los Angeles    $500,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       The Wunderkinder Foundation                  for Los Angeles    $500,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Wassermann Foundation                        for Los Angeles    $500,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Jonas Brothers c/o The Nordlinger Group      for Los Angeles    $500,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Conrad N. Hilton Foundation                  for Los Angeles    $500,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Andrew Gordon Hauptman Revocable Trust       for Los Angeles    $500,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Marilyn and Jeffery Katzenberg c/o Gonring   for Los Angeles    $500,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       WM Keck Foundation                           for Los Angeles    $500,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Silicon Valley Community Foundation          for Los Angeles    $455,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Diane & Dorthy Brooks Foundation             for Los Angeles    $450,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       The Eli & Edythe Broad Foundation            for Los Angeles    $400,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       John Pritzker Family Fund                    for Los Angeles    $400,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Why Not Foundation                           for Los Angeles    $250,000
Eric       City of Los   The Jane and Marc Nathanson Family           Mayor's Fund
Garcetti   Angeles       Foundation                                   for Los Angeles    $250,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       The Eli & Edythe Broad Foundation            for Los Angeles    $250,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Conrad N. Hilton Foundation                  for Los Angeles    $200,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Splendent Media LLC                          for Los Angeles    $200,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       The James Irvine Foundation                  for Los Angeles    $200,000
Eric       City of Los                                                Mayor's Fund
Garcetti   Angeles       Riot Games c/o Impact Assets                 for Los Angeles    $200,000


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Eric       City of Los
Garcetti   Angeles       Citi Foundation                            Urban Institute    $150,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       Conrad N. Hilton Foundation                for Los Angeles    $150,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       LA Kings Care Foundation                   for Los Angeles    $149,460
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       The Kroger Co Foundation                   for Los Angeles    $134,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       Albertsons                                 for Los Angeles    $110,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       Ambassador Colleen and Bradley Bell        for Los Angeles    $100,000
Eric       City of Los   The Goldhirsch Foundation c/o RINET        Mayor's Fund
Garcetti   Angeles       Company LLC                                for Los Angeles    $100,000
Eric       City of Los   Steward Family Foundation c/o United Way   Mayor's Fund
Garcetti   Angeles       of Greater St. Louis                       for Los Angeles    $100,000
Eric       City of Los   PWC Charitable Foundation Inc. c/o UB      Mayor's Fund
Garcetti   Angeles       Financial Services                         for Los Angeles    $100,000
Eric       City of Los   Harvey Motulsky and Lisa Norton Fund c/o   Mayor's Fund
Garcetti   Angeles       Fidelity Charitable                        for Los Angeles    $100,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       James & Erin Siminoff                      for Los Angeles    $100,000
Eric       City of Los   The McGrath Abrams Family Foundation c/o   Mayor's Fund
Garcetti   Angeles       Gettleson, Witzer and O'Conner             for Los Angeles    $100,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       Leonard Hill Charitable Foundation         for Los Angeles    $100,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       Eli and Edythe Broad Foundation            for Los Angeles    $100,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       Conrad N. Hilton Foundation                for Los Angeles    $100,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       Ernst & Young                              for Los Angeles    $75,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       Target Corporation                         for Los Angeles    $75,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       Ernst & Young                              for Los Angeles    $75,000
Eric       City of Los   California Partnership to End Domestic     Mayor's Fund
Garcetti   Angeles       Violence                                   for Los Angeles    $50,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       Google LLC                                 for Los Angeles    $50,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       The Larry David Foundation Inc.            for Los Angeles    $50,000
Eric       City of Los   Thomas and Jessica Rothman Charitable      Mayor's Fund
Garcetti   Angeles       Fund c/o Schwab Charitable                 for Los Angeles    $50,000
Eric       City of Los                                              Mayor's Fund
Garcetti   Angeles       WM Keck Foundation                         for Los Angeles    $50,000


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 Eric        City of Los                                                   Mayor's Fund
 Garcetti    Angeles        Nike Inc.                                      for Los Angeles     $50,000
 Eric        City of Los    Philip Lord c/o Level Four Business            Mayor's Fund
 Garcetti    Angeles        Management LLC                                 for Los Angeles     $40,000
 Eric        City of Los                                                   Mayor's Fund
 Garcetti    Angeles        Bank of the West                               for Los Angeles     $35,000
 Eric        City of Los                                                   Mayor's Fund
 Garcetti    Angeles        Waymo LLC                                      for Los Angeles     $25,000
 Eric        City of Los    Andrea and David Nevins Family Foundation      Mayor's Fund
 Garcetti    Angeles        c/o Fidelity Charitable                        for Los Angeles     $25,000
 Eric        City of Los                                                   Mayor's Fund
 Garcetti    Angeles        Google LLC c/o Tides Foundation                for Los Angeles     $25,000
 Eric        City of Los                                                   Mayor's Fund
 Garcetti    Angeles        RM Liu Foundation                              for Los Angeles     $25,000
 Eric        City of Los                                                   Mayor's Fund
 Garcetti    Angeles        California Community Foundation                for Los Angeles     $20,000
 Eric        City of Los                                                   Mayor's Fund
 Garcetti    Angeles        The Marc and Eva Stern Foundation              for Los Angeles     $20,000
 Eric        City of Los                                                   Mayor's Fund
 Garcetti    Angeles        Entertainment Industry Foundation              for Los Angeles     $15,000
 Eric        City of Los                                                   Mayor's Fund
 Garcetti    Angeles        Disney Worldwide Services, Inc.                for Los Angeles     $10,000
 Eric        City of Los                                                   Mayor's Fund
 Garcetti    Angeles        Entertainment Industry Foundation              for Los Angeles     $10,000
 Eric        City of Los                                                   Mayor's Fund
 Garcetti    Angeles        Edison International Southern California       for Los Angeles     $10,000
 Eric        City of Los    The Jane and Marc Nathanson Family             Mayor's Fund
 Garcetti    Angeles        Foundation                                     for Los Angeles     $10,000
 Eric        City of Los                                                   Mayor's Fund
 Garcetti    Angeles        Sony Pictures Entertainment                    for Los Angeles     $10,000


Libby Schaaf
 Official   Jurisdiction   Payor Name                       Payee Name                       Amount
                                                            Lee Bodner, New Venture
 Libby      City of                                         Fund (Project: Oakland Fund
 Schaaf     Oakland        Jack Dorsey                      for Public Innovation)           $10,000,000
 Libby      City of
 Schaaf     Oakland        Blue Meridian Partners           FII-National                     $2,750,000
 Libby      City of
 Schaaf     Oakland        Blue Meridian Partners           Oakland Promise                  $1,280,000
                                                            Lee Bodner, New Venture
 Libby      City of                                         Fund (Project: Oakland Fund
 Schaaf     Oakland        Hellman Foundation               for Public Innovation)           $1,000,000
                           Pincus Family Fund, Silicon
 Libby      City of        Valley Community                 Oakland Public Education
 Schaaf     Oakland        Foundation                       Fund                             $700,000

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Libby    City of   East Bay College Fund          Oakland Public Education
Schaaf   Oakland   (Oakland Promise)              Fund                          $500,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Crankstart                     for Public Innovation)        $500,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Gilead                         for Public Innovation)        $500,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Crankstart                     for Public Innovation)        $500,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Blue Shield California         for Public Innovation)        $500,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Stupski Foundation             for Public Innovation)        $500,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   East Bay Energy                for Public Innovation)        $278,500
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Crankstart                     for Public Innovation)        $250,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Hellman Foundation             for Public Innovation)        $250,000
Libby    City of   Lam Research, Silicon Valley   Oakland Public Education
Schaaf   Oakland   Community Foundation           Fund                          $200,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Koshland Family Foundation     for Public Innovation)        $200,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Bank of America                for Public Innovation)        $200,000
Libby    City of                                  Oakland Public Education
Schaaf   Oakland   The Barrios Trust              Fund                          $150,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Anonymous Donor/DAF            for Public Innovation)        $150,000
Libby    City of                                  Oakland Public Education
Schaaf   Oakland   Niantic Inc                    Fund                          $125,000
Libby    City of                                  Dan Leibsohn, Community
Schaaf   Oakland   XQ                             Development Finance           $115,000
Libby    City of                                  Oakland Public Education
Schaaf   Oakland   Amazon                         Fund                          $100,000




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                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Amazon                         for Public Innovation)        $100,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Clorox Foundation              for Public Innovation)        $100,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Facebook                       for Public Innovation)        $100,000
Libby    City of                                  Oakland Public Education
Schaaf   Oakland   City of Oakland                Fund                          $75,000
Libby    City of   San Francisco Foundation -     Oakland Public Education
Schaaf   Oakland   David & Susan Tunnell Fund     Fund                          $75,000
Libby    City of   Hellman Foundation c/o         Dan Leibsohn, Community
Schaaf   Oakland   Hirsch Philanthropy Partners   Development Finance           $75,000
Libby    City of                                  Oakland Public Education
Schaaf   Oakland   Illinois No. 3 Foundation      Fund                          $75,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Kapor Center                   for Public Innovation)        $50,000
                                                  Lee Bodner, New Venture
Libby    City of   San Francisco 49ers, SAP       Fund (Project: Oakland Fund
Schaaf   Oakland   Performance Facility           for Public Innovation)        $49,000
Libby    City of   Chek F. Tang and In-Chian      Oakland Public Education
Schaaf   Oakland   Tang                           Fund                          $25,229
Libby    City of   California Endowment           Dan Leibsohn, Community
Schaaf   Oakland   Foundation                     Development Finance           $25,000
Libby    City of   David and Lucile Packard       Oakland Public Education
Schaaf   Oakland   Foundation                     Fund                          $25,000
                   Irene S. Scully Fund, c/o      Lee Bodner, New Venture
Libby    City of   Marin Community                Fund (Project: Oakland Fund
Schaaf   Oakland   Foundation                     for Public Innovation)        $25,000
Libby    City of                                  Bay Area Community Services
Schaaf   Oakland   EPIQ Capital Group             (BACS)                        $20,053
Libby    City of   Bank of America Charitable     Oakland Public Education
Schaaf   Oakland   Gift Fund                      Fund                          $20,000
Libby    City of                                  Oakland Public Education
Schaaf   Oakland   The Oakland Athletics          Fund                          $20,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   Verizon                        for Public Innovation)        $20,000
                                                  Lee Bodner, New Venture
Libby    City of                                  Fund (Project: Oakland Fund
Schaaf   Oakland   PG&E                           for Public Innovation)        $15,000
Libby    City of                                  Oakland Police Activities
Schaaf   Oakland   Community Charities            League                        $15,000


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 Libby      City of      Lisa Pritzker Family          Dan Leibsohn, Community
 Schaaf     Oakland      Foundation                    Development Finance            $10,000
 Libby      City of      RedOak Realty, ROOF           Oakland Public Education
 Schaaf     Oakland      Program                       Fund                           $10,000
 Libby      City of      Professor and Mrs. Chenming   Oakland Public Education
 Schaaf     Oakland      Hu via Fidelity Charitable    Fund                           $10,000
                                                       Lee Bodner, New Venture
 Libby      City of                                    Fund (Project: Oakland Fund
 Schaaf     Oakland      Daniel Stefek                 for Public Innovation)         $8,280
 Libby      City of      Nandalala Mission of          Oakland Public Education
 Schaaf     Oakland      California                    Fund                           $8,000
 Libby      City of      Randy and Karen Baker via     Oakland Public Education
 Schaaf     Oakland      Fidelity Charitable           Fund                           $5,000
                         Sarah Eisenhardt, via Sarah
 Libby      City of      Eisenhardt Fund at the San    Oakland Public Education
 Schaaf     Oakland      Francisco Foundation          Fund                           $5,000
 Libby      City of                                    Oakland Public Education
 Schaaf     Oakland      Oakland Rotary Club           Fund                           $5,000
 Libby      City of                                    Oakland Public Education
 Schaaf     Oakland      Harborside Health Center      Fund                           $5,000
                                                       Lee Bodner, New Venture
 Libby      City of                                    Fund (Project: Oakland Fund
 Schaaf     Oakland      Doris Ahlsten                 for Public Innovation)         $5,000
                                                       Lee Bodner, New Venture
 Libby      City of                                    Fund (Project: Oakland Fund
 Schaaf     Oakland      David Hartley                 for Public Innovation)         $5,000
                                                       Lee Bodner, New Venture
 Libby      City of                                    Fund (Project: Oakland Fund
 Schaaf     Oakland      Lois Leynse                   for Public Innovation)         $5,000


London Breed
 Official    Jurisdiction    Payor Name                      Payee Name               Amount
             City and
 London      County of San                                   San Francisco
 Breed       Francisco       Jack Dorsey                     Foundation                $15,000,000
             City and
 London      County of San
 Breed       Francisco       Tipping Point                   Brilliant Corners          $3,268,000
             City and
 London      County of San                                   City and County of San
 Breed       Francisco       Salesforce.com, Inc.            Francisco                  $1,500,000
             City and
 London      County of San                                   City and County of San
 Breed       Francisco       Ann and Gordon Getty            Francisco                  $1,000,000




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         City and
London   County of San                                   City and County of San
Breed    Francisco       Gerson Bakar Foundation         Francisco                 $1,000,000
         City and
London   County of San                                   San Francisco
Breed    Francisco       Hellman Foundation              Foundation                $1,000,000
         City and
London   County of San                                   San Francisco
Breed    Francisco       Aneel Bhusri                    Foundation                 $995,010
         City and                                        San Francisco
London   County of San                                   Department of Public
Breed    Francisco       Tipping Point                   Health                     $500,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Arthur and Toni Rembe Rock      Francisco                  $500,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Google, LLC.                    Francisco                  $500,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Great Heights Charitable Fund   Francisco                  $500,000
         City and
London   County of San                                   San Francisco
Breed    Francisco       Crankstart Foundation           Foundation                 $500,000
         City and
London   County of San                                   San Francisco
Breed    Francisco       The Stupski Foundation          Foundation                 $500,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Medtec (New Taipei City)        Francisco                  $387,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Apple                           Francisco                  $255,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Apple                           Francisco                  $250,800
         City and
London   County of San                                   San Francisco
Breed    Francisco       Preston-Werner                  Foundation                 $250,000
         City and
London   County of San   Bank of America, Charitable     San Francisco
Breed    Francisco       Foundation                      Foundation                 $200,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Wells Fargo Foundation          Francisco                  $150,000




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         City and
London   County of San                                   City and County of San
Breed    Francisco       Hamid and Christina Moghadam    Francisco                  $150,000
         City and
London   County of San   San Francisco Special Events
Breed    Francisco       Committee                       Hartmann                   $138,755
         City and
London   County of San                                   City and County of San
Breed    Francisco       Elite Supply Source             Francisco                  $127,800
         City and
London   County of San                                   City and County of San
Breed    Francisco       Missioncare (New Taipei City)   Francisco                  $127,700
         City and
London   County of San                                   City and County of San
Breed    Francisco       Medtec (New Taipei City)        Francisco                  $125,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Facebook                        Francisco                  $123,600
         City and
London   County of San                                   City and County of San
Breed    Francisco       Daine B. Wilsey                 Francisco                  $111,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       RealReal                        Francisco                  $103,054
         City and
London   County of San                                   City and County of San
Breed    Francisco       Shanghai City Government        Francisco                  $100,000
         City and
London   County of San                                   Japanese Community
Breed    Francisco       Facebook                        Youth Council              $100,000
         City and
London   County of San                                   San Francisco
Breed    Francisco       First Republic Bank             Foundation                 $100,000
         City and
London   County of San                                   San Francisco
Breed    Francisco       Slack Corporation               Foundation                 $100,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       John Pritzker family Fund       Francisco                  $100,000
         City and
London   County of San   Lisa Stone Prritzker Family     City and County of San
Breed    Francisco       Foundation                      Francisco                  $100,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Ray & Dagmar Dolby              Francisco                  $100,000




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         City and
London   County of San   Silicon Valley Community     City and County of San
Breed    Francisco       Foundation                   Francisco                  $100,000
         City and
London   County of San   Silicon Valley Community     San Francisco
Breed    Francisco       Foundation                   Foundation                 $100,000
         City and
London   County of San                                Japanese Community
Breed    Francisco       Google                       Youth Council              $100,000
         City and
London   County of San                                San Francisco
Breed    Francisco       Eric and Jeff Lawson         Education Fund               $85,000
         City and
London   County of San                                City and County of San
Breed    Francisco       Facebook                     Francisco                    $76,620
         City and
London   County of San                                City and County of San
Breed    Francisco       Flexport LLC                 Francisco                    $76,620
         City and
London   County of San                                San Francisco
Breed    Francisco       Chime, Inc.                  Foundation                   $75,000
         City and
London   County of San                                City and County of San
Breed    Francisco       Grammerly, Inc.              Francisco                    $75,000
         City and
London   County of San                                City and County of San
Breed    Francisco       The Tides Foundation         Francisco                    $62,500
         City and
London   County of San                                City and County of San
Breed    Francisco       Seoul Municipal Government   Francisco                    $61,920
         City and
London   County of San                                City and County of San
Breed    Francisco       Facebook                     Francisco                    $54,000
         City and
London   County of San                                City and County of San
Breed    Francisco       Apple                        Francisco                    $53,634
         City and
London   County of San                                City and County of San
Breed    Francisco       Medtec (New Taipei City)     Francisco                    $52,500
         City and
London   County of San                                San Francisco
Breed    Francisco       Google                       Education Fund               $50,000
         City and
London   County of San                                City and County of San
Breed    Francisco       Tracy Chapman                Francisco                    $50,000




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         City and
London   County of San                                    City and County of San
Breed    Francisco       Ross Aaron Boucher Tree          Francisco                    $50,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Hercules Capital                 Francisco                    $50,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Moldaw Family                    Francisco                    $50,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Reality SF Church                Francisco                    $50,000
         City and
London   County of San                                    Japanese Community
Breed    Francisco       Bank of America                  Youth Council                $50,000
         City and
London   County of San
Breed    Francisco       Diane B. Wilsey                  San Francisco Opera          $50,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Tess Winlock and Christine Luu   Francisco                    $40,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       HUB Group                        Francisco                    $38,483
         City and
London   County of San                                    City and County of San
Breed    Francisco       Facebook                         Francisco                    $38,400
         City and
London   County of San                                    City and County of San
Breed    Francisco       Medtec (New Taipei City)         Francisco                    $37,500
         City and
London   County of San                                    City and County of San
Breed    Francisco       Supply Bank                      Francisco                    $33,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Veritas Investments              Francisco                    $31,287
         City and
London   County of San                                    City and County of San
Breed    Francisco       Levi's                           Francisco                    $30,402
         City and
London   County of San                                    City and County of San
Breed    Francisco       Timbuk2; NBC                     Francisco                    $26,756
         City and
London   County of San                                    City and County of San
Breed    Francisco       Facebook                         Francisco                    $25,600




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         City and
London   County of San                                      City and County of San
Breed    Francisco       China Mobile International (USA)   Francisco                    $25,540
         City and
London   County of San                                      City and County of San
Breed    Francisco       Facebook                           Francisco                    $25,000
         City and
London   County of San   John C. Clifford and Katrina M.    City and County of San
Breed    Francisco       Lake                               Francisco                    $25,000
         City and
London   County of San                                      Japanese Community
Breed    Francisco       Dolby                              Youth Council                $25,000
         City and
London   County of San                                      City and County of San
Breed    Francisco       Facebook                           Francisco                    $24,576
         City and
London   County of San                                      Japanese Community
Breed    Francisco       Comcast                            Youth Council                $24,000
         City and
London   County of San                                      City and County of San
Breed    Francisco       Seoul Municipal Government         Francisco                    $23,220
         City and
London   County of San                                      City and County of San
Breed    Francisco       Facebook                           Francisco                    $21,000
         City and
London   County of San                                      City and County of San
Breed    Francisco       Dick's Sporting Goods              Francisco                    $20,432
         City and
London   County of San   Jewish Community Federation of     San Francisco
Breed    Francisco       San Francisco                      Foundation                   $20,000
         City and
London   County of San                                      City and County of San
Breed    Francisco       Victor C. B. Smith                 Francisco                    $20,000
         City and
London   County of San                                      City and County of San
Breed    Francisco       GIC Real Estate, Inc.              Francisco                    $20,000
         City and
London   County of San                                      City and County of San
Breed    Francisco       GIC Real Estate, Inc.              Francisco                    $20,000
         City and                                           San Francisco -
London   County of San   San Francisco Special Events       Shanghai Sister City
Breed    Francisco       Committee                          Committee                    $20,000
         City and
London   County of San                                      City and County of San
Breed    Francisco       Athleta Inc.                       Francisco                    $19,155




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         City and
London   County of San                                   City and County of San
Breed    Francisco       Sean Curran                     Francisco                    $15,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Amour Vert                      Francisco                    $15,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       VM Ware                         Francisco                    $15,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Jon Ying                        Francisco                    $15,000
         City and
London   County of San                                   San Francisco
Breed    Francisco       Eileen and Peter Michael Fund   Foundation                   $15,000
         City and
London   County of San                                   San Francisco
Breed    Francisco       Pacific Gas & Electric          Foundation                   $15,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       VM Ware                         Francisco                    $14,964
         City and
London   County of San                                   City and County of San
Breed    Francisco       Facebook                        Francisco                    $13,590
         City and
London   County of San                                   City and County of San
Breed    Francisco       Laurie Green                    Francisco                    $13,440
         City and
London   County of San                                   City and County of San
Breed    Francisco       Doordash                        Francisco                    $13,000
         City and
London   County of San   Shanghai Hongbo Investment &    City and County of San
Breed    Francisco       Management                      Francisco                    $12,770
         City and
London   County of San                                   City and County of San
Breed    Francisco       PCS                             Francisco                    $12,700
         City and
London   County of San   The Benevity Community Impact   San Francisco
Breed    Francisco       Fund                            Foundation                   $12,300
         City and
London   County of San                                   City and County of San
Breed    Francisco       Facebook                        Francisco                    $12,288
         City and
London   County of San                                   City and County of San
Breed    Francisco       Ardian US Foundation            Francisco                    $12,000




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         City and
London   County of San                                   City and County of San
Breed    Francisco       Facebook                        Francisco                    $12,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Timbuk2                         Francisco                    $10,805
         City and
London   County of San                                   City and County of San
Breed    Francisco       Shanghai City Government        Francisco                    $10,500
         City and
London   County of San                                   City and County of San
Breed    Francisco       Dolby Laboratories              Francisco                    $10,500
         City and
London   County of San                                   City and County of San
Breed    Francisco       Diane and Carl Shannon          Francisco                    $10,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Lucy Almers and Sean Rhea       Francisco                    $10,000
         City and
London   County of San                                   Larkin Street Youth
Breed    Francisco       Warner Media, LLC               Services                     $10,000
         City and
London   County of San                                   San Francisco
Breed    Francisco       Mark R. and Mauree Jane Perry   Foundation                   $10,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Mark Brody                      Francisco                    $10,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Matt Beaumont-Gay               Francisco                    $10,000
         City and
London   County of San   Nicholas Reavil and Emily       City and County of San
Breed    Francisco       Wolahan                         Francisco                    $10,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Reuben Family Fund              Francisco                    $10,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Nehal and Jenny Fan Raj Fund    Francisco                    $10,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       San Francisco Foundation        Francisco                    $10,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Jewish Community Federation     Francisco                    $10,000




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         City and
London   County of San   Christopher John Rupright and    City and County of San
Breed    Francisco       Pamela G.H. Rupright             Francisco                    $10,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Tania Lee and Brianna Lee        Francisco                    $10,000
         City and
London   County of San   Wilson J Lam and Mary Leong      City and County of San
Breed    Francisco       Lam                              Francisco                    $10,000
         City and
London   County of San   Claire Solot and Sinjin Bain,    City and County of San
Breed    Francisco       Bigglesworth Family Foundation   Francisco                    $10,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Degree, Inc. dba Lattice         Francisco                    $10,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Franklyn O. Bakala               Francisco                    $10,000
         City and
London   County of San   John & Marcia Goldman            City and County of San
Breed    Francisco       Foundation                       Francisco                    $10,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Nicholas C. Fox                  Francisco                    $10,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Scott Hansma                     Francisco                    $10,000
         City and
London   County of San                                    San Francisco
Breed    Francisco       Shashwat Kandadai                Foundation                   $10,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Feysan J. Lodde                  Events Committee             $10,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Lui Foundation                   Events Committee             $10,000
         City and        Silicon Valley Community
London   County of San   Foundation (from Chris Larsen    San Francisco Special
Breed    Francisco       Fund)                            Events Committee             $10,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Russell B. Flynn                 Events Committee             $10,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Double AA Corp.                  Events Committee             $10,000




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         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Stanlee R. Gatti Designs         Events Committee              $9,543
         City and
London   County of San                                    City and County of San
Breed    Francisco       One Medical                      Francisco                     $9,034
         City and
London   County of San                                    City and County of San
Breed    Francisco       Flexport LLC                     Francisco                     $8,704
         City and
London   County of San                                    City and County of San
Breed    Francisco       Timbuk2                          Francisco                     $8,492
         City and
London   County of San                                    San Francisco
Breed    Francisco       Daniel Ammann                    Foundation                    $8,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       John K. Ng                       Francisco                     $7,662
         City and
London   County of San                                    City and County of San
Breed    Francisco       Flexport LLC                     Francisco                     $7,600
         City and
London   County of San                                    City and County of San
Breed    Francisco       John Garfinkle Charitable Fund   Francisco                     $7,500
         City and
London   County of San                                    City and County of San
Breed    Francisco       McMorgan & Company               Francisco                     $7,500
         City and
London   County of San   Josh Hannah & Denise             City and County of San
Breed    Francisco       Yamamoto                         Francisco                     $7,500
         City and
London   County of San                                    City and County of San
Breed    Francisco       Red Cross                        Francisco                     $7,308
         City and
London   County of San                                    City and County of San
Breed    Francisco       Supply Bank                      Francisco                     $7,216
         City and
London   County of San                                    City and County of San
Breed    Francisco       PCS                              Francisco                     $6,966
         City and
London   County of San                                    City and County of San
Breed    Francisco       Supply Bank                      Francisco                     $6,512
         City and
London   County of San                                    City and County of San
Breed    Francisco       Chung Yan Lo                     Francisco                     $6,500




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         City and
London   County of San                                   City and County of San
Breed    Francisco       Vietnam Consulate General       Francisco                     $6,385
         City and
London   County of San                                   City and County of San
Breed    Francisco       Supply Bank                     Francisco                     $6,160
         City and
London   County of San                                   City and County of San
Breed    Francisco       Bella + Canvas                  Francisco                     $6,130
         City and
London   County of San                                   City and County of San
Breed    Francisco       Veritas Investments             Francisco                     $6,066
         City and
London   County of San                                   City and County of San
Breed    Francisco       Veritas Investments             Francisco                     $6,066
         City and
London   County of San                                   City and County of San
Breed    Francisco       Mary Franklin                   Francisco                     $6,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Sahil Shah                      Francisco                     $6,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Supply Bank                     Francisco                     $5,984
         City and
London   County of San                                   City and County of San
Breed    Francisco       Dolby Laboratories              Francisco                     $5,888
         City and
London   County of San                                   City and County of San
Breed    Francisco       Garima Jajoo                    Francisco                     $5,000
         City and
London   County of San   Navin Iyengar and Nichiketa     City and County of San
Breed    Francisco       Choudhary                       Francisco                     $5,000
         City and
London   County of San                                   City and County of San
Breed    Francisco       Formagrid Inc. dba Airtable     Francisco                     $5,000
         City and
London   County of San                                   San Francisco Public
Breed    Francisco       Warner Media, LLC               Health Foundation             $5,000
         City and
London   County of San
Breed    Francisco       Dropbox, Inc.                   Collective Impact             $5,000
         City and
London   County of San   Bigote de Gato Arts and Music   City and County of San
Breed    Francisco       Inc.                            Francisco                     $5,000




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         City and
London   County of San                                    City and County of San
Breed    Francisco       David Bloom                      Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       James Kilgore                    Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       The Miners                       Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Amanda Schapel                   Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Lifschultz-Stiepleman Family     Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       The Bushichols Fund              Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Tailor's Keep                    Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Lendlease Development            Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Kristine Boyden & Scott Taylor   Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Will and Julie Parish            Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Brittany Marquez                 Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Corey Block                      Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Excel Plumbing Supply            Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Jason Maynard                    Francisco                     $5,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Jeffrey Tumlin                   Francisco                     $5,000




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         City and
London   County of San                              City and County of San
Breed    Francisco       Jennifer Braun             Francisco                     $5,000
         City and
London   County of San   Jessie Cheng Charitable    City and County of San
Breed    Francisco       Foundation                 Francisco                     $5,000
         City and
London   County of San                              City and County of San
Breed    Francisco       Jewish Communal Fund       Francisco                     $5,000
         City and
London   County of San                              City and County of San
Breed    Francisco       John W. Glynn              Francisco                     $5,000
         City and
London   County of San                              City and County of San
Breed    Francisco       Justin Wyckoff             Francisco                     $5,000
         City and
London   County of San                              City and County of San
Breed    Francisco       Kristine Boyden            Francisco                     $5,000
         City and
London   County of San                              City and County of San
Breed    Francisco       Meridee Moore              Francisco                     $5,000
         City and
London   County of San   The Lippman Family         City and County of San
Breed    Francisco       Philanthropic Ventures     Francisco                     $5,000
         City and
London   County of San                              San Francisco
Breed    Francisco       Friedman/Meyer Fund        Foundation                    $5,000
         City and
London   County of San                              San Francisco
Breed    Francisco       Violet World Foundation    Foundation                    $5,000
         City and
London   County of San                              San Francisco Special
Breed    Francisco       Suffolk Construction Co.   Events Committee              $5,000
         City and
London   County of San
Breed    Francisco       Google                     Collective Impact             $5,000
         City and
London   County of San   Silicon Valley Community   San Francisco Special
Breed    Francisco       Foundation                 Events Committee              $5,000
         City and
London   County of San                              San Francisco Special
Breed    Francisco       360 Total Concept LLC      Events Committee              $5,000
         City and
London   County of San                              San Francisco Special
Breed    Francisco       Emerald Fund, Inc.         Events Committee              $5,000




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         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Sunquest Properties              Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       SF Firefighters Local 798        Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       The Bay Area Council             Events Committee             $5,000
         City and
London   County of San   Janet and Clint Reilly Family    San Francisco Special
Breed    Francisco       Foundation                       Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       SF Baseball Associates, LLC      Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Marina Securities                Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Victor Makras                    Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Recology                         Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Cotchett, Pitre & McCarthy       Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       KR Flower Mart, LLC              Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Thomas C. Escher                 Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       SF Police Officers Association   Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Stephenson Foundation            Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Webcor Construction LP           Events Committee             $5,000
         City and
London   County of San                                    San Francisco Special
Breed    Francisco       Presidio Bay Ventures            Events Committee             $5,000




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         City and
London   County of San                                     San Francisco Special
Breed    Francisco       Gussie's Southern Table and Bar   Events Committee              $4,491
         City and
London   County of San                                     City and County of San
Breed    Francisco       Global Office                     Francisco                     $4,250
         City and
London   County of San                                     City and County of San
Breed    Francisco       Facebook                          Francisco                     $4,226
         City and
London   County of San   Industrial and Commercial Bank    City and County of San
Breed    Francisco       of China (USA)                    Francisco                     $4,000
         City and
London   County of San                                     City and County of San
Breed    Francisco       Dickinson Corporation             Francisco                     $4,000
         City and
London   County of San   Consulate General of the          City and County of San
Breed    Francisco       People's Republic of China        Francisco                     $3,831
         City and
London   County of San   Consulate General of the          City and County of San
Breed    Francisco       People's Republic of China        Francisco                     $3,831
         City and
London   County of San                                     City and County of San
Breed    Francisco       GIC Real Estate, Inc.             Francisco                     $3,796
         City and
London   County of San                                     City and County of San
Breed    Francisco       Timbuk2; NBC                      Francisco                     $3,296
         City and
London   County of San                                     City and County of San
Breed    Francisco       Westpoint Home                    Francisco                     $3,193
         City and
London   County of San                                     City and County of San
Breed    Francisco       Westpoint Home                    Francisco                     $3,193
         City and
London   County of San                                     City and County of San
Breed    Francisco       Flexport LLC                      Francisco                     $3,075
         City and
London   County of San                                     City and County of San
Breed    Francisco       Elite Supply Source               Francisco                     $3,046
         City and
London   County of San                                     San Francisco Special
Breed    Francisco       Drew Altizer Photography          Events Committee              $3,040
         City and
London   County of San                                     City and County of San
Breed    Francisco       Supply Bank                       Francisco                     $2,904




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         City and
London   County of San                                    City and County of San
Breed    Francisco       Veritas Investments              Francisco                     $2,800
         City and
London   County of San                                    City and County of San
Breed    Francisco       Veritas Investments              Francisco                     $2,800
         City and
London   County of San   The Benevity Community Impact    San Francisco
Breed    Francisco       Fund                             Foundation                    $2,700
         City and
London   County of San                                    City and County of San
Breed    Francisco       Veritas Investments              Francisco                     $2,500
         City and
London   County of San                                    City and County of San
Breed    Francisco       New Taipei City                  Francisco                     $2,414
         City and
London   County of San                                    City and County of San
Breed    Francisco       Timbuk2; NBC                     Francisco                     $2,299
         City and
London   County of San   Industrial and Commercial Bank   City and County of San
Breed    Francisco       of China (USA)                   Francisco                     $2,016
         City and
London   County of San                                    City and County of San
Breed    Francisco       PCS                              Francisco                     $2,000
         City and
London   County of San                                    City and County of San
Breed    Francisco       Amour Vert                       Francisco                     $1,724
         City and
London   County of San                                    City and County of San
Breed    Francisco       Veritas Investments              Francisco                     $1,560
         City and
London   County of San                                    City and County of San
Breed    Francisco       New Taipei City                  Francisco                     $1,313
         City and
London   County of San                                    City and County of San
Breed    Francisco       Facebook                         Francisco                     $1,280
         City and
London   County of San                                    City and County of San
Breed    Francisco       Facebook                         Francisco                     $1,280
         City and
London   County of San                                    City and County of San
Breed    Francisco       Cotton the First Shirtmaker      Francisco                     $1,200
         City and
London   County of San                                    City and County of San
Breed    Francisco       PCS                              Francisco                     $1,000




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             City and
 London      County of San                                       San Francisco Special
 Breed       Francisco         David Perry & Associates (DP&A)   Events Committee                  $1,000
             City and
 London      County of San                                       San Francisco Special
 Breed       Francisco         Sheridon Keith Design             Events Committee                    $750
             City and
 London      County of San     Industrial and Commercial Bank    City and County of San
 Breed       Francisco         of China (USA)                    Francisco                           $516
             City and
 London      County of San                                       City and County of San
 Breed       Francisco         New Taipei City                   Francisco                           $506
             City and
 London      County of San                                       City and County of San
 Breed       Francisco         Onfleet                           Francisco                           $500
             City and
 London      County of San                                       City and County of San
 Breed       Francisco         Timbuk2                           Francisco                           $411
             City and
 London      County of San                                       City and County of San
 Breed       Francisco         New Taipei City                   Francisco                           $230
             City and
 London      County of San                                       San Francisco Special
 Breed       Francisco         SFMTA Civic Center Garage         Events Committee                    $171
             City and
 London      County of San                                       City and County of San
 Breed       Francisco         Comcast                           Francisco                            $63


Kevin Faulconer
 Official     Jurisdiction   Payor Name                              Payee Name                Amount
 Kevin        City of San    Sara Josephine Jacobs Fund of the       California Coast Cares
 Faulconer    Diego          Jewish Community Foundation             Foundation                $100,000
                                                                     The San Diego Arts +
 Kevin        City of San    The San Diego Foundation Arts +         Culture Challenge
 Faulconer    Diego          Culture Fund                            Fund                      $100,000
                                                                     The San Diego Arts +
 Kevin        City of San    The San Diego Foundation Creative       Culture Challenge
 Faulconer    Diego          Catalyst Program Funds                  Fund                      $100,000
 Kevin        City of San                                            California Coast Cares
 Faulconer    Diego          GoFundMe                                Foundation                $100,000
 Kevin        City of San                                            California Coast Cares
 Faulconer    Diego          California Coast Credit Union           Foundation                $100,000
                                                                     The San Diego Arts +
 Kevin        City of San                                            Culture Challenge
 Faulconer    Diego          The Parker Foundation                   Fund                      $75,000



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                                                              San Diego
Kevin       City of San                                       Convention Center/
Faulconer   Diego         Lucky Duck Foundation               City of San Diego         $52,500
Kevin       City of San                                       San Diego
Faulconer   Diego         One Mask                            Convention Center         $50,000
                                                              The San Diego Arts +
Kevin       City of San                                       Culture Challenge
Faulconer   Diego         Clare Rose Foundation               Fund                      $50,000
Kevin       City of San                                       California Coast Cares
Faulconer   Diego         Union Bank                          Foundation                $50,000
Kevin       City of San                                       California Coast Cares
Faulconer   Diego         The Weil Family Foundation          Foundation                $50,000
Kevin       City of San                                       California Coast Cares
Faulconer   Diego         B Quest Foundation                  Foundation                $50,000
Kevin       City of San                                       California Coast Cares
Faulconer   Diego         Endeavor Forever Foundation         Foundation                $50,000
Kevin       City of San   California Governor's Office of     San Diego Police
Faulconer   Diego         Emergency Service                   Department                $42,450
                                                              The San Diego Arts +
Kevin       City of San                                       Culture Challenge
Faulconer   Diego         The San Diego Foundation            Fund                      $40,000
Kevin       City of San                                       San Diego
Faulconer   Diego         One Mask                            Convention Center         $25,000
                                                              San Diego Artist
Kevin       City of San   SDGE Covid Relief Fund at the San   Relief Fund - Pacific
Faulconer   Diego         Diego Foundation                    Arts Movement             $25,000
Kevin       City of San
Faulconer   Diego         AT&T                                One San Diego             $25,000
Kevin       City of San                                       California Coast Cares
Faulconer   Diego         Carleton Management, Inc.           Foundation                $25,000
Kevin       City of San                                       San Diego Fire
Faulconer   Diego         Knockaround LLC                     Department                $24,950
Kevin       City of San                                       San Diego
Faulconer   Diego         IKEA USA                            Convention Center         $24,270
Kevin       City of San                                       San Diego
Faulconer   Diego         Deloitte                            Grantmakers               $24,000
Kevin       City of San
Faulconer   Diego         Walmart, Inc.                       One San Diego             $15,000
Kevin       City of San                                       San Diego
Faulconer   Diego         COSTCO Regional Office              Convention Center         $14,000
Kevin       City of San                                       San Diego Police
Faulconer   Diego         Gary Sinise Foundation              Department                $13,780
                                                              San Diego
Kevin       City of San   California Governor's Office of     Convention Center/
Faulconer   Diego         Emergency Service                   City of San Diego         $11,760
Kevin       City of San                                       San Diego
Faulconer   Diego         Bank of America                     Convention Center         $10,000

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Kevin       City of San
Faulconer   Diego         San Diego Association of Realtors      One San Diego             $10,000
Kevin       City of San                                          San Diego
Faulconer   Diego         Mary Help of Christians Center         Convention Center         $10,000
                          Fredericks Family Charitable Fund at   The San Diego Arts +
Kevin       City of San   the Jewish Community Foundation of     Culture Challenge
Faulconer   Diego         San Diego                              Fund                      $10,000
Kevin       City of San                                          California Coast Cares
Faulconer   Diego         Vanguard Charitable                    Foundation                $10,000
Kevin       City of San
Faulconer   Diego         Westfield Property                     One San Diego             $10,000
                                                                 The San Diego Arts +
Kevin       City of San                                          Culture Challenge
Faulconer   Diego         Judith E. McDonald                     Fund                      $9,938
Kevin       City of San                                          San Diego
Faulconer   Diego         Coastal Health USA                     Convention Center         $8,819
                                                                 City of San Diego/ San
Kevin       City of San                                          Diego Convention
Faulconer   Diego         RPP Products, Inc.                     Center                    $8,608
                                                                 The San Diego Arts +
Kevin       City of San                                          Culture Challenge
Faulconer   Diego         Tom Lookabaugh                         Fund                      $8,000
Kevin       City of San   ADVANTEC Consulting Engineers - Leo
Faulconer   Diego         Lee                                    City of San Diego         $7,822
Kevin       City of San                                          San Diego
Faulconer   Diego         County of San Diego                    Convention Center         $7,544
                                                                 The San Diego Arts +
Kevin       City of San                                          Culture Challenge
Faulconer   Diego         Lynn Fayman Fund for Dance             Fund                      $7,500
Kevin       City of San                                          San Diego Police
Faulconer   Diego         COSTCO Regional Office                 Department                $7,000
                                                                 San Diego Artist
Kevin       City of San                                          Relief Fund - Pacific
Faulconer   Diego         Jill Hall                              Arts Movement             $6,000
Kevin       City of San                                          San Diego
Faulconer   Diego         American Medical Response              Convention Center         $5,997
Kevin       City of San                                          California Coast Cares
Faulconer   Diego         Sweep, Inc.                            Foundation                $5,500
Kevin       City of San                                          San Diego Fire
Faulconer   Diego         Costco - San Diego Regional Office     Department                $5,178
                                                                 San Diego
Kevin       City of San                                          Convention Center/
Faulconer   Diego         Helen Woodward Animal Center           City of San Diego         $5,174
                                                                 San Diego Artist
Kevin       City of San                                          Relief Fund - Pacific
Faulconer   Diego         Jason Mraz Foundation                  Arts Movement             $5,000


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 Kevin        City of San
 Faulconer    Diego         Sycuan                               One San Diego            $5,000
                                                                 The San Diego Arts +
 Kevin        City of San                                        Culture Challenge
 Faulconer    Diego         Schwab Charitable Fund               Fund                     $5,000
                                                                 The San Diego Arts +
 Kevin        City of San   Phyllis Epstein Non-Endowment Fund   Culture Challenge
 Faulconer    Diego         at the San Diego Foundation          Fund                     $5,000
 Kevin        City of San
 Faulconer    Diego         Deason Foundation                    One San Diego            $5,000
 Kevin        City of San
 Faulconer    Diego         Lennar Homes                         One San Diego            $5,000
 Kevin        City of San
 Faulconer    Diego         Vulcan Materials Company             One San Diego            $5,000
 Kevin        City of San
 Faulconer    Diego         Sudberry Family Trust                One San Diego            $5,000
 Kevin        City of San
 Faulconer    Diego         Manchester Grand Hyatt               One San Diego            $5,000
 Kevin        City of San
 Faulconer    Diego         The Seidler Company                  One San Diego            $5,000
 Kevin        City of San                                        San Diego Fire
 Faulconer    Diego         American Medical Response            Department               $4,621
 Kevin        City of San                                        San Diego Fire
 Faulconer    Diego         Home Depot                           Department               $4,570
 Kevin        City of San                                        San Diego
 Faulconer    Diego         Home Depot                           Convention Center        $3,597
 Kevin        City of San
 Faulconer    Diego         GAFCON                               One San Diego            $3,000
                                                                 San Diego
 Kevin        City of San   California Governor's Office of      Convention Center/
 Faulconer    Diego         Emergency Service                    City of San Diego        $2,712
 Kevin        City of San
 Faulconer    Diego         California Coast Credit Union        One San Diego            $2,500
 Kevin        City of San                                        San Diego Police
 Faulconer    Diego         Home Depot                           Department               $2,394
                                                                 San Diego Artist
 Kevin        City of San   Sara Josephine Jacobs Fund of the    Relief Fund - Pacific
 Faulconer    Diego         Jewish Community Foundation          Arts Movement            $1,000
 Kevin        City of San
 Faulconer    Diego         Lennar Homes                         One San Diego            $1,000
 Kevin        City of San                                        San Diego
 Faulconer    Diego         County of San Diego                  Convention Center        $344


Michael Feuer
 Official    Jurisdiction   Payor Name      Payee Name                                    Amount



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Michael   City of Los   Michael and     Los Angeles Housing + Community Investment
Feuer     Angeles       Corky Stoller   Department                                    $250,000
Michael   City of Los   Michael and
Feuer     Angeles       Corky Stoller   LA Family Housing                             $250,000
Michael   City of Los   Davis Polk &    Prosecutors Against Gun Violence c/o
Feuer     Angeles       Wardwell LLP    Association of Prosecuting Attorneys          $140,628
Michael   City of Los   Covington &
Feuer     Angeles       Burling, LLP    Los Angeles City Attorney's Office            $12,898
Michael   City of Los   Covington &
Feuer     Angeles       Burling, LLP    Los Angeles City Attorney's Office            $10,068
Michael   City of Los   Nancy and
Feuer     Angeles       Alton Wright    Labor Community Services                      $10,000
Michael   City of Los   Covington &
Feuer     Angeles       Burling, LLP    Los Angeles City Attorney's Office            $8,102
Michael   City of Los   Covington &
Feuer     Angeles       Burling, LLP    Los Angeles City Attorney's Office            $8,049
Michael   City of Los   Covington &
Feuer     Angeles       Burling, LLP    Los Angeles City Attorney's Office            $7,529
Michael   City of Los   Covington &
Feuer     Angeles       Burling, LLP    Los Angeles City Attorney's Office            $5,126
Michael   City of Los   Covington &
Feuer     Angeles       Burling, LLP    Los Angeles City Attorney's Office            $4,231
Michael   City of Los   Covington &
Feuer     Angeles       Burling, LLP    Los Angeles City Attorney's Office            $3,148
Michael   City of Los   Covington &
Feuer     Angeles       Burling, LLP    Los Angeles City Attorney's Office            $1,860
Michael   City of Los   Covington &
Feuer     Angeles       Burling, LLP    Los Angeles City Attorney's Office            $1,563
Michael   City of Los   Covington &
Feuer     Angeles       Burling, LLP    Los Angeles City Attorney's Office            $1,086
Michael   City of Los   Covington &
Feuer     Angeles       Burling, LLP    Los Angeles City Attorney's Office            $134




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                      Public Integrity Review
                                   Preliminary Assessment:
     Gifts to Departments Through Non-City
   Organizations Lack Transparency and Create
                "Pay-to-Play" Risk

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                                       CITY & COUNTY OF SAN FRANCISCO
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                                       Office of the Controller


                                                                                                   September 24, 2020
                                                                                                                 App. B_192
FOIA Confidential Treatment Requested                                                                     REC-DOJ-0463644
                                                                                                               REC-DOJ-0463644
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    Assessment Summary
    This preliminary assessment report summarizes gifts and support benefitting city
    departments from city contractors and building permit applicants and holders
    through non -city organizations, including Friends oforganizations, and focuses
    on San Francisco Parks Alliance (the Parks Alliance), a nonprofit organization, and its
    relationship with San Francisco Public Works (Public Works), a city department. This
    assessment is the second in the series, is offered for public comment and review,
    and may be revised in the future as our work continues. Additional reviews of other
    internal control processes will be released as our Public Integrity Review progresses.

        • Inappropriate fundraising and directed spending. Mohammed Nuru and
          others would direct staff to procure goods and services for staff appreciation,
          volunteer programs, merchandise, community support, and events from
          specific vendors, circumventing city purchasing controls. These purchases
          would then be reimbursed through Public Works subaccounts held by the
          Parks Alliance, a non-city organization, again outside of city purchasing rules.
          Mr. Nuru solicited funds for these purchases from interested parties, including
          businesses that had contracts with the department or city building permits.
          The gifts, which were not accepted or disclosed by the City, create a perceived
          "pay-to-play" relationship.
                                                                                                       App. B_193
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463645
                                                                                                     REC-DOJ-0463644
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    Assessment Summary (continued)
    This assessment offers recommendations to reduce these risks:

       • The City should prohibit non-elected department heads and employees
         from soliciting donations from those they regulate or do business with
         ("interested parties"), unless specifically authorized by the Board of
         Supervisors. Given the reliance of some functions on philanthropy, such as for
         the City's museums and parks, exceptions to this prohibition would be
         narrowly approved by the Board to permit fundraising by specific employees
         for specific public purposes. Authorized fundraising should be publicly
         reported using existing procedures that apply to elected officials but do not
         currently apply to other city officers and employees.

       • The City needs to improve compliance with restrictions on and reporting
         requirements for acceptance of gifts from outside sources. The City has
         laws requiring acceptance and reporting of gifts for public purposes, but
         adherence to these laws is not uniform. Policies and procedures should be
         reviewed and strengthened, including establishment of clearer procedures and
         definitions, improved public reporting and transparency, and periodic auditing
         of these processes.
                                                                                                       App. B_194
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463646
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    Assessment Summary (continued)
        • Donors of all gifts accepted by the City should be disclosed, and
          consistent with existing law, anonymous donations should be prohibited.
          To avoid the real and perceived risk of facilitating ''pay-to-play" relationships,
          any donations that will be used to benefit a city department or city employees
          should be publicly reported in a manner that permits public transparency. By
          accepting anonymous donations, which are prohibited by the City's Sunshine
          Ordinance, the City runs the risk of taking payments from donors with financial
          interest.

       • The City should amend practices and procedures to reduce the incentive
         to use outside gifts to support staff appreciation. Although our review
         found instances of gifts received being spent through seemingly inappropriate
         processes, they appeared to generally be for legitimate public purposes,
         including staff appreciation and celebration of team accomplishments. The City
         could reduce risks arising from use of gifts for staff appreciation by more
         clearly defining the permissible uses of public funds for these purposes,
         removing administrative barriers that make such uses impractical, and
         appropriating funds for these purposes.

                                                                                                       App. B_195
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463647
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     Background on the Public Integrity Investigation
    The City Attorney's Office (City Attorney) is leading the investigation into alleged
    wrongdoing by city employees outlined in criminal charges brought by the U.S.
    Attorney's Office against Mohammed Nuru, former director of Public Works; Nick
    Bovis, owner of Lefty's Grill and Buffet at Fisherman's Wharf and other restaurants;
    Sandra Zuniga, former director of the Mayor-'s Office of Neighborhood Services;
    Florence Kong, former member of the Immigrant Rights Commission; Balmore
    Hernandez, chief executive of engineering firm AzulWorks, Inc., a company with large
    city contracts; and Wing Lok "Walter" Wong, permit expediter and owner of numerous
    entities that do business with the City.

    Mr. Bovis and Mr. Wong have pied guilty to schemes to defraud the City using bribery
    and kickbacks. Mr. Wong admitted to conspiring with Mr. Nuru and other unnamed
    city officials since 2004. Both are now cooperating with the ongoing federal
    investigation.

    The City Attorney has focused its investigation on misconduct by current and former
    city employees and any remedies for specific decisions or contracts tainted by conflicts
    of interest or other legal or policy violations. On July 14, 2020, the City Attorney
    moved to debar AzulWorks, Inc., from contracting with the City for five years - the
    maximum duration allowed under the law.
                                                                                                       App. B_196
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463648
                                                                                                     REC-OOJ-0463644
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    The Criminal Complaint Against Nuru and Bovis

    The FBI affidavit in support of the criminal complaint alleges that Mr. Nuru and
    Mr. Bovis tried to bribe a member of the San Francisco Airport Commission in
    exchange for assistance in obtaining a city lease at San Francisco International
    Airport for a company of Mr. Bovis. The complaint details the relationship
    between Mr. Nuru and Mr. Bovis, including a recorded conversation in which they
    discussed a voucher deal that allowed Public Works employees to receive free
    meals from one of Mr. Bovis's restaurants, the cost of which was then
     reimbursed to Mr. Bovis's company with Public Works funds.*

    Further, according to the complaint, in another recorded conversation Mr. Bovis
    stated that, in exchange for Mr. Nuru's assistance in steering one or more city
    contracts to Mr. Bovis, Mr. Bovis (or others at his direction, presumably) would
    make donations to nonprofit organizations of a city official's choice.




    * It appears that these reimbursements were made t hrough the   Friends of account's subaccounts associated with Public
    Works held by the Parks Alliance.

                                                                                                                         App. B_197
FOIA Confidential Treatment Requested                                                                         REC-DOJ-0463649
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     Non-City Organizations
    Some nonprofit or third-party (non-city) organizations provide financial and/or
    programmatic support to a city department or group of departments to improve
    delivery of government services, meet philanthropic goals, support the training and
    development of city employees, or provide other support services to the
    department(s).

    On February 7, 2020, the Controller requested all 56 city departments to provide
    information about accounts for non-city organizations supporting them.
    Departments responded, and based on the responses received :
       • 33 departments report non-city organizations with 588 accounts or
          subaccounts associated with them.
       • 23 departments report no non-city organizations associated with them.

    The 588 reported accounts or subaccounts for non-city organizations associated
    with one or more city departments include fiscal agents, fiscal sponsors, trustee or
    agent accounts, contracts, grants, foundations, funds, friends of organizations, and
    others. Many of these accounts are not actually with non-city organizations because
    they are subject to city processes, are reported in the financial system, and do not
    receive gifts that are ultimately spent on the City.
                                                                                                       App. B_198
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463650
                                                                                                     REC-DOJ-0463644
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     Friends of Organizations

    Friends of organizations are generally distinguished by the fact that they are
    intended to financially support the department with which they are associated
    and charitable donations are their primary revenue source, and thus are spent on
    the City. For example, the description of one Friends of organization states it was
    created upon, "realizing that the city budget had no discretionary funds for
    training, education, special projects and small programs ..."

    The next section focuses on Friends of organizations identified through the
    Controller's survey. Recommendations determined by this analysis of Friends
    oforganizations should be applied to non-city organizations that operate in
    a comparable manner.




                                                                                                       App. B_199
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463651
                                                                                                     REC-DOJ-0463644
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     Friends of Organizations Reported by Departments
    Listed below are Friends of organizations and their reported use, the amount of city
    funding received, and whether donors are publicly reported
                                                                                                                   City Funding
                                   Department            Donors
             Friends of                                                                                             Received1
                                       or                Publicly            Reported Purpose & Use
           Organization                                                                                          July 1, 2015, Through
                                   Commission           Reported?
                                                                                                                     June 30, 2020
     San Francisco                 Airport                 No         Preserve and share history of                    $50,000
     Aeronautical                                                     commercial aviation to enrich the
     Society                                                          public experience at the Airport
     Friends of Animal             Animal Care &           No         Support department programs and                   none
     Care & Control                Control                            services
     Friends of the                Arts                   Yes2        Support restoration of civic art                  none
     Arts Commission               Commission                         collection and arts education
                                                                      initiatives, host annual awards events
     Friends of SF                 Environment     I       No         Staff development and training,                   none
     Environment                                                      community engagement events
     Friends of the Film           Film            I       No         Support Film SF to increase and                   none
     Commission                    Commission                         facilitate opportunities for production
     Friends of City               Planning        I       No         Various projects                                  none
     Planning                  I                   II




     1
         City funding may not be directly for or associated with role as a Friends of organization.
     2
         Anonymous donors reported, sometimes as funds or matching gifts.                                      Continued on next page.
                                                                                                                                App. B_200
FOIA Confidential Treatment Requested                                                                               REC-DOJ-0463652
                                                                                                                         REC-DOJ-0463644
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     Friends of Organizations Reported by Departments                                                                  (continued)
                                                                                                                   City Funding
                                 Department            Donors                                                                1
             Friends of                                                                                             Received
                                     or                Publicly             Reported Purpose & Use
           Organization                                                                                          July 1. 2015, Through
                                 Commission           Reported?
                                                                                                                     June 30, 2020
          onas ot the Po        Port                     Yes'/_      Promote civic events on San                        none
                                                                     Francisco Bay waterfront
     San Francisco Public Public Health                   No         Support administrative and support             $9.7 million
     Health Foundation                                               services for various programs
     San Francisco                                       Yes2        Support initiatives including research,          $485,381
     General Hospital                                                education, and care
     Foundation
                                                 I
     Friends of Laguna                           I
                                                          No         Support programs that sparkjoy and                 none
     Honda                                                           connection to the community and
                                                                     engage residents' interests
     Friends of the SF          Public Library           Yes2        Support department programs and                  $109,000
     Public Library
     Friends of the Cable        SFMTA
                                               -~         No
                                                                     services
                                                                     Preserve cable car history                         none
     Car Museum
                                                 ..
     Friends of the Urban SFPUC                          Yes2        Support programs that plant and                $7.6 million
     Forest                                                          care for the City's ideal urban forest
     1
         City funding may not be directly for or associated with role as a Friends of organization.
     2
         Anonymous donors reported, sometimes as funds or matching gifts.                                     Continued on next page.

                                                                                                                                 App. B_201
FOIA Confidential Treatment Requested                                                                                REC-DOJ-0463653
                                                                                                                          REC-DOJ-0463644
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     Friends of Organizations Reported by Departments                                                          (continued)
                                                                                                            City Funding
                              Department          Donors
         Friends of                                                                                          Received1
                                  or              Publicly              Reported Purpose & Use
        Organization                                                                                      July 1, 2015, Through
                              Commission         Reported?
                                                                                                              June 30, 2020
     San Francisco Parks     Public Works            Yes2        Support department projects and             $11.9 million
     Alliance                                                    programs, including community
                             Recreation              Yes 2       events, recreation programs, and staff
                             and Park                            appreciation programs
     Randall Museum          Recreation               No         Support Randall Museum                        $111,075
     Friends                 and Park
     Friends of Camp                                  No         Promote, enhance, protect, and                $23,282
     Mather                                                      support aspects of Camp Mather

     Friends of Sharon                                No         Promote artistic development, crafts-           none
     Arts Studio                                                 manship, and creative expression
                         -
     Friends of the          Status of                No         Support programs that ensure equal             $11,525
     Commission on the       Women                               treatment of women and girls
     Status of Women
     San Francisco           War Memorial             No         Contribute to and assist in the               $197,694
     Performing Arts                                             operation, maintenance, and
     Center Foundation                                           rehabilitation of War Memorial and
                                                                 Performing Arts Center buildings
                 -   -                    - --
         funding may not be directly for or associated with role as a Friends of organization.
    1 City
    2
      Anonymous donors reported, sometimes as funds or matching gifts.
                                                                                                                          App. B_202
FOIA Confidential Treatment Requested                                                                       REC-DOJ-0463654
                                                                                                                 REC-DOJ-0463644
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    Anonymous Donations
    If funds will be spent for city purposes, non-city organizations that either do not publicly
    report donations or do so but allow anonymous donations violate the disclosure
    requirement of the City's Sunshine Ordinance and prevent the detection of any financial
    interest anonymous donors may have with the City. By accepting anonymous donations, the
    City runs the risk of receiving payments from those it regulates, which is prohibited by the
    Sunshine Ordinance.

    The Sunshine Ordinance, Section 67.29-6, states that no official or employee or agent of
                                                                      11




    the City shall accept, allow to be collected, or direct or influence the spending of, any
    money, or any goods or services worth more than one hundred dollars in aggregate, for the
    purpose of carrying out or assisting any City function unless the amount and source of all
                                   11
    such funds is disclosed .. . City departments must disclose donor names and whether the
    donor has a financial interest with the City. According to the City Attorney, a financial
    interest is any contract, grant, lease, or request for license, permit, or other entitlement with
    or pending before the City. Changes to this section of the Sunshine Ordinance require voter
    approval.

    Preliminary Finding

    If non-city organizations receive donations that will be used to benefit the City, they must
    comply with the donation disclosure requirements of the City's Sunshine Ordinance. Further,
    the Sunshine Ordinance should define "financial interest."
                                                                                                       App. B_203
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463655
                                                                                                     REC-OOJ-0463644
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    Public Works and the Parks Alliance

    The next section focuses on the Parks Alliance subaccounts for Public Works.
    Although 33 city departments report having relationships with non-city
    organizations, we focus here on the relationship between Public Works and the
    Parks Alliance because of the criminal investigation of Mohammed Nuru, who, as
    the former Public Works director, allegedly solicited donations from private
    companies or individuals, directed these donations to the Parks Alliance
    subaccounts for Public Works, and influenced procurement decisions from those
    subaccounts.

    The Parks Alliance states it did not know that its fiscal agency was being used
    unscrupulously by city officials. The Parks Alliance also states that it did not profit
    from the relationship with Public Works and had reached out to Mr. Nuru in 2019
    to formalize its relationship with the department through a memorandum of
    understanding, though this effort was ignored.




                                                                                                       App. B_204
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463656
                                                                                                     REC-DOJ-0463644
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    The Parks Alliance
    The Parks Alliance is a 501(c)(3) nonprofit organization that works with or serves as a
    fiscal sponsor for 200 groups and city agencies, allowing them to seek grants and
    solicit tax-deductible donations under its tax-exempt status. In addition to Public
    Works, the Parks Alliance partners with the Office of the City Administrator, Office of
    Economic and Workforce Development, Office of the Mayor, Port of San Francisco,
    Recreation and Park Department, and San Francisco Planning (the Planning
    Department) to support citywide open space and park infrastructure.

    According to its website and annual reports, the Parks Alliance addresses issues
    affecting not just parks, but also public spaces such as plazas, parklets, staircases,
    medians, and alleys. In 2018 it worked with its partners to complete over 20 park
    projects, engage over 100,000 residents in park programming, and help raise over
    $20 million for essential capital projects. In 2019 it brought thousands of people
    together for sing-alongs at movies in parks, transformed abandoned alleys into
    welcoming pedestrian thoroughfares, and built over 20 miles of park trails.

    The Parks Alliance regularly posts its annual report and audit reports on its website.
    According to its 2019 audit report, the Parks Alliance received grants and
    contributions of $18.9 million and spent $17.7 million.
                                                                                                       App. B_205
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463657
                                                                                                     REC-OOJ-0463644
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    The Public Works Subaccounts at the Parks Alliance
    Operate Like a City Account Without City Oversight
     Preliminary Finding

    The Public Works subaccounts at the Parks Alliance operate like a city account in
    that invoices were directed and approved by Public Works employees and tracked
    by both Public Works and the Parks Alliance, although all outside of the City's
    procurement and financial system. Because the subaccounts operate outside of
    the City's purview, they are not subject to the same review and controls that
    would otherwise occu r to comply with the City's accounting and procurement
    policies and procedures.

    This arrangement created the opportunity for unethical steering of purchases to
    occur. According to Public Works staff, Mr. Nuru directed some of the purchases
    made from the account. According to Public Works, this direction, consistent with
    the tone at the top when Mr. Nuru was the director, and the fact that other
    departments have accounts with non-city organizations that are not regulated,
    caused staff not to question the way the Public Works subaccounts at the Parks
    Alliance functioned.
                                                                                                       App. B_206
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463658
                                                                                                     REC-DOJ-0463644
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    Differences in Controls Over Friends of Organizations
    Contrary to the lack of controls over the Publ ic Works subaccounts at the Parks
    Alliance, the Parks Al liance, in its relationship with Recreation and Park, and the
    Friends of t he San Fra ncisco Public Library, whose mission is to strengthen, support
    and advocate for a premier public library system, have policies, processes, and
    reporting requ irements that give the City and t he public a view into t he accounts
    and promote confidence that their expenditures will be legitimate.

                                                                                                 Friends of the San
                                                     San Francisco Parks Alliance
          Policy, Process, or Reporting                                                   1
                                                                                              Francisco Public Library
         Requirement Involving the City                                    Recreation
                                                    Public Works                                   Public Library
                                                                       ~
                                                                            and Park
     Memorandum of Understanding
                                                           No                 Yes*                      Yes
     Defining Its Relationship With City
     Gift Reporting to Board of Supervisors,
     Including Formal Process for Accept                   No                 Yes                       Yes
     and Expend
     Existing Agreement to Comply With
     San Francisco Sunshine Ordinance,                     No                  No                       Yes
     Section 67.29-6
     * Recreation and Park and the Parks Alliance set up memorandums of understanding for individual projects.

                                                                                                                     App. B_207
FOIA Confidential Treatment Requested                                                                         REC-DOJ-0463659
                                                                                                                   REC-DOJ-0463644
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     Friends of the San Francisco Public Library
    All non-city organizations should comply with the Sunshine Ordinance, Section
    67.29-6, which states that if the funds are provided or managed by an entity, not
    an individual, that entity must agree in writing to abide by the ordinance. As
    shown on the preceding slide, the Public Library has a memorandum of
    understanding with the Friends of the San Francisco Public Library that defines
    the organization's roles and allowable practices, contains an audit clause, and
    establishes requirements for it to adhere to the City's Administrative Code with
    respect to the acceptance of gifts. Consistent with this agreement, the Public
    Library:

        • Annually accepts and expends funds as part of its budget process to obtain
          the Board of Supervisors' approval for cash or in -kind goods or services
          worth over $100,000 from Friends of the San Francisco Public Library for
          direct support of the department's programs and services in the upcoming
          fiscal year (Administrative Code, Sec. 10.100-87, Library Gift Fund).

        • Discloses all gifts over $100 on its website and, since fiscal year 2019-20,
          discloses donors with active contracts (Sunshine Ordinance, Sec. 67.29-6).

                                                                                                       App. B_208
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463660
                                                                                                     REC-OOJ-0463644
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     Legal Requirements for Gifts to the City
    City departments may have special funds with authorized sources and uses in
    Administrative Code Sec. 10.100 that they can use to accept and expend gifts.
    Regardless of the fund to which gifts are directed, all departments must comply
    with the following reporting and disclosure requirements.

    The Administrative Code, Section 10.100-305 (San Francisco Gift Funds),
    requires city departments, boards, and commissions to report all gifts of cash or
                                                                              1
    goods to the Controller, obtain the Board of Supervisors approval/ by resolution/
    for acceptance and expenditure of any gift of cash or goods with a market value
    greater than $10,000, and annually report gifts received, detailing the donors'
    names, nature or amount of the gifts, and their disposition.

    The Sunshine Ordinance, Section 67.29-6 (Sources of Outside Funding),
    requires disclosure of the true source of any money] goods, or services received
    worth more than $100 in aggregate. Disclosure must be on the receiving
    department's website and must include donor names and any financial interest a
    donor has with the City. Last, if the funds are provided or managed by an entity,
    not an individual, that entity must agree in writing to abide by the ordinance.

                                                                                                       App. B_209
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463661
                                                                                                     REC-OOJ-0463644
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    Impose Gift Requirements for Non-City Organizations
    Preliminary Finding

    Because the City does not consistently impose gift requirements for non-city
    organizations, a lack of transparency and inconsistent practices exist among
    Public Works and the Parks Alliance, and potentially among the 33 other city
    departments and non-city organizations. To the extent that non-city organizations
    receive gifts that will be spent on city departments, they should comply with city gift
    requirements. City departments should formalize their relationships with any non-city
    organization with which they interact through a memorandum of understanding that
    is posted on the department's website and that

       • Requires the organization to adhere to the City's Administrative Code, including
         Section 10.100-305, and any other section that applies to the department.
       • States the organization agrees to comply with the City's Sunshine Ordinance, Section
         67.29-6, and will file required reports with the Board of Supervisors and Controller.
       • Includes clearly defined roles and expenditure requirements and prohibitions.
       • Has a clause granting the Controller audit authority and access to the organization's
         records.
       • A requirement to report donations, including grants, on the organization's website.
       • Regular public reporting on these funds to occur not less than annually, at the donor
         or payee recipient level, and posted on the recipient department's website.
                                                                                                       App. B_210
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463662
                                                                                                     REC-DOJ-0463644
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    Data for the Public Works Subaccounts at the Parks
    Alliance

    The assessment reviewed both the Public Works log for its subaccounts at the
    Parks Alliance (the Public Works log) and the Parks Alliance's data about the
    Public Works subaccounts. During July 1, 2015, through January 17, 2020, (the
    review period) contributions and payments recorded in the Public Works log
    were higher by $26,705 and $13,391, respectively. In the two data sets, 98
    percent of line items agree.

    Some significant disparities between the two datasets include:

        • Public Works log shows donations of $42,750 by SF Clean City Coalition and
          $12,083 by PG&E that Parks Alliance data does not.
        • Parks Alliance data shows a city grant of $22,925 that the Public Works log
          does not.
        • Variances in recorded individual payment amounts range from nine cents to
          $7,429 and are spread among 27 vendors or individuals.


                                                                                                       App. B_211
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463663
                                                                                                     REC-DOJ-0463644
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    Data for the Public Works Subaccounts at the Parks
    Alliance (continued)
     Preliminary Finding

     Public Works does not properly oversee the Parks Alliance subaccounts.
    Departments should work with their non-city organizations to ensure funds in such
    organizations are managed appropriately. Because the funds the Parks Alliance
    raised were to be spent on the department., Public Works should have an accurate
    and timely understanding of all contributions to and payments from the
    organizations. Although Public Works received data from the Parks Alliance, which
    the department then turned into its log, Public Works did not maintain
    communication to ensure its documentation of contributions and payments agreed
    with the Parks Alliance's records. According to Public Works, unclear and inaccurate
    recordkeeping was largely due to the tone at the top, as Mohammed Nuru did not
    give staff clear direction or guidelines and did not define roles or responsibilities for
    managing these subaccounts.

    For the remainder of the assessment, the team focused on the Public Works log
    because its data is nearly the same as the Parks Alliance financial data. In fact, it
    contains more information-and was available for Mr. Nuru to review.
                                                                                                       App. B_212
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463664
                                                                                                     REC-DOJ-0463644
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     Four Parks Alliance Subaccounts Relate to Public Works
    The Public Works log for July 1, 201 5, through January 17, 2020, shows t he
    fo llowi ng Pu blic Works subaccou nts at t he Pa rks Alliance. (To put t he totals below
    in context, a Parks Alliance 2019 audit report shows t he orga nization in one year
    received grants and contributio ns of $18.9 million and spent $17.7 million.)
     Subaccount                          Reported Description & Uses                  I   Contributions   I   Expenses

     DPW Special                 Payments and reimbursements for staff                        $400,216          $370,230
     Proj ects (8420)            appreciation
     DPW Clean Team              Payments and reimbursements for                                198,114           197,520
     (8421)                      monthly Clean Team events
     DPW Giant Sweep             Payments and reimbursements related                           390,500            402,616
     (8423)                      to the Giant Sweep campaig n
     Fix-It Team (8424)          For community outreach and to fix                                2,000               1,807
                                 quick, actionable problems in t he City                                  I

                                 Three subaccounts no longer in use*                                                 8,565
    ~---         --        --
                                                                              Total          $990,830           $980,738
     * Three subaccounts had no expend itures after fiscal year 2018-19: DPW Maintenance (8419), DPW St reet Parks (8433),
     and American Community Gardening Associatio n Conference (8422).
     Source: Public Works log and Public Works
                                                                                                                         App. B_213
FOIA Confidential Treatment Requested                                                                         REC-DOJ-0463665
                                                                                                                   REC-DOJ-0463644
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    Much of the Spending From the Parks Alliance's Public
    Works Subaccounts Was for Employee Events
    For the review period, the Public Works subaccounts at the Parks Alliance were
    largely used to pay for staff appreciation, department initiatives with volunteers,
    and merchandise, generally at Public Works' direction.

                                             Expense Type                                             Amount
     Employee events, appreciation, and training, including holiday parties,
                                                                                                       $375,631
     picnics, meals, awards, conferences, and Bay to Breakers participation
     Purchases for volunteer programs and campaigns, such as Arbor Day,
                                                                                                        284,906
     Love Our City, Community Clean Team, and Giant Sweep
     Merchandise, including shirts, hats, tote bags, key tags, and pins                                 249,693
     Community support or events for neighborhoods or community groups                                   42,906
     Employee attendance at community events, such as luncheons and galas
                                                                                                          17,542
     for community organizations
     Other miscellaneous or vague reimbursements                                                          10,060
                                                                                           Total       $980,738
    Source: Public Wo rks log

                                                                                                               App. B_214
FOIA Confidential Treatment Requested                                                                  REC-DOJ-0463666
                                                                                                            REC-DOJ-0463644
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    The Public Works Log Lacks Detail
    We could not identify the purpose of some expenditures from the Public Works log
    (which matched the Parks Alliance financial data) due to insufficient detail in the
    records to justify the cost.
        Exa,nple 1:     From April 2016 through May 2019, multiple payments totaling
                        $164,885 were made to SOL Merchandising for various shirts, caps, and
                        merchandise. No quantities are documented.
        Example 2:      On April 27, 2018, two payments totaling $27,316 were made to Spice It
                        Up Catering. No detail, including the quantity of food and/or beverages
                        provided, is documented.
        Example 3:      On January 31, 2016, an employee was reimbursed $1,654.
                        The only detail documented is "Exp. Reimbursements."
        Example 4:      On September 13, 2015, an employee was reimbursed $1,520.
                                                                      11
                        The detail documented is i'Reimb." and Special Projects."

    Further, $4,000 is recorded incorrectly because $6,000 was deducted from the
    department's Special Projects subaccount, with a note that it is for the Fix-it
    subaccount (that Sandra Zuniga oversaw), yet the corresponding entry shows only
    $2,000 added to the Fix-it subaccount. This amount is not missing from the Parks
    Alliance data.
                                                                                                       App. B_215
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463667
                                                                                                     REC-OOJ-0463644
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    The Public Works Log Lacks Detail                                (continued)

     Preliminary Findings

    Due to insufficient oversight and documentation, it is unclear how
    thousands of dollars of Parks Alliance funds were spent, making it difficult to
    ascertain whether the funds were spent for legitimate and legal purposes.
    Although they agree to the Parks Alliance financial data, some transactions on
    the Public Works log are unclear, so we cannot identify the true nature of
    payments or whether the products and services ordered were consistent with the
    price paid. Further, based on our review, at least $4,000 is recorded incorrectly in
    the Public Works log.

    Although it did not appear that any payments were gifts, if any were, they may
    have come from restricted sources, as some donations clearly came from those
    doing business with the City, which is prohibited by the City's Campaign and
    Governmental Conduct Code, Section 3.216. Further, if any were gifts instead of
    reimbursements, this could violate Public Works' Statement of Incompatible
    Activities, which prohibits officers and employees from accepting any gift that is
    given in exchange for doing their city job.
                                                                                                       App. B_216
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463668
                                                                                                     REC-DOJ-0463644
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    The Flow of Funds Between the City and the Public
    Works Subaccounts at the Parks Alliance Is Complex
                                                                                        City            C ity Building
                                                                                     Contractors       Permit Holders

      t~li,l1
      sA         r        r~ r-, l-             c1
                                                     $572 m fllion in
                                                                                                           j,--                          218 Permits



                                                                                     !rff
           ,.,       1~               1~   t:          Payments


                                                                                                       ri ,~~ ' ◄
                                                                                                                      -

                                                                         ►
      PUBLIC
      WORKS                                                                                                ..     :   .~



                                                                                            $0.97 million fn
                                                                                              Donations




                                 O t her                                                                                                           Individuals (including
                                Ve ndors                                                                                                             City Employees}
                                                                           ·\\\0(\                                         $q~6 .
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FOIA Confidential Treatment Requested                                                                                                                         REC-DOJ-0463669
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    Donations to the Public Works Subaccounts at the Parks
    Alliance Could Give the Appearance of "Pay to Play"
                                                   City Cont ractors


           ~~l·i_i~
           SAN ,-11ANCISCO
                              $S72 million   II-
           PUBLIC                                                      $0.97 milllon in
           WORKS                                                         Donations
                                                                                      _,
                               218 Permits   9J
                                                    City Building
                                                   Permit Holders


    For the review period, Public Works paid eight contractors a total of $572
    million through contract purchase orders or other voucher payments, and the
    Department of Building Inspection issued 218 building permits to seven entities
    that, during this same period, donated $966,247 to the Public Works
    subaccounts at the Parks Alliance. Other donors contributed an additional
    $26,583 to the Public Works subaccounts at the Parks Alliance, bringing total
    donations to $992,830.*
    * Total donations exclude a Fix-it   subaccount adjustment that reduced the amount by $2,000.
                                                                                                           App. B_218
FOIA Confidential Treatment Requested                                                               REC-DOJ-0463670
                                                                                                         REC-DOJ-0463644
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     Donations to the Public Works Subaccounts at the Parks Alliance
     Below are the city contractors and building permit holders that donated to the
     Parks Alliance's Public Works subaccounts during the review period.




        Donors                          Amount        % Total     Number          Amount          % Total       Amount           % Total
        SF Clean City Coalition 1        $721,250                      0           $3,288,175           1%        $1,784,618         0%
                                                          88%
        Recology1                          131,948                     4             5,775,113          1%      116,493,379         10%
        Pacific Gas & Electric              42,083         4%          8            3,236,409           1%      211,720,652         18%
        Emerald Fund II LLC2                17,000         2%          6                      0        0%        22,745,925          2%
        Clark Construction                  16,266         2%         60         247,209,740          43%        27,706,950          3%
        Webcor Construction                 15,000         2%         45         193,766,898          34%      762,909,564         66%
        Laborer's lnt'I Union                11,200        1%          0               273,197         0%           7,145,116        1%
        Pankow Construction                 10,500         1%         88          118,719,636         20%           966,497          0%
        Airbnb                                1,000        0%          7                      0        0%                    0       0%
                    Total               $966,247                     218       $572,269,168                  $1,151,472,701
    1 According to the City Attorney's Public Integrity Unit, SF Clean City Coalition received $150,000 from Recology in each of three
      years- 2015, 2017, and 2018-for Public Works' Giant Sweep program, Clean Team program, staff enrichment, and community
      events. In 2019 Recology donated $180,000 for the Giant Sweep and Clean Tearn programs to SF Clean City Coalition, which then
      paid $177,000 to the Parks Alliance.
    2 Emerald Fund II LLC, also known as Emerald Fund, Inc., includes 1045 Mission LP, Harrison Fremont Holdings LLC, 100 Van Ness

      Associates, Hayes Van Ness Associates, Emerald Polk LLC, and EBG II LLC.
    Source: Public Works log; City's financial system for contractor/permit holder payments; DataSF for permit s
                                                                                                                                   App. B_219
FOIA Confidential Treatment Requested                                                                                   REC-DOJ-0463671
                                                                                                                             REC-DOJ-0463644
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    Donations to the Public Works Subaccounts at the Parks
    Alliance (continued)
     Preliminary Finding

    When city contractors or city building permit applicants or holders donate to
    non-city organizations, such as those maintained by the Parks Alliance for Public
    Works, it can create a "pay-to-play" relationship. Specifically, a non-city
    organization can serve as an intermediary between the City and a contractor or
    potential contractor, wherein the contractor donates money to influence (or try to
    influence) a city department to grant, extend, or augment a city contract, subcontract,
    or grant Similarly, a non-city organization can also serve as an intermediary between
    the City and a building permit applicant, wherein the applicant donates money to
    influence (or try to influence) the permit approval process.

    Departments are not required to track or report on donors to their affiliated non-city
    organizations that have contracts or permits with the department or City. However, as
    donations to non-city organizations ultimately benefit the City, departments should
    report the donors to non-city organizations and the donor's financial interest as
    required under the City's Sunshine Ordinance, Section 67.29-6, on both the non-city
    organization's and department's website.
                                                                                                       App. B_220
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463672
                                                                                                     REC-DOJ-0463644
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    Tone at the Top

     "Tone at the top" refers to the ethical atmosphere that is created in the workplace
     by the organization's leadership. Failure to maintain such a workplace culture
    can result in the pressure, rationalization, and ability to carry out ethical
    violations.

    The 2019 Office of the City Administrator and Public Works holiday party
    illustrates this problem.

    Based on information from the City Attorney's Public Integrity Unit, Mr. Nuru
    solicited funds from companies with business or regulatory decisions before
    Public Works. These funds were then used to host the party and other employee
    appreciation events that benefitted those in the department. Together these
    acts create an acceptance of a gift from a "restricted source," which is
    prohibited under city ethics laws.




                                                                                                       App. B_221
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463673
                                                                                                     REC-DOJ-0463644
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    Tone at the Top                (continued)

    Mr. Nuru personally solicited these funds and directed others in the department
    to do the same. Approximately $33,000 (or 80 percent) of the event's total cost of
    more than $40,000 was donated by restricted sources, including Recology, Inc.
    His appointing authority, the City Administrator, was aware of his solicitation
    efforts.

    The holiday party was limited to 350 attendees, including both city staff and
    contractor representatives, leading to a total benefit per person in excess of the
    $25 non-cash gift threshold, per Ethics Commission Regulation 3.216(b)-5, Gifts
    from Restricted Sources-Exemptions.

    These donations were not approved by the Board of Supervisors, which is
    required for contributions greater than $10,000 per the City's Administrative Code,
                                                                                        1
    nor were they reported to the Controller or on the departments websites, as city
    codes require.




                                                                                                       App. B_222
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463674
                                                                                                     REC-DOJ-0463644
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    The City Does Not Require Department Heads to File the
    Behested Payments Form
    "Behested payments" include payments made for a legislative, governmental, or
    charitable purpose at the suggestion, solicitation, or request of, or made in
    cooperation, consultation, coordination, or concert with a public official.
    When a payment of $1,000 or more is made at their behest by an "interested party,"
    certain city officials-but not department heads-must file the City's Form SFEC-
    3610(b). Under these circumstances, this form must be filed by the mayor, city attorney,
    district attorney, treasurer, sherift assessor-recorder, public defender, a member of the
    Board of Supervisors, or any member of a board or commission who is required to file
    Form 700 (Statement of Economic Interests), including all persons holding positions
    listed in the City's Campaign and Governmental Conduct Code, Section 3.1-103(a)(1).

    Preliminary Finding

    Because the City does not require appointed department heads to file a behested
    payment form (Form SFEC-3610(b)), they could, as Mohammed Nuru did,
    encourage, ask, or direct a city contractor to donate to a non- city organization
    that supports the department head's department and not be required to report it.


                                                                                                       App. B_223
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463675
                                                                                                     REC-DOJ-0463644
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    Because Mohammed Nuru Did Not Have to File the
    Behested Payments Form, Behested Regulations Did Not
    Apply to the Parks Alliance or Its Donors for His Behests
      Who Must File                        Definition                      [       Parks Alliance Scenario
      City Official     A city officer must file Form SFEC-3610(b) when As an appointed department
                        a payment of $1,000 or more is made at his or   head, Mr. Nuru was not required
                        her behest by an "interested party."            to file Form SFEC- 3610(b).
      Donor             A donor must file Form SFEC-3620 if he or she          Because Mr. Nuru did not file
                        makes a payment or series of payments in a             Form SFEC-3610(b), Form-3620
                        single calendar year of $10,000 or more at the         was also not requ ired. Further, it
                        behest of a city officer. The donor must make          is unclear whether t he donor
                        this disclosure only if he or she is an                was an "interested party," which
                        "interested party" in a proceeding involving the       is discussed on the next slide.
                        city officer who solicited the payment(s).
      Recipient         An individual or organization must fi le Form          Because no Form SFEC-3610(b)
                        SFEC-3630 if it receives a payment or series of        was required or filed, Form
                        payments in a single calendar year of $100, 000        SFEC-3630 was also not
                        or more that was made at the behest of any             required .
                        city officer.

                                                                                                              App. B_224
FOIA Confidential Treatment Requested                                                                REC-DOJ-0463676
                                                                                                          REC-DOJ-0463644
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    The "Interested Party" Definition for Behested Payments
    Does Not Clearly Include All City Contractors
    According to the Ethics Commission website, the donor is only required to file Form
    SFEC-3620 if he or she is an interested party," which means a person who is a party or
                                        11




    participant to administrative enforcement proceedings regarding permits, licenses, or
    other entitlements for use before the official in question. A party is someone who files
    the application or is the subject of the proceeding, and a participant has a financial
    interest in the decision. State regulations specify that a license, permit, or other
    entitlement includes, "all entitlements for land use, all contracts (other than
    competitively bid, labo0 or personal employment contracts), and all franchises."
    (emphasis added, Fair Political Practices Commission, Title 2, Division 6, California
    Code of Regulations, Section 84308)

    Preliminary Finding

    The City's definition of an interested party does not explicitly include all city
    contracts because certain contracts are excluded under the California
    Government Code, Section 84308. When city contractors with any contract type
                                                                11
    donate to non-city organizations, it can create a pay-to- play" relationship. To reduce
    that risk, the "interested party" definition should be expanded so that persons with all
    contract types file for behested payments when applicable.
                                                                                                       App. B_225
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463677
                                                                                                     REC-DOJ-0463644
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    Behested Regulations Only Began in January 2018
               1
    The City s Campaign and Governmental Conduct Code, Article 3, Chapter 6,
    Section 3.610, Required Filing of Behested Payment Reports, and Section 3.620,
    Filing by Donors, became effective on January 1, 2018, and were updated on
    January 1, 2019. Section 3.630, Filing by Recipients of Major Behested Payments,
    became effective on January 1, 2019. As such, for much of the life of the Parks
    Alliance's Public Works subaccounts and Mohammed Nuru's career at Public
    Works, these requirements did not exist.

    If the current requirements had been in place since July 2015, if Mr. Nuru had
    been required to file Form SFEC-3610(b), and if the donors were found to have
    been "interested parties," the Parks Alliance and some of its donors would have
    had to file behested forms.




                                                                                                       App. B_226
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463678
                                                                                                     REC-OOJ-0463644
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    If Behested Regulations Had Been Operational and
    Applied to Department Heads, Further Filings May Have
    Been Required
       Who                               t· ·t ·                          Scenario if Behested Requirements
                                    Oe m1 ion                                                        I
     M ust FI·1 e                                                               Had Been Operat1ona
                                                                                                 .

     City           An officer must file Form SFEC-3610(b)       If Mohammed Nuru asked that the payments be made
     Official       when a payment of $1,000 or more is          and had been required to fi le due to the payments to
                    made at his or her behest by an              the Parks Alliance, the organizations below also would
                    "interested party."                          have been required to file.
     Donor          A donor must file Form SFEC-3620 if he       If all payments were behested payments and the donor
                    or she makes a payment, or series of         was an "interested party/' a Form SFEC-3620 would have
                    payments in a sing le calendar year of       had to be filed for payments to the Parks Alliance by:
                    $10,000 or more at the behest of an officer.    • SF Clean City Coalition for $721,250 paid over five
                    The donor must make this disclosure only            years.
                    ff he or she is an 'interested party" in a
                                     1
                                                                    • Recology for $131,948 paid over five years.
                    proceeding involving the officer who            • PG&E for $40,000 paid over three years.
                    solicited the payment(s).
     Recipient An individual or organization must file           If all payments were behested payments by Mr. Nuru,
                    Form SFEC-3630 if it receives a payment      the Parks Al liance would have had to file Form SFEC-
                    or series of payments in a single calendar   3630 in the following calendar years for the payments it
                    year of $100,000 or more that was made       received:
                    at the behest of any officer.                  2016 - $199,500          2018 - $258,714
                                                                   2017 - $197,000          2019 - $285,200
                                                                                                                    App. B_227
FOIA Confidential Treatment Requested                                                                     REC-DOJ-0463679
                                                                                                               REC-DOJ-0463644
                          Case 3:22-cr-00270-WHO Document 85-2 Filed 04/04/23 Page 250 of 352




     Improve Controls Over Solicitations and Behested
     Payment Reporting
     Preliminary Finding

    Controls over solicitations and behested payment reporting must be improved
    to increase transparency. This could be done by reintroducing and updating
     previous proposals, including:

        • File No. 090795 of October 27, 2009, that wou ld have revised the City's Campaign and
          Governmental Conduct Code to prohibit city employees and officers from soliciting
          donations to nonprofit organizations to fund city departments.

        • File No. 180001 to update the Campaign and Governmental Conduct Code, Section
          3.207(a)(4), to prohibit city officials from soliciting behested payments from
          individuals who have business before the official.

    Given the reliance of some functions on philanthropy, such as for the City's
    museums and parks, exceptions to this prohibition would be narrowly approved by
    the Board to permit fundraising by specific employees for specific public pu rposes.
    Those authorized to solicit donations should be required to file Form SFEC-3610(b)
    for behested payments, and consequences for failure to report should be enforced.
                                                                                                       App. B_228
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463680
                                                                                                     REC-DOJ-0463644
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     Public Works Used the Parks Alliance's Public Works
     Subaccounts to Make Payments on Its Behalf

                                                  $0.72 million                                     Payme nts to O the r

                                                                  --                                    Vendors



                                                  $0.26 million
                                                                  I)   t~li,i~
                                                                       " ' ' " ~11'•. .   ,~.-c.,
                                                                                                      Reimbursements to
                                                                       PUBLI C                      Public Works Employees
                                                                       WORKS

    According to the Public Works log, during the review period, the Parks Alliance
    made 960 payments totaling $978,739 to support Public Works activities. As
    directed by Public Works, the Parks Alliance remitted this amount as direct
    payments to vendors for the purchase of goods and/ or services or as payments
    to individuals, primarily city employees, who were reimbursed for costs they had
    incurred. These payments were made direct ly from t he Parks Alliance's Public
    Works subaccount, so did not interface with and are not reflected in the City's
    financial system.
    * Total payments exclude a Fix-it subaccount adjustment that increased the expenses by $2,000.
                                                                                                                                  App. B_229
FOIA Confidential Treatment Requested                                                                                      REC-DOJ-0463681
                                                                                                                                REC-DOJ-0463644
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     Public Works Directed the Parks Alliance to Pay Vendors

                                        $0.72 mi llion
                                                         .,                Payments to Other
                                                                               Vendors




    In the review period, more than half-almost $370,000-of the Parks Alliance's payments
    to vendors, totaling almost $720,000, were to five vendors. These funds were largely
    spent on staff appreciation and events that benefited city employees. Further, as alleged
    in the criminal complaint, the principals of at least two of the contractors-Lefty O'Doul's
    Foundation or Ballpark Buffet and Walter Wong Construction or Alternate Choice, LLC-
    had personal and business re lationships with Mohammed Nuru.

     Preliminary Finding

    According to Public Works, Mohammed Nuru would direct staff to use Parks Alliance
    funds to procure goods and services for events and staff appreciation purchases from
    specific vendors, and the Parks Alliance would then reimburse those vendors. Although
    some purchases appear to be appropriate, others may have been directed by Public
    Works through these subaccounts due to favoritism and/or to avoid city
    procurement rules and regulations.
                                                                                                       App. B_230
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463682
                                                                                                     REC-DOJ-0463644
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    The Top Five Vendors Paid at Public Works' Direction
    Amounts paid fro m the Public Wo rks subaccounts at the Parks Alliance in the review period.
      Vendor Paid at Public      Amount
                                                                                 Analysis of Payments
     • Works' Direction           Paid
     SOL Merchandising            $164,885       23% The vendor is owned by a former Public Works employee, who
                                                     was still employed when the payments occurred. Absent an
                                                     additional employment approva l, it is inappropriate for city
                                                     employees to do business with the City. Also, accounting records
                                                     show payments were for shirts, caps, and other merchandise
                                                     created for Public Works, but lack detail of quantity purchased to
                                                     indicate whether payments were justified or reasonable.
     Spice It Up Catering           108,621 15% Payments were for catering at several annual picnics and other
                                                Public Works events. Accounting records lack detail to indicate
                                         __     whether payments were justified or reasonable.
     W. Wong Construction            41,673       6% Payment s were for eq uipment, set up, and "trash pickers" for
     & A lternate Choice, LLC                        events. Accounting records lack further detail to indicate
                                                     whether payments were justified or reasonable.
     Community Youth                29,450        4% Payments were mostly for sponsoring community events and
     Center                                          activities at th is organization's site, which appears reasonable.
     Lefty O'Dou l's Ballpark       25,327        3% Payment s were for catering and musical performances for events
     Buffet & Lefty O'Dou l's                        and f or staff appreciation. It most likely would have been more
     Foundation                                      appropriate for a city-approved contractor to cater these events.
     Total                        $369,956       51%
     *Percentages based on the net amount paid to all contractors of $720,044.
     Source: Public Works log
                                                                                                                   App. B_231
FOIA Confidential Treatment Requested                                                                    REC-DOJ-0463683
                                                                                                              REC-DOJ-0463644
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    Some of the Payments Made From the Parks Alliance's
    Public:Works Subaccounts Funded Staff Appreciation
    Preliminary Finding

    Public Works used its Parks Alliance subaccounts to fund holiday parties, staff
    appreciation events, and other events that solely benefitted employees.

    Unless money is specifically budgeted for this purpose, which is uncommon, the City
    does not promote staff appreciation through departmental funds. This is true although
    such appreciation may help to maintain or increase employee morale and recognize
    good work in an environment where it is often impossible to legitimately grant
    additional pay. However, the City's practice of avoiding staff appreciation costs in
    departmental budgets may have contributed to Public Works' reliance on the
    subaccounts at the Parks Alliance for this purpose.

    The City could reduce risks arising from use of gifts for staff appreciation by more clearly
    defining permissible use of public funds for these purposes, removing administrative
    barriers that make such uses impractical, and appropriating funds for these purposes. If
    departmental budgets more often included public funds for staff appreciation, the
    City would bring these expenses into its control environment and have more
    oversight to ensure appropriate and reasonable spending.
                                                                                                       App. B_232
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463684
                                                                                                     REC-DOJ-0463644
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     Public Works Employees Used Personal Funds to Pay
     Upfront Costs for City-Sponsored Events


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                                        -----
                                         $0.26 million                               Reimbursements

                                                                   nn     --mi4'
                                                                                      to Individuals




     In the review period, 164 individuals received a net total of $260,429 in payments
     from or a refund to the Parks Alliance. Of these 164 individuals, 139 were city
     employees, and they were paid $213,790. These payments were usually
     documented in Parks Alliance records as reimbursements for items such as food,
     beverages, entry fees for volunteer events, staff appreciation events, or various
     meetings. The records show that Public Works employees commonly incurred
     costs (paid out of pocket) on behalf of the department and then sought
     reimbursement with a request to the Parks Alliance.



                                                                                                       App. B_233
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463685
                                                                                                     REC-DOJ-0463644
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     Public Works Employees Used Personal Funds to Pay
     Upfront Costs for City-Sponsored Events (continued)

    In the review period, the Parks Alliance reimbursed 63 city (mostly Public Works)
    employees over $200 each for expenses they incurred related to their city jobs.
    These reimbursements from the Parks Alliance included payments of:

        • $10,464 to Sandra Zuniga and $483 to Mohammed Nuru, primarily for
          expenses related to employee appreciation and team building.
        • More than $10,000 each to three other employees, one of whom received
           almost $60,000.

    Payments to or (after a cash advance) a refund from 25 other non-city
    employees totaling $46,639, which:

        • Range from $33,000 for a Giant Sweep campaign video and photo
          production to as little as $23.50 for a petty cash replenishment.
        • Include $482 paid to the family of a Public Works employee.



                                                                                                       App. B_234
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463686
                                                                                                     REC-DOJ-0463644
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     Public Works Employees Used Personal Funds to Pay
     Upfront Costs for City-Sponsored Events (continued)
     Preliminary Finding

    Excessive use of non-city organizations to reimburse Public Works employees
    causes the City to lose financial control over these transactions. Non-city
    reimbursements to city employees are risky because they occur outside the City's
    control environment. They lack city pre-approvals, encumbrances of funds, and
    disbursements, which are designed to prevent and detect improper purchases and
    payments. Further, asking employees to front money, sometimes up to thousands
    of dollars, may put an undue financial burden on them even if they are later
    reimbursed.

    No city policy addresses city employees seeking reimbursement from non-city
    organizations. However, the City's Accounting Policies and Procedures state that
    employees may be reimbursed (from city funds) for work-related costs, minor, and
    non-recurring goods up to $200. This amount was exceeded by some of the
    reimbursements to city employees from the Public Works subaccounts at the Parks
    Alliance. The City's policy also directs departments to develop detailed internal
    procedures for their employee reimbursement pre-approval processes.
                                                                                                       App. B_235
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463687
                                                                                                     REC-DOJ-0463644
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     Recommendations
     Given the findings in this preliminary assessment, we offer the following
     preliminary recommendations. Recommendations for Friends of organizations
     should be applied to non-city organizations that operate in a comparable
     manner. We will continue to refine these recommendations as the investigation
     and review continues and will consider feedback we receive in the review process.

        1. The City should amend the San Francisco Campaign and Governmental
            Conduct Code to prohibit non-ele,cted department heads and
            employees from soliciting donations from interested parties (to be
            further defined in legislation) of their department, unless specifically
            authorized by the Board of Supervisors. Those authorized to solicit
            donations must file Form SFEC- 3610(b) for behested payments.
            Consequences for failure to report should be enforced.

        2. The Ethics Commission should expand the definition of who is
           considered an "interested party" so that it includes all city contractors.



                                                                                                       App. B_236
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463688
                                                                                                     REC-DOJ-0463644
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     Recommendations                    (continued)

        3. The City should require departments and non-city organizations to
           formalize their relationships through memorandums of understanding
           that are posted to departmental websites and include:
             a) A requirement to adhere to city law on the acceptance of gifts,
                 including the Administrative Code, Section 10.100-305, or other
                 sections that apply to the department.
             b) An agreement to comply with the Sunshine Ordinance, Section
                    67.29-6.
               c) A clause granting the Controller audit authority and access to the
                  organization's records.
               d) Regular public reporting on these funds to occur not less than
                  annually, at the donor or payee recipient level, and posted on the
                  recipient department's website.
               e) A requirement to report donations, including grants, on the
                  organization's website.
               f) Clearly defined roles regarding expenditures, including
                  prohibitions against spending directed or controlled by the
                  recipient.
                                                                                                       App. B_237
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463689
                                                                                                     REC-DOJ-0463644
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     Recommendations                    (continued)

       4. Departments should comply with the Administrative Code, Section
          10.100-305, or other sections specifically related to the department, by
          uniformly obtaining advance acceptance of any gifts from outside
          sources greater than $10,000 for the department through non-city
          organizations, including explicit authorization for uses of these funds
          for employee recognition or appreciation.

        5. The City should require annual certification from department heads
           that all gifts of goods, services, and funds have been approved by the
           Board of Supervisors and reported on time, as required.

        6. The City should make it easier for departments to use city funds for
           employee recognition and appreciation events and provide explicit
           (line-item) appropriations for this purpose.

       7. The Controller should, on a sample basis, annually audit organizations
          that both give gifts to the City and have a financial interest with the
          City, including a contract, grant, permit, permit application, or other
          entitlement.
                                                                                                       App. B_238
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463690
                                                                                                     REC-DOJ-0463644
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     Recommendations                    (continued)

       8. Departments should comply with the Sunshine Ordinance, Section
          67.29-6, for their non-city organizations by not accepting any donation
          through anonymous donors or for which they cannot identify the true
          source.

       9. The City should amend the Sunshine Ordinance, Section 67.29-6, to
          clearly define "financial interest" so that it is aligned with the City's
          updated "interested party" definition.

       10. For all recommendations made as part of this assessment that require
           reporting, the City should review and strengthen its consequences for
           noncompliance.




                                                                                                       App. B_239
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463691
                                                                                                     REC-DOJ-0463644
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    Completed and Upcoming Public Integrity Reporting
    Our Public Integrity Review, performed in consultation with the City Attorney, will
    continue to assess selected city policies and procedures to evaluate their
    adequacy in preventing abuse and fraud. Completed, current, and future
    assessments and reports address the following topics:

        1. San Francisco Public Works Contracting (report issued on June 29, 2020)
        2. Ethical standards for commissioners regarding procurement processes of
           the Airport Commission and other city commissions
        3. The City's contractor debarment process
        4. The Department of Building Inspection's policies and practices to award
           permits
        5. A final report on the topics covered in this preliminary assessment

    Additional reviews and assessments will be determined and performed as the
    City Attorney's investigation proceeds.




                                                                                                       App. B_240
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463692
                                                                                                     REC-OOJ-0463644
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     Questions or comments?
     Contact us at:           ben.rosenfield@sfgov.org
                              todd.rydstrom@sfgov.org
                              mark.p.delarosa@sfgov.org




                                                                                                       App. B_241
FOIA Confidential Treatment Requested                                                           REC-DOJ-0463693
                                                                                                     REC-DOJ-0463644
         Case 3:22-cr-00270-WHO Document 85-2 Filed 04/04/23 Page 264 of 352
                                    AMENDED IN COMMITTEE
                                          05/09/18
     FILE NO. 180280                           ORDINANCE NO. 129-18


 1   [Campaign and Governmental Conduct Code - Campaign Finance and Conflict of Interest]

 2
 3   Ordinance amending the Campaign and Governmental Conduct Code to 1) prohibit

 4   earmarking of contributions and false identification of contributors; 2) modify

 5   contributor card requirements; 3) require disclosure of contributions solicited by City

 6   elective officers for ballot measure and independent expenditure committees; 4)

 7   require additional disclosures for campaign contributions from business entities to

 8   political committees; 5) require disclosure of bundled campaign contributions; 6)

 9   extend the prohibition on campaign contributions to candidates for City elective offices

10   and City elective officers who must approve certain City contracts; 7) require

11   committees to file a third pre-election statement prior to an election; 8) remove the

12   prohibition against distribution of campaign advertisements containing false

13   endorsements; 9) allow members of the public to receive a portion of penalties

14   collected in certain enforcement actions; 10) require financial disclosures from certain

15   major donors to local political committees; #10.) impose additional disclaimer

16   requirements; 4-2-1.1) permit the Ethics Commission to recommend contract debarment

17   as a penalty for campaign finance violations; 4312) create new conflict of interest and

18   political activity rules for elected officials and members of boards and commissions;

19   441.3) specify recusal procedures for members of boards and commissions; and 4-5.14)

20   establish local behested payment reporting requirements for donors and City officers.

21         NOTE:     Unchanged Code text and uncodified text are in plain Arial font.
                     Additions to Codes are in single-underline italics Times New Roman font.
22                   Deletions to Codes are in slrikedhrebl;gh italics Times N-ew R0nu1nfiml.
                     Board amendment additions are in double-underlined Arial font.
23                   Board amendment deletions are in stril~ethrough /\rial font
                     Asterisks (* * * *) indicate the omission of unchanged Code
24                   subsections or parts of tables.
25
           Be it ordained by the People of the City and County of San Francisco:



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 1          Section 1. The Campaign and Governmental Conduct Code, Article I, Chapter 1, is

2    hereby amended by revising Sections 1.104, 1.110, 1.114, 1.126, 1.135, 1.161 , 1.142, 1.162,

 3   1.163. 1.168, 1.170, adding Sections 1.114.5, 1.124 , 1.125, 1.158, and deleting Section
4    1.163.5, to read as follows:
 5          SEC. 1.104. DEFINITIONS.

6           Whene:ver in this Chapter 1 the following words or phrases are used, they shall mean:

 7           ****

 8           "At the behest of' shall mean under the control or at the direction al in cooperation,

 9   consultation. coordination. or concert with. at th(! request or suggestion oC or with the express. prior

10   consent o[

11           *** *

12           "Business entity" shall mean a limited liability company (LLC), corporation. limited

13   partne-rship, or limited liability partnership.

14          ****

15          "Electronic media technologies" shall mean technologies that distribute

16   communications, commonly user generated content, within virtual communities. "Electronic

17   media technologies" includes, but is not limited to, faoebook, lnstagram, Linkedln, Pinterest,

18   Reddit, Snapchat, Tumblr, Tu.iitter, VVhatsApp, and YouTube.

19
20           "Prohibited source contribution " shall mean a contribution made ('Cl) in violation ofSection

21   1.114. (b) in an assumed name as defined in Section I .114. 5 (c). (c) from a person prohibited -from

22   contributing under Section 1.126, or (d) -from a lobbyist prohibited -from contributing under Section

23   2.115(e).

24           "Public appeal" shall mean a request for a payment when such request is made by

25   means of television, radio. billboard, a public message on an online platform. the distribution



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 1   of 200 or more identical pieces of printed material. the distribution of a single email to 200 or

 2   more recipients. or a speech to a group of 20 or more individuals.

 3
 4           "Resident" shall mean a resident of the City and County of San Francisco.

 5           "Solicit " s hall mean personallv request a contribution for any candidate or committee, either

6    orally or in ·writing.

 7           *   ***

 8

 9           SEC. 1.110. CAMPAIGN STATEMENTS.

10           (a) INSPECTION AND COPYMAKING . Campaign statements are to be open for

11   public inspection and reproduction at the Office of the Ethics Commission during regular

12   business hours and such additional hours as the Ethics Commission determines appropriate.

13   The Commission shall provide public notice of the hours that the office is open for inspection

14   and reproduction. =T.!=:
                          he~E~th::!i~c~~!a!:!::!:~=a!:l:~~~l!a=::!:a~~:!::l~~ :i,
                                                                                s~ta~te~m~ea!:!ant~s==a~v~a~il~a~b~le

15   through its website.

16           ****

17           (c) ELECTRONIC COMMUNICATIONS MEDIA TECHNOLOGIES. Campaign

18   statements shall disclose. as required by the Political Reform Act, expenditures on electronic

19   communications media technologies. Without limitation. campaigns shall disclose

20   expenditures on the promotion of electronic media accounts, methods and efforts to increase

21   popularity of elestronic media posts, any written communications, or any audio or video

22   content distributed electronically through electronia media teahnologies=

23
24           SEC. 1.114. CONTRIBUTIONS - LIMITS AND PROHIBITIONS.

25


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 1          (a) LIMITS ON CONTRIBUTIONS TO CANDIDATES. No person other than a

 2   candidate shall make, and no campaign treasurer for a candidate committee shall solicit or

 3   accept, any contribution which will cause the total amount contributed by such person to such

 4   candidate committee in an election to exceed $500.

 5          (b) LN,1JTSPROHIBITIONON CONTRIBUTIONS FROM CORPORATIONS. No

 6   corporation organized pursuant to the laws of the State of California, the United States, or any

 7   other state, territory, or foreign country, whether for profit or not, shall make a contribution to a

 8   candidate committee, provided that nothing in this subsection f1ll shall prohibit such a

 9   corporation from establishing , administering , and soliciting contributions to a separate

10   segregated fund to be utilized for political purposes by the corporation, provided that the

11   separate segregated fund complies with the requirements of Federal law including Sections

12   432(e) and 441b of Title 2 of the United States Code and any subsequent amendments to

13   those Sections.

14          (c) EA.RMARKING. No person may make a contribution to a committee on the condition or

15   with the agreement that it will be contributed to any particular candidate or committee to circumvent

16   the limits established by subsections (a) and (b).

17          {d) PROHIBITION ON CONTRIBUTIONS FOR OFFICIAL ACTION No candidate may.

18   directly or by means of an agent, give, offer, promise to give, withhold, or offer or promise to withhold

19   his or her vote or influence. or promise to take or refrain fi·om taking official action with respect to any

20   proposed or pending matter in consideration of or upon condition that, any other person make or

21   refrain fi·om maldng a contribution.

22          fe) [su AGGREGATION OF AFFILIATED ENTITY CONTRIBUTIONS .

23                  (1) General Rule. For purposes of the contribution limits imposed by this

24   Section 1.114 and Section 1.120~ the contributions of an entity whose contributions are

25   directed and controlled by any individual shall be aggregated with contributions made by that



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 1   individual and any other entity whose contributions are directed and controlled by the same

2    individual.

3                    (2) Multiple Entity Contributions Controlled by the Same Persons. If two or

4    more entities make contributions that are directed and controlled by a majority of the same

 5   persons, the contributions of those entities shall be aggregated.

 6                   (3) Majority-Owned Entities. Contributions made by entities that are majority-

 7   owned by any person shall be aggregated with the contributions of the majority owner and all

 8   other entities majority-owned by that person, unless those entities act independently in their

 9   decisions to make contributions.

10                   (4) Definition. For purposes of this Section 1.114, the term "entity" means any

11   person other than an individual and "majority-owned'' means a direct or indirect ownership of

12   more than 50% p eree,~t.

13           (d) COlVTPdBUTOR INFORAIATJONR.EQUIRED. Ifthe cumulative amount <Jjcontributiom

14   receiYC({ji-om e eomributor is $100 or more, #w oomniiUee shall not deposit emy c011.triblltti019 l het

15   causes the total amount eo1'Hribukd by spersml to equal or exceed $100 1;1nfess lhe commii1ee has the

16   f ollowing infot nu1tion: the contributor's full name; the eontribu1or 1s stree.i address; the em~tributor's

17   occupation; and the nmne <Jjthe centributor's employer or, ifthe contribu,'or is selfemployed, #w 1ulme

18   ofthe contributor's business. A commitlee will be deemed not t-o haYe hed the reqNired eontribulOr

19   informatio19 at the time the contribution ·was deposited ifthe required contributor infonmitiol'l is not

20   repotled Ol'l thefirst campaign stetement on which the eontrib'bltion is required to be reporled.

21           (e) (fJ.. FORFEITURE OF UNLAWFUL CONTRIBUTIONS. In addition to any other
22   penalty, each committee that receives a contribution which exceeds the limits imposed by this

23   Section 1.1 J4 or which does not comply with the requirements of this Section shall pay

24   promptly the amount received or deposited in excess of the permitted amount permitted by this

25   Section to the City and County of San Francisco end~ delivermg the payment to the Ethics


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 1   Commission for deposit in the General Fund of the City and County; provided that the Ethics

 2   Commission may provide for the waiver or reduction of the forfeiture.

 3          (fj [gl RECEIPT OF CONTRIBUTIONS. A contribution to a candidate committee or

 4   committee making expenditures to support or oppose a candidate shall not be considered

 5   received if it is not cashed, negotiated, or deposited._ and in addition# is returned to the donor

 6   before the closing date of the campaign statement on which the contribution would otherwise

 7   be reported, except that a contribution to a candidate committee or committee making

 8   expenditures to support or oppose a candidate made before an election at which the

 9   candidate is to be voted on but after the closing date of the last campaign statement required

10   to be filed before the election shall not be considered to be deemed received if it is not

11   cashed, negotiated._ or deposited._ and is returned to the contributor within 48 hours of receipt.

12   For all committees not addressed by this Section 1.114, the determination of when

13   contributions are considered to be received shall be made in accordance with the California

14   Political Reform Act California Ge'i,'Ornment Cede Sectio,9 81000. et seq .

15
16          SEC. 1.114.5. CONTRIBUTIONS - DISCLOSURES.

17          (a) CONTRIBUTOR INFORMATION REQUIRED. If the cumulative amount of contributions

18   received from a contributor is $100 or more, the committee shall not deposit any contribution that

19   causes the total amount contributed by a person to equal or exceed $100 unless the committee has the

20   following information: the contributor's full name,· the contributor's street address: the contributor's

21   occupation,· and the name o{the contributor's employer or, ifthe contributor is self-employed, the name

22   ofthe contributor's business.

23                  (I) A committee will be deemed not to have had the required contributor information at

24   the time the contribution was deposited if the required contributor information is not reported on the

25   first campaign statement on which the contribution is required to be reported.


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 1                    (2) Jfa committee collects the information required under this subsection (a) on a form

 2   signed by the contributor stating that the contributor has not made a prohibited source contribution.

 3   there shall be a rebuttable presumption that the committee has not accepted a prohibited source

 4   contribution.

 5          (k) DISCLOSURE REQUIREMENTS FOR CONTRIBUTIONS TO BALLOT MEASURE

 6   COMMITTEES AND COMMITTEES MAKING INDEPENDENT EXPENDITURES.

 7                    (1) In addition to the requirements in subsection (a), anv person making contributions

 8   that total $5,000 or more in a single calendar year at the behest of a City elective officer, to a ballot

 9   measure commiltee or committee making independent expenditures at the behest of a City elective

10   officer must disclose to the committee receiving the contribution the office and the name ofthe City

11   elective officer who requested the contribution.

12                    (2) Committees receivin¥ contributions subiect to subsection (b)(l) must report the

13   names of the City elective officers who requested those contributions at the same time that Lhe

14   committees are required to file campaign statements with the Ethics Commission disclo ing the

15   contributions.

16                    (~) Notwithstanding the provisions of this subsection (k), no committee shall be

17   required to make the disclosure required in subsection (b)(2) for any contribution that constitutes a

18   contribution to the Ci/jl elective officer at whose behest the contribution was made.

19                    (4) Exception for public appeals. No person or committee               shall be required
20   to make any disclosures required under this subsection (b) for any contribution. if the

21   contribution was made solely in response to a public appeal.

22          (c) ASSUMED NAME CONTRIBUTIONS.

23                    O) No contribution may be made. directly or indirectly, by any per.son or combination
24   ofpersons. in a name other than the name by which they are identified for legal purposes. or in the

25   name ofanother person or combination ofpersons.


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 1                     (2) No person may make a contribution to a candidate or committee in his1 her, or its

 2   name when using any payment received from another person on the condition that it be contributed to a

 3   specific candidate or committee.

4           (d) FORFEITURE OF UNLAWFUL CONTRIBUTIONS. In addition to any other penalty. each

 5   committee that receives a contribution which does not comply with the requirenients of this Section

 6   J.114. 5 shall pay promptly the amount received or deposited to the City and County ofSan Francisco

 7   by delivering the payment to the Ethics Commission for deposit in the General Fund of the City and

 8   County; provided that the Ethics Commission may provide for the waiver or reduction ofthe forfeiture.

 9

10          SEC. 1.124. ADDITIONAL DISCLOSURE REQUIREMENTS FOR CONTRIBUTIONS

11   MADE BY BUSINESS ENTITIES.

12          (a) Additional Disclosures. In addition to the campaign disclosure .requirements imposed by

13   the California Political Reform Act and other provisions ofthis Chapter 1, any committee required to

14   file campaign statements with the Ethics Commission must disclose the following information for

15   contribution(s) that. in aggregate, total $10. 000 or more that it receives in a single election cycle from

16   a single business entity:

17                     (1) one of the business entity 1s principal officers, including, but not limited to, the

18   Chairperson ofthe Board of Directors, President, Vice-President. ChiefExecutive Officer, Chief

19   Financial Officer. Chief Operating Officer. Executive Director. Deputv Director, or equivalent

20   positions,· and

21                     (2) whether the business entity has received funds through a contract or grant from anv

22   City agency within the last 24 months for a proiecl within the iurisdiction ofthe City and County o(San

23   Francisco, and i[so. the name ofthe agency that provided the funding. and the value of the contract or

24

25


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 1           (b) Filing Requirements. Committees shall provide this information for contributions received

 2   from business entities at the same time that they are required to file semiannual or preelection

 3   campaign statements with the Ethics Commission.

4

 5           SEC. 1.125. ADDITIONAL DISCLOSURE REQUIREMENTS FOR BUNDLED

 6   CONTRIBUTIONS.

 7           (a) Definitio1t. For purposes of this Section I.125, the following words and phrases shall

 8   mean:

 9           "Bundle " shall mean delivering or transmitting contributions, other than one 's own or one 's

10   spouse s, except for campaign administrative activities and any actions by the candidate that a

11   candidate committee is supporting.

12           "Campaign ad,ninistrative activity" shall mean administrative functions performed by paid or

13   volunteer campaign staff. a campaign consultant whose payment is disclosed on the committee 's

14   campaign statements, or such campaign consultant's paid employees.

15           (b) Additional Disclosure Requirements. Any committee controlled by a City elective offlcer

16   or candidate for City elective office that receives contributions totaling $5,000 or more that have been

17   bundled bv a single individual shall disclose the following information:

18                    (1) the name, occupation, employer, and mailing address ofthe person who bundled the

19   contributions:

20                    (2) a list of the contributions bundled by that person (including the name of the

21   contributor and the date the contribution was made),'

22                    (3) i{the individual who bundled the con!ribulions is a mem.ber ofa City board or

23   commission, the name ofthe board or commission on which that person serves, and the names of any

24   City o[ficers who al2Pointed or nominated that person to the board or commission.

25


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 1           (c) Fili1tg Requirements. Committees shall provide the information for bundled contributions

2    required by subsection (b)   aJ   the same time that they are required to file semiannual or preelection

 3   campaiin statements with the Ethics Commission. Committees shall be required to provide this

4    information -following the receipt of the final contribution that makes the cumulative amount of

 5   contributions bimdled by a single individual total $5,000 or more.

 6           (d) Website Posting. The Ethics Commission shall make all information that is submitted in

 7   accordance with subsection (b) publicly available thtough its website.

 8

 9           SEC. 1.126. CONTRIBUTION LIMITS PROHIBITION - CONTRACTORS DOING

10   BUSINESS WITH THE CITY.

11           (a) Definitions. For purposes of this Section 1.126, the following words and phrases

12   shall mean:

13           "Affiliate" means any member o(an entity's board ofdirectors or any ofthat entity ' principal

14   officers, including its chairperson, chief executive officer, chief.financial o[ficer, chief operating officer,

15   any person with an ownership interest of more than 10% in the entity, and any subcontractor listed in

16   the entity 1s bid or contract.

17           "Board on which an individual serves" means the board to which the officer was elected and

18   any other board on which the elected officer serves.

19           "City Contractor " means any person who contracts with. or is seeldng a contract with. any

20   department of the City and County ofSan Francisco, a state agency on whose board an appointee of a

21   City elective officer serves, the San Francisco Unified School District, or the San Francisco

22   Community College District, when the total anticipated or actual value ofthe contract(s) that the

23   person is party to or seeks to become party to with any such entity within a ti.seal year equals or

24   exceeds $] 00, 000.

25



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                                                                                                     App. B_251
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 1            "Contract" means any agreement or contract, including any amendment or modification to an

 2   agreement or contract, with the City and County o(San Francisco, a state agencv on whose board an

 3   appointee ofa City elective officer serves, the San Francisco Unified School District. or the San

 4   Francisco Community College District for:

 5                      (1) the rendition ofpersonal services.

 6                      (2) the fim1ishing o[any material, supplies or equipment,

 7                      (3) the sale or lease o(any land or building.

 8                      (4) a grant, loan, or loan guarantee. or

 9                      (5) a development agreement.

10   "Contract'' shall not mean a collective bargaining agreement or memorandum ofunderstanding

11   between the City and a labor union representing City employees regarding the terms and conditions of

12   those employees ' City employment.

13                      (1) ''Person 11vho eontracts wi.'h. 11 ;,wludes tmyp0rty orpf'ospecfrveparty to a contract,

14   as well any me1nher ofth€ltp€lrty's hoc1rd &/direct.ors, its chairpersm'l, chicfexecuti~e <>!fleer, chief

15   jinttncial &jficer, chicfopereting e:ffieer, f:lnyperson with en 01,rnership interest <>fmore than 2Opereef'lt

16   ilr.z the pttrty, f:ll'l)l subcoF1tfflctor listed in   a bid oJ· contract, and any committee, as defined by this

17   Ch0.pter that is sponsored or eon.trolled by the petty~provided that the pro ;1isiens ofSeetiOf~ 1. Il4 of
                                                                                               1




18   this Chapte,v governing aggregation f>}ajfilieted entity contributions shell apply Of1ly to the p€1rt),• or

19   prospecti-pe pert)• to the eont-reet.

20                      (2) "Contract" means tmy agreement or contract, including tmy amer<tdment or

21   ,nodification to an agreemem or contnict, 1,1,•ith the City tmd County o}Saf~ Fn:meiseo, e sfflM agency en

22   whose beard m~ BfJPeiJ'/Jee <>fa City eleet.i-ve officer serves, the &In Frtmciseo Unified School Distriel,

23   or the &m Francisco Com,nunity College Distrietfor:

24                                ?1) the rendition ofpersonal services,

25                                (BJ thefarnishing 0-fe.ny mate,·i£1l, supplies or equipment,



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                                                                                                              App. B_252
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 1                               (C) the sek or kase ofany kind or lndlding, or
 2                               (DJ   a grant, loan or kmn guaremee.

 3                    (3) "Board on which an i-nd-i"·idual serves" means the board to ·which the afficer was

 4   efoeted m~d any other boa-tdon which the elected officer serves.

 5           (b) Prohibition on Contribution~. No City Contractor or affiliate ofa City Contractor

 6   may make anv contribution to: pers<:m ;11ho eo;~f:rc1.ets with the City ilffd County <>f&m Fra;'lcisco, a sff:lte
                                                 1




 7   agency on whose board an 6fJPOif1tee ofa City electfye offieer series, the &m Francisco Unified School

 8   District, or the &m FraMeiseo Commzmity College District,

 9                    (1) Shell mt1lre any eontributio,9. to:

10                   W      {ll An individual holding a City elective office if the contract or contracts

11   must be approved by such individual, the board on which that individual servesL or a state

12   agency on whose board an appointee of that individual serves;

13                    fB)   al   A candidate for the office held by such individual; or

14                   (G) {1J_ A committee controlled by such individual or candidate,.

15                    (2) Whe,~er'ct the agreeme,·'!t or eo1'ltract has a t-otel anticipatiJd or actual vahte e>J

16   $50,000.00 or 199,ore, er a cembincttien er series afs1:wh elgreeme,~ts or eot'ltrnets spproved 8)' thet same

17   ind-i-vi6h1al or beard hnve a ·,al:uc of $50, ()0(). 00 or mere   iii   etfiseal year ef lhe City anti Ccntnty

18           (Jf (c) Term of Prohibitions. The prohibitions set forth in subsection (b) shall apply from the

19   submission of a proposal for a contract until: At any timefrom the eemme1weuw1q.' e,fncgetiatiansfor

20   such contrelct zmtil.;_

21                    fAf ill The termination of negotiations for such contract; or

22                    {Bf aJ_ 84:JE 12 months have elepsed from the date the contract is approved.:.

23           fe} @_ Prohibition on Receipt ef 0mttilmtim1 Soliciting or Accepting Co1itributio11s. No

24   individual holding City elective office, candidate for such office, or committee controlled by such

25   an individual shall~ solicit er



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                                                                                                             App. B_253
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 1                    (JJ accept any contribution prohibited by subsection (b),· or

 2                    (2) solicit anv contribution prohibited by subsection (b) from a person who the

 3   individual A.?wws or has reason to know to be a City Contractor.

 4           et any timefrom the forF1u1l S'ltbmissiof'l. of the eontrnct 10 the individt.•el until the fermination of

 5   negotiations for the eontrnet or six months have efrlpsedfrom the date the contract is appro)•ed. For

 6   the purpose of this subsection, a conrnwt isjormally submiUed to the Board afSupenlisors at the time

 7   of the il'itroduetion ofa resolutioJ'I; to appto1>'e the co,"itraet.

 8           {df ill. Forfeiture of Dontrihutiim Co11tributio1t. In addition to any other penalty, each

 9   committee that reeeh•es accepts a contribution prohibited by subsection fe}             021 shall pay
10   promptly the amount received or deposited to the City and County of San Francisco and

11   deliver the payment to the Ethics Commission for deposit in the General Fund of the City and

12   County; provided that the Commission may provide for the waiver or reduction of the forfeiture.

13           fe) (I)_ Notification.

14                    ( 1) J'."espective Panics hJ Coutmets Notificatioll by City Agencies.

15                             (A) Prospective Parties to Co11tracts. The City agency seeking to enter into a

16   contract subiect to subsection {b) shall inform any Any prospective party to a contract witli the City

17   emd County r>f&m Premcisco, a state agency on whose board tm appointee o-fa City eleeti'lle i>fficer

18   ser,;es, the San Fra,~cisco Unified School District, or the Sa,~ Frmwisco Community College District

19   sh6ll iriform each person described in Subsection (a)(I) of the prohibition in S~ubsection (b) and of

20   the duty to notify the Ethics Commission, as described in subsection {1)(2), by the comme;~cement &j

21   negotiations by the submission ofa proposal for such contract.

22                             (B) Pal'tles to Executed Contracts. After the final execution ofa contract by a

23   CiD, agency and any required approvals o(a City elective officer, the agency that has entered into a

24   contract subiect to subsection ({2) shall inform any parties to the contract ofthe prohibition in

25   subsection {b) and the term o(such prohibition established by subsection (c) .



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                                                                                                       App. B_254
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 1                  (2) Notification o(Etltics Commission. The City agency seeking to enter into a

 2   contract subiect to subsection (b) shall notify the Ethics Commission, withtn 30 days o[lhe submission

 3   of a proposal, on a form or in a format adopted by the Commission, ofthe value of the desired

 4   contract, the parties to the contract, and any subcontractor listed as part ofthe proposal.

 5                  (3) Notification by Prospective Parties to Contracts. Any prospective party to a

 6   contract subiect to subsection (b) shall, by the submission of a proposal for such contract, inform any

 7   member o(that party's board of directors and any o(that party s principal officers, including its

 8   chairperson, chief executive officer, chief financial officer, chief operating officer. any person with an

 9   ownership interest of more than 10% in the party, and any subcontractor listed in the party 's bid or

10   contract ofthe prohibition in subsection (b).

11                  R) f.11 Notification by Individuals Who Hold City Elective Office. Every

12   individual who holds a City elective office shall, within five business days of the approval of a

13   contract by the officer, a board on which the officer sitsL or a board of a state agency on which

14   an appointee of the officer sits, notify the Ethics Commission, on a form or in a format adopted

15   by the Commission, of each contract approved by the individual, the board on which the

16   individual servesL or the board of a state agency on which an appointee of the officer sits. An

17   individual who holds a City elective office need not file the form required by this subsection

18   {f)_(j_J_if the Clerk or Secretary of a Board on which the individual serves or a Board of a State

19   agency on which an appointee of the officer serves has filed the form on behalf of the board .

20
21          SEC. 1.135. SUPPLEMENTAL PRE-ELECTION STATEMENTS.

22           (a) Supplemental Preelection Statements - Ge11eralPurpose Committees. In addition

23   to the campaign disclosure requirements imposed by the California Political Reform Act and

24   other provisions of this Chapter    L   a San Francisco general purpose committee that makes

25   contributions or expenditures totaling $500 or more during the period covered by the



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 1   preelection statement, other than expenditures for the establishment and administration of

2    that committee, shall file a preelection statement before any election held in the City and

 3   County of San Francisco at which a candidate for City elective office or City measure is on the

4    ballot.

 5             (b) Time for Filing Supplemental Preelection Statements - General Purpose

 6   Committees.

 7                   (1) Even-Numbered Years. In even-numbered years, preelection statements

 8   required by this Sectim, subsection (a) shall be filed pursuant to the preelection statement filing

 9   schedule established by the Fair Political Practices Commission for county general purpose

10   recipient committees. In addition to these deadlines, preelection tatements shall also be filed, for

11   the period ending six days before the election, no later than four days before the election.

12                   (2) Odd-Numbered Years. In odd-numbered years, the filing schedule f.m:..

13   preelection statements is as follows:

14                          flt {Al For the period ending 45 days before the election, the statement

15   shall be filed no later than 40 days before the election;

16                          (# [Jll For the period ending 17 days before the election, the statement

17   shall be filed no later than 12 days before the election-:-; and

18                          (C) For the period ending six days before the election, the statement shall be

19   filed no later than four days before the election.

20             (c) Time for Filing Supplemental Preelection Statements - Ballot Measure Committees lUUl

21   Candidate Committees. In addition lo the deadlines established by the Fair Political Practices

22   Commission, ballot measure committees and candidate committees required to file preelection

23   statements with the Ethics Commission shall file a third preelection statement before any election held

24   in the City and County o{San Francisco at which a candidate for City elective office or City measure is

25


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1    on the ballot, for the period ending six days before the election, no later than four days before the

2    election.

3           -(e) @.. The Ethics Commission may require that these statements be filed electronically.

4

 5           SEC. 1.142. PROCESS FOR ESTABLISHING ELIGIBILITY; CERTIFICATION BY

6    THE ETHICS COMMISSION.

 7           (a) STATEMENT OF PARTICIPATION OR NON-PARTICIPATION. Each candidate

 8   for the Board of Supervisors or Mayor must sign and file a Statement of Participation or Non-

 9   Participation in the public financing program. The statement must be filed by the candidate

10   with the Ethics Commission no later than the deadline for filing nomination papers. On the

11   statement, each candidate shall indicate whether he or she intends to participate in the public

12   financing program. A statement of participation or non-participation may not be amended

13   after the deadline for filing nomination papers.

14           (b) DECLARATION BY CANDIDATE. To become eligible to receive public financing

15   of campaign expenses under this Chapter, a candidate shall declare, under penalty of perjury,

16   that the candidate satisfies the requirements specified in Section 1.140. Candidates shall be

17   permitted to submit the declaration and any supporting material required by the Ethics

18   Commission to the Ethics Commission no earlier than nine months before the date of the

19   election, but no later than the 70th day before the election. Once the declaration and

20   supporting material are submitted, they may not be amended. The declaration and supporting

21   material may be withdrawn and refiled , provided that the refiling is made no later than the 70th

22   day before the election.

23           If any deadline imposed by this Subsection falls on a Saturday, Sunday, or legal

24   holiday, the deadline shall be the next business day.

25



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 1          (c) DETERMINATION OF ELIGIBILITY. The Executive Director of the Ethics

 2   Commission shall review the candidate's declaration and supporting material to determine

 3   whether the candidate is eligible to receive public funds under this Chapter. The Executive

4    Director may audit the candidate's records, interview contributors and take whatever steps the

 5   Executive Director deems necessary to determine eligibility. At the request of the Executive

 6   Director, the Controller shall assist in this review process.

 7          (d) DETERMINATION OF OPPOSITION. To determine whether a candidate for the

 8   Board of Supervisors is opposed as required under Section 1.140(b)(3) of this Chapter or a

 9   candidate for Mayor is opposed as required under Section 1.140(c)(3) of this Chapter, the

10   Executive Director shall review the material filed pursuant to Section 1.152 of this Chapter,

11   and may review any other material.

12          (e) CERTIFICATION. If the Executive Director determines that a candidate for Mayor

13   or the Board of Supervisors has satisfied the requirements of Section 1. 140, the Executive

14   Director shall notify the candidate and certify to the Controller that the candidate is eligible to

15   receive public financing under this Chapter. The Executive Director shall not certify that a

16   candidate is eligible to receive public financing if the candidate's declaration or supporting

17   material is incomplete or otherwise inadequate to establish eligibility. Except as provided in

18   subsection (h), the Executive Director shall determine whether to certify a candidate no later

19   than 30 days after the date the candidate submits his or her declaration and supporting

20   material, provided that the Executive Director shall make all determinations regarding whether

21   to certify   a candidate no later than the 55th day before the election.
22           (f) RESUBMISSION. If the Executive Director declines to certify that a candidate is

23   eligible to receive public financing under this Chapter, the Executive Director shall notify the

24   candidate. Notwithstanding Section 1.142(b) of this Chapter, the candidate may, within five

25



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 1   business days of the date of notification, resubmit the declaration and supporting material. If

2    the candidate does not timely resubmit, the Executive Director's determination is final.

 3          If, after viewing resubmitted material, the Executive Director declines to certify that a

4    candidate is eligible to receive public financing under this Chapter, the Executive Director

 5   shall notify the candidate of this fact. Additional resubmissions may be permitted in the

6    Executive Director's discretion. If the candidate fails to resubmit in the time specified by the

7    Executive Director, or if no further resubmissions are permitted, the Executive Director's

 8   determination is final.

 9          (g) APPEAL TO THE ETHICS COMMISSION. If the Executive Director declines to

10   certify that a candidate is eligible to receive public financing under this Chapter, the candidate

11   may appeal the Executive Director's final determination to the Ethics Commission. The

12   candidate must deliver the written appeal to the Ethics Commission within five days of the

13   date of notification of the Executive Director's determination.

14          (h) SUPERVISORIAL CANDIDATES SEEKING ELECTION IN NOVEMBER 2012.

15   The Exeouti',e Director shall not certify any supervisorial candidates seeking eleotion in

16   No111ember 2012 as eligible to receive public funds until the Redistricting Task Force,

17   convened by the Board of Supervisors in Ordinance No. 93 11 , has completed its 2012

18   revision of supervisorial distriot boundaries. Supervisorial candidates seeking election in

19   No\1ember 2012 may submit their declaration and any supporting material concerning their

20   eligibility to the Ethics Commission prior to the completion of the Redistricting Task Force's

21   revision of supervisorial district boundaries.

22
23          SEC. 1.163.5. DJSTRJBUTI-0.V OF CAAIPAIGNA»VERTISEAfENTS COlVTA!NING

24   FALSEEl,fJJORSKAtfElVTS.

25



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 1             (a) Pu,hibition. Nepet·so,q may sponsor any campaign ad1lertisemet9t that is distributed

2    within 90 days prior to an eleetio~~ tmd fJuit em~ffii19:s afelse endorsement, where the person acts with

 3   low·wfodge ofthefalsity ofihe endorsement or ·wilh reckless dis,·cgardfer the truth orjalsity o.f'the

4    endorsenw1<Jt. Afalse endorsement is a statement signature, photogre1ph, ot· .image represeniing that a

 5   person expressly endotses or conveys support for        Of     opposition to a candidare or metl:S-ure whe19: inf-act

 6   the persol'i does 1-tol expressly endm·se or convey support for           Of   opposition to the em<1didste or measure

 7   tl:S stated or implied il'l #w earl'tpaign c01nmu19:ication.

 8             (b) Definitions. Whene'.Jer in this Section thefeUowing words or phrases are ·used. they shall

 9   me6i'r.

10                    (1) "Cctntpc1ign Athertiseme19:t" is any mailing, flyer, door !um.ger, pamphlet broehute,

11   card, sign billboa.,•·d; facsimile, pt·inled c1d~ ertisement, btoadeast, cable, sate!life, radio, internet, or
                                                      1




12   recorded telephone advertiseme,"lt thet refers to one or more el-early identified candidates ot balfot

13   measiu-es. The term "can9JJaig,2 ed',Jertisement" does         /'IOl   ineh1de:

14                            ~4) bumper stickers pins. stickers. hat ban.ds, badges, ribbfms r:md othe~· similar

15   eampeig,~ memornbilia;

16                            (BJ news stories, convt'ICl'ltflries or editorials distributed through eny newspape,•·,

17   radio, station, tek;1ision skttim1 or other reeog,'lh:ed ,wws med-i:1;1m. imless such news medi-wn is 01,vned
18   or controlled by anypoliticalparty, political committee or candidate; or

19                            (CJ nwtf!rial distribided to ell members, employees and shc1reholders (:}fan

20   organifzation, other tha19, a political p0rty;

21                    (2) "lnten~et Advertiseme,~t" i;'lchtdes paid iillernet advertiseme1~t.!l such        f1S   "benner"

22   and "popup" advertisements, paid emails, or emails sent lo addresses p1:trchaserifrom another persol't,

23   end similar types ef inlemet advertisements as tkfined by the Ethics Com,•nission by regttlation, hut

24   sluill not include web blogs, listserves sent to persons who ,¼e))e conlacled the sender, discussim~

25   forums~ or ge;'leralpostings on web pages.



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 1                    (3) "Spenser II means te pe.y fer, direct, super'v ise or authorize the prodir.etion &f
                                                                               1




 2

 3           (c) E1ifo,eemelft a-m l P-e11aliies. The penalties 1mder Secti019; 1. l 70(a) &/this G¼€1pter de net

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 5   Chapter, a veter m«y bring an aetien to enJein a violatien e:;f"this Section immediate{<)' uponpro·;iding

 6   written notice to the Ci.'y A uomey. A court may enjoin a violation &fthis sec/ion only upon a showing

 7   &/clear and con,•incing evidence ofa violation.

 8
 9           SEC.1 .158. MAJOR DONORS FINANCIAL DISCLOSURES.

10           (a) Definitions. Woonever in this Section 1.158 the following words or phrases are

11   used, they shall mean:

12           "Business entity" shall mean any corporation, partnership, or other legal entity that is

13   not a natural person, but shall not include any nonprofit organization that is exempt from

14   taxation under Section 501(c) of the United States Internal Revenue Code.

15           "Committee" shall mean any committee that: (1) qualifies as committee pursuant to

16   Section 82013 of the California Government Code, including as that Section may be amended

17   in the future; and (2) is required to file campaign statements w ith the Ethics Commission.

18           ''Doing business'' shall be defined as set forth in Title 2, Section 18230 of the California

19   Code of Regulations.

20           "Immediate family'' shall be defined as spouse, regist ered domestic partner, and a ny

21   dependent children; "dependent child'' shall be defined as set forth in Title 2, Section 18220.1

22   of the California Code of Regulations.

23           ~kv.«estment" shall be defined as set forth in Section 82034 of the California

24   Government Code and Title 2, Section 18237 of the California Code of Regulations.

25           (b) Financial disclosures.



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 1                  (1) Required disclosures. Any entity or person Who during a calendar year

 2   oontributes $10,000 or more to a single committee, must disclose the following financial

 3   interests, within 24 hours of meeting the $10,000 threshold:

4                          (A) All investments worth $10,000 or more in any business entity located

 5   in or doing business in San Francisco held by the contributor or a member of the contributor's

 6   immediate family; provided that the follm3.iing in1Jestments do not need to be disclosed:

 7                               (i) government bonds (including municipal bonds), diversified

 8   mutual funds, or exchange traded funds;

 9                               (ii) bank accounts, savings accounts, money market funds, or

10   oertificates of deposit;

11                               (iii) insurance policies;

12                               (iv) annuities;

13                               0J)   commodities;

14                               (vi) shares in a credit union;

15                               (vii) in11estments in defined benefit pension funds through a

16   §G-Vernment employer; and

17                               (viii) investments held in a blind trust.

18                         (B) All business entities located in or doing business in San Francisco in

19   which the contributor holds the position of and receives compensation as director, officer,

20   partner, trustee, employee, or any position of management-:-

21                  (2) Filing. Persons required to make the disclosures required by subsection

22   (b)(1) shall disclose such information by filing a form, to be specified by the Ethics

23   Commission, with that agency.

24                         (A) For any disclosure required by subsection (b)(1)(A) , the disclosure

25   shall include the name of business entity, a general description of the business entity, the



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 1   nature of the investment, the date on which the investment was acquired, and the fair market

 2   value of the investment. The fair market value of the investment shall be disclosed according

 3   to the following ranges: $10,000 $100,000, $100,000 $1 ,000,000 or -$1 ,000,000 or more.

4                        (B) for any disclosure required by subsection (b)(1 )(B), the disclosure

 5   shall include the name of the business and a general description of the business entity.

 6

 7          SEC. 1.161 . CAMPAIGN ADVERTISEMENTS.

 8          (a) DISCLAIMERS. In addition to complying with the disclaimer requirements set forth

 9   in Chapter 4 of the California Political Reform Act, California Government section 84100 et

10   seq., and its enabling regulations, all committees making expenditures which support or

11   oppose any candidate for City elective office or any City measure shall also comply with the

12   following additional requirements:

13                (1) TOP -FWf) THREE CONTRIBUTORS. The disclaimer requirements for

14   primarily formed independent expenditure committees and primarily formed ballot measure

15   committees set forth in the Political Reform Act with respect to a committee's top twe three

16   major contributors shall apply to contributors of $20,000 $10,000 or more. The Ethics

17   Commission may adjust this monetary threshold to reflect any increases or decreases in the

18   Consumer Price Index. Such adjustments shall be rounded off to the nearest five thousand

19   dollars.

20                 (2) WEBSITE REFERRAL. Each disclaimer required by the Political Reform

21   Act or its enabling regulations and by this section shall be followed in the same required

22   format, size and speed by the following phrase: "Financial disclosures are available at

23   sfethics.org.'' A substantially similar statement that specifies the web site may be used as an

24   alternative in audio communications.

25



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 1                  (3) MASS MAILINGS AND SMALLER WRITTEN ADVERTISEMENTS. Any

 2   disclaimer required by the Political Reform Act and by this section on a mass mailing, door

 3   hanger, flyer, poster, oversized campaign button or bumper sticker, or print advertisement

 4   shall be printed in at least 12-point font.

 5                  (4) CANDIDATE ADVERTISEMENTS. Advertisements by candidate

 6   committees shall include the following disclaimer statements: "Paid for by _ _ _ _ _ (insert

 7   the name of the candidate committee)." and "Financial disclosures are available at

 8   sfethics.org." Except as provided in subsection~ (a)(3) and (a)(5). the statements' format, size

 9   and speed shall comply with the disclaimer requirements for independent expenditures for or

10   against a candidate set forth in the Political Reform Act and its enabling regulations.

11                  (5) AUDIO AND VIDEO ADVERTISEMENTS. For audio advertisements. the

12   disclaimers required by this Section 1.161 shall be s poken at the beginning   end ofsuch
13   advertisements. For video advertisements. the disclaimers required by this Section 1.161 shall be

14   spoken at the beginning end ofsuch advertisements and appear in writing during the entirety of

15   the advertisements.:.

16          ****

17
18          SEC. 1.162. ELECTIONEERING COMMUNICATIONS.

19          (a) DISCLAIMERS.

20                  (1) Every electioneering communication for which a statement is filed pursuant

21   to subsection (b) shall include the following disclaimer: "Paid for by _ _ _ _ _ (insert the

22   name of the person who paid for the communication)." and ''Financial disclosures are

23   available at sfethics.org ."

24                  (2) Any disclaimer required by this Section shall be included in or on an

25   electioneering communication in a size, speed or format that complies with the disclaimer



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 1    requirements for independent expenditures supporting or opposing candidates set forth in the

 2    Political Reform Act and its enabling regulations.

 3                         (3) Notwithstanding subsection (a)(2), any disclaimer required by this Section:

 4                               {ALto appear on a mass mailing, door hanger, flyer, poster, oversized

 5    campaign button or bumper sticker, or print advertisement shall be printed in at least 12 poi,~t

 6    14-point font,:.,.

 7                               (B) to be included in an audio advertisement, shall be spoken at the beginning

 8    end ofsuch advertisements: or

 9                               (C) to be included in a video advertisement, shall be spoken at the beginning

10    end ofsuch advertisements and appear in writing during the entirety of the advertisements.,_

11             (b) REPORTING OBLIGATIONS.

12                         (1) Every person who makes payments for electioneering communications in an

13    aggregate amount of $1,000 per candidate during any calendar year shall, within 24 hours of

14    each distribution, file a disclosure statement with the Ethics Commission. For the purposes of

15    this subsection, payments for a communication that refers only to one candidate shall be

16    attributed entirely to that candidate. Payments for a communication that refers to more than

17    one candidate, or also refers to one or more ballot measures, shall be apportioned among

18    each candidate and measure according to the relative share of the communication dedicated

19    to that candidate or measure.

20                         (2) Each disclosure statement required to be filed under this Section shall

21    contain the following information for each communication:

22             ****

23                               (E) a legible copy of the electioneering communication, including any

2.4   electioneering communication distributed electronically through electronic media technologies"°

25    and



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 1                                (i) if the communication is a telephone call, a copy of the script

2    and if the communication is recorded , the recording shall be provided; or

 3                                (ii) if the communication is audio or video, a copy of the script and

4    an audio or video file shall be provided.

 5          * * **

 6

 7          SEC. 1.163. MEMBER COMMUNICATIONS.

 8          ****

 9          (b) Each disclosure statement required to be filed under this Section shall contain the

10   following information:

11                   (1) the full name, street address, city, state and zip code of the person making

12   payments for member communications;

13                   (2) the name of any individual sharing or exercising direction and control over

14   the person making payments for member communications;

15                   (3) the distribution date of the member communication, the name(s) and

16   office(s) of the candidate(s) for City elective office or City elective officer(s) referred to in the

17   communication, the payments for the communication attributable to each such candidate or

18   officer, a brief description of the consideration for which the payments for such costs were

19   made, whether the communication supports or opposes each such candidate or officer, and

20   the total amount of reportable payments made by the person for member communications

21   supporting or opposing each such candidate or officer during the calendar year;

22                   (4) a legible copy of the member communication. including any member

23   communication distributed electronically; and

24                          (A) if the communication is a telephone call, a copy of the script and if

25   the communication is recorded , the recording shall be provided; or



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 1                         (B) if the communication is audio or video, a copy of the script and an

 2    audio or video file shall be provided.

 3

 4

 5           SEC. 1.168. ENFORCEMENT; ADVICE.

 6           (a) ENFORCEMENT - GENERAL PROVISIONS. Any person who believes that a

 7    violation of this Chapter L has occurred may file a complaint with the Ethics Commission, City

 8    AttorneyL. or District Attorney. The Ethics Commission shall investigate such complaints

 9    pursuant to Charter Section C3.699-13 and its implementing regulations. The City Attorney

10    and District Attorney shall investigate, and shall have such investigative powers as are

1.1   necessary for the performance of their duties under this Chapter.

12           (b) ENFORCEMENT - CIVIL ACTIONS. The City Attorney, or any WJ/eF resident, may

13    bring a civil action to enjoin violations of or compel compliance with the provisions of this

14    Chapter L

15                  {LLNo WJl.ef' resident may commence an action under this S,s.:ubsection @_without

16    first providing written notice to the City Attorney of intent to commence an action. The notice

17    shall include a statement of the grounds for believing a cause of action exists. The WJter

18    resident shall deliver the notice to the City Attorney and the Ethics Commission at least 60 days

19    in advance of filing an action. No 'W:#er resident may commence an action under this

20    S,s.:ubsection if the Ethics Commission has issued a finding of probable cause that the

21    defendant violated the provisions of this Chapter, or if the City Attorney or District Attorney

22    has commenced a civil or criminal action against the defendant, or if another ~ resident has

23    filed a civil action against the defendant under this S~ubsection.

24                  aJ_A Court may award reasonable attorney's fees and costs to any WHeF resident

25    who obtains injunctive relief under this S~ubsection &_. If the Court finds that an action



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 1   brought by a WHf#'- resident under this 8,£Ubsection is frivolous, the Court may award the

 2   defendant reasonable attorney's fees and costs.

 3          (c) STATUTE OF LIMITATIONS.

 4                  (1) Criminal. Prosecution for violation of this Chapter must be commenced

 5   within four years after the date on which the violation occurred.

 6                  (2) Civil. No civil action alleging a violation in connection with a campaign

 7   statement required under this Chapter shall be filed more than four years after an audit could

 8   begin, or more than one year after the Executive Director submits to the Commission any

 9   report of any audit conducted of the alleged violator, whichever period is less. Any other civil

10   action alleging a violation of any provision of this Chapter shall be filed no more than four

11   years after the date on which the violation occurred.

12                  (3) Administrative. No administrative action alleging a violation of this Chapter

13   and brought under Charter Section C3.699-13 shall be commenced more than four years after

14   the date on which the violation occurred. The date on which the Commission forwards a

15   complaint or information in its possession regarding an alleged violation to the District

16   Attorney and City Attorney as required by Charter Section C3.699-13 shall constitute the

17   commencement of the administrative action.

18                         (A) Fraudulent Concealment. I f the person alleged to have violated this

19   Chapter engages in the fi·audulent concealment ofhis or her acts or identity. this four-year statute of

20   limitations shall be tolled for the period ofconcealment. For purposes ofthis subsection, "fi-az,dulent

21   concealment" means the person knows ofmaterial facts related to his or her duties under this Chapter

22   and knowingly conceals them in performing or omitting to perform those duties.

23                  (4) Collection of Fines and Penalties. A civil action brought to collect fines or

24   penalties imposed under this Chapter shall be commenced within four years after the date on

25   which the monetary penalty or fine was imposed. For purposes of this Section, a fine or



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 1   penalty is imposed when a court or administrative agency has issued a final decision in an

 2   enforcement action imposing a fine or penalty for a violation of this Chapter or the Executive

 3   Director has made a final decision regarding the amount of a late fine or penalty imposed

 4   under this Chapter. The Executive Director does not make a final decision regarding the

 5   amount of a late fine or penalty imposed under this Chapter until the Executive Director has

 6   made a determination to accept or not accept any request to waive a late fine or penalty

 7   where such waiver is expressly authorized by statute, ordinance, or regulation .

 8          * ** *

 9          (e) D EBARMENT

10          The Ethics Commission mqy, afier a hearing on the merits or pursuant to a stipulation among

11   all parties. recommend that a Charging Official authorized to issue Orders of Debarment under

12   Administrative Code Chapter 28 initiate debarment p roceedings against any person in conformance

13   with the procedures set forth in that Chapter.

14
15          SEC. 1.170. PENALTIES.

16          (a) CRIMINAL. Any person who knowingly or willfully violates any provision of this

17   Chapter L shall be guilty of a misdemeanor and upon conviction thereof shall be punished by

18   a fine of not more than $5,000 for each violation or by imprisonment in the County jail for a

19   period of not more than six months or by both such fine and imprisonment; provided, however,

20   that any willful or knowing failure to report contributions or expenditures done with intent to

21   mislead or deceive or any willful or knowing violation of the provisions of Section~ 1.114,....QL

22   1. 126, or 1.127 of this Chapter shall be punishable by a fine of not less than $5,000 for each

23   violation or three times the amount not reported or the amount received in excess of the

24   amount allowable pursuant to Section,t 1.114-;-,QJ: 1.126, and 1.127 of this Chapter, or three

25



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 1   times the amount expended in excess of the amount allowable pursuant to Section 1.130 or

 2   1 . 1 40➔,   whichever is greater.

 3           (b) CIV IL. Any person who intentionally or negligently violates any of the provisions of

 4   this Chapter L shall be liable in a civil action brought by the civilpresee'blJor City Attorney for an

 5   amount up to $5,000 for each violation or three times the amount not reported or the amount

 6   received in excess of the amount allowable pursuant to Section~ 1.114.,,m 1.126, and 1.127 or

 7   three times the amount expended in excess of the amount allowable pursuant to Section

 8   1.130 or 1 . 140➔, whichever is greater. In determining the amount o[liability, the court may take
 9   into account the seriousness ofthe violation. the degree ofculpability ofthe defendant, and the ability

10   ofthe defendant to pay.

11           (c) ADM INIST RATIVE. Any person who intentienally or negligently violates any of the

12   provisions of this Chapter L shall be liable in an administrative proceeding before the Ethics

13   Commission held pursuant to the Charter for any penalties authorized therein.

14           ****

15
16           Section 2. T he Campaign and Governmental Conduct Code, Article Ill, Chapter 2, is

17   hereby amended by revising Section 3.203 and adding Sections 3.207, 3.209, and 3.231 to

18   read as follows:

19           SEC. 3.203. DEFINITIONS.

20           Whenever in this Chapter l._the following words or phrases are used, they shall mean:

21            "Anything ofvalue " shall mean anv money or property. private financial advantage, service,

22   payment, advance, forbearance, loan,   OJ-   promise of future employment, but does not include

23   compensation and expenses paid by the City, contributions as defined herein, or gifts that qualify for

24   gift exceptions established by State or local law.

25



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 1           "Associated, " when used in reference to an organization. shall mean any organization in ·which

2     an individual (JI' a member of his or her immediate family is a director, officer. or trustee, or owns or
 3-   controls, directly or indirectly, and severally or in the aggregate. at least 10% ofthe equity. or of which

4     an individual or a member of his or her immediate family is an authorized represm:itative or agent or

 5    employee.

 6             City elective officer" shall mean a person who holds the offece ofMavor, Member ofthe Board
              11




 7    ofSupervisors. City Attorney. District Attorney, Treasurer. Sheri(!. Assessor and Public Defender.

 8            "Contribution " shall be defined as set forth in the California Political Reform Act, California

 9    Government Code section 81000, et seq.

10            "Fundraising ' shall mean:

11           (a) requesting that another person make a contribution:

12           (b) inviting a person to a fimdraising event;

13           (c) supplying nanies to be used for invitations to a fundraiser:

14           (d) permiUing one's name or signature to appear on a solicitation for contributions or an

15    invitation to a fundraising event;

16            (e) permitting one 's official title to be used on a solicitation for contributions or an invitation to

17    a fimdraising event;

18            {{) providing the use ofone s home or business for a -fimdraising event,·

19            (g) paying for at least 20% ofthe costs ofa fimdraising event,·

20            (h) hiring another person to conduct a fimdra;sing event,·

21            (i) delivering a conttibution, other than one 's own. by whatever means to a City elective

22    officer. a candidate for City elective office, or a candidate-controlled committee,· or

23            (j) acting as an agent or intermedia1y in connection with the making of a contribution.

24            ''Immediate family" shall mean spouse. registered domestic partner, and dependent children.

25


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 1          {e) "Officer" shall mean any person holding City elective office; any member of a board
 2   or commission required by A rticle Ill, Chapter 1 of this Code to file g_statements- of economic

 3   interests; any person appointed as the chief executive officer under any such board or

4    commission; the head of each City department; the Controller; and the City Administrator.

 5           (h) "City e/.ecti>.•e office" shall mum the offices ofMayor, }lfe,...,iber efthe Boani ofSuper'IJisors,

 6   CityA.ftomey, Dit,·trict Auonw:,,\ Treasurer, Sheriff, ,1ssesso,· m1d Public Defe;~der.

 7           "Solicit" shall mean personally requesting a contribution for any candidate or committee,

 8   either orally or in writing.

 9           "Subordinate employee" shall mean an employee ofany person whose official City

10   responsibilities include directing or evaluating the performance ofthe employee or any ofthe

11   employee 's supervisors.

12
13          SEC. 3.207. ADDITIONAL CONFLICTS OF INTEREST FOR CITY ELECTIVE

14   OFFICERS AND MEMBERS OF BOARDS AND COMMISSIONS.

15           (a) Prohibitions. In addition to the restrictions set forth in Section 3.206 and other provisions

16   ofthis Chapter 2, the following shall also constitute conflicts ofinterest for City elective officers and

17   members ofboards and commissions:

18                   (1) No City elective officer or member ofa board or commission may use his or her

19   public position or office to seek or obtain anything ofvalue for the private or professional benefit o(

20   himselfor herself his or her immediate family, or for an organization. with which he or she is

21   associated.

22                   (2) No City elective officer or member ofa board or commission may. directly or by

23   means ofan agent. give, offer. promise to give, withhold,     01'   offer or promise to withhold his or her vote

24   or influence, or promise to take or refrain from taking official action with respect to any proposed or

25



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 1   pending matter in consideration of. or upon condition that, any other person make or refr ain from

2    maki.ng a contribution.

3                    (3) No person may offer or give to an officer, directly or inditectlv, and.no City elective

4    ofjicer or member ofa board or commission may solicit or accept from any person, directly or

 5   indirectly, anything ofvalue ifit could reasonably be expected to influence the officer's vote, official

6    actions, or iudgment with respect to a particular pending legislative or administrative action. or

7    could reasonably be considered as a reward for any official action or inaction on the part ofthe officer.

 8   This subsection (a){3) does not prohibit a City elective officer or member ofa board or commission

 9   from engaging in outside employment.

10           (b) Exception: public generally. The prohibition set forth in subsection (a)(]) shall not apply

11   ifthe resulting benefit, advantage, or privilege also affects a significant segment ofthe public and the

12   effect is not unique. For purposes o(this subsection (b):

13                    (1)   A significant segment o(the public is at least 25% of

14                             (A) all businesses or non-profit entities within the official's iurisdiction:

15                             (B) all real property, commercial real property. or residential real property

16   ·within the official's iurisdiction,· or

17                             (C) all individuals within the official's iurisdiction.

18                    (2) A unique effect on a public official's financial interest includes a disproportionate

19   effect on:

20                             (A) the development potential or use ofthe official 's real property or on the

21   income producing potential ofthe officiat's real properh! or business entity;

22                             (B) an o-/ficial's business entitv or real property resulting -from the proximity of

23   a proiect that is the subiect ofa decision;

24
25


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                                                                                                      App. B_273
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 1                           (C) an official's interests in business entities or real properties resulting from

2    the cumulative effect o(the official's multiple interests in similar entities or properties that is

 3   substantially greater than the effect on a s;ngle interest,·

4                            (D) an official's interest in a business entity or real property resulting from the

 5   official's substantially greater business volume or larger real property size when a decision affects all

 6   interests by the same or similar rate or percentage:

 7                           (E) a person's income, investments, assets or liabilities, or real property ifthe

 8   person is a source o[income or gi(Js to the official: or

 9                           (F) an official's personal finances or those ofhis or her immediate family.

10
11           SEC. 3.209. RECUSALS.

12           {a) Recusal Procedures. Any member ofa City board or commission who has a conflict of

13   interest under Sections 3.206 or 3.207. or who must recuse himselfor herselffi:"om a proceeding under

14   California Government Code Section 84308, shall, in the public meeting ofthe board or commission,

15   upon identifying a conflict ofinterest immediately prior to the consideration ofthe matter; do all ofthe

16   following:

17                   (1) publicly identify the circumstances that give rise to the conflict o[interest in detail

18   sufficient to be understood by the public, provided that disclosure ofthe exact street address ofa

19   residence is .not required:

20                   (2) recuse himself or hersel(from discussing or acting on the matter,· and

21                   (3) leave the room until after the discussion. vote, and any other disposition ofthe

22   matter is concluded, unless the matter has been placed on and remains on the consent calendar.

23           (b) Recusal N otification. A member ofa City board or commission who is required to file a

24   statement ofeconomic inlerests pursuant to Article III. Chapter 1 ofthe Campaiwz and Governmental

25



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 1   Conduct Code shall file a recusal notification form each time the member recuses himselfor herself as

 2   required by subsection (a).

 3                  (1) The member shall file the original recusal notification form. along with a copy of the

4    meeting agenda containing the item involving the conflict o(interest. with the Ethics Commission

 5   within 15 calendar days after the date ofthe meeting at which the recusal occurred.

 6                  (2) The member shall file the recusal notification form with the Ethics Commission even

 7   ifthe member is not present at the meeting that would have involved the conflict ofinterest.
 8                  (3) The recusal notification form shall be filed under penalty ofperfwy tn a method

 9   prescribed by the Ethics Commission and shall include. at a minimum, the following:

10                          (A) the member's name.·

11                          (B) the name ofthe member 's board or commission;

12                          (C) the date ofthe meeting at which the recusal occurred or would have

13   occurred;

14                          (D) the agenda itetn number. a brief'description ofthe matter. and a statement

15   ofwhether the matter concerns the making o(a contract: and

16                          (E) the financial interest causing the recusal.

17          (c) Repeated Resusals. In the event a member of a City board or commission

18   recuses himself or herself, as required by subsection (a) during any 365 day period from

19   acting on:

20                  (1) three or more agenda items by reason of the same investment in a business

21   entity, the same interest in real property or the same source of income; or

22                  (2) 1 % or more of the matters pending before the board or commission by

23   reason of any investments in business entities, any interests in real property or any sources of

24   income. the Ethics Commission shall examine the nature and extent of the conflict(s) of

25   interest and shall determine whether the member has a significant and continuing conflict of




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 1   interest. If the Ethics Commission so determines, the Ethics Commission may recommend to

 2   the official's appointing authority that the official divest or otherwise remove the conflicting

 3   interest, and, if the official fails to dii;est or otherw ise remove the conflicting interest within 90

 4   days or as the Ethics Commission determines as reasonably practicable, the Ethics

 5   Commission may recommend to the official's appointing authority that the official should be

 6   removed from office under Charter Section 15.105 or by other means.

 7          fdtlc) Exception.. The requirements ofthis Section 3.209 shall not apply to the members ofthe
 8   Board o[Supervisors.

 9

10          SEC.. 3.231. PROHIBITIONS ON POLITICAL ACTIVITY FOR CITYELECTIVE

11   OFFICERS AND MEMBERS OF BOARDS A ND CO/JIIMISSIONS.

12          (a) So/icitatiou of Campaign Vol1111.teers. No City elective officer or member ofa board or

13   commission shall solicit uncompensated volunteer services from any subordinate employee for a

14   campaign for or against any ballot measure or candidate.

15           (b) F mulraising for A ppointi1tg Authorities.   No member ofa board or commission may
16   engage in fundraising on behalfof(]) the o"/ficer 's appointing authority, ifthe appointing authority is a

17   City elective officer: (2) any candidate for the office held by the officer's appointing authority,· or (3)

18   any committee controlled by the offecer 's a12,pointin¥ authority. For the purposes ofthis subsection,

19   "member ofa board or commission" shall not include a member o(the Board ofSupervisors.

20

21           Section 3. Section 1, The Campaign and Governmental Conduct Code, Article Ill,

22   Chapter 6, is hereby amended by revfsing Sections 3.600, 3.610, 3.620, and by adding

23   Sections 3.630, 3.640, 3.650, to read as follows:

24          CHAPTER 6: BEHESTED PAYMENT REPORTING ,.li'OR COA/A{]SSIONERS

25          SEC. 3.600. DEFINITIONS.



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 1              W henever in this Chapter 6 the following words or phrases are used, they shall have

 2   the following meanings:

 3              "Actively support or oppose" shall mean contact, testify in person before, or otherwise

4    communicate in an attempt to influence an official or employees of a board or commission

 5   (including the Board of Supervisors), including use of an agent to do any such act.

 6               "Agent" shall be defined as set forth in Title 2, Section 18438.3 of California Code of

 7   Regulations, as amended from time to time.

 8               "At the behest ot' shall mean under the control or at the direction of; in cooperation,

 9   consultation, coordination, or concert with. at the request or suggestion ol or with the express. prior

10   consent of
                 1
11               'Auetie1~eer " shall mean any person whe is engaged in the calling for, the reeo-gi~itie;1 f>f; and

12   the eccepta1we of offers for the purchtlSe ofgoods at an auction.

13               "Behested payment " shall mean a payment that is made at the behest o[an ofjicer, or an agent

14   thereol and that is made principally {or a legislative, governmental, or charitable purpose.

15               "Behested Payment Report" sh8l! mean .'he Fair PoUtieal Practices Cemmission F'onn 803, or

16   tH"lJ;   o#w1· suecesserform, required by the Fsir Politieel Practices Commission tofidjiU the disews1;we

17   reeyiti1·eme1ifs imposed by Califomia Government Code Section 820}5(h)(2)(B)(iii), as amended/rem

18   ti-l'lw to time.

19               "Charit-eble Contribution" shall meen any meneta,y er non moneuwy con(ribittion to a

20   go:vernment t1genc)~ €l bonafi-de-publie orprivaJe edueationel institution as defined in Section 203 of

21   #w Cctlifo,··nia Re,.em~e and Taxation.. Code, or an organi;;ation that is exen9:fJtfi·om tw:alion under

22   either Seetion 501(c) or Sectiol't 527 ofthe UnitedSt:0:tfJS Internal Re,;enue Cede.

23               "Cmmnissie,wr" shall mean a,"'l:j' membe," et/€1 board or eommission listed i1~ Csmpaign and

24   Goven1me~U€1l Co1'ffi.uci Code Section 3.1 ]()3(a)(1); provided, howe·;er, that "Co,'J~fl'l:issio1ier '' shel:l 1~ot

25   inelude any member o.fthe .Board 0.fSuper'IJisors.




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 1          "Contact " shall be defined as set forth in Section 2.106 ofthis Code.

2           "Financial interest" shall be defined as sel forth in the California Political Reform Act

3    (California Government Code Section 87100 et seq.), any subsequent amendments to these Sections,

4    and its implementing regulations.
            11
5            /nterestedparty " shall mean~ any partv, participant or agent ofa party or participant

6    involved in a proceeding regarding administrative enforcement. a license. a permit, or other

7    entitlement for use before an officer or any board or commission (including the Board ofSupervisors)

 8   on which the officer sits, or (ii) any person who actively supports or opposes a governmental

 9   desision by an offiser or any board or commission (insluding the Board of Supervisors) on

10   whish the officer sits, if such person has a financial interest in the decision~

11          "License, permit, or other entitlement for use" shall be defined as set forth in California

12   Government Code Section 84308, as amended from time to time .

13          "Officer " shall mean the Mayor, City Attorney, District Attorney. Treasurer, Sherill' Assessor-

14   Recorder, Public Defender, a Member o(the Board ofSupervisors, or any member o(a board or

15   commission who is required to file a Statement o(Economic Interests, including all persons holding

16   positions listed in Section 3.l-103(a)(l) o{this Code.

17          "Payment " shall mean a monetary payment or the delivery ofgoods or services.

18          "Participant" shall be defined as set forth in California Government Code Section 84308

19   and Title 2, Section 18438.4 of California Code of Regulations, as amended from time to time.

20          "Party" shall be defined as set forth in California Government Code Section 84308, as

21   amended from time to time.

22          "Public appeal" shall mean a request for a payment when such request is made by means of

23   television, radio. billboard, a public message on an online platform. the distribution ofWG 200 or

24   more identical pieces ofprinted material, the distribution of a single email to 200 or more

25   recipients .. or a speech to a group o(W 20 or more individuals.




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1            "Relative'' shall mean a spouse. domestic partner, parent. grandparent. child. sibling. parent-in-

2    law. aunt. uncle. niece. nephew. and first cousin, and includes any similar step relationship or

3    relationship created by adoption.

4

5            SEC. 3.610. REQUIRED FILING OF BEHESTED PAYMENT REPORTS.

6            (a) FILING REQUIREMENT. Jft1 Cen1missione1· dh·ee.'l,f or indif-eo#y requesls or solioits

7    €lf'l)' G!wrimble Centribution(s),   0-1·   se-rie.Y e_fChaf·imble Contrihutien6~ ji-om a-19 p€lrly, p€lrtici:ptmt tw
                                                                                                  1




 8   agent o_{€l party or participar2t invel'P'ed in llpr·oceeding reg«rdi:ng administrative e-J9.forcenw-11t; B

 9   heense, apennit; or other entitlemerit for htse be.fore the Co,nmissioi'wr 's beard or cemmissio-11, the

10   Commissioner shflllfi:le a Behested Pt1yw1er'lt Repert ·with the E#iics Cemmission b1 the foUo,ring

11   circ'ttmslances: !(an officer directly or indirectly requests or solicits any behestedpayment(..,;;) from an

12   interested party, the o[ficer shall file the behested payment report described in subsection (b) with the

13   Ethics Commission in the following circumstances:

14                   (1) ifthe perty, pttrticipmil or a-gent 19u1kes tmy Charitable Ce,~tr ibution, er· series 0:f

15   Che1rit-E1bfo Cenh"ib1;1tions, tou1ling $1,000 er n~ore white the p,··eceed-i1'1,g is pemidn-g, the CemmissioNer

16   shallfile ct Behested Ptzyme,~t Report wilhi19, 30 days o-fthe date en which the CkerUable Ce,:ztributim~

17   was made, er ifthere has been e series ofChm·Uahle Contributions, within 30 days <>}the date <m

18   which a Charitable Contribution ee1,i1ses {he total emeunt o-fthe e-o/91=rih1.:ttions ~o totel $1,000 or more;

19   ifthe interested party makes any behested payment(s) totaling $1,000 or more during thependency of

20   the matter involving the interested partv, the officer shall file a behestedpayment report within 30 days

21   ofthe date on which the behested payment was made, or ifthere has been a series ofbehested

22   payments, within 30 days ofthe elate on which the behested payment(s) total $1,000 or more:

23                   (2) ifthepe.rty, participant or cfgC-1'1! ma/res any Charitable Contrilniti01~. er series of

24   Charitable Comributions, totaling $1, (}(}(} 0r more during the three monthsfellowing the date aji,'lal

25   decision is rendered in the proceeding, the Ce-1mnissioner shall fik a Behested Payment Report 111ithir1       1




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 1   30 days ofthe date O1q ·which the Che1·it-able Contribution was made, or ifthere hes beef'1, a series o.f

 2   Charitable Coritributim'l&, within 30 d«ys ofthe date on which a G½atitabk Contrib~ttio1'l cei1ses the

 3   lOtal amount tJjthe contributions ffJ toffi:l $1,000 er more,· and i[the interested party makes any

 4   behested payment(s) totaling $1,000 or more during the six months following the date on which a final

 5   decision is rendered in the matter involvin[ the interested party, the officer shall file a behested

 6   payment report within 30 days of the date on which the behestedpayment was made, or i(there has

 7   been a series of'behested payments. wilhin 30 days o(the date on which the behested paym.enl('t) toLal

 8   $1,000 or more: and

 9                   (3) (/'theperty, particip&nt er agenl made any Charilable Contribution, er series of

10   Charit6tble Contributiens, teteli1ig $1,000 or more in the 12 menthsprior to the c0l'lnrw1'leemenl ofa

11   preeeedi1<tg, the Cemmissim'ler shall.file a Behested Payment Rcpert ;yithi1rt 30 dciys of the date the

12   Commissim'ler knew or should have known th.et the source of the Cheriteble Contribution(s) beefJme a

13   party, participant or f:lge19t in ttproeeeding be-fore lhe Commissimwr 's board or commission. i{the

14   interested party made any behestedpayment(s) totaling $1,000 or more in the 12 month prior to the

15   commencement o(a maLtet involving the interested party. the officer shall file a behested payment

16   report within 30 days ofthe dale the officer knew or should have known that the source o(the behested

17   payment(s) became an interested party.

18           (b) BEHESTED PAYMENT REPORT. The behested payment report shall in lude the

19   following:

20                   (I) name o(payot:

21                   (2) address ofpayor,·

22                   (3) amount ofthe payment(s):

23                   (4) date(s) the payment(s) were made,

24                   (5) the name and address o[the payee(s),

25


                                                                                                  App. B_280
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 1                   (6) a briefdescription ofthe goods or services provided or purchased. i(any, and a

 2   description ofthe specific purpose or event for which the payment(s) were made:

 3                   (7) if the officer or the officer's relative, staffmember, or paid campaign sta(t is an

 4   officer, executive, member o[the board ofdirectors, staffmember or authorized agent for the recipient

 5   o(the behested payment(s), such individual's name, relation to the officer, and position held with the

 6   payee:

 7                   (8) ifthe payee has created or distributed 200 or more substantially similar

 8   communications featuring the officer within the six months prior to the deadline for filing the behested

 9   payment report, a briefdescription ofsuch communication(~). the purpose ofthe commzmication(s), the

10   number ofcommunication(s) distributed. and a copy ofthe communication(s): and

11                   (9) i[in the six months following the deadline for filing the behested payment report, the

12   payee has created or distributed 200 or more substantially similar communications featuring the

13   officer, the officer shall file an amended payment report that discloses a briefdescription ofsuch

14   communication(s), the purpose ofthe commun.ication(s). the number ofcommunication(s) distributed,

15   and a copy ofthe communication(s).

16            (c) AMENDIYIENTS. ](any o(the information previously disclosed on a behested payment

17   report changes during the pendency ofthe matter involving the interested party, or within six months of

18   the final decision ;n such matter. the officer shall file an amended behested payment report.

19            (d) PUBLIC APPEALS. Notwithstanding subsection (a). no officer shall be required to report

20   any behested payment that is made solely in response to a public appeal.

21            (e) NOTICE. !fan officer solicits or otherwise requests. ;n anv manner other than a public

22   appeal, that any person make a behested payment, the official or his agent must notify that person that

23   ifthe person makes any behested payment in response to the solicitation or request, the person
                                                                                                  ._ may be
24   subiect to the disclosure and notice requirements in Section 3. 620.

25



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1            {hf {fl WEBSITE POSTING. The Ethics Commission shall make available through its

2    website all Baehested F12ayment R_reports it receives from Getnm.fssioncrs officers.

 3           (c) PE1VALTIES. A Commissioner whofails Jo comply wUh this See!itm 3. 610 is sr.·bject 10 the

4    adminishY1tiveproeessandpenalties setferth in Section 3.242(d).

 5           (d) EXCEPTJ()N. A Comn1:issiener has no obligeti01'l tojUe Behes.'ed-..¾ymenl Reports, <JS

6    required b:),· subseetioP~ (a), ifthe Commissioner solicited Chatilabte Contributions by acting as an

 7   auetionem- et a fimd-reising eventfer s J'lOnpto:fit org@'liz~tion that is exemptfrom, taxatio1i under

 8   Seet.io;'I 501 (c) (3) 0:fthe Un ired 8-tfltes Intern61l Reven1:1e Code.

 9

10           SEC. 3. 620. FILING BY DONORS.

11            (a) REPORT. Any interested pa1"ty who makes a behested payment. or series o[behested

12   payments in a calendar year, 0($1,000 $ 10.000 or more must disclose, ·within 30 davs following the

13   date on which the payment(s) totals $1,000 $10.000 or more:

14                     (1) the proceeding the interested party is or was involved in:

15                     (2) the decisions the interested party actively supports or opposes;

16                     ~(2) the outcome(s) the interested party is or was seeking in such proceedings or

17   decisions,· and

18                     ~(3) any contact(s) the interested party made in relation to such proceedings or

19   decisions.

20            {b) NOTICE. Any person who makes a behested payment must notify the recieient that the

21   payment is a behested payment. at the time the_payment is made.

22
23           SEC. 3.630. FILING BY RECIPIENTS OF MAJOR BEHESTED PAYMENTS.

24
25


     Supervisor Peskin                                                                             App. B_282
     BOARD OF SUPERVISORS                                                                                     Page 41
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 1          (a) MAJOR BEHESTED PAYMEN T REPORT. Any person who receives a behesled

2    payment, or a series ofbehested payments, received during a calendar year. totaling $100. 000 or more

 3   that was made at the behest o(anv officer must do the following:

4                     (I) within 30 days following the date on which the payment(s) total $100,000 or more,

 5   notify the Ethics Commission that the person has received such pavment(s) and specify the date on

6    which the payment(s) equaled or exceeded $100. 000:

7                     (~) within 13 months following the date on which the payment(s) or payments total

 8   $100. 000 or more, but al least 12 months following the date on which the payment(s) total $100. 000 or

 9   more, disclose:

10                           (i) all payments made by the person that were funded in whole or in part by the

11   behestedpayment(s) made at the behest o[the offjcer,' and

12                           (ii) ifthe person has acti'lely supported or oppesea was an interested

13   party in any City decision(s) involving the officer in the 12 months following the date on which the

14   payment(s) were made:

15                                  (A) the proceeding the person is or was involved in:

16                                  (B) the decision(s) the person actively supported or opposed:

17                                  {C) the outcome(s) the person is or was seeking in such proceedings or

18   decisions: and

19                                  (D) any contact(s) the person made in relation lo such proceedings or

20   decisions.

21          (b) EXCEPTION. Subsection (a) does not apply ifthe entity receiving the behested payment is

22   a City department.

23          (c) NOTICE REQUIRED. If a recipient ofa behested pavment does not receive the notice. as

24   required under Section 3. 620. that a particular pavment is a behested payment. the recipient will not be

25   subiect to penalties under Section 3. 650, as regards that particulm· payment. for failure to file pursuant



     Supervisor Peskin
                                                                                                 App. B_283
     BOARD OF SUPERVISORS                                                                                Page 42
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 1   to subsection (a) unless it is clear from the circumstances that the recipient knew or should have known

2    that the payment was made at the behest o( an. officer.

 3

4           SEC . J.6ZO 3.640. REGULATIONS.

 5          (a) The Ethics Commission may adopt rules , regulations, and guidelines for the

 6   implementation of this Chapter 6.

 7          (b) The Ethics Commission may, by regulation , require persons Commissienets to

 8   electronically submit any S!tbsfflntially the same information es required by the Behes1edP0yment

 9   Rcpert to fulfill their obligations under Sectim~ 3. 610 this Chapter 6.

10
11          SEC. 3.650. PENALTIES.

12          Any party who fails to comply with anyprovision of this Chapter 6 is subiecl Lo the

13   administrative process and penalties set (orth in Section 3.242(d) of this Code.

14

15          Section 4. Effective Date and Operative Dates.

16          (a} Effective Date. This ordinance shall become effective 30 days after enactment.
17   Enactment occurs when the Mayor signs the ordinance, the Mayor returns the ordinance

18   unsigned or does not sign the ordinance within ten days of receiving it, or the Board of

19   Supervisors overrides the Mayor's veto of the ordinance.

20          (b) Operative Pates.

21                  (1) This ordinance's amendments to Sections 1.1 04 . 1. 110. 1.142. 1. 163.5.

22   1. 168, 1.170, and 3.203 of the Campaign and Govern mental Conduct Code. and additions of

23   Sec ions                   1 of the Cam ai n and Governmental Conduct Code shall b come

24   operative on the effective date of th is ordinance.

25


     Supervisor Peskin                                                                         App. B_284
     BOARD OF SUPERVISORS                                                                             Page 43
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 1            (2) Thisordinance'samendmentstoSections 1.114, 1.126.1.135. 1.161 . 1.162.
 2   1.163, 3.600. 3.610, 3.620 of the Campaign and Governmental Conduct Code. and additions
 3   of Sections 1.114.5. 1.124. 1.125. 1.158. 3.209. 3.630. 3.640. and 3.650 of the Campaign and

 4   Governmental Conduct Code. shall become operative on January 1. 2019.

 5

 6            Section 5. Scope of Ordinance. In enacting this ordinance, the Board of Supervisors

 7   intends to amend only those words, phrases, paragraphs, subsections, sections. articles,

 8   numbers, punctuation marks, charts, diagrams , or any other constituent parts of the Municipal

 9   Code that are explicitly shown in this ordinance as additions, deletions, Board amendment

10   additions, and Board amendment deletions in accordance with the "Note" that appears under

11   the official title of the ordinance.

12
13            Section 6. Severability. If any section, subsection , sentence, clause, phrase, or word

14   of this ordinance, or any application thereof to any person or circumstance. is held to be

15   invalid or unconstitutional by a decision of a court of competent jurisdiction, such decision

16   shall not affect the validity of the remaining portions or applications of the ordinance. The

17   Board of Supervisors hereby declares that it would have passed this ordinance and each and

18   every section, subsection , sentence, clause, phrase, and word not declared invalid or

19   unconstitutional without regard to whether any other portion of this ordinance or application

20   thereof would be subsequently declared invalid or unconstitutional.

21
     APPROVED AS TO FORM :
22   DENNIS J. HE RERA, City Attorney

23
     By;
24            ANDREW SHEN, Deputy City Attorney

25   n:\legana\as2017\1700562\0126 1729.docx




     Supervisor Peskin                                                                    App. B_285
     BOARD OF SUPERVISORS                                                                         Page 44
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                                             City and County of San Francisco                                   City Hall
                                                                                                     I Dr. Carlton B. Goodlett Place
                                                                                                     San Francisco, CA 94 I 02-4689
                                                                Tails
                                                              Ordinance


          File Number:                180280                                 Date Passed:       May 22 , 2018

          Ordinance amending the Campaign and Governmental Conduct Code to 1) prohibit earmarking of
          contributions and false identification of contributors; 2) modify contributor card requirements; 3)
          require disclosure of contributions solicited by City elective officers for ballot measure and
          independent expenditure committees ; 4) require additional disclosures for campaign contributions
          from business entities to political committees; 5) require disclosure of bundled campaign
          contributions ; 6) extend the proh ibition on campaign contributions to candidates for City elective
          offices and City elective officers who must approve certain City contracts ; 7) require committees to
          file a third pre-election statement prior to an election ; 8) remove the prohibition against distribution of
          campaign advertisements containing false endorsements; 9) allow members of the public to receive
          a portion of penalties collected in certain enforcement actions; 10) impose additional disclaimer
          requ irements ; 11) permit the Ethics Commission to recommend contract debarment as a penalty for
          campaign finance violations; 12) create new conflict of interest and political activity rules for elected
          officials and members of boards and commissions ; 13) specify recusal procedures for members of
          boards and commissions ; and 14) establish local behested payment reporting requirements for
          donors and City officers .


                       April 03 , 2018 Board of Supervisors - AMENDED
                                      Ayes : 11 - Breed, Cohen , Fewer, Kim , Peskin , Ronen , Safai , Sheehy, Stefani ,
                                      Tang and Yee

                       April 03 , 2018 Board of Supervisors - AMENDED
                                      Ayes : 11 - Breed, Cohen, Fewer, Kim , Peskin, Ronen , Safai , Sheehy , Stefani,
                                      Tang and Yee

                       April 03, 2018 Board of Supervisors - NOT AMENDED
                                      Ayes : 5 - Fewer, Kim, Peskin , Ronen and Yee
                                      Noes: 6 - Breed, Cohen , Safai, Sheehy, Stefani and Tang


                       April 03, 2018 Board of Supervisors - AMENDED
                                      Ayes : 11 - Breed, Cohen, Fewer, Kim, Peskin , Ronen , Safai, Sheehy, Stefani,
                                      Tang and Yee

                       Apri l 03 , 2018 Board of Supervisors -AMENDED
                                      Ayes: 11 - Breed, Cohen, Fewer, Kim, Peskin, Ronen, Safai, Sheehy , Stefani,
                                      Tang and Yee

                        April 03, 2018 Board of Supervisors - AMENDED
                                      Ayes: 11 - Breed, Cohen, Fewer, Kim , Peskin , Ronen , Safai, Sheehy, Stefani,
                                      Tang and Yee

                        April 03, 2018 Board of Supervisors - AMENDED
                                      Ayes: 11 - Breed, Cohen, Fewer, Kim, Peskin, Ronen, Safai, Sheehy , Stefani,
                                      Tang and Yee

City all{/ County of S an Francisco                                Page 12                               Printed at 11:43 am   0 11   5/23/ 18


                                                                                                                                       App. B_286
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                     April 03, 2018 Board of Supervisors - AMENDED
                                   Ayes: 11 - Breed, Cohen, Fewer, Kim, Peskin, Ronen , Safai, Sheehy, Stefani,
                                   Tang and Yee

                     April 03, 2018 Board of Supervisors - AMENDED
                                   Ayes : 11 - Breed , Cohen, Fewer, Kim, Peskin, Ronen , Safai, Sheehy, Stefani,
                                   Tang and Yee

                     April 03 , 2018 Board of Supervisors -AMENDED
                                   Ayes: 11 - Breed, Cohen , Fewer, Kim , Peskin, Ronen , Safai, Sheehy, Stefani,
                                   Tang and Yee

                     April 03, 2018 Board of Supervisors - AMENDED
                                   Ayes: 11 - Breed, Cohen, Fewer, Kim , Peskin, Ronen, Safai, Sheehy , Stefani,
                                   Tang and Yee

                     April 03 , 2018 Board of Supervisors - RE-REFERRED AS AMENDED
                                   Ayes : 11 - Breed, Cohen , Fewer, Kim , Peskin, Ronen, Safai, Sheehy, Stefani ,
                                   Tang and Yee

                     May 09, 2018 Rules Committee - AMENDED , AN AMENDMENT OF THE WHOLE
                     BEARING NEW TITLE

                     May 09, 2018 _Rules Committee - RECOMMENDED AS AMENDED


                     May 15, 2018 Board of Supervisors - PASSED ON FIRST READING
                                   Ayes : 11 - Breed, Cohen , Fewer, Kim , Peskin, Ronen, Safai, Sheehy, Stefani,
                                   Tang and Yee

                     May 22, 2018 Board of Supervisors - FINALLY PASSED
                                   Ayes: 11 - Breed, Cohen, Fewer, Kim, Peskin, Ronen, Safai, Sheehy, Stefani,
                                   Tang and Yee




City mu/ County of San Francisco                               Page 13                             Printed al 11 :43 am on 5/23/18


                                                                                                                           App. B_287
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                             Fi le No. 180280                    I hereby certify that the foregoing
                                                                 Ordinance was FINALLY PASSED on
                                                                 5/22/2018 by the Board of Supervisors of
                                                                 the City and County of San Francisco.




                                                                           Angela Calvillo
                                                                          Clerk of the Board




                                     Mark E. Farrell                         Date l pproved
                                        Mayor




City 1111(/ Co1111ty of St111 FrrmciJcO                Page 14                            Pri11tetl at 11 :43 am 011 5123/18


                                                                                                                     App. B_288
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                                                AMENDED IN BOARD
     FILE NO. 201132                                12/7/2021          ORDINANCE NO. 232-21




 1   [Campaign and Governmental Conduct Code - Behested Payments]

 2

 3   Ordinance amending the Campaign and Governmental Conduct Code to expand the

 4   definition of interested party to include City contractors,! a-Rd persons seeking to

 5   influence City officers and employees. registered contact lobbyists, permit consultants,

 6   and to prohibit appointed elected officials. department heads, commissioners, and

 7   designated employees from soliciting behested payments from interested parties.

 8           NOTE:        Unchanged Code text and uncodified text are in plain Arial font.
                          Additions to Codes are in single-underline italics Times New Roman font.
 9                        Deletions to Codes are in striketlirough italics Times l'lew Roman font.
                          Board amendment additions are in double-underlined Arial font.
10                        Board amendment deietions are in strikethrough /\riai font.
                          Asterisks (* * * *) indicate the omission of unchanged Code
11                        subsections or parts of tables.

12

13           Be it ordained by the People of the City and County of San Francisco:

14

15           Section 1. The Campaign and Governmental Conduct Code is hereby amended by

16   revising Sections 3.600, 3.610, 3.620, 3.630, and 3.640, and adding Section 3.605, and

17   deleting Section 3.620 and 3.630, to read as follows:

18           SEC. 3.600. DEFINITIONS.

19           Whenever in this Chapter 6 the following words or phrases are used, they shall have

20   the following meanings:

21           "Affiliate" shall be defined as set forth in Section 1.126 of this Code.

22           "Agent" shall mean any person who represents a party in connection with a proceeding

23   involving a license, permit, or other entitlement for use be defined as set forth in Title 2, Section

24   18438.3 of the California Code of Regulations, as amended from time to time.

25



     Supervisors Haney; Peskin, Chan, Walton, Preston, Mar
                                                                                                App. B_289
     BOARD OF SUPERVISORS                                                                                Page 1
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 1           "Appointed department head" shall mean any department head vvho is required to file a

 2   Statement of Economic Interests as set forth in Section 3.1 103(b)(1) of this Code, except for

 3   the Assessor Recorder, City Attorney, District Attorney, Mayor, Public Defender, Sheriff, and

 4   Treasurer.

 5           ****

 6           "City Contractor" shall be defined as set forth in Section 1.126 o(this Code, except only with

 7   respect to contracts with any department of the City and County ofSan Francisco.

 8           "Commissioner" shall mean any member ofa City board or commission, excluding the Board

 9   ofSupervisors, who is required to file a Statement o(Economic Interests as set forth in Section 3.1-

10   103(a)(I) of this Code.

11           ****

12           "Department head" shall mean any department head who is required to file a Statement

13   of Economic Interests as set forth in Section 3.1-103(b)(1) of this Code.

14           "Designated employee" shall mean any employee of the City and County o(San Francisco

15   required to file a Statement o(Economic Interests under Article III, Chapter 1 ofthis Code.

16           "Elected official" shall mean Assessor-Recorder, City Attorney, District Attorney, Mayor,

17   Public Defender, Sheriff Treasurer, or member of the Board o(Supervisors.

18           ****

19           "Grant" shall mean an agreement with a government agency, non-profit organization or

20   private entity to fund City projects or programs, under which the grantor imposes restrictions

21   on the City's spending of the grant funds.

22           "Interested party" shall mean.: .

23                   {_gJ_ any party, participant or agent of a party or participant involved in a

24   proceeding regarding administrative enforcement, a license, a permit, or other entitlement for

25   use, before an (}jjicer or any board or commission (including the Board (}/Supervisors) on which the




     Supervisors Haney; Peskin, Chan, Walton, Preston, Mar                                     App. B_290
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 1   officer sits (1) an officer, (2) any board or commission (including the Board ofSupervisors) on which

 2   the officer sits, (3) the department o[the officer, or (4) the department of the designated employee,·

 3                    (b) any City Contractor contracting with or seeking to contract with the designated

 4   employee's or officer's department, or any affiliate ofsuch a City Contractor. except for any person

 5   providing a grant to the City or City department eF

 6                    (c) any person who attempted to influence the employee or officer in any legislative or

 7   administrative action. provided that "attempt to influence" shall be defined as set forth in

 8   Section 3.216(b)(1) of this Code and the Ethics Commission's regulations implementing

 9   Section 3.216(b)(1). and shall not include (1) oral or written public comment that becomes part

10   of the record of a public hearing; Gf--(2) speaking at a public forum or rally. or (3)

11   communications made via email. petition or social media. if the person does not have a

12   financial interest in the matter that is the subject of the person's speech.~

13                    (d) any contact or expenditure lobbyist. as defined under Article II, Chapter 1 of

14   this Code. who has registered as a contact or expenditure lobbyist with the Ethics

15   Commission. if the contact lobbyist or expenditure lobbyist is registered to lobby the

16   designated employee's or officer's department or

17                    (e) any permit consultant. as defined under Article Ill, Chapter 4 of this Code,

18   who has registered as a permit consultant with the Ethics Commission. if the permit consultant

19   has reported any contacts with the designated employee's or officer's department to carry out

20   permit consulting services during the prior 12 months.if the permit consultant contacts the

21   designated employee's or officer's department to carry out permit consulting services.

22   "Interested party" shall not include: (a) any nonprofit organization that Article V of the Charter

23   has authorized to support an arts and culture department; Gf--(b) any federal or State

24   government agency or (c) an individual. solely because the individual is an uncompensated

25   board member of a nonprofit organization that is an interested party.




     Supervisors Haney; Peskin, Chan, Walton, Preston, Mar
                                                                                                 App. B_291
     BOARD OF SUPERVISORS                                                                                 Page 3
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 1   For the purposes of subsection (c) only, "interested partv" shall not include a person providing

 2   a grant to the Citv or a Citv department.

 3           "License, permit, or other entitlement for use" shall mean professional, trade, or land use

 4   licenses, permits, or other entitlements to use property or engage in business, including professional

 5   license revocations, conditional use permits, rezoning of,property parcels, zoning variances, tentative

 6   subdivision and parcel maps, cable television franchises, building and development permits, private

 7   development plans, and contracts (other than labor or personal employment contracts and

 8   competitively bid contracts where the City is required to select the highest or lowest qualified bidder),

 9   be defined as set forth in California Government Code Section 84308, as amended from time

10   to time.

11           "Officer" shall mean any commissioner, appointed department head, or elected o[ficial. the

12   1\1ayor, City Attomey~ District Attorney, Treasurer, Sheriff, Assessor Recorder, Public Defender, a

13   A1ember of the Board ofSupervisors, or any member ofa board or commission ·who is required to file a

14   Statement ofEconomic Interests, including all persons holding positions listed in Section 3.1 103(a)(J)

15   ofth,is Code.

16              "Payment" shall mean a monetarypayment or the delivery o_fgoods or services.

17           "Participant" shall mean any person who is not a party but who actively supports or opposes

18   (by lobbying in person, testirying in person, or otherwise acting to influence) a particular decision in a

19   proceeding involving a license, permit, or other entitlement for use and who has a financial interest in

20   the decision, be defined as set forth in California Government Code Section 84308 and Title 2,

21   Section 18438.4 of the California Code of Regulations, as amended from time to time.

22           "Party" shall mean any person who files an application for, or is the sub;ect of: a proceeding

23   involving a license, permit, or other entitlement for use, be defined as set forth in California

24   Government Code Section 84308, as amended from time to time.

25            "Payment" shall mean a monetary payment or the delivery ofgoods or services.



                                                                                                App. B_292
     Supervisors Haney; Peskin, Chan, Walton, Preston, Mar
     BOARD OF SUPERVISORS                                                                                 Page 4
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 1           "Permit consulting services" shall be defined as set forth in Article Ill, Chapter 4 of this

 2   Code.

 3           "Person" shall be defined as set forth in Section 1.104 of this Code.

 4           ****

 5           SEC.   ~       3.610. PROHIBITING ELECTED OFFICIALS, APPOINTED

 6   DEPARTMENT HEADS, COMMISSIONERS, AND DESIGNATED EMPLOYEES FROM

 7   SOLICITING BEHESTED PAYMENTS FROM INTERESTED PARTIES.

 8           (a) PROHIBITION. Elected officials, Appointed department heads, commissioners, and

 9   designated employees shall not directly or indirectly solicit any behested payment from any interested

10   party in the following circumstances:

11                    (1) Administrative proceedings. If the interested party is a party, participant, or agent

12   ofa party or participant in a proceeding before the elected official's,_appointed department head's,

13   commissioner's. or designated employee's department regarding administrative enforcement, a license,

14   a permit. or other entitlement for use, the prohibition set forth in this subsection (a) shall apply:

15                            (A) during the proceeding; and

16                            (B) for~ twelve months following the date on which a final decision is

17   rendered in the proceeding.

18                    (2) Contracts. Jfthe interested party is a City Contractor, or an affiliate of a City

19   Contractor, who is a party to or is seeking a contract with the elected official's, appointed

20   department head's, commissioner's, or designated employee's department, the prohibition set forth in

21   this subsection (a) shall apply from the submission of a proposal until the later of

22                            (A) the termination of negotiations for the contract,· or

23                            (B) twelve months following the end of the contract's term.

24                    (3) Persons seeking to influence. Jfthe interested party is a person who attempted to

25   influence the elected official,_appointed department head, commissioner, or designated employee in



                                                                                                   App. B_293
     Supervisors Haney; Peskin, Chan, Walton, Preston, Mar
     BOARD OF SUPERVISORS                                                                                     Page 5
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 1   any legislative or administrative action, the prohibition set forth in this subsection (a) shall apply for

 2   12 months following the date of each attempt to influence.

 3                    (4) Lobbyists. Elected officials, department heads. commissioners. and

 4   designated employees may not solicit any behested payment from a contact lobbyist or

 5   expenditure lobbyist who has registered as a lobbyist with the Ethics Commission. if the

 6   contact lobbyist or expenditure lobbyist is registered to lobby the designated employee's or

 7   officer's department.

 8                    (5) Permit consultants. Elected officials, department heads. commissioners,

 9   and designated employees may not solicit any behested payment from a permit consultant

10   who has registered with the Ethics Commission, if the permit consultant has reported any

11   contacts with the designated employee's or officer's department to carry out permit consulting

12   services during the prior 12 months.if the permit consultant contacts the designated

13   employee's or officer's department to carry out permit consulting services.

14           (b) EXCEPTIONS.

15                    (1) Elected department heads. This Section 3.605 shall not apply to elected

16   department heads.

17                    (2) Public appeals. This Section 3.605 shall not apply to public appeals.

18           (b) INDIRECT SOLICITATION. For the purposes of this Section 3.610, a City officer

19   or employee is indirectly soliciting a behested payment when the City officer or employee

20   directs or otherwise urges another person to solicit a behested payment from an identifiable

21   interested party or parties.person or set of persons.

22           fee)   EXCEPTION - PUBLIC APPEALS. This Section 3.610 shall not apply to public

23   appeals.

24           SEC. 3.610. REQUIRED FILING OF BEHESTED PAYMENT REPORTS BY

25   ELECTED OFFICIALS.




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     BOARD OF SUPERVISORS                                                                                  Page 6
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 1           (a) FILING REQUIREMENT.

 2                    (1) Administrative proceedings. If an officer elected official directly or

 3   indirectly requests or solicits any behested payment(s) from an interested party that is a party,

 4   participant, or agent of a party or participant involved in a proceeding before the elected

 5   official's department regarding administrative enforcement, a license, a permit, or other

 6   entitlement for use, the officer elected official shall file the a behested payment report

 7   described in subsection (b) with the Ethics Commission in the following circumstances:

 8                            (1) (/\) if the interested party makes any behested payment(s) totaling

 9   $1,000 or more during the pendency of the matter involving the interested party proceeding,

10   or during the six months follmving the date on 1Nhich a final decision is rendered, the officer

11   shall file a behested payment report vvithin 30 days of the date on which the behested

12   payment was made, or if there has been a series of behested payments, within 30 days of the

13   date on which the behested payment(s) total $1,000 or more; or

14                            (2) if the interested party makes any behested payment(s) totaling

15   $1,000 or more during the six months follmving the date on which a final decision is rendered

16   in the matter involving the interested party, the officer shall file a behested payment report

17   .vithin 30 days of the date on 1Nhich the behested payment was made, or if there has been a
     1



18   series of behested payments, within 30 days of the date on vvhich the behested payment(s)

19   total $1,000 or more; and

20                            (3) (B) if the interested party made any behested payment(s) totaling

21   $1,000 or more in the 12 months prior to the commencement of a matter involving the

22   interested party proceeding, in vvhich case the officer elected official shall file a behested

23   payment report within 30 days of the date the officer elected official kne1.v or should have

24   known that the source of the behested payment(s) became an interested party.

25



     Supervisors Haney; Peskin, Chan, Walton, Preston, Mar
                                                                                           App. B_295
     BOARD OF SUPERVISORS                                                                             Page 7
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 1                    (2) Contracts. If an elected official directly or indirectly requests or solicits any

 2   behested payment(s) from any City Contractor contracting 1Nith or seeking to contract with the

 3   elected official's department, or any affiliate of such City Contractor, the elected official shall

 4   file a behested payment report in the following circumstances:

 5                            0A.) the interested party makes any behested payment(s) totaling $1,00Q

 6   or more after the submission of a proposal and before either the termination of negotiations

 7   for the contract or the end of the contract's term;

 8                            (B) the interested party makes any behested payment(s) totaling $1,000

 9   or more during the six months after either the termination of negotiations for the contract, or

10   the end of the contract's term; or

11                            (C) the interested party made any behested payment(s) totaling $1,000

12   or more in the 12 months prior to the submission of a proposal, in 1Nhich case the elected

13   official shall file a behested payment report vvithin 30 days of the date the elected official kne1N

14   or should have knovvn that the source of the behested payment(s) became an interested

15   fIBfty-:

16                    (3) Persons seeking to influence. If an elected official directly or indirectly

17   requests or solicits any behested payment(s) from any interested party who attempted to

18   influence the elected official in any legislative or administrative action, the elected official shall

19   file a behested payment report if, within the 12 months follm.ving the date of any attempt by

20   the interested party to influence the elected official, the interested party made any behested

21   payment(s) totaling $1,000 or more.

22              (b) BEHESTED PAYMENT REPORT. The behested payment report shall include the

23   following:

24                    (1) name of payer;

25                    (2) address of payer;



                                                                                             App. B_296
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 1                    (3) amount of the payment(s);

 2                    (4) date(s) the payment(s) were made;

 3                    (5) the name(s) and address(es) of the payee(s);

 4                    (6) a brief description of the goods or services provided or purchased, if any,

 5   and a description of the specific purpose or event for vvhich the payment(s) 1Nere made;

 6                    (7) if the officer elected official or the officer's elected official's relative, staff

 7   member, or paid campaign staff, is an officer, executive, member of the board of directors,

 8   staff member, or authorized agent for the recipient of the behested payment(s), such

 9   individual's name, relation to the officer elected official, and position held 1Nith the payee;

10                    (8) if the payee has created or distributed 200 or more substantially similar

11   communications featuring the officer elected official 1Nithin the six months prior to the deadline

12   for filing the behested payment report, a brief description of such communication(s), the

13   purpose of the communication(s), the number of communication(s) distributed, and a copy of

14   the communication(s); and

15                    (9) if in the six months follovving the deadline for filing the behested payment

16   report, the payee has created or distributed 200 or more substantially similar communications

17   featuring the officer elected official, the officer elected official shall file an amended payment

18   report that discloses a brief description of such communication(s), the purpose of the

19   communication(s), the number of communication(s) distributed, and a copy of the

20   communication(s).

21           (c) DEADLINE FOR FILING A BEHESTED PAYMENT REPORT. Unless othervvise

22   provided under this Section 3.610, vvhen an elected official is required to file a behested

23   payment report, the elected official shall file the behested payment report described in

24   subsection (b) vvith the Ethics Commission within 30 days of the date on which the behested

25


                                                                                                   App. B_297
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 1   payment 'A'as made, or if there has been a series of behested payments, vvithin 30 days of the

 2   date on which the behested payments total $1,000 or more.

 3           (c) (d) AMENDMENTS. If any of the information previously disclosed on a behested

 4   payment report changes during the pendency of the matter involving the interested party, or

 5   .vithin six months of the final decision in such matter, the officer elected official shall file an
     1



 6   amended behested payment report.

 7           (d) (e) PUBLIC APPEALS. Notvvithstanding subsections (a) and (d), no officer elected

 8   official shall be required to report any behested payment that is made solely in response to a

 9   public appeal.

10           (e) (f) NOTICE. If an officer elected official solicits or othervr1ise requests, in any

11   manner other than a public appeal, that any person make a behested payment, the elected

12   official or his the elected official's agent must notify that person that if the person makes any

13   behested payment in response to the solicitation or request, the person may be subject to the

14   disclosure and notice requirements in Section 3.620.

15           (f) (g) V\IEBSITE POSTING. The Ethics Commission shall make available through its

16   website post on its 1.vebsite all behested payment reports it receives from officers elected

17   officials.

18           SEC. 3.620. FILING BY DONORS.

19           (a) REPORT. Any interested party who makes a behested payment, or series of

20   behested payments in a calendar year, of $10,000 or more must disclose, within 30 days

21   following the date on which the payment(s) totals $10,000 or more:

22                    (1) Administrative proceedings. If the interested party is a party, participant,

23   or agent of a party or participant involved in a proceeding regarding administrative

24   enforcement, a license, a permit, or other entitlement for use:

25


                                                                                             App. B_298
     Supervisors Haney; Peskin, Chan, Walton, Preston, Mar
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 1                            (A) the proceeding(s) the interested party is or 11✓as involved in with the

 2   board, commission or department of the elected official who requested or solicited the

 3   behested payment(s);

 4                            (2) (B) the outcome(s) the interested party is or was seeking in such

 5   proceedings before or decisions by the board, commission, or department of the elected

 6   official who requested or solicited the behested payment(s); and

 7                            (3) (C) any contact(s) the interested party made in relation to such

 8   proceedings before or decisions by the board, commission, or department of the elected

 9   official who requested or solicited the behested payment(s).

10                    (2) Contracts. If the interested party is a City Contractor, or an affiliate of a

11   City Contractor:

12                            (A) the total value(s), description(s), and date(s) of the contract(s) i.vith or

13   proposal(s) submitted to the board, commission, or department of the elected official vvho

14   requested or solicited the behested payment(s);

15                            (B) the name(s) of the City Contractor(s) or affiliate(s), and the

16   contracting City department(s); and

17                            (C) any contact(s) the interested party made in relation to the contract(s)

18   with or proposal(s) submitted to the board, commission, or department of the elected official

19   who requested or solicited the behested payment(s).

20                    (3) Persons seeking to influence. If the interested party attempted to

21   influence the elected official in any legislative or administrative action:

22                            0'\) the legislative or administrative action(s) in which the interested party

23   attempted to influence the elected official;

24                            (B) the outcome(s) the interested party is or 1.vas seeking in such

25   legislative or administrative action(s); and




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 1                             (C) the dates of any contact(s) the interested party made with the elected

 2   official in relation to such legislative or administrative action(s).

 3           (b) NOTICE. Any person vvho makes a behested payment must notify the recipient

 4   that the payment is a behested payment, at the time the payment is made.

 5           (c) PUBLIC APPEALS. An interested party has no obligation to disclose a behested

 6   payment made in response to an elected official 's public appeal.

 7           SEC. 3.630. FILING BY RECIPIENTS OF MAJOR BEHESTED PAYMENTS.

 8           (a) MAJOR BEHESTED PAYMENT REPORT. Any person v.,iho receives a behested

 9   payment, or a series of behested payments , received during a calendar year, totaling

10   $100,000 or more from interested parties that was made at the behest of any officer elected

11   official must do the f o l l ~

12                    (1) within 30 days follovving the date on which the payment(s) total $100,000 or

13   more, notify the Ethics Commission that the person has received such payment(s) and specify

14   the date on which the payment(s) equaled or exceeded $100,000;

15                    (2) within 13 months follmving the date on vvhich the payment(s) or payments

16   total $100,000 or more, but at least 12 months following the date on which the payment(s)

17   total $100,000 or more, disclose:

18                             (i) (A) all payments made by the person that 1.vere funded in 1.vhole or in

19   part by the behested payment(s) made at the behest of the officer elected official; and

20                             (ii) (B) if the person 1.vas an interested party in any City decision(s)

21   involving the officer elected official in the 12 months following the date on \Vhich the

22   payment(s) were made:

23                                      (A) (i) the proceeding the person is or was involved in ;

24                                      (B) (ii) the decision(s) the person actively supported or opposed ;

25


                                                                                                 App. B_300
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 1                                     (C) (iii) the outcome(s) the person is or vvas seeking in such

 2   proceedings or decisions; and

 3                                     (D) (iv) any contact(s) the person made in relation to such

 4   proceedings or decisions.

 5           (b) EXCEPTION. Subsection (a) does not apply if the entity receiving the behested

 6   payment is a City department.

 7           (c) NOTICE REQUIRED. If a recipient of a behested payment does not receive the

 8   notice, as required under Section 3.620, that a particular payment is a behested payment, the

 9   recipient will not be subject to penalties under Section 3.650, as regards that particular

10   payment, for failure to file pursuant to subsection (a) unless it is clear from the circumstances

11   that the recipient kne1.v or should have kno1.vn that the payment was made at the behest of an

12   officer elected official.

13           (d) PUBLIC APPEALS. /\ recipient of behested payments has no obligation to

14   disclose payments received due to an elected official's public appeal.

15           SEC. 3.640. REGULATIONS.

16           (a) The Ethics Commission may adopt rules, regulations, and guidelines for the

17   implementation of this Chapter 6. The Ethics Commission shall adopt rules, regulations or

18   guidelines defining and illustrating "interested party" and when a payment is made "at the behest of'

19   a City o[ficer or designated employee.

20           (b) The Ethics Commission may, by regulation, require persons to electronically submit

21   information required to fulfill their obligations under this Chapter 6.

22
23           Section 2 . Effective Date. This ordinance shall become effective 30 days after

24   enactment. Enactment occurs when the Mayor signs the ordinance, the Mayor returns the

25



     Supervisors Haney; Peskin, Chan, Walton, Preston, Mar                                     App. B_301
     BOARD OF SUPERVISORS                                                                               Page 13
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 1   ordinance unsigned or does not sign the ordinance within ten days of receiving it, or the Board

 2   of Supervisors overrides the Mayor's veto of the ordinance.

 3

 4            Section 3. Scope of Ordinance. In enacting this ordinance, the Board of Supervisors

 5   intends to amend only those words, phrases, paragraphs, subsections, sections, articles,

 6   numbers, punctuation marks, charts, diagrams, or any other constituent parts of the Municipal

 7   Code that are explicitly shown in this ordinance as additions, deletions, Board amendment

 8   additions, and Board amendment deletions in accordance with the "Note" that appears under

 9   the official title of the ordinance.

10
11   APPROVED AS TO FORM:
     DENNIS J. HERRERA, City Attorney
12
13   By:     _/_s/_ _ _ _ _ _ __
             ANDREW SHEN
14           Deputy City Attorney

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                                                                                      App. B_302
     Supervisors Haney; Peskin, Chan, Walton, Preston, Mar
     BOARD OF SUPERVISORS                                                                    Page 14
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                                         City and County of San Francisco                              City Hall
                                                                                            I Dr. Carlton B. Goodlett Place
                                                            Tails                           San Francisco, CA 94 I 02-4689


                                                        Ordinance


          File Number:             201132                              Date Passed:     December 14, 2021

          Ordinance amending the Campaign and Governmental Conduct Code to expand the definition of
          interested party to include City contractors, persons seeking to influence City officers and employees,
          registered contact lobbyists, permit consultants, and to prohibit elected officials, department heads,
          commissioners, and designated employees from soliciting behested payments from interested
          parties.


                      September 13, 2021 Rules Committee - CONTINUED


                      September 20, 2021 Rules Committee - AMENDED, AN AMENDMENT OF THE WHOLE
                      BEARING NEW TITLE

                      September 20, 2021 Rules Cornrniliee - Cot'liTit'liUED AS AMENDED


                      September 27, 2021 Rules Committee -AMENDED, AN AMENDMENT OF THE WHOLE
                      BEARING SAME TITLE

                      September 27, 2021 Rules Committee - CONTINUED AS AMENDED


                      October 18, 2021 Rules Committee- CONTINUED TO CALL OF THE CHAIR


                      November 29, 2021 Rules Committee - AMENDED, AN AMENDMENT OF THE WHOLE
                      BEARING SAME TITLE

                      November 29, 2021 Rules Committee - CONTINUED AS AMENDED


                      December 06, 2021 Rules Committee - AMENDED, AN AMENDMENT OF THE WHOLE
                      BEARING SAME TITLE

                      December 06, 2021 Rules Committee - DUPLICATED


                      December 06, 2021 Rules Committee - RECOMMENDED AS AMENDED AS A
                      COMMITTEE REPORT

                      December 07, 2021 Board of Supervisors - AMENDED, AN AMENDMENT OF THE
                      WHOLE BEARING SAME TITLE
                             Ayes: 10 - Chan, Haney, Mandelman, Mar, Peskin, Preston, Ronen, Safai, Stefani
                             and Walton
                             Excused: 1 - Melgar


                      December 07, 2021 Board of Supervisors - PASSED ON FIRST READING AS AMENDED
                                   Ayes: 10 - Chan, Haney, Mandelman, Mar, Peskin, Preston, Ronen, Safai, Stefani
                                   and Walton

City and County of San Francisco                             Page 1                           Printed at 8:50amon 12/15/21


                                                                                                                         App. B_303
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                                   Excused: 1 - Melgar

                      December 14, 2021 Board of Supervisors - FINALLY PASSED
                                   Ayes: 11 - Chan, Haney, Mandelman, Mar, Melgar, Peskin , Preston , Ronen , Safai ,
                                   Stefani and Walton                     ·        ·      ·


                        File No. 201132                               I hereby certify that the foregoing
                                                                      Ordinance was FINALLY PASSED on
                                                                      12/14/2021 by the Board of Supervisors of
                                                                      the City and County of San Francisco.




                                                                                                       '
                                                                       Jllllflfl.TT~P-     ~"          Ji.u
                                                                                   Angela Calvillo
                                                                                  Clerk of the Board




                                   Unsigned                                              12/24/2021
                            London N. Breed                                         Date Approved
                                Mayor




      I hereby certify that the fo regoing ord inance, not being signed by the Mayor within the time limit
      as set forth in Section 3.103 of the Charter, or time waived pursuant to Board Rule 2.1 4.2,         .i
      became effective without her approval in accordance with the provision of said Section 3.1 03 of
      the Charter or Board Rule 2.14.2.                                              ·


                                                                                         12/24/2021

                           Angela Calvillo                                                  Date
                          Clerk of the Board




City and County of San Francisco                              Page2                                   P rinted   at 8:50 am   011   12/1 5/21


                                                                                                                                         App. B_304
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                                              AMENDED IN COMMITTEE
                                                    9/19/2022
     FILE NO. 220539                                     ORDINANCE NO. 204-22



 1   [Campaign and Governmental Conduct Code - Behested Payments Exceptions]

 2
 3   Ordinance amending the Campaign and Governmental Conduct Code to modify the
 4   rules concerning behested payment solicitations, by ,1Lexcepting solicitations made

 5   under certain types of City programs to solicit, request, and contractually obligate

 6   charitable donations through competitively procured contracts; 2) narrowing the

 7   prohibition against soliciting from persons involved in administrative enforcement.
 8   pro¥iding that the receipt of a non discretionary license~, permit~, or other

 9   entitlement§ for use does not make a person an interested party; 3) narrowing the
10   prohibition against soliciting from persons who have providing that attempteding to
11   influence an-legislative or administrative action,§ does not make a person -an interested
12   pa,:ty; &excepting solicitations made in connection with certain types of City
13   contractsthe City's acquisition of real property; 5) shortening the time periods for the
14   prohibition as to solicitations from City contractors; 6) excepting payments less than
15   $1.000: 7) authorizing the Board of Supervisors to grant waivers by resolution;           and-fil
16   expanding the prohibition against soliciting from registered lobbyists: and 9) making
17   other clarifying changes.
18

19           NOTE:        Unchanged Code text and uncodified text are in plain Arial font.
                          Additions to Codes are in single-underline italics Times New Roman font .
20                        Deletions to Codes are in strikethreugh iEalics Times ,.11lew Remf¾nfonl.
                          Board amendment additions are in double-underline d Arial font.
21                        Board amendment deletions are in strikethrough Arial font.
                          Asterisks (* * * *) indicate the omission of unchanged Code
22                        subsections or parts of tables.
23

24           Be it ordained by the People of the City and County of San Francisco:

25



                                                                                          App. B_305
     Supervisors Peskin; Safai, Chan, Walton, Preston, Mar
     BOARD OF SUPERVISORS                                                                             Page 1
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 1           Section 1. Article 111, Chapter 6 of the Campaign and Government al Conduct Code is

 2   hereby amended by revising Sections 3.61 O"' aoo---3.620, 3.630, and 3.640, to read as follows.

 3           SEC. 3.610. DEFINITIONS.

4              Whenever in this Chapter 6 the following words or phrases are used, they shall have

 5   the following meanings:

 6             "Affiliate" shall be defined as set forth in Section 1.126 of this Code.

 7             "Agent" shall mean any person who represents a party in connection with a

 8   proceeding involving a license, permit, or other entitlement for use as set forth in Title 2,

 9   Section 18438.3 of the California Code of Regulations, as amended from time to time.

10             "At the behest of' shall mean under the control or at the direction of, in cooperation,

11   consultation, coordination , or concert with, at the request or suggestion of, or with the

12   express, prior consent of.

13              "Behested payment" shall mean a payment that is made at the behest of an officer, o

14   an agent thereof, and that is made principally for a legislative, governmenta l, or charitable

15   purpose.

16              "City Contractor" shall be defined as set forth in Section 1.126 of this Code, except

17   only with respect to contracts with any department of the City and County of San Francisco.

18              "Commission er" shall mean any member of a City board or commission, excluding

19   the Board of Supervisors, who is required to file a Statement of Economic Interests as set

20   forth in Section 3.1-103(a)(1 ) of this Code.

21              "Contact" shall be defined as set forth in Section 2.106 of this Code.

22              "Department head" shall mean any department head who is required to file a

23   Statement of Economic Interests as set forth in Section 3.1-103(b){1 ) of this Code.

24

25


                                                                                          App. B_306
     Supervisors Peskin; Safai, Chan, Walton, Preston, Mar
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 1             "Designated employee" shall mean any employee of the City and County of San

 2   Francisco required to file a Statement of Economic Interests under Article Ill, Chapter 1 of this

 3   Code.

 4             "Elected official" shall mean Assessor-Re corder, City Attorney, District Attorney,

 5   Mayor, Public Defender, Sheriff, Treasurer, or member of the Board of Supervisors.

 6             "Financial interest" shall be defined as set forth in the California Political Reform Act

 7   (California Government Code Section 87100 et seq.), any subsequent amendments to these

 8   Sections, and its implementing regulations.

 9             "Grant" shall mean an agreement with a government agency, non-profit organization

10   or private entity to fund or provide goods or services to assist with City projects or programs,

11   under which the grantor imposes restrictions on the City's spending of the grant-funds.

12             "Interested party" shall mean:

13             (a) any party, participant or agent of a party or participant involved in illa

14   proceeding regarding either administrativ e enforcement , or a license, a-permit, or other

15   entitlement for use± before an officer within he de artment of the officer or desi nated

16   employee: or (2} any other governmenta l decision regarding either administrativ e

17   enforcement . or a license. permit, or other entitlement for use, in which the officer or

18   designated employee was personally and substantially involved. This subsection shall not

19   apply (1) an officer, (2) any board or commission (including the Board of Supervisors) on

20   whioh the officer sits, (3) the department of the officer, or (4) the department of the designated

21   employee: except for to anv license, permit. or other entitlement for use that is issued on a

22   ministerial basis ;

23              (b) (1) any City Contractor contracting with or seeking to contract with the designated

24   employee's or officer's department, or any affiliate of such a City Contractor, except for the

25   purposes of ~ersoo providing a grant to the City or a City department ,aoo (2) as pertains



                                                                                            App. B_307
     Supervisors Peskin; Safai, Chan, Walton, Preston, Mar
     BOARD OF SUPERVISORS                                                                               Page
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 1   to members of the Board of Supervisors, any City Contractor, or any affiliate of such a City

 2   Contractor, if the Board of Supervisors approves the City Contractor's agreement with the

 3   City, except for the purposes ofany person providing a grant to the City or a City department;

4    and (3} any person who attempted to influence the designated employee or officer regarding

 5   the approval. denial. extension, or amendment of a City contract. provided that "attempt to

 6   influence" shall be defined as set forth in the Ethics Commission 's regulations. and shall not

 7   include (A) oral or written public comment that becomes part of the record of a public hearing,

 8   (8) speaking at a public forum or rally. or (C) communicat ions made via petition or social

 9   media;

10              (c) any person who attempted to influence the employee or officer in any legislati¥e

11   er lldmi,listt·e.#·;e action, pro¥ided that "attempt to influence" shall be defined as set forth in

12   Section 3.216(b)( 1) ofthis Code and the Ethics Commission 's regulations implementing

13   Section 3.216(b)(1) •Nith respect to legislative actions, and shall not include (1) oral or written

14   public comment that becomes part of the record of a public hearing; (2) speaking at a public

15   forum or rally, er (3) communicat ions made via email, petition or social media; or (4)

16   communicat ions with a City employee or officer regarding a grant from that person to the City,

17   including any communicat ions with respect to the City's use of the grant for a particular

18   purpose;

19             ~         any contact or expenditure lobbyist, as defined under Article II, Chapter 1 of

20   this Code, who has registered as a contact or expenditure lobbyist with the Ethics

21   Commission , if the contact lobbyist or expenditure lobbyist is registered to lobby the

22   designated employee's or officer's department; and any person on whose behalf a contact or

23   expenditure lobbyist has made a contact with the employee's or officer's department in the

24   last 12 months· or clients or affiliates of clients or whom the

25   for in the last 12 months: or



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                                                                                             App. B_308
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 1             ~         any permit consultant, as defined under Article 111, Chapter 4 of this Code,

2    who has registered as a permit consultant with the Ethics Commission, if the permit consultant

 3   has reported any contacts with the designated employee's or officer's department to carry out

4    permit consulting services during the prior 12 months.

 5             "Interested party" shall not include: (a) any nonprofit organization that Article V of the

 6   Charter has authorized to support an arts and culture department; (b) any federal or State

 7   government agency; (c) an individual, solely because the individual is an uncompensated

 8   board member of a nonprofit organization that is an interested party; or (d) as pertains to

 9   members of the Board of Supervisors, a City Contractor, or affiliate of a City Contractor, if the

10   Board of Supervisors did not approve the City Contractor's agreement with the City.

11             "License, permit, or other entitlement for use" shall mean professional, trade, or land

12   use licenses, permits, or other entitlements to use property or engage in business, issued in the

13   discretion o(the administering agencv. including professional license revocations, conditional use

14   permits, rezoning of property parcels, zoning variances, tentative subdivision and parcel

15   maps, cable television franchises, building and developmen t permits, private development

16   plans, and contracts (other than labor or personal employment contracts and competitively bid

17   contracts where the City is required to select the highest or lowest qualified bidder), as set

18   forth in California Government Code Section 84308, as amended from time to time. For

19   purposes o{Section 3.620, "license, permit. or other entitlement for use " shall not include licenses,

20   permits, or other entitlements for use that involve little or no discretion. mere/ app/v a checklist or

21   obiective criteria to the {act as presented. and/or are issued over the counter or "as-of..right6 "~

22             "Officer" shall mean any commissioner, department head, or elected official.

23             "Participant" shall mean any person who is not a party but who actively supports or

24   opposes (by lobbying in person, testifying in person, or otherwise acting to influence) a

25   particular decision in a proceeding involving a license, permit, or other entitlement for use and



                                                                                               App. B_309
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 1   who has a financial interest in the decision, as set forth in California Government Code

 2   Section 84308 and Title 2, Section 18438.4 of the California Code of Regulations, as

 3   amended from time to time.

4              "Party" shall mean any person who files an application for, or is the subject of, a

 5   proceeding involving a license, permit, or other entitlement for use, as set forth in California

 6   Government Code Section 84308, as amended from time to time.

 7             "Payment" shall mean a monetary payment±:or the delivery of goods or services, with

 8   a value of $1 ,000 or more, or a series of payments within a 12-month period that in the

 9   aggregate total $1.000 or more.

10             "Permit consulting services" shall be defined as set forth in Article Ill, Chapter 4 of

11   this Code.

12             "Person" shall be defined as set forth in Section 1.104 of this Code.

13             "Personal! and substantial! Involved" shall be defined as set forth in the Ethics

14   Commission 's re ulations Section 3.23 -5.

15              '' Proceeding " shall be defined as set forth in 2 Cali[ornia Code o(Regulalion s Se lion

16   18438.2, as amended from time to time. and shall not in lude a ministerial action uch           as the issuance
17   ofa fir l-in-timelfirst-in-righl license. permit. or other entitlement for use. as mav be the case when a

18   member o[the public eeks permi sion from a              Cirv department to u   e public space. For purposes of

19   this Chapter 6, this definition shall also apply to proceedings regarding administrativ e

20   enforcemen t actions.

21              "Public appeal" shall mean a request for a payment when such request is made by

22   means of television, radio, billboard, a public message on an online platform, the distribution

23   of 200 or more identical pieces of printed material, the distribution of a single email to 200 or

24   more recipients, or a speech to a group of 20 or more individuals.

25



     Supervisors Peskin; Safai, Chan, Walton, Preston, Mar
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 1             "Relative" shall mean a spouse, domestic partner, parent, grandparent, child, sibling,

 2   parent-in-law, aunt, uncle, niece, nephew, and first cousin, and includes any similar step

 3   relationship or relationship created by adoption.

 4

 5           SEC. 3.620. PROHIBITIN G ELECTED OFFICIALS, DEPARTME NT HEADS,

 6   COMMISSIO NERS, AND DESIGNATE D EMPLOYEE S FROM SOLICITING BEHESTED

 7   PAYMENTS FROM INTERESTE D PARTIES.

 8             (a) PROHIBITIO N. Officers E kc.~ed efficials. depanment hefl:ds, eommissitm.er s, and

 9   designated employees shall not directly or indirectly solicit any behested payment from an

10   interested party in the following circumstance s:

11                (1) Administrat ive proceeding s. If the interested party is a party, participant, or

12   agent of a party or participant involved in !!La proceeding before -tl=leany officer within the

13   department of the officerefoc1ed officicd 's, depanmen.t hood 's, commissioner 's, or designated

14   employee's department regarding either regarding administrative enforcement , or regarding a

15   license, a-permit, or other entitlement for use, or (ii) any other governmenta l decision

16   regarding either administrativ e enforcement, or regarding     a license, permit. or other
17   entitlement for use, in which the officer or designated employee was personally and

18   substantially involved, the prohibition set forth in this subsection (a) shall apply:

19                  (A) during the pendency of the proceeding or governmenta l decision; and

20                  (B) for l 2tv,zelv•e months following the date on which a final decision is rendered

21   in the proceeding.

22                (2) Contracts. If the interested party is a City Contractor, or an affiliate of a City

23   Contractor, who is a party to or is seeking a contract with the officer's elected official 's,

24   depaN,ment hood '&·, cemmissiorwr 's, or designated employee's department or is a person who

25   attempted to influence the officer or designated employee regarding the approval. denial,



                                                                                             App. B_311
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 1   extension. or amendment of a City contract, the prohibition set forth in this subsection (a) shall

 2   apply from the submission of a proposal until the later of:

 3                  (A) the termination of negotiations for the contract; eF

4                   (B) J2tv,;eh•e months following the end of the contract's terms:- if the interested

 5   party is a City Contractor. unless five years have elapsed since the execution of the contract

 6   without any amendment. extension, or renewal: or

 7                   (C) 12 months following the attempt to influence if the person is an interested

 8   party due to an attempt to influence regarding the City contract.

 9                (3) Persons seeking to influence. If the interested party is a person who

10   attempted to influence the officer_eleoted o#ioiaJ, department head, commissioner, or

11   designated employee in any legislative or administrative action, the prohibition set forth in this

12   subsection (a) shall apply for 12 months follm•.«ing the date of each attempt to influence.

13                Ql(4j Lobbyists. Officers Elecred officials. depef'anem ,1t.earJs, c0,mnissione,•·s, and

14   designated employees may not solicit any behested payment from a contact lobbyist or

15   expenditure lobbyist who has registered as a lobbyist with the Ethics Commission , if the

16   contact lobbyist or expenditure lobbyist is registered to lobby the designated employee's or

17   officer's department: or from a person on whose behalf a contact or expenditure lobbyist has

18   made a contact with the employee's or officer's department in the last 12 months.

19                ~        Permit consultants. Officers Elected officials, depBrtment het1:ds

20   commissioner s, and designated employees may not solicit any behested payment from a permi

21   consultant who has registered with the Ethics Commission , if the permit consultant has

22   reported any contacts with the designated employee's or officer's department to carry out

23   permit consulting services during the prior 12 months.

24              (b) INDIRECT SOLICITATI ON. For the purposes of this Section 3.620, a City office

25   or employee is indirectly soliciting a behested payment when the City officer or employee



                                                                                              App. B_312
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 1   directs or otherwise urges another person to solicit a behested payment from an identifiable

 2   interested party or parties.

 3              (c) EXCEPTION - PUBLIC APPEALS. This Section 3.620 shall not apply to public

4    appeals.

 5              (d) EXCEPTION - COMPETITIVELY SECURED PROGRAM SOLICITATIONS. This

 6   Section 3.620 shall not apply to solicitations made under an authorized program (or charitable

 7   donation o[lime and/or money Ii-om intere ted partie to nonprofit 501 (c)(3) organizations or public

 8   schools. For purposes of this subsection (d), an authorized program is a process for soliciting

 9   donations through a competitively procured contract, which program either (i) existed on or before

10   January 23 , 2022, such as the San Francisco Public Utilities Commission Social Impact

11   Partnership program, or (ii) is authorized by the Board of Supervisors by ordinance. For a

12   contract that includes an authorized program e*cepted under this subsection (d), all

13   solicitations under such program related to the including the award, approval, execution.

14   administration. modification, or en(orcement ofthat contracl bv City oflicers or emplovees. which

15   program is authorized by the are likewise excepted. l\ny program under (i) above may

16   proceed as it existed on or before January 23, 2022 until the earlier of (A) the Board of'

17   Supervisors adoptskaR ordinance authorizing a program involving donations through a

18   competitively procured contrast, as provided by (ii) above, or (B) December 31, 2024 .            6
19   program which existed on or before January 23. 2022, such as the San Francisco Public

20   Utilities Commission Social I           act Partnershi   ro   am is considered for he ur oses of this

21   subsection an authorized program under the following limitations: (i) only a department that

22   implemented such program on or before January 23, 2022 may include the authorized

23              · ·           etitive solicitations· and. ii the aut           ranted under this subsection

24   shall expire on January 31. 2023 unless the Board of Supervisors adopts an ordinance

25   authorizing an extension of the program. If the authority under this subsection for a pre-



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 1   existing program expires. the department shall immediately stop including the program in its

 2   solicitations but may continue to administer the pre-existing program for any contract where

 3   proposals are received before the expiration date.

4                 ffW   EXCEPTION       CONTRACTED BENEFITS CITY PROPERTY. Nothing in this
 5   This Section 3.620 shall not apply to solicitations made in connection with the negotiation or

 6   administration of a City contract if the payment solicited directly relates to the terms of. or

 7   performance under, the contract. For the purposes of this subsection (e). City contracts

 8   include but are not limited to developmen t agreements. agreements for the developmen t or

 9   use of public property. agreements for the City's acquisition of real property. and contracts for

10   the acquisition of community benefits. is intended to prevent any officer or designated

11

12   other consideration in connection with the Citv's acquisition of real property.

13                (f) EXCEPTION - WAIVER. Upon request by a City department. the Board of

14   Supervisors may waive the requirements of this Section 3.620 by resolution. but may not

15   waive it for itself. A proposed resolution that seeks a waiver shall summarize the purpose of

16   the solicitation(s) and shall identify the type of interested parties or the specific interested

17   parties. when the identity is known, to whom the solicitation(s) would be directed, and a

18   stateme t as to wh the de artment believes the arties a e interested arties. The resolutio

19   must include a finding that the waiver would not create an appearance of impropriety and

20   would be      in the public interest. Waivers granted under this subsection   mshall apply
21   prospectively for six months. unless the approving resolution specifies a shorter duration. and

22   shall have no effect as to past solicitations and may not be approved retroactively after the

23      · ·   ·     s have occurred. Wi hi                   e enactment of such a esolution the Clerk o

24
is   resolutions on DataSF.



                                                                                          App. B_314
     Supervisors Peskin; Safai, Chan, Walton, Preston, Mar
     BOARD OF SUPERVISORS                                                                           Page 1
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      1

      2           SEC. 3.630. REGULATIONS.

      3           The Ethics Commission mayshall adopt rules, regulations, and guidelines for the

     4    implementation of this Chapter 6. The Ethics Commission shall adopt rules, regulations or

      5   guidelines, including with respect to defining and illustrating "interested party" and when a

      6   payment is made "at the behest of' a City officer or designated employee, on or before

      7   January 1, 2023.

      8

      9           SEC. 3.640. PENALTIES.

     10             Any officer or designated employee:f:}affy who fails to comply with any provision of thi

     11   Chapter 6 is subject to the administrative process and penalties set forth in Section 3.242(d)

     12   of this Code.

     13
     14           Section 2. Effective Date. This ordinance shall become effective 30 days after

     15   enactment. Enactment occurs when the Mayor signs the ordinance, the Mayor returns the

     16   ordinance unsigned or does not sign the ordinance within ten days of receiving it, or the Board

     17   of Supervisors overrides the Mayor's veto of the ordinance.

     18

     19           Section 3. Prerequisite s for Enactment; Super-Majority Vote Requirement. Consistent

     20   with In the e'lent the People approve Proposition E"' which was approved at the June 7, 2022

     21   election, the enactment of this ordinance will be subject to the provisions of Proposition E that

     22   authorize amendments to Article Ill, Chapter 6 of the Campaign and Governmental Conduct

     23   Code only if they are recommende d by the Ethics Commission and approved by a

     24   supermajorit y of at least eight votes at the Board of Supervisors.

     25


                                                                                             App. B_315
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 1           Section 4. Scope of Ordinance. In enacting this ordinance, the Board of Supervisors

 2   intends to amend only those words, phrases, paragraphs, subsections, sections, articles,

 3   numbers, punctuation marks, charts, diagrams, or any other constituent parts of the Municipal

4    Code that are explicitly shown in this ordinance as additions, deletions, Board amendment

 5   additions, and Board amendment deletions in accordance with the "Note" that appears under

 6   the official title of the ordinance.

 7

 8   APPROVED AS TO FORM:
     DAVID CHIU, City Attorney
 9

10
     By:     Isl
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              Deputy City Attorney
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     Supervisors Peskin; Safai, Chan, Walton, Preston, Mar
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                                                        City and County of San Francisco                              City Hall
                                                                                                            I Dr Carlton B. Goodlett Place
                                                                     Tails                                  San Francisco, CA 94102-4689

                                                                        Ordinance


                        File Number:              220539                              Date Passed: September 27, 2022

                        Ordinance amending the Campaign and Governmental Conduct Code to modify the rules concerning
                        behested payment solicitations, by 1) excepting solicitations made under certain types of City
                        programs to solicit, request, and contractually obligate charitable donations through competitively
                        procured contracts; 2) narrowing the prohibition against soliciting from persons involved in
                        administrative enforcement, licenses, permits, or other entitlements for use; 3) narrowing the prohibition
                        against soliciting from persons who have attempted to influence legislative or administrative actions; 4)
                        excepting solicitations made in connection with certain types of City contracts; 5) shortening the time
                        periods for the prohibition as to solicitations from City contractors; 6) excepting payments less than
                        $1,000; 7) authorizing the Board of Supervisors to grant waivers by resolution; 8) expanding the
                        prohibition against soliciting from registered lobbyists; and 9) making other clarifying changes.


                                    September 12, 2022 Rules Committee - CONTINUED


                                    September 19, 2022 Rules Committee - AMENDED, AN AMENDMENT OF THE WHOLE
                                    BEARING NEW TITLE

                                    September 19, 2022 Rules Committee - RECOMMENDED AS AMENDED AS A
                                    COMMITTEE REPORT

                                    September 20, 2022 Board of Supervisors - PASSED ON FIRST READING
                                           Ayes: 11 - Chan, Dorsey, Mandelman, Mar, Melgar, Peskin, Preston, Ronen, Safai,
                                           Stefani and Walton

                                    September 27, 2022 Board of Supervisors - Fl NALLY PASSED
                                                  Ayes: 11 - Chan, Dorsey, Mandelman , Mar, Melgar, Peskin, Preston, Ronen, Safai,
                                                  Stefani and Walton




              City a11d County ofSa11 Francisco                             Pagel                               Printed al 2:53 pm on 9128122


                                                                                                                                    App. B_317
•   t I   "
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                                     File No. 220539               I hereby certify that the foregoing
                                                                   Ordinance was Fl NALLY PASSED on
                                                                   9/27/2022 by the Board of Supervisors of the
                                                                   City and County of San Francisco.




                                                                              Angela Calvillo
                                                                             Clerk of the Board




                                         London N. Breed                       Date Approved
                                             Mayor




              City and County ofSan Francisco              Pagel                             Printed at 1:53 pm on 9/18/11

                                                                                                                App. B_318
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Behested Payment Report                                                A Public Document                                                Behested Payment Report
1. Elected Officer or CPUC Member (Last name, First name)
   Breed, London
                                                                                                         Date Stamp                California
                                                                                                                                     Form
                                                                                                                                                       803
   Agency Name                                                                                                                           For Official Use Only

   Office of tile Mayor, City and County of San Francisco
   Agency Street Address
   City Hall, Room 200, 1 Or. Carlton 8. Goodlett Place, San Francisco, CA
   Designated Contact Person (Name and title, if different)
                                                                                                  D    Amendment (See Pert 5)
   Hank Heckel, Legal Compliance Officer
                                                                                                  Date of Original Filing : _ _ _ _ _ __
   Area Code/Phone Number                E-mail (Optional)
                                                                                                                                    (month. deY, year)
   (415) 554-4796                        hank.heckel@sfgov.org
2. Payor Information           (For additional payors: include an attachment with the names and addresses.)

   See attached
   Name



  Address                                                               City                                     Stale                      Zip Code

3. Payee Information           (For additional payees, include an attachment with the names and addresses.)

   San Francisco Special Events Committee
  Name
   325 Sharon Park Dr.                                                  Menlo Park                                 CA                       94025
  Addres.s                                                                                                       Stale                      Zip Code

4. Payment Information             (Completeal/informelion.)

   Date of Payment.             212512020                      Amount of Payment:     (In-Kind FMVJ   $ See attached
                               (month. day, year)                                                      - - ,...                           _ _J - - -
                                                                                                             R,-ou_nd_l_o_wh_ol_e_d_ol"""lars

   Payment Type:                     !Bl Monetary Donation              or     O In-Kind Goods or Services (Provide description below.)
   Brief Description of In-Kind Payment: - - - - - - - - - - - - - - - - - - - - - - - - - - - -



   PU rpose; (Check one and provide descliption below. }       D Legislative        !Bl Governmental                 0 Charitable
  Describe the legislative, governmental, charitable purpose, or event:                          Support for mayoral inaugural activities



5. Amendment Description and/or Comments




6. Verification

  I certify, under penalty of perjury under the laws of the Sta                                                                       fo,mation contained
  herein is true and complete.




  Executed Oh        Ula r la         DATE
                                                                  By

                                                                                                                         FPPC Form 803 (January/2018)
                                                                                                FPPC Toll-Free Helpline: 866/ASK-FPPC (866/275°3772)
                                                                                                                                                 App. B_319
Name   of Payor
EĂŵĞŽĨWĂǇŽƌ                                 ĚĚƌĞƐƐ                                                          ŵŽƵŶƚ
Feysan J. Lodde
&ĞǇƐĂŶ:͘>ŽĚĚĞ                                1360  Webster St., San Francisco, CA 94115
                                               ϭϯϲϬtĞďƐƚĞƌ^ƚ͕͘^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϭϱ                                 $10,000
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Lui Foundation
>Ƶŝ&ŽƵŶĚĂƚŝŽŶ                                433  California St. Ste., 700, San Francisco CA 94104
                                              ϰϯϯĂůŝĨŽƌŶŝĂ^ƚ͘^ƚĞ͕͘ϳϬϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽϵϰϭϬϰ                       $10,000
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Silicon   Valley Community Foundation
^ŝůŝĐŽŶsĂůůĞǇŽŵŵƵŶŝƚǇ&ŽƵŶĚĂƚŝŽŶ           2440  W El Camino Real #300, Mountain View, CA 94040
                                              ϮϰϰϬtůĂŵŝŶŽZĞĂůηϯϬϬ͕DŽƵŶƚĂŝŶsŝĞǁ͕ϵϰϬϰϬ                         $5,000
                                                                                                                          Ψϱ͕ϬϬϬ
Silicon   Valley Community Foundation (from
^ŝůŝĐŽŶsĂůůĞǇŽŵŵƵŶŝƚǇ&ŽƵŶĚĂƚŝŽŶ;ĨƌŽŵ
Chris   Larsen Fund)
ŚƌŝƐ>ĂƌƐĞŶ&ƵŶĚͿ                           2440 W El Camino Real #300, Mountain View, CA 94040
                                              ϮϰϰϬtůĂŵŝŶŽZĞĂůηϯϬϬ͕DŽƵŶƚĂŝŶsŝĞǁ͕ϵϰϬϰϬ                        $10,000
                                                                                                                         ΨϭϬ͕ϬϬϬ
360   Total Concept LLC
ϯϲϬdŽƚĂůŽŶĐĞƉƚ>>                         555 12th Street # 1670, Oakland, CA
                                              ϱϱϱϭϮƚŚ^ƚƌĞĞƚηϭϲϳϬ͕KĂŬůĂŶĚ͕                                         $5,000
                                                                                                                          Ψϱ͕ϬϬϬ
Emerald Fund, Inc.
ŵĞƌĂůĚ&ƵŶĚ͕/ŶĐ͘                            532 Folsom St, San Francisco, CA 94105
                                              ϱϯϮ&ŽůƐŽŵ^ƚ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϱ                                      $5,000
                                                                                                                          Ψϱ͕ϬϬϬ
Sunquest      Properties
^ƵŶƋƵĞƐƚWƌŽƉĞƌƚŝĞƐ                           150 Executive Park Blvd., Ste. 4000, San Francisco, CA 94134
                                              ϭϱϬǆĞĐƵƚŝǀĞWĂƌŬůǀĚ͕͘^ƚĞ͘ϰϬϬϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϯϰ                $5,000
                                                                                                                          Ψϱ͕ϬϬϬ
SF  Firefighters Local 798
^&&ŝƌĞĨŝŐŚƚĞƌƐ>ŽĐĂůϳϵϴ                     1139  Mission St, San Francisco, CA 94103
                                              ϭϭϯϵDŝƐƐŝŽŶ^ƚ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϯ                                    $5,000
                                                                                                                          Ψϱ͕ϬϬϬ
The   Bay Area Council
dŚĞĂǇƌĞĂŽƵŶĐŝů                          353  Sacramento St., 10th FI., San Francisco, California 94111
                                              ϯϱϯ^ĂĐƌĂŵĞŶƚŽ^ƚ͕͘ϭϬƚŚ&ů͕͘^ĂŶ&ƌĂŶĐŝƐĐŽ͕ĂůŝĨŽƌŶŝĂϵϰϭϭϭ               $5,000
                                                                                                                          Ψϱ͕ϬϬϬ

Janet and Clint Reilly Family Foundation
:ĂŶĞƚĂŶĚůŝŶƚZĞŝůůǇ&ĂŵŝůǇ&ŽƵŶĚĂƚŝŽŶ      465 California St, San Francisco, CA 94104
                                              ϰϲϱĂůŝĨŽƌŶŝĂ^ƚ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϰ                                 $5,000
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SF Baseball Associates, LLC
^&ĂƐĞďĂůůƐƐŽĐŝĂƚĞƐ͕>>                   24 Willie Mays Plaza, San Francisco, CA 94107
                                              ϮϰtŝůůŝĞDĂǇƐWůĂǌĂ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϳ                               $5,000
                                                                                                                          Ψϱ͕ϬϬϬ
Marina Securities
DĂƌŝŶĂ^ĞĐƵƌŝƚŝĞƐ                             465 California St #473, San Francisco, CA 94104
                                              ϰϲϱĂůŝĨŽƌŶŝĂ^ƚηϰϳϯ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϰ                             $5,000
                                                                                                                          Ψϱ͕ϬϬϬ
Victor Makras
sŝĐƚŽƌDĂŬƌĂƐ                                 193 Church St, San Francisco, CA 94114
                                              ϭϵϯŚƵƌĐŚ^ƚ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϭϰ                                      $5,000
                                                                                                                          Ψϱ͕ϬϬϬ
Recology
ZĞĐŽůŽŐǇ                                      50  California Street, 24th Floor, San Francisco, CA
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                                                                                                                          Ψϱ͕ϬϬϬ
Cotchett,  Pitre & McCarthy
ŽƚĐŚĞƚƚ͕WŝƚƌĞΘDĐĂƌƚŚǇ                    840   Malcolm Rd #200, Burlingame, CA 94010
                                              ϴϰϬDĂůĐŽůŵZĚηϮϬϬ͕ƵƌůŝŶŐĂŵĞ͕ϵϰϬϭϬ                                   $5,000
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Russell B. Flynn
ZƵƐƐĞůů͘&ůǇŶŶ                              1717 Powell St Ste 300, San Francisco, CA, 94133-2843
                                              ϭϳϭϳWŽǁĞůů^ƚ^ƚĞϯϬϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕͕ϵϰϭϯϯͲϮϴϰϯ                    $10,000
                                                                                                                         ΨϭϬ͕ϬϬϬ
Double AA Corp.
ŽƵďůĞŽƌƉ͘                               1435   Huntington Ave. Ste #210, South San Francisco, CA 94080
                                              ϭϰϯϱ,ƵŶƚŝŶŐƚŽŶǀĞ͘^ƚĞηϮϭϬ͕^ŽƵƚŚ^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϬϴϬ               $10,000
                                                                                                                         ΨϭϬ͕ϬϬϬ
KR Flower Mart, LLC
<Z&ůŽǁĞƌDĂƌƚ͕>>                           100 First St., Ste. 250, San Francisco, CA 94105
                                              ϭϬϬ&ŝƌƐƚ^ƚ͕͘^ƚĞ͘ϮϱϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϱ                            $5,000
                                                                                                                          Ψϱ͕ϬϬϬ
Thomas   C. Escher
dŚŽŵĂƐ͘ƐĐŚĞƌ                              2543   Union Street, San Francisco, CA 94123
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SF Police Officers Association
^&WŽůŝĐĞKĨĨŝĐĞƌƐƐƐŽĐŝĂƚŝŽŶ                800   Bryant Street, 2nd Floor, San Francisco, CA 94103
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Stephenson    Foundation
^ƚĞƉŚĞŶƐŽŶ&ŽƵŶĚĂƚŝŽŶ                         198 Fair Oaks Lane, Atherton, CA 94027
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Presidio Bay Ventures
WƌĞƐŝĚŝŽĂǇsĞŶƚƵƌĞƐ                         1160 Battery Street, San Francisco, CA 94111
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  Behe sted Paym ent Repo rt                                              A Publi c Docu ment                                                Behested Payment Report
  1. Elected Officer or CPUC Member (Last name, First name)
     Breed, London
                                                                                                              Date Stamp              Califo rnia
                                                                                                                                             Form
                                                                                                                                                           803
    Agency Name
                                                                                                                                             For Official Use Only
    Office of the Mayor, City and County of San Francisco
    Agency Street Address
    City Hall , Room 200, 1 Dr. Carlton 8 . Goodlett Place, San Francis
                                                                        co, CA
    Designated Contact Person (Name and title, if different)
     Hank Heckel , Compliance Officer                                                                   0   Amendment (See Patt 5)

    Area Code/Phone Number                 E-mail (Optional)                                            Date of Original Filing: _ _ _ _ _ __
    (415) 554-4 796                                                                                                                   (month, day. year)

 2. Payor Information           (For additiona l payors, include an attachme nt with the names
                                                                                               and addresses.)
    San Francisco Special Events Committee
    Name

    601 Van Ness Avenue , Suite E240                                        San Francisco                            CA                        94102
    Address
                                                                           City                                     State                      ZlpCode
 3. Payee Information          (For additiona l payees, include an attachme nt with the names
                                                                                              and addresses.)

    San Francisco-Shanghai Sister City Committee
   Name

    809 Sacramento St                                                       San Francisco                            CA                        94108
   Address
                                                                           City                                    State                      Zip Code
4. Payment Information             (Complete   an information.)
   Date of Payment: _ _1_11_7_12_0_ _                             Amoun t of Payment:   r1n-Kind FMVJ   $ _2_0_,o_o_o_ _ _ _ _ _ __
                              (month, daY, year)
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   Payment Type:                    181 Monetary Donation                   or    O In-Kind Goods or Services (Provide description below.)
   Brief Description of In-Kind Payment: - - - - - - - - -
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   Purpos e: (Check one and provide descnption below.)
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   Descri be the legislative, govern menta l, charita ble purpos
                                                                 e, or event:     To assist wi th Lunar New Year parade ,
   including planned sponsorship and float, for celebration of sister
                                                                      city relationship
5. Amen dmen t Description and/or Comm ents




6. Verification

  I certify, under penalty of perjury under the laws of the Stat
  herein Is true and complete.                                                                                               , the information contained




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  Executed o n - - - - - - , - - - - - - - - - -
                                    DATE
                                                                    By
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                                                                                                                               FPPC Form 803 (January/2018)
                                  IClear Page I                          Print
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The Wayback Machine - https://web.archive.org/web/20180818155625/http://kidsneedbaseball.com/index.php?…

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 Lefty O'Doul's Foundation For Kids

 Our Board of Trustees is currently composed of 16 members, including the president. Nominated by a
 trustee committee and appointed by the full board, trustees generally serve two six-year terms. The
 board, board committees and individual trustees are evaluated on a regular basis by our Executive
 Committee.


 Foundation trustees bring a vast range of knowledge and experience to the task of governing the
 foundation. Over the years, trustees have hailed from four continents and have extensive experience
 in the worlds of higher education, business, law, government, nonprofit management and the civic
 sector.



                                       Board Of Directors

                 Nick Bovis
                 President / Founder
                    nick@kidsneedbaseball.com
                 CEO and Founder of Bovis Foods, INC., Nick has a long history of working within San
                 Francisco. His goal to help Lefty's legacy live on in the community started with the generous
                 toy drive held at Lefty's Restaurant each year in conjunction with the SFPD. This labor of love
                 has blossomed into a completely seperate foundation for kids overseen by a group of all-
                 stars from the Giants. He has held his current position as the CEO since 1990. Nick continues
                 to be a prominent public presence and is often considered a spokesperson for San
                 Francisco's smaller communities. He is a member of Burlingame Executive and Investment
                 Committees, for which he is also the Vice Chairman.


                 Russ Stanley                                                                       App. B_322
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    Vice President
       rstanley@kidsneedbaseball.com
    Russ Stanley, who enters his 22nd season with the San Francisco Giants, is responsible for
    the ticket sales of all events at AT&T Park and the team's Spring Training facility, Scottsdale
    Stadium. He was a key player in developing the team's charter seat program as well as the
    Giants secondary market and dynamic pricing rollouts.
    Stanley and his team of sales, operations, client relations, and luxury suites staff have
    implemented many progressive ideas that have improved Giants fan experience and
    satisfaction. During his tenure, the team has developed many fan friendly programs to
    alleviate the pressure for season ticket holders who must purchase and use 83 games.
    Whether it's reselling tickets online, relaying via email, finding ticket partners, or donating
    tickets, Stanley's team has built the infrastructure to do it all electronically. Last season's
    dynamic pricing program, where the team changes prices based on demand, has changed
    the ticketing business. Russ' team of ticket and sales professionals continue to be at the
    forefront of the sports ticketing world.
    The San Francisco State graduate came to the Giants after eight years at Marine World, in
    both Redwood City and Vallejo.


    Al Casciato
    Secretary / Treasurer
       alcasciato@kidsneedbaseball.com
    Retired Captain Al Casciato served 42 years in the San Francisco Police Department. During
    his career, he served on many boards and commissions. Most notably he served as
    President of the San Francisco Police Officer's Association and President of the San
    Francisco Employees Retirement System. Al has been a member of the Credit Union since
    joining the force. Today his wife, Maritza, and his children and their respective spouses are
    all SFPCU members.
    Al was born, raised and educated in San Francisco. He is a graduate of California State
    University San Francisco and the FBI National Academy. Aside from his pro bono service at
    SFPCU, he spends his retirement on other boards that also assist the San Francisco
    community and maintains a business consulting firm.


    Marina Casey
    Board Member
       marina@kidsneedbaseball.com
    Marina can now be found at her restaurant, hiking throughout Western Bay Area with her
    posse of dogs, husband and friends or drinking cocktails and enjoying good food and good
    company anywhere in-between. She is active in many local animal welfare associations by
    volunteering time, adopting dogs, hosting fundraisers, donating food and finances. She also
                                                                                       $SSB_323
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      is passionate about the environment and actively supports local and global environmental
      efforts.


      Tito Fuentes
      Board Member
         tito@kidsneedbaseball.com
      Tito Fuentes returns to the Giants Spanish language broadcast booth for his seventh straight
      season. Fuentes previously served as a member of the Spanish language broadcast team
      from 1981-92, and in 1996-2004 he broadcast for FOX Sports International which is aired in
      Latin America. An active participant in the Giants marketing efforts, he is a regular
      participant in the Giants Fantasy Camp and Giants Cruise. A former Major League second
      baseman who played for the Giants from 1965-74, Fuentes saw big league action with San
      Diego, Detroit and Oakland. The Havana, Cuba native was initially signed as an 18-year-old
      amateur before the start of the 1962 season and was the last baseball player signed directly
      out of Cuba before the United States' embargo against Cuba. A .268 hitter over his 13-year
      career, he was voted the starting second baseman on the Dream Team for the Giants' 25th
      Anniversary team by San Francisco fans in 1982. In 1997, 23 was inducted into the Cuban
      Baseball Hall of Fame. He and his wife, Maritza, reside in Reno, Nevada.


      John Kessler
~-I




      Board Member
         kessler@kidsneedbaseball.com
      As a senior in high school ("the best four years of my life"), John embarked on a career in
      radio that lasted until Boy George had four hits in a row. At the age of 20, John loaded up his
      little, two seater, Triumph with all his worldly possessions and set out to be a radio star. Well,
      that was the dream. And for the most part, the dream came true. John won numerous
      awards for his radio shows (voted the nation's best disk jockey once.)
      "It was great fun, I learned to be glib and how to communicate. Along the way I would
      dabble in higher education. It was an odd mix- mechanical engineering, psychology, and
      journalism. Playing Boy George hits over and over again pushed me into journalism. I began
      to think 'I really need something to do when I'm 55.' Which reeks of irony, because now that
      I'm 55, I'm looking for something to do.. again."
      While in San Diego, John started the transition to TV news; he would do his morning radio
      show and then shadow reporters from a local station in the afternoons. He's reported from
      Germany on the fall of the Berlin Wall and from Baghdad on the fall of Saddam Hussein. He's
      won a couple of Emmy Awards along the way. And is a proud inductee of the "National
      Academy of Television Arts & Sciences" Silver Circle.


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    Nate Oliver
    Board Member
       nate@kidsneedbaseball.com
    Nate Oliver began coaching the Cal Club Baseball team this past season. Originally from St.
    Petersburg, Florida, he was drafted by the Los Angeles Dodgers in 1959. After signing, he
    played professionally in the major leagues from 1963 to 1969 with the Los Angeles Dodgers,
    San Francisco Giants, New York Yankees, and Chicago Cubs. In his professional days, he
    played with the likes of Sandy Koufax, Don Drysdale, Tommy Davis, Maury Wills, Willie
    McCovey, Juan Marichal, Bobby Cox, Ferguson Jenkins, and Ernie Banks. Oliver also has
    experience coaching professionally, including managerial stints with the Arizona League
    Angels in 1989, Palm Springs Angels (Class A) from 1990-1991, Arizona League Cubs in 1998,
    and Daytona Cubs (Class A-Advanced) in 1999. He also managed the Canadian Baseball
    League's Saskatoon Legends in 2003. He also served as a roving infield instructor for the
    Chicago Cubs in 2000 and was a bunting instructor for the Chicago White Sox in 2006.


    Bart Lally
    Board Member
       bart@kidsneedbaseball.com
    VP Marcoa Publishing - For over 12 years in the Bay Area, Marcoa Publishing, Inc. has
    produced quality, targeted publications in a cost-effective and timely maner to meet our
    customers' needs and expectations.


    Tom O'Doul
    Board Member
       tomodoul@kidsneedbaseball.com
    Tom O'Doul is a retired Letter Carrier and the second cousin of Francis Joseph "Lefty"
    O'Doul. ("Lefty's father & Tom's grand-father were brothers) Tom is a lifelong baseball fan
    beginning with the San Francisco Seals at 16th & Bryant. Tom played baseball as a kid.
    O'Doul Hopes to help keep the dream of "Lefty" O'Doul alive. KIDS NEED BASEBALL! He has
    been a Giant's fan since Willie Mays became a Giant. He is a season ticket holder at AT&T
    Park and can often be seen at "Lefty" O'Doul's before home games.


    Anthony Ribera
    Board Member
       anthony@kidsneedbaseball.com
    Assistant Professor Anthony Ribera brings a wealth of experience at the center of San
    Francisco civic life to both his teaching and academic work. As former Police Chief of San
    Francisco, Professor Ribera believes effective leaders are ethical leaders, underscoring the
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    core values of the Jesuit tradition, promoting conscientious action for social justice. Dr.
    Ribera currently teaches the Law Enforcement Leadership program and has since 1997 when
    he wrote the original curriculum. In 2001, USF formed the International Institute of Criminal
    Justice Leadership and appointed Professor Ribera as its director. The Institute's annual
    symposium has emerged as a groundbreaking forum for progressive law enforcement
    training and leadership.


    Marty Lurie
    Board Member
       marty@kidsneedbaseball.com
    Marty Lurie was born in Brooklyn, New York on Feb. 1st, 1946. He saw his first baseball game
    in Ebbets Field in 1954. Marty began his radio career at KECG 88.1 FM in El Cerrito, California.
    He hosted the Oakland A's pre-game radio show in 1998 which led into all A's games during
    both the regular and post season through 2009. Marty has broadcasted over 2000 pre- and
    post-game shows in career.
    His show aired on stations KATD 990 AM, KABL 960 AM, KFRC 610 AM, KYCY 1550 AM, 106.9 FM
    and 860 AM at various times from 1998 through 2009. He was also invited to speak at the
    Baseball Hall of Fame in Cooperstown, New York on induction weekend 2002 in the Bullpen
    Theater about his work compiling the oral history of baseball. He has conducted over 5,000
    baseball interviews. He was the exclusive interviewer for the Major League Baseball Players
    Association ("Players Talk") from 1998 through 2010.
    Marty wrote a baseball column for the Bay Area News Group ("Batter Up") every Sunday
    during the baseball season from 2004 through 2009, and now he is the host for KNBR's
    Giants pre- and post-game weekend shows


    Gary Hall
    Board Member
       gary@kidsneedbaseball.com
    From the very beginning professional baseball has been Gary's passion. Hebbecame the
    batboy for the Los Angeles Dodgers in 1971. Towards the end ofbthe 1971 baseball season
    the legendary Bobby Bonds and Tito Fuentes quicklybbefriended Gary and moved him to
    San Francisco at the end of that season. Inb1972 Bonds secured the batboy's position for him
    with the San FranciscobGiants. Baseball has always been significant and instrumental in his
    life.
    In 1999 he retired from Caesars Palace in Las Vegas after fifteen years ofbleading the world
    famous gourmet services at the Palace. After moving backbto Northern California he
    developed and launched his current consultingbpractice, Legendary Business Principles.
    It was in 1984 he earned his diploma from the Western College ofbauctioneering in Billings
    Montana. He became an accomplished auctioneerbtraveling throughout the United States

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    conducting both charity andbcommercial auctions Currently he serves the "Lefty O'Doul's
    Foundation" asbhe conducts charity auctions and introduces under privileged children to
    thebwonderful game of baseball.
    This past November in 2013 he traveled to Africa as he presented andbconducted baseball
    clinics on behalf of the Lefty O'Doul's Foundation inbKenya and Uganda. He is passionate
    about children, baseball and the Bible!


    Lee Houskeeper
    Board Member / Publicist
       lee@kidsneedbaseball.com
    Lee Houskeeper has become known as one of the most effective public relations man in
    Northern California who loves being called the last of the old time San Francisco Press
    Agents. Houskeeper coordinates all local & national media for his clients including Joe
    Cotchett, Frank Pitre, Niall McCarthy and former congressman Pete McCloskey Whose recent
    stories include suing Bud Selig & MLB to bring the A's to San Jose, Asiana plane crash victims
    and ongoing efforts to bring justice to San Bruno's victims of the PG&E explosion.
    Other clients include Historic 105 year old John's Grill and the Maltese Falcon, San
    Francisco's Iconic Lefty O'Doul's. Houskeeper coordinated successful publicity and political
    campaign that saved the legendary 47 year old Gold Dust Lounge on Union and moved it to
    Fisherman's Wharf. Houskeeper's newest client is Wilkes Bashford's FIDM/Fashion Institute
    of Design & Merchandising


    Orlando Cepeda
    Board Member
       orlando@kidsneedbaseball.com
    A powerful slugger during his 17-year Major League career, Orlando Manuel Cepeda Pennes
    withstood a series of knee injuries to become a seven-time National League All-Star. As a 20-
    year-old rookie with the Giants in 1958, the Baby Bull hit .312 with 25 home runs to earn
    unanimous National League Rookie of the Year honors. Nine years later, the Puerto Rican
    native compiled a league-leading 111 RBIs for the world champion Cardinals while
    becoming the first unanimous MVP in the National League since Carl Hubbell in 1936.


    Kevin O'Brien
    Board Member
       kevin@kidsneedbaseball.com
    Revere Data, LLC, is the leading provider of industry classification and supply chain specialty
    data, analytics, and index solutions for the global financial services industry. Revere's data is
    invaluable for traditional to alternative asset managers seeking alpha generation

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    opportunities and better risk management capabilities. Index owners and fund sponsors
    use Revere to create innovative investment products for customers ranging from institutions
    to retail investors.




                       Foundation Resources

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                                 Mission Statement

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                                  Board Of Director




             Become A Sponsor Todayb
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                    (Name on program + plaque + two foursomes)b

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                         Help Us Make Everyday Kids Day!




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                                CORPORATE OFFICES




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     San Francisco,bCA, 94104
         bb(415) 738-0766
        bb(415) 520-6430
   info@kidsneedbaseball.com



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INTERNAL REVENUE SERVICE                             DEPARTMENT OF THE TREASURY
P. 0. BOX 2508
CINCINNATI, OH 45201

                                      Employer Identification Number:
Date:                                  XX-XXXXXXX
        AUG 19 2014                   DLN:
                                       17053196396024
LEFTY ODOULS FOUNDATION FOR KIDS      Contact Person:
555 CALIFORNIA ST STE 4925             CUSTOMER SERVICE            ID# 31954
SAN FRANCISCO, CA 94104               Contact Telephone Number:
                                       (877) 829-5500
                                      Accounting Period Ending:
                                        December 31
                                      Public Charity Status:
                                        170(b) (l} (A) (vi)
                                      Form 990 Required:
                                        Yes
                                      Effective Date of Exemption:
                                        March 8, 2014
                                      Contribution Deductibility:
                                        Yes
                                      Addendum Applies:
                                        No


Dear Applicant:

We are pleased to inform you that upon review of your application for tax
exempt status we have determined that you are exempt from Federal income tax
under section S0l(c) (3) of the Internal Revenue Code. Contributions to you are
deductible under section 170 of the Code. You are also qualified to receive
tax deductible bequests, devises, transfers or gifts under section 2055, 2106
or 2522 of the Code. Because this letter could help resolve any questions
regarding your exempt status, you should keep it in your permanent records.

Organizations exempt under section S0l(c) (3) of the Code are further classified
as either public charities or private foundations. We determined that you are
a public charity under the Code section(s) listed in the heading of this
letter.

For important information about your responsibilities as a tax-exempt
organization, go to www.irs.gov/charities. Enter "4221-PC" in the search bar
to view Publication 4221-PC, Compliance Guide for 50l(c) (3) Public Charities,
which describes your recordkeeping, reporting, and disclosure requirements.

                                        Sincerely,




                                        Director, Exempt Organizations




                                                             Letter   947


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